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                                                                          Page 1
                           UNITED STATES DISTRICT COURT

                        FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



           -----------------------------x
           IN RE: NATIONAL PRESCRIPTION             ) Case No.
           OPIATE LITIGATION                        ) 1:17-MD-2804

           APPLIES TO ALL CASES                     ) Hon. Dan A. Polster

           -----------------------------x


                  HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

                           CONFIDENTIALITY REVIEW
                  VIDEOTAPED DEPOSITION OF LARRY W. ROMAINE

                            CHARLOTTESVILLE, VIRGINIA

                          THURSDAY, JANUARY 10, 2019

                                     9:06 A.M.




           Pages: 1 - 531
           Reported by: Leslie A. Todd


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      1       Deposition of LARRY W. ROMAINE, held in the            1   APPEARANCES (Continued):
      2     conference room at:                                      2
      3                                                              3     SANDRA DI LORIO, ESQUIRE
      4                                                              4     ENDO
      5                  OMNI HOTEL                                  5     1400 Atwater Drive
      6                  212 Ridge McIntire Road                     6     Malvern, Pennsylvania 19355
      7                  Charlottesville, Virginia 22903             7     (4840 574-2921
      8                                                              8
      9                                                              9   ON BEHALF OF WALMART:
     10                                                             10     CHRISTOPHER LOMAX, ESQUIRE
     11                                                             11     JONES DAY
     12       Pursuant to notice, before Leslie Anne Todd,          12     600 Brickell Avenue
     13     Court Reporter and Notary Public in and for the         13     Suite 3300
     14     Commonwealth of Virginia, who officiated in             14     Miami, Florida 33131
     15     administering the oath to the witness.                  15     (305) 714-9700
     16                                                             16
     17                                                             17   ON BEHALF OF PERNIX THERAPEUTICS HOLDINGS, INC.:
     18                                                             18     BRUCE CLARK, ESQUIRE (Telephonically)
     19                                                             19     CLARK MICHIE, LLP
     20                                                             20     220 Alexander Street
     21                                                             21     Princeton, New Jersey 08540
     22                                                             22     (609) 206-1104
     23                                                             23
     24                                                             24



                                                           Page 3                                                  Page 5
      1           AP P EAR ANC ES                                    1     APPEARANCES (Continued):
      2   ON BEHALF OF THE PLAINTIFFS:                               2
      3     JENNIFER SCULLION, ESQUIRE                               3     ON BEHALF OF AMERISOURCEBERGEN:
      4     ERICA KUBLY, ESQUIRE                                     4       MARY BALASTER, ESQUIRE (Telephonically)
      5     SEEGER WEISS, LLP                                        5       REED SMITH, LLP
      6     77 Water Street, 8th Floor                               6       811 Main Street, Suite 1700
      7     New York, New York 10005                                 7       Houston, Texas 77002-6110
      8     (212) 584-0780                                           8       (713) 469-3800
      9                                                              9
     10   ON BEHALF OF THE TENNESSEE PLAINTIFFS:                    10
     11     JOE P. LENISKI, JR., ESQUIRE                            11     ALSO PRESENT:
     12     BRANSTETTER, STRANCH & JENNINGS, PLLC                   12       SABRINA TYJER (Paralegal - Seeger Weiss)
     13     223 Rosa L. Parks Avenue, Suite 200                     13       DANIEL HOLMSTOCK (Videographer)
     14     Nashville, Tennessee 37203                              14       RICK CHRISTIAN (Trial Technician)
     15     (615) 254-8801                                          15
     16                                                             16
     17   ON BEHALF OF ENDO PHARMACEUTICALS AND THE WITNESS:        17
     18     SEAN MORRIS, ESQUIRE                                    18
     19     NEDA HAJIAN, ESQUIRE (Telephonically)                   19
     20     ARNOLD & PORTER KAYE SCHOLER, LLP
                                                                    20
     21     777 South Figueroa Street
                                                                    21
     22     44th Floor
                                                                    22
     23     Los Angeles, California 90017-5844
                                                                    23
     24
                                                                    24
            (213) 243-4222



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      6                                                                           6        ENDO-OPIOID_MDL-00881701 to
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      9               EXHIBITS                                                    9        ER MVA and Navigator, with
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     11   ENDO-ROMAINE DEPOSITION EXHIBITS                                PAGE   11        01655584 to 01655647                  203
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     13           Larry Romaine                     26                           13        appropriate patients with moderate
     14   No. 2     Subpoena to Testify at a                                     14        to severe pain. Designed for
     15           Deposition in a Civil Action           30                      15        Durable Pain Control," Bates
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     18           IQ Summary Attached, Bates                                     18   No. 23    2003 Objectives Update, May 7, 2003,
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     22           ENDO-OPIOID_MDL-02147122 to                                    22        E1218.76                       245
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     24                                                                          24



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      5        in the News Media, Bates E0142.1 to                               5        Bates ENDO-CHI_LIT-00166187 to
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     10   No. 27    E-mail re Info for your meeting on                          10        Bates E0974.1 to E0974.17             340
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     12        04920194                       259                               12        Bates E0914.1 to E0914.115             347
     13   No. 28    E-mail string re OPANA and OPANA ER                         13   No. 42    E-mail string re Opana mentioned
     14        Marketing Update, Bates E1200.1 to                               14        in Pitts. Post story on abuse --
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     17        11/17, Bates ENDO-OPIOID_MDL-                                    17        Utilization Update - November,
     18        00858402 to 00858403                    265                      18        Bates E1230.1 to E1230.282             364
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     20        Net Sales, Bates ENDO_DATA_OPIOID_                               20        E1247.122                       378
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     22   No. 31    E-mail re Play to WIN! - Weekly                             22        National 5.25.12, Bates E1212.1 to
     23        Update, Bates E1187.1 to E1187.50             276                23        E1212.9                        385
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      2            (Attached to transcript)                                      2            (Attached to transcript)
      3   ENDO-ROMAINE DEPOSITION EXHIBITS                               PAGE    3   ENDO-ROMAINE DEPOSITION EXHIBITS                         PAGE
      4   No. 32    2009 Performance Coaching and                                4   No. 46    Attachment 16, Bates ENDO-OR-CID-
      5        Development, Bates ENDO-OPIOID_MDL-                               5        00694084 to 00694087                  390
      6        02312040 to 02312054                    280                       6   No. 47    E-mail re Request to move Opana ER
      7   No. 33    E-mail string re Opana ER speaker                            7        NDA 21-610 to the Orange Book
      8        program update - Midwest Region,                                  8        Discontinued List, Bates
      9        Bates ENDO-OPIOID_MDL-00644449                      286           9        ENDO-CHI_LIT-00008100 to 00008101             392
     10   No. 34    E-mail re Opana Top 50 Writers                              10   No. 48    E-mail string re Communication to
     11        (with attachment), Bates                                         11        the field, Bates ENDO-OPIOID_MDL-
     12        E1175.1 to E1175.8                   293                         12        01968698 to 01968700                  399
     13   No. 35    E-mail re IMPORTANT - Walgreens                             13   No. 49    E-mail re TENNCARE Medicaid Win,
     14        stores that have stocked Opana,                                  14        Bates ENDO-OPIOID_MDL-01067350 to
     15        Bates E0524.1 to E0524.58                305                     15        01067351                       421
     16   No. 36    E-mail re Documents, Bates                                  16   No. 50    Larry Romaine, 2011 Objectives,
     17        E0832.1 to E0832.100                    312                      17        Bates ENDO-OPIOID_MDL-01006528 to
     18   No. 37    E-mail re West Opana ER Feedback,                           18        01006529                       426
     19        Bates E1215.1 to E1215.4                318                      19   No. 51    E-mail string re FW: "Don't Be
     20   No. 38    E-mail string re Primary Care MDs                           20        Blue" Opana ER BCBS of Tennessee
     21        and Opioids, Bates E0924.1 to                                    21        Initiative - Update,
     22        E0924.2                        331                               22        Bates ENDO-OPIOID_MDL-00361036 to
     23                                                                         23        00361037                       432
     24                                                                         24



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      1            E X H I B I T S (Continued)                            1             PROCEEDINGS
      2            (Attached to transcript)                               2             --------------------
      3   ENDO-ROMAINE DEPOSITION EXHIBITS                       PAGE     3           THE VIDEOGRAPHER: We are now on the
      4   No. 52    E-mail string re BCBS TN Opana ER                     4   record.
      5        Performance, Bates ENDO-OPIOID_MDL-                        5           My name is Daniel Holmstock. I am the
      6        01005844 to 01005851                 436                   6   videographer for Golkow Litigation Services.
      7   No. 53    E-mail re Opana ER conf call,                         7           Today's date is January 10th, 2019. The
      8        Bates ENDO-OPIOID_MDL-01018226 to                          8   time on the video screen is 9:06 a.m.
      9        01018227                       438                         9           This video deposition is being held at
     10   No. 54    E-mail string re Request for                         10   the Omni Hotel at 212 Ridge McIntire Road in
     11        Information, Bates ENDO-OPIOID_MDL-                       11   Charlottesville, Virginia, in the matter of In Re:
     12        02317224 to 02317226                 445                  12   National Prescription Opiate Litigation. It's
     13   No. 55    E-mail re 11/4/2011 5:27:25 PM,                      13   pending before the United States District Court
     14        Bates EPI001232307 to 001232322            452            14   for the Northern District of Ohio, Eastern
     15   No. 56    E-mail string re Lower Performing                    15   Division.
     16        OER Footprints, Bates ENDO-OPIOID_                        16           Our deponent today is Mr. Larry
     17        MDL-01007694 to 01007695                  459             17   Romaine.
     18   No. 57    E-mail string re Pharmacry Report -                  18           Counsel will be noted for appearances on
     19        Update (with attachment), Bates
                                                                         19   the stenographic record.
     20        EPI002036707 to 002036708                464
                                                                         20           Our court reporter is Leslie Todd, who
     21   No. 58    E-mail re Report of Suspected
                                                                         21   will now administer the oath to the witness.
     22
                                                                         22               LARRY W. ROMAINE,
               Diversion Form, Bates ENDO00747664 484
     23
                                                                         23         and having been first duly sworn,
          No. 59    E-mail string re RBD Prescriber
     24
                                                                         24       was examined and testified as follows:
               Removals for 2P13 (with attachment) 487


                                                               Page 15                                               Page 17
      1            E X H I B I T S (Continued)                            1              DIRECT EXAMINATION
      2            (Attached to transcript)                               2   BY MS. SCULLION:
      3   ENDO-ROMAINE DEPOSITION EXHIBITS                       PAGE     3       Q Good morning, Mr. Romaine.
      4   No. 60    E-mail string re Physician removed                    4       A Good morning.
      5        from Opana ER call plan by Colleen                         5       Q We met briefly off the record, but I'm
      6        Craven, Bates ENDO-OPIOID_MDL-                             6   Jennifer Scullion, counsel for the plaintiffs in
      7        01861288 to 01861292                 516                   7   this action.
      8                                                                   8           Mr. Romaine, have you been deposed
      9                                                                   9   before?
     10                                                                  10       A I have.
     11                                                                  11       Q How many times?
     12                                                                  12       A Once.
     13                                                                  13       Q When was that?
     14                                                                  14       A I believe it was in 2011, but I'm not
     15                                                                  15   specific on the date.
     16                                                                  16       Q Was that in connection with a particular
     17                                                                  17   lawsuit?
     18                                                                  18       A It was in connection with overtime pay
     19                                                                  19   for employees in the pharmaceutical industry.
     20                                                                  20       Q And that was with respect to Endo
     21                                                                  21   employees?
     22                                                                  22       A Yes.
     23                                                                  23       Q Was that for sales reps' overtime?
     24                                                                  24       A Sales reps.


                                                                                           5 (Pages 14 to 17)
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      1       Q Okay. Have you testified in any other            1   time to time. If you need a break, please let me
      2   depositions?                                           2   know, and we'll try to do that. The only thing is
      3       A No.                                              3   I would ask that we can't take a break during a
      4       Q Have you ever testified in court?                4   question. So if I ask you a question and it
      5       A No.                                              5   hasn't been answered, we can't take a break.
      6       Q All right. Have you ever submitted any           6   Okay?
      7   sworn testimony?                                       7       A Okay.
      8       A No.                                              8       Q Okay, great. Is there any reason that
      9       Q Were you -- did you testify before the           9   you can't give your best testimony today?
     10   New York Attorney General --                          10       A No.
     11       A No, I did not.                                  11       Q No medication that impairs your -- your
     12       Q -- ever? Okay. Okay. Great.                     12   cognitive abilities?
     13          Well, so you've been through one               13       A No.
     14   deposition, and I'm sure counsel has explained to     14       Q Okay. Fantastic.
     15   you some of the -- the rules and guidances, but       15          Are you represented by counsel today?
     16   let me just go over some that I think are really      16       A I am.
     17   helpful.                                              17       Q And who is that?
     18          First is I'm going to be asking                18       A Arnold & Porter.
     19   questions and asking you to answer those              19       Q Did you do anything to prepare for
     20   questions. If you don't understand my questions,      20   today's deposition?
     21   would you please let me know?                         21       A Yes.
     22       A Okay.                                           22       Q What did you do?
     23       Q Thank you. Otherwise, I'm going to              23       A I met with Arnold & Porter and the Endo
     24   assume that you understood it.                        24   attorney on Tuesday afternoon and then yesterday,


                                                 Page 19                                                    Page 21
      1            There may be objections from time to          1   which was Wednesday.
      2    time, but unless you're instructed not to answer      2       Q Did you meet with anyone at any other
      3    on the ground of privilege and you choose to          3   time to prepare for today's deposition?
      4    follow that instruction, you will need to answer      4       A No, I did not.
      5    the questions.                                        5       Q Did you speak with anybody on the phone
      6            Do you understand that?                       6   to prepare for the deposition?
      7        A Yes.                                            7       A I spoke with Joanna about the logistics
      8        Q Okay. I'm going to try not to speak             8   of this prior to coming here.
      9    over your answers, and I'd ask that you not try to    9       Q Okay. Did you speak with anyone else
     10    speak over my questions.                             10   about -- in preparation for the deposition?
     11        A Okay.                                          11       A No, I did not.
     12        Q It can get a little difficult. The             12       Q Okay. Did you -- did you review any
     13    reason for that is Leslie, our court reporter,       13   documents to prepare for the deposition?
     14    will have difficulty taking everything down if       14       A I did.
     15    we're talking over each other.                       15       Q And what did you review?
     16        A Okay.                                          16           MR. MORRIS: I'm going to object and
     17        Q Thank you. We're also going to need to         17   instruct the witness not to answer. If you want
     18    make sure that you give verbal answers, so you       18   to ask about a specific document, that's fine, but
     19    can't just nod your head or say "uh-huh" or          19   he's not going to give you a list of documents
     20    "huh-uh." It's got to be actual words so, again,     20   that he reviewed.
     21    that Leslie can record those.                        21   BY MS. SCULLION:
     22        A Okay.                                          22       Q Let me ask you this: Did you review any
     23        Q Thank you.                                     23   documents other than in the presence of counsel to
     24            We're going to be taking breaks from         24   prepare for the deposition?


                                                                                  6 (Pages 18 to 21)
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      1       A I did not.                                      1       Q Anything you asked for?
      2       Q Did you go, for example, and look at any        2       A No.
      3   former e-mails or calendars, any journals,            3       Q Okay. All right. Putting aside
      4   diaries, notes, anything of that sort?                4   preparation for the deposition, did you discuss
      5       A I did not.                                      5   today's deposition with anyone other than your
      6       Q Okay. When you reviewed documents with          6   counsel?
      7   counsel, did any of those refresh your                7       A Just one other person.
      8   recollection about events from your employment at     8       Q And who is that?
      9   Endo?                                                 9       A My wife.
     10       A Yes.                                           10       Q And what did you discuss with her about
     11       Q Do you recall what events you had your         11   it?
     12   recollection refreshed on?                           12       A That I was coming to the deposition and
     13       A I do.                                          13   would be giving a deposition for the next three
     14       Q What were those?                               14   days.
     15       A The risk map and the director removal          15       Q Okay. Did you have any communication
     16   process.                                             16   with any former Endo colleagues about today's
     17       Q The director removal process?                  17   deposition?
     18       A Mm-hmm, to remove physicians from the          18       A I did not.
     19   call plan.                                           19       Q Have you had any communication with any
     20       Q Okay. The -- the risk map, was that the        20   former Endo colleagues about this litigation, and
     21   risk map for Opana ER?                               21   that is the In Re: National Prescription Opiates
     22       A Correct.                                       22   MDL?
     23       Q Was that a document you had been               23       A I have not.
     24   familiar with when you were employed by Endo?        24       Q Okay. How did -- how did you come to be


                                                 Page 23                                                 Page 25
      1       A I was familiar with it at one time, but,        1   familiar with this litigation? How did you come
      2   obviously, over time I -- I had forgotten about       2   to know about it?
      3   it.                                                   3       A I was contacted by Joanna.
      4       Q Hadn't committed that to memory?                4       Q Had you heard about the case before
      5       A No.                                             5   that?
      6       Q And the -- you said the director removal        6       A No.
      7   process. Is that the -- a prescriber removal          7       Q Do you recall approximately when
      8   process?                                              8   Ms. Percio -- when Ms. Percio contacted you?
      9       A Correct.                                        9       A Actually, I take that back. It was
     10       Q Okay. And that's a process to remove           10   Jobina, and I don't know her last name, at Endo
     11   prescribers from a -- from call plans?               11   that contacted me first.
     12       A That's correct.                                12       Q Okay. And I apologize, I don't remember
     13       Q Okay. And was that something you were          13   Jobina's last name.
     14   familiar with when you were employed with Endo?      14       A I don't either.
     15       A I was familiar with it.                        15           MR. MORRIS: Jones --
     16       Q Okay. Any other topics on which your           16           MS. SCULLION: Jones?
     17   recollection was refreshed by reviewing documents    17           MR. MORRIS: Jones-McDonnell.
     18   for the deposition?                                  18           MS. SCULLION: Jones-McDonnell. Thank
     19       A We reviewed a lot of documents, but            19   you.
     20   nothing that stands out.                             20   BY MS. SCULLION:
     21       Q Okay. Was there anything that you              21       Q Do you recall approximately when
     22   wanted to see that you weren't able to see to take   22   Ms. Jones-McDonnell contacted you?
     23   a look at?                                           23       A It was either late June or early July
     24       A No, not that I remember.                       24   of -- of last year.


                                                                                7 (Pages 22 to 25)
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      1          MR. MORRIS: And I'll just jump in.            1   is a CV or a resume?
      2   Obviously these kinds of questions are fine, and     2        A I probably have a hard copy somewhere in
      3   I'm sure that Ms. Scullion is not going to ask       3   my home.
      4   you, but don't reveal the content of any             4        Q Okay.
      5   discussions that you had with counsel.               5           MS. SCULLION: Counsel, we -- we have
      6          THE WITNESS: Okay.                            6   asked for these documents to be produced to
      7          (Romaine Exhibit No. 1 was marked             7   release in the deposition. I'm not sure why that
      8          for identification.)                          8   hasn't happened, but we would like to get a copy
      9   BY MS. SCULLION:                                     9   of his -- of his CV as we've asked for.
     10       Q Okay. Let's show you what's been marked       10           MR. MORRIS: Okay. Well, we'll take
     11   as Exhibit No. 1.                                   11   that under submission, and you can ask him
     12          And this is the Amended Notice of            12   obviously his employment history.
     13   Deposition of Larry Romaine. Mr. Romaine, have      13           MS. SCULLION: More quickly, let me have
     14   you seen Exhibit 1 before?                          14   that.
     15       A I have not.                                   15           MS. SCULLION: Let's give -- number 3.
     16       Q So Exhibit 1 is the amended notice of         16           (Romaine Exhibit No. 3 was marked
     17   your deposition here today.                         17           for identification.)
     18       A Okay.                                         18   BY MS. SCULLION:
     19       Q And in the second paragraph at the end,       19        Q I'm going slightly out of order on the
     20   we've indicated that you were to bring a copy of    20   exhibits, so just bear with me.
     21   your most recent curriculum vitae or similar        21           I'm going to hand you what's marked as
     22   summary of education and work history.              22   Exhibit No. 3.
     23          Did you bring such a document with you       23        A Do you want this one back?
     24   today?                                              24        Q No, you should keep all the exhibits as


                                                Page 27                                                  Page 29
      1       A I did not.                                     1   they're handed to you.
      2       Q Were you asked --                              2       A Okay.
      3           THE VIDEOGRAPHER: We never set up the        3       Q You can put them aside if you like, but
      4   speakerphone.                                        4   we'll be coming back to exhibits, so just so you
      5           (A discussion was held off the record.)      5   know.
      6           MS. SCULLION: So for the record, we          6           So Exhibit No. 3 is the Separation
      7   just got notice that the speakerphone was not set    7   Agreement and General Release entered into between
      8   up for the dial-in. So we're going to take a         8   Larry Romaine and Endo Pharmaceuticals, Inc.
      9   quick break, get that set up, and we'll continue.    9           And if you turn to the very last --
     10           THE VIDEOGRAPHER: The time is 9:16 a.m.     10   sorry, second to last page of the exhibit, it is
     11   We're going off the record.                         11   signed by, it looks like, Mr. Romaine on
     12           (Pause.)                                    12   September 1st, 2013. And this was provided to us
     13           THE VIDEOGRAPHER: The time is 9:19 a.m.     13   today by counsel for Endo.
     14   We're back on the record.                           14           Mr. Romaine, do you recognize Exhibit 3?
     15   BY MS. SCULLION:                                    15       A I do.
     16       Q So we're back on.                             16       Q And what is it?
     17           Mr. Romaine, do you have a -- a CV or a     17       A It was my separation agreement from
     18   resume that you keep?                               18   Endo.
     19       A I -- I don't.                                 19       Q Okay. And on the page 7 of the
     20       Q Okay. Do you have any summary of              20   agreement, that is your signature?
     21   your -- of your work history that you maintain?     21       A Yes.
     22       A I don't have anything with me.                22       Q Okay. And if you will look at
     23       Q I'm sorry. I meant, do you -- just at         23   paragraph 7 on the same page, it's labeled
     24   home or on a computer, is that something you keep   24   "Cooperation."


                                                                                8 (Pages 26 to 29)
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      1       A Mm-hmm.                                         1       Q All right. When you were with Endo,
      2       Q Are you here today testifying pursuant          2   your principal responsibility was -- was in
      3   to this Cooperation provision in this agreement?      3   connection with sales, correct?
      4       A I'm just reading through Section 7.             4       A Correct.
      5       Q Sure.                                           5       Q All right. And from time to time there
      6       A (Peruses document.)                             6   were pieces of promotional materials that were
      7           MR. MORRIS: Objection to form.                7   used in sales, correct?
      8   BY MS. SCULLION:                                      8       A Correct.
      9       Q Are you here today pursuant to that             9       Q So it might be, for example, a master
     10   provision?                                           10   visual aid, slim jim, some piece of premium like a
     11       A I'm here today because I was asked to --       11   lanyard or a pen or anything. Do you have in your
     12   to come.                                             12   possession at home any such promotional materials
     13       Q Okay. Have you provided any cooperation        13   with respect to Endo?
     14   to Endo in connection with any opioids litigation    14       A I do not.
     15   aside from this deposition?                          15       Q Okay. Sometimes people keep these
     16       A I have not.                                    16   things.
     17       Q Okay. Have you been asked to?                  17       A It's been a while since I left.
     18       A I have not.                                    18       Q Okay. So let's go through your
     19       Q Okay. All right. Let's put Exhibit 3           19   employment history just really very quickly.
     20   aside.                                               20       A Okay.
     21           (Romaine Exhibit No. 2 was marked            21       Q To remind me, when did you graduate from
     22           for identification.)                         22   college?
     23   BY MS. SCULLION:                                     23       A 1980.
     24       Q And I'm going to hand you what's been          24       Q Okay. And what was your degree?


                                                 Page 31                                                  Page 33
      1   marked as Exhibit No. 2.                              1       A Bachelor in business administration.
      2       A Thank you.                                      2       Q Okay. And that was from James Madison?
      3       Q Sure. And Exhibit No. 2 is a copy of            3       A Correct.
      4   the subpoena to testify at deposition in a civil      4       Q Okay. And did you then go to work for
      5   action dated December 31st, 2018, directed to         5   Bristol-Myers Squibb?
      6   Mr. Romaine in care of Arnold & Porter.               6       A I actually worked for a year and a half
      7           And, Mr. Romaine, have you seen               7   for my father.
      8   Exhibit No. 2 before?                                 8       Q Okay. And what were you doing for him?
      9       A I have not.                                     9       A He owned a glass company, so I worked
     10       Q Okay. Were you aware that a subpoena           10   with him.
     11   had been served calling for your testimony as well   11       Q Okay, fantastic. And then you worked
     12   as documents?                                        12   for Bristol-Myers Squibb?
     13       A I was aware that when I talked to              13       A Correct. It was Bristol-Myers at the
     14   Jobina that I was being subpoenaed to be -- to do    14   time, and then after the merger, Bristol-Myers
     15   a deposition.                                        15   Squibb.
     16       Q Were you aware you were also being             16       Q Got it. And that was as marketing
     17   subpoenaed to produce documents in connection with   17   director?
     18   the deposition?                                      18       A Well, I started as a sales
     19       A I was requested to bring any documents         19   representative and went through many different
     20   that I had in my possession.                         20   roles within the company, but I eventually became
     21       Q Okay. Did you search for documents?            21   a marketing director.
     22       A I did.                                         22       Q Can you just give me a brief overview of
     23       Q Okay. And did you find any?                    23   the roles that you had.
     24       A I did not.                                     24       A I was a sales representative, and then a


                                                                                 9 (Pages 30 to 33)
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       1   hospital representative, and then I was a home      1   employed from approximately April 1981 to about
       2   office trainer, and then a district manager, and    2   May 1996; is that right?
       3   then a manager of promotion in the home office.     3       A Yes.
       4   And then I was a product manager, and then a        4       Q Okay. You joined -- is it Eisai?
       5   director of one of the divisions. In marketing.     5       A Eisai.
       6       Q Did you sell or promote any opioids?          6       Q Thank you. Eisai. Whew. All right.
       7       A No.                                           7          You joined Eisai in around June 1996?
       8       Q When you were product manager, what           8       A Yes.
       9   products did you manage?                            9       Q And you said as field sales director,
      10       A It was a product called Duricef, which       10   correct?
      11   was an antibiotic.                                 11       A I was -- started as a regional director
      12       Q All right. And you said you were --          12   and --
      13   ended as a director of a division within           13       Q Thank you.
      14   marketing. Which division?                         14       A -- then became a fields sales director.
      15       A The anti-infective division.                 15       Q And did you stay with Eisai till May
      16       Q All right. As a home office trainer,         16   2003?
      17   what were you providing training on?               17       A Correct.
      18       A All the promoted products for the            18       Q Did you sell -- sell or promote any
      19   division that I supported, which was the           19   opioid products there?
      20   anti-infective division.                           20       A No.
      21       Q Were you training on sales techniques,       21       Q Any controlled substances?
      22   disease state, all of the above?                   22       A No.
      23       A Product knowledge and sales skills.          23       Q What kind of products were you selling
      24       Q Okay. Thank you.                             24   and promoting with Eisai?


                                                Page 35                                                 Page 37
       1          Did you provide training on the legal or     1       A We had a product for Alzheimer's
       2   regulatory constraints on sale and promotion of     2   disease, and we had a product for GERD, the
       3   pharmaceuticals?                                    3   stomach.
       4       A I did not, but we had a department that       4       Q Okay. And then am I correct you joined
       5   did that.                                           5   Endo in June 2003?
       6       Q Okay. And as a sales rep, you were out        6       A Correct.
       7   calling on physicians?                              7       Q And what was your title when you joined
       8       A Correct.                                      8   Endo?
       9       Q What territory were you in, what area?        9       A Director of specialty sales.
      10       A Richmond, Virginia.                          10       Q Let's make sure I have then the whole
      11       Q How long did you do that for?                11   sequence.
      12       A About a year.                                12           Did you -- were you promoted from
      13       Q Okay. And why did you leave                  13   director of specialty sales directly to VP of
      14   Bristol-Myers?                                     14   sales?
      15       A I got an offer from another                  15       A Correct.
      16   pharmaceutical company.                            16       Q When were you promoted?
      17       Q And that was ESI?                            17       A June of 2007.
      18       A Correct.                                     18       Q Were you the immediate successor to Ron
      19       Q And were you a field sales director          19   Wickline?
      20   there?                                             20       A Yes.
      21       A I was a regional director there.             21       Q Thank you. And you stayed on as VP of
      22       Q Let me make sure I got the dates -- we       22   sales through September of 2013; is that right?
      23   have some dates, let me make sure they're right.   23       A Correct.
      24   My understanding is Bristol-Myers, you were        24       Q Okay. Who hired you at Endo?


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                                                 Page 38                                                    Page 40
       1        A Ron Wickline.                                 1      A
       2        Q Did you know Mr. Wickline before?
       3        A I did not.
       4        Q When you were hired as director of
       5   specialty sales, Mr. Wickline was then VP of         5           MR. MORRIS: Objection to form.
       6   sales, correct?                                      6   BY MS. SCULLION:
       7        A Correct.                                      7       Q If you know.
       8        Q So you reported to him.                       8       A Loss of patent protection, loss of
       9        A Yes.                                          9   revenue.
      10        Q And do you know who he reported to, by       10       Q You say loss of patent protection. Loss
      11   title?                                              11   of patent protection on a particular product?
      12        A I believe at the time it was Peter           12       A It was several products.
      13   Lankau, who was the, I think, executive             13       Q On which products?
      14   vice president of sales and marketing.              14       A I believe Opana ER as well as Voltaren
      15        Q Okay. All right. And you said you were       15   Gel.
      16   director of specialty sales. What was specialty     16       Q So if I understand correctly, up until
      17   sales?                                              17   that time Endo had been promoting both of those as
      18        A Specialty sales was the division that        18   branded products, and then when the patent
      19   called on specialists.                              19   protection was lost, there was a decline in
      20        Q As opposed to primary care physicians?       20   revenue in those products and that resulted
      21        A Primary -- correct.                          21
      22        Q Were there particular specialities that      22       MR. MORRIS: Objection to form.
      23   Endo's sales force was calling on at that time      23   BY MS. SCULLION:
      24   when you joined?                                    24     Q Is that correct?


                                                 Page 39                                                    Page 41
       1        A I know physical medicine and rehab            1      A Correct.
       2   was -- was one of the specialties. Pain              2      Q Okay. Thanks.
       3   management physicians were another specialty. And    3
       4   I don't recall others after that.
       5        Q Okay. And we'll get into some more            5        A I did.
       6   detail of that, but when you then became             6        Q And health -- sorry. Thank you.
       7   vice president of sales, I take it you then had      7            And that was September 2013?
       8   responsibility for both the specialty and the --     8        A Yes.
       9   is it called pharma --                               9        Q And did you stay with inVentiv until May
      10        A Yes.                                         10   2014?
      11        Q -- side of the sales?                        11        A No, I stayed with them until September
      12        A Correct.                                     12   of 2018. They actually merged --
      13        Q And pharma would have been handling the      13        Q To Syneos?
      14   primary care physicians, correct?                   14        A Yes.
      15        A Correct.                                     15        Q Yeah. Thank you.
      16        Q All right. When you were promoted in         16            Okay. What was your title -- when you
      17   June of 2007, who gave you that promotion?          17   first joined inVentiv Health, were you VP of sales
      18        A David -- I reported to David Kerr at         18   and sales support?
      19   that time.                                          19        A Yes.
      20        Q And he was senior vice president for         20        Q Okay. Did you then become senior vice
      21   commercial?                                         21   president of sales?
      22        A Commercial, mm-hmm.                          22        A Yes.
      23        Q Okay. And why did you leave Endo in          23        Q And that was in June 2014?
      24   September 2013?                                     24        A Yes.


                                                                               11 (Pages 38 to 41)
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       1       Q Okay. And you said you stayed with --           1        Q And that was just in the work context?
       2   and that was when it became Syneos in 2014; is        2        A Mm-hmm.
       3   that right?                                           3        Q I apologize, we're going to need to say
       4       A I actually -- I think it was later than         4   "yes" and "no."
       5   that. I don't know the specific date.                 5        A Yes. Yes.
       6       Q But at some point inVentiv became               6        Q It's not easy to remember.
       7   Syneos.                                               7          MR. MORRIS: You've been doing great so
       8       A Syneos.                                         8   far, but good -- good reminder.
       9       Q All right. And you stayed with then             9          MS. SCULLION: Yeah.
      10   Syneos through September 2018?                       10   BY MS. SCULLION:
      11       A Correct.                                       11        Q Linda Kitlinski?
      12       Q                                                12        A No.
                                                                13        Q Okay. Neil Shusterman?
                                                                14        A No.
                                                                15        Q Okay. Brian Lortie?
                                                                16        A No.
                                                                17        Q Okay.
                                                                18        A I -- I have seen Brian Lortie since --
                                                                19   actually, in a restaurant one time, but I have not
                                                                20   kept in contact with him.
                                                                21        Q Have you kept in contact with any sales
                                                                22   reps from Endo?
                                                                23        A None that I can recall.
      24      Q Okay. And have you been employed since          24        Q And just to make sure, with Mr. Jackson,


                                                 Page 43                                                     Page 45
       1   leaving Syneos?                                       1   have you ever discussed this litigation with
       2       A I have not.                                     2   Mr. Jackson?
       3       Q Okay. Since you left Endo, have you             3       A No.
       4   kept in touch with any of your former Endo            4       Q Have you since leaving Endo discussed
       5   colleagues?                                           5   with any of the folks you mentioned, Mr. O'Brien,
       6       A Several.                                        6   Mr. Jackson, Ms. DeTore -- or Mendez-DeTore,
       7       Q Which ones?                                     7   Endo's sale or promotion of opioids?
       8       A Kevin O'Brien, Ron Jackson, and Janett          8       A No.
       9   Mendez DeTore.                                        9          MS. SCULLION: Let me get the
      10       Q Any others?                                    10   demonstrative. We're going to mark.
      11       A No, not really.                                11          So we have two demonstratives we plan to
      12       Q Ron Wickline?                                  12   use today. I was thinking about marking those
      13       A No.                                            13   separately than just regular exhibits as DX, or do
      14       Q David Kerr?                                    14   you have a preference?
      15       A No.                                            15          MR. MORRIS: Well, let's mark them -- I
      16       Q Demir Bingol?                                  16   think just mark them as exhibits.
      17       A No.                                            17          MS. SCULLION: Just mark them as
      18       Q Kristin Vitanza?                               18   exhibits. All right. So this will be Exhibit 4.
      19       A No -- I actually saw Kristin. She              19   Sorry about that.
      20   worked for a company that I did some work for when   20          (Romaine Exhibit No. 4 was marked
      21   I was at Syneos.                                     21          for identification.)
      22       Q Okay.                                          22   BY MS. SCULLION:
      23       A But I just saw her one time in a               23       Q So, Mr. Romaine, I'm handing you what
      24   meeting.                                             24   has been marked as Exhibit No. 4, and this is just


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       1   a timeline that we thought would be helpful for       1           Is that okay?
       2   orientation throughout the day about certain          2        A Yes.
       3   events.                                               3           MR. MORRIS: And I'm going to object
       4       A Okay.                                           4   on -- to form, legal conclusion, and lack of
       5       Q I'll present to you we have put at the          5   foundation. He may or may not know the details of
       6   bottom of the -- of Exhibit 4 in footnotes            6   any of those companies.
       7   citations to documents from where we're getting       7   BY MS. SCULLION:
       8   these dates for various events. If at any point       8        Q I'm just -- I'm just -- I'm not asking
       9   you believe any of these dates are actually wrong,    9   you to sort of separate out Endo and any Endo
      10   please let me know, but they really are just --      10   subsidiaries that may have come in while you were
      11   just for orientation purposes today.                 11   employed with them. If they're under Endo, I'm
      12       A Okay.                                          12   just calling it all Endo.
      13       Q Because it has been I think some years,        13        A Okay.
      14   and these -- this spans some years, and I think it   14        Q If you have any questions about that
      15   will be helpful.                                     15   along the way, if you want to be clear about
      16           MR. MORRIS: And I'll just insert an          16   whether I'm talking about one entity or a
      17   objection noting that, you know, foundation.         17   subsidiary, please let me know.
      18   Whether he knows whether dates are wrong, he may     18        A Okay.
      19   not know any of that too. But you asked him to       19        Q Okay. Thanks.
      20   note if the dates are wrong, he may not even know.   20           MR. MORRIS: I'll still object to form,
      21   So...                                                21   foundation, legal conclusion.
      22   BY MS. SCULLION:                                     22   BY MS. SCULLION:
      23       Q I certainly only want you to speak today       23        Q So, Mr. Romaine, just to make sure we're
      24   on things you actually know.                         24   all on the same page, do you recall Endo was


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       1       A Okay.                                           1   founded in 1997; is that correct?
       2       Q Before you get into the timeline, we've         2          MR. MORRIS: Objection to form.
       3   been talking today about -- or I've been using the    3          THE WITNESS: I think so.
       4   term "Endo." I just want to be clear when I'm         4   BY MS. SCULLION:
       5   using the term "Endo," I'm talking about both the     5       Q Okay. Do you remember Carol Emon --
       6   defendants in this action, which are Endo             6   Ammon and some others had acquired a portfolio of
       7   Pharmaceuticals, Inc. -- I believe that was --        7   products from DuPont Merck when they formed Endo?
       8   that was your employer, correct?                      8       A Yes.
       9       A Correct.                                        9       Q Okay. And -- and those products
      10       Q Okay. That's on the separation                 10   included Percocet, correct?
      11   agreement we looked at.                              11       A Correct.
      12          -- as well as Endo Health Solutions,          12       Q Those products also included something
      13   Inc. I'm going to just call them both together       13   called Numorphan, correct?
      14   Endo.                                                14          MR. MORRIS: Objection to form and
      15          And Endo Health Solutions, Inc., I            15   foundation.
      16   think, used to be called Endo Pharmaceuticals        16          THE WITNESS: I'm not familiar with
      17   Holdings, Inc., was the former name. That also is    17   Numorphan.
      18   included when I say "Endo."                          18   BY MS. SCULLION:
      19       A Okay.                                          19       Q Okay. But do you -- do you recall that
      20       Q And if -- if there were any companies          20   the Endo name itself though went back to like the
      21   that were acquired, brought in as operating          21   1920s and had quite a history?
      22   companies, subsidiaries of Endo, those are           22          MR. MORRIS: Objection. Form,
      23   going -- those are included within the term "Endo"   23   foundation, legal conclusion.
      24   when I use that.                                     24          THE WITNESS: I wasn't -- I didn't have



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       1   the knowledge of that.                              1   the day is we're going to try and have these "E"
       2   BY MS. SCULLION:                                    2   numbers on the documents so it's a little bit
       3        Q Okay. Do you recall that Percocet            3   easier to follow through than the lengthy numbers
       4   itself was introduced in 1976?                      4   at the bottom, but just to give you some
       5        A I --                                         5   orientation.
       6           MR. MORRIS: Objection. Form and             6           And if you look at Exhibit No. 5, this
       7   foundation.                                         7   is an e-mail from you to Meera Mehta in March of
       8           THE WITNESS: I don't know the date of       8   2011, correct?
       9   that.                                               9        A Yes.
      10           MS. SCULLION: Okay. Just one second.       10        Q And you're telling Ms. Mehta that you've
      11             (Counsel conferring.)                    11   made some adjustments to the attached document,
      12   BY MS. SCULLION:                                   12   let's use this as the final version.
      13        Q Percocet was a product that you sold        13           The documents attached appears to be a
      14   when you were with Endo?                           14   PowerPoint presentation that you used for new hire
      15        A They were phasing it out as I was coming    15   training in March of 2011, correct?
      16   in.                                                16        A That's what it looks like.
      17        Q But it was sold while -- while you were     17        Q Okay. And if you will turn to page
      18   with Endo, correct?                                18   E1186.8, it says "The Endo Story."
      19        A By our sales force.                         19        A Oh.
      20        Q Okay. And do you recall that's a            20        Q And this looks like it's essentially a
      21   product that was oxycodone and APAP?               21   timeline overview of some history with respect to
      22        A Yes.                                        22   Endo, correct?
      23        Q Okay. And oxycodone, that's a class 2       23        A That's what it looks like.
      24   narcotic, correct?                                 24        Q Okay. And is this something that you


                                               Page 51                                                   Page 53
       1       A Yes.                                          1   would present to new hires as a way to sort of
       2       Q All right. And it's the same narcotic         2   orient them to the company?
       3   that's in OxyContin?                                3        A I don't recall, but that's -- looks like
       4       A I -- yes.                                     4   what it could be.
       5       Q Okay.                                         5        Q Okay. If you'll look on the bottom
       6            MS. SCULLION: Can we mark this as the      6   left-hand corner of the page, you see it says,
       7   next exhibit.                                       7   "Endo founded 1920"?
       8            (Romaine Exhibit No. 5 was marked          8        A Yes.
       9            for identification.)                       9        Q Does that sound about right to you?
      10            MS. SCULLION: No, I marked my copy.       10           MR. MORRIS: Objection. Form.
      11            Thanks.                                   11           THE WITNESS: I -- I don't recall.
      12   BY MS. SCULLION:                                   12   BY MS. SCULLION:
      13       Q Let me hand you what's been marked as        13        Q Okay. And then you see it says, "Endo
      14   Exhibit No. 5. And this is Bates-stamped           14   sold to DuPont in 1969"?
      15   ENDO-CHI_LIT-00151712.                             15        A Yes.
      16            Mr. Romaine, before we look through the   16        Q Okay. And then above that, it says,
      17   document, I just want to orient you a little bit   17   "Percocet launched 1976."
      18   to one of the things we tried to do here.          18        A Yes.
      19            If you look in the upper right-hand       19        Q And again, does -- does that seem about
      20   corner of the document, you see it says E1186.1?   20   right to you?
      21       A I'm sorry. Can --                            21        A Again, I don't recall.
      22       Q The top right.                               22        Q Do you recall that Percocet, though, had
      23       A Oh, yes. I'm sorry.                          23   launched many years before the Endo that you
      24       Q Yeah. So what we try to do throughout        24   worked for was founded?


                                                                              14 (Pages 50 to 53)
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       1       A Yes.                                           1   wasn't promoting it for the sales force, was still
       2       Q Okay. It was -- it was a pretty mature         2   selling Percocet in 2013?
       3   product by the time you came to the company,         3        A I'm assuming other areas or functions in
       4   correct?                                             4   the company had responsibility for that. I did
       5       A I don't --                                     5   not. So I was taken away from that.
       6           MR. MORRIS: Object to form.                  6        Q Okay. But from time to time did you see
       7           THE WITNESS: I don't -- I don't know.        7   reports that would show they were still selling
       8   BY MS. SCULLION:                                     8   Percocet in 2013, sales numbers?
       9       Q You don't know whether it was mature or        9        A I never -- I don't recall. I don't
      10   not?                                                10   recall seeing reports.
      11       A I -- I don't know when it was -- I            11        Q Okay. If you go back to Exhibit No. 4,
      12   wasn't at the company at the time.                  12   the little timeline. Now, you joined in
      13       Q No, when you joined in 2003 --                13   June 20 -- 2013 -- no, sorry, June 2003.
      14       A Yes.                                          14        A Correct.
      15       Q -- and Endo was still selling Percocet,       15        Q And do you recall, though, that Endo had
      16   by that point it was -- it was a fairly mature      16   launched some various strengths and variants on
      17   product, though, right?                             17   Percocet over the years? So on this timeline,
      18       A I would assume so.                            18   January of 2003, there was a launch of a couple of
      19       Q Okay. And that's what it indicates here       19   variants, 7.5/500, 10/650, 2.5/325, and then in
      20   in your presentation, that Percocet was launched    20   January of 2002, there is a launch of the 7.5/325
      21   in 1976, and Endo was still selling Percocet in     21   and the 10/325.
      22   2003, correct?                                      22            Do you recall that?
      23           MR. MORRIS: Objection to form.              23            MR. MORRIS: Objection. Form and
      24           THE WITNESS: They were still selling it     24   foundation.


                                                 Page 55                                                   Page 57
       1   in 2003.                                             1           THE WITNESS: I don't recall.
       2   BY MS. SCULLION:                                     2   BY MS. SCULLION:
       3       Q Okay. And moving up the timeline on            3       Q Okay. And then in January of 2004, do
       4   this page, it says, "Opana brand launched 2006."     4   you recall that Endo had a relaunch of the 2.5/325
       5   Do you see that?                                     5   strength?
       6       A Yes.                                           6       A Yes.
       7       Q Okay. And the Qualitest acquisition at         7       Q All right. That was something that you
       8   the very top, 2010, do you see that?                 8   were involved in?
       9       A Yes.                                           9       A Yes.
      10       Q Did you have any role in the Qualitest        10       Q All right. And then next on the
      11   acquisition?                                        11   timeline, you see "June 2005, Launch of generic
      12       A I did not.                                    12   oxycodone." Do you recall that Endo for a period
      13       Q Okay. All right. So put this aside for        13   did sell generic oxycodone?
      14   a moment.                                           14       A I -- I don't recall that.
      15          When you joined Endo in 2003, the            15       Q Do you recall one way or the other?
      16   specialty sales force was at that point detailing   16       A No.
      17   on Percocet, right?                                 17       Q Okay. And then next is June 2006, the
      18       A Yes.                                          18   approval of Opana ER/IR. Do you recall that?
      19       Q Okay. And when you left Endo in 2013,         19       A Yes.
      20   Endo as a company was still selling Percocet,       20       Q Okay. And then in December 2011, there
      21   correct?                                            21   was approval for a reformulated version of -- of
      22       A I wasn't involved in that. I don't -- I       22   Opana ER, correct?
      23   don't know.                                         23       A Correct.
      24       Q Are you aware that Endo, even if it           24       Q All right. And do you recall that in


                                                                               15 (Pages 54 to 57)
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       1   February of 2012, there was discontinuation of the    1   never kicked in.
       2   original version of Opana ER?                         2           MS. SCULLION: There are more coming.
       3           MR. MORRIS: Objection to form.                3   That happens these days.
       4           So my -- I have an objection to form and      4   BY MS. SCULLION:
       5   foundation, but if you can answer the -- if you       5       Q And do you recall that the -- that the
       6   can answer the question, you can.                     6   IV and suppository preparations of oxymorphone had
       7           THE WITNESS: Oh, I didn't hear the            7   at one point been branded as Numorphan?
       8   question. I'm sorry.                                  8       A I don't recall that.
       9   BY MS. SCULLION:                                      9       Q Don't remember the name at all for
      10       Q So I apologize. Let me try a new               10   Numorphan?
      11   question. It may be easier.                          11       A No.
      12           So there was approval for reformulated       12       Q Okay. Are you aware, though, that the
      13   Opana ER in December of 2011.                        13   IV and suppository forms of oxymorphone had been
      14       A Yes.                                           14   sold by Endo prior to the June 2006 approval of
      15       Q Do you recall then after that in 2012,         15   Opana ER and IR?
      16   the original version of Opana ER was discontinued,   16           MR. MORRIS: Objection. Form and
      17   and then approximately April 2012 there was the      17   foundation --
      18   actual commercial launch of the reformulated         18           THE WITNESS: I don't recall that.
      19   version?                                             19           MR. MORRIS: -- legal conclusion.
      20       A Yes.                                           20           Just as a reminder, you've been doing
      21       Q Okay. And I think you explained that           21   great, but not speaking over also includes my
      22   then in 2013, Opana ER faced generic competition     22   objections. It's hard for the court reporter. So
      23   for -- from a generic version of oxymorphone,        23   we apologize. Question, if I object, then go
      24   correct?                                             24   ahead with your answer.


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       1       A Correct.                                        1          THE WITNESS: Okay.
       2       Q As VP of sales, were you aware that Endo        2          MR. MORRIS: You're doing great, though.
       3   was also selling not only Opana in tablet oral        3          THE WITNESS: Sorry.
       4   form but also in IV and suppository forms?            4          MR. MORRIS: No, that's okay. You're
       5       A Yes.                                            5   doing great. This is a totally unnatural
       6       Q Okay. And those were also oxymorphone           6   environment.
       7   preparations, correct?                                7   BY MS. SCULLION:
       8       A Correct. That was outside of my scope           8       Q So we spoke a little bit about the
       9   of responsibility, though.                            9   concept of controlled substances. Let's make sure
      10       Q But you were aware those were being            10   that we're on the same page.
      11   sold.                                                11          You understand that opioids are a
      12       A I was aware that there was --                  12   controlled substance?
      13       Q In fact, there -- there was some effort        13       A Yes.
      14   to have a continuum of care between the forms        14       Q And they are classified as a class 2
      15   used in the hospital setting and -- and after        15   narcotic?
      16   hospital?                                            16       A Yes.
      17          MR. MORRIS: Objection. Foundation.            17       Q All right. And is it fair to say
      18          THE WITNESS: I don't recall that.             18   class 2 narcotics are not regulated the same as
      19   BY MS. SCULLION:                                     19   other prescription medications, correct?
      20       Q Okay.                                          20       A I -- I believe so.
      21       A I didn't have hospital responsibility.         21       Q Okay. They're tightly controlled due to
      22       Q Okay. All right. "Outpatient" was the          22   the known inherent risks of those products?
      23   word I was looking for and lost. Thank you.          23       A Right, with a black box warning.
      24          MR. MORRIS: Noted for the record. It          24       Q Okay. What are some of the risks that


                                                                                16 (Pages 58 to 61)
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       1   you understand are inherent in prescription          1   indicated.
       2   opioids?                                             2        Q Does diversion also include phony
       3        A I think if they're taken inappropriately      3   prescriptions, for example?
       4   or prescribed inappropriately, based on the black    4        A Yes.
       5   box warning, there is risk for addiction.            5        Q What other channels of diversion did you
       6        Q So the risk for addiction, your               6   become aware of with respect to prescription
       7   understanding, is only if they're taken              7   opioids?
       8   inappropriately?                                     8           MR. MORRIS: Objection. Form.
       9        A It -- there's a black box warning, so,        9           THE WITNESS: I don't recall.
      10   you know, patients have to be aware.                10   BY MS. SCULLION:
      11        Q Just to make sure I understand, though,      11        Q Internet pharmacies?
      12   is there a risk of addiction if they are taken      12        A I wasn't aware of internet pharmacies.
      13   inappropriately?                                    13        Q Okay. You weren't aware that there was
      14        A There's risk for addiction when you're       14   a widespread problem of internet pharmacies
      15   taking those. So physicians have to warn            15   selling prescription opioids?
      16   patients, and patients have to be aware of that.    16        A I don't recall that.
      17           Does that answer your question?             17        Q Okay. How about just plain theft of
      18        Q I guess the question is, are those           18   opioids from a relative's medicine cabinet?
      19   risks -- those risks exist only when the product    19        A Yes.
      20   is being taken inappropriately?                     20        Q That was a problem?
      21           MR. MORRIS: Objection. Form,                21           MR. MORRIS: Objection to form.
      22   foundation.                                         22           THE WITNESS: Obviously it could be a
      23   BY MS. SCULLION:                                    23   problem.
      24        Q I'm just trying -- and you said --           24   BY MS. SCULLION:


                                                 Page 63                                                   Page 65
       1   that's how you initially phrased it. I'm just        1       Q That was a problem you became aware did
       2   making sure I understand.                            2   occur from time to time?
       3       A Yeah, the risks -- the risk exists, and        3       A I -- I have heard of it in the news,
       4   patients and physicians have to be aware of that.    4   yes.
       5       Q Okay. Do those risks exist if the              5       Q Okay. How about patients getting
       6   product is being taken appropriately?                6   multiple prescriptions for opioids and selling
       7       A The risk is at any time. Hence, the            7   their pills?
       8   black box warning.                                   8       A I'm not -- I'm not specifically aware of
       9       Q Okay. Are there other risks associated         9   any of that.
      10   with prescription opioids?                          10       Q Were you aware that that was an issue
      11           MR. MORRIS: Objection. Foundation.          11   that did occur, though, with prescription opioids?
      12           THE WITNESS: I don't -- I don't recall.     12       A I've heard that in the news, yes.
      13   BY MS. SCULLION:                                    13       Q Okay. You only heard it in the news?
      14       Q Do you recall there's risks of abuse?         14       A I -- I don't recall any other time.
      15       A I think based on the black box warning        15       Q As vice president of sales for Endo, you
      16   that there is -- there is abusive potential.        16   were overseeing Endo's sale of Opana ER, correct?
      17       Q Okay. A risk of misuse?                       17       A I was overseeing our sales organization.
      18       A Risk of misuse.                               18       Q Okay. And that included the sales
      19       Q Risk of diversion?                            19   organization with respect to Opana ER, correct?
      20       A Risk of diversion.                            20       A Correct.
      21       Q What do you understand "diversion" to         21       Q And they were also selling Opana IR,
      22   mean?                                               22   correct?
      23       A Being prescribed inappropriately or           23       A For a short period of time, yes.
      24   taken when you're not -- it's not really            24       Q Okay. And when you first joined Endo,


                                                                               17 (Pages 62 to 65)
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       1   I'm sorry, as director of specialty --                1   manager, and then they -- and the district manager
       2        A Specialty sales.                               2   would tell them or they would know to call this
       3        Q -- specialty sales, you were overseeing        3   hotline for investigation.
       4   the specialty sales -- sales force that was           4       Q Were they supposed to do anything else?
       5   selling Percocet, at least for some time, correct?    5       A They reported up through the channels,
       6        A Correct.                                       6   and that came through their district manager, and
       7        Q And those are all prescription opioids,        7   then it would go to our compliance department for
       8   right?                                                8   investigation.
       9        A Correct.                                       9       Q Were you ever involved in any of those
      10        Q Did you ever get any training on what         10   investigations?
      11   the various known channels of diversion were with    11       A No.
      12   respect to prescription opioids?                     12       Q Was anyone outside compliance involved
      13        A We were trained if we heard any               13   in the investigations?
      14   information about diversion to call a compliance     14       A I don't know that.
      15   hotline. That's how we trained our sales force.      15           MR. MORRIS: Objection. Form and
      16   They weren't involved in that.                       16   foundation.
      17        Q Let me make sure I understand.                17   BY MS. SCULLION:
      18           Did you, though -- did you get training      18       Q Was the sales department involved in
      19   about what all the possible channels of diversion    19   those investigations?
      20   are with respect to prescription opioids?            20       A No.
      21        A I don't recall specifically that I            21       Q And if the result of that
      22   was -- we were trained.                              22   investigation -- well, let me ask you, so -- so
      23        Q You mentioned there was a compliance          23   what would compliance do after they completed
      24   hotline, I think you said, correct?                  24   their investigation? Would they ever communicate


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       1       A Mm-hmm.                                         1   back to the sales department on the results of
       2       Q We're going to need you to say "yes" or         2   their investigation?
       3   "no."                                                 3       A They would communicate back if -- if
       4       A Yes.                                            4   they -- if they found it to be a -- that there was
       5       Q Thank you.                                      5   diversion and that that person was removed from
       6           And so tell me again, what was your           6   our -- our call plan.
       7   understanding of the -- the procedure with respect    7       Q So if compliance confirmed there was
       8   to reporting diversion?                               8   diversion, then the provider would be removed from
       9       A There was a number that the                     9   the call plan?
      10   representatives could call if they suspected         10       A Yes.
      11   diversion.                                           11       Q Would anything else happen?
      12       Q So if a -- a representative means a            12       A I -- I don't know what happened after
      13   salesperson, correct?                                13   that. It was outside of my responsibility. I'm
      14       A Mm-hmm.                                        14   sure there were -- I do know that other people --
      15       Q Okay. So the --                                15   it was triaged to other departments to work --
      16           MR. MORRIS: You've got to -- sorry.          16   work on, but I don't know what that was.
      17           THE WITNESS: Yes. I'm sorry.                 17       Q So what do you -- what do -- what's your
      18   BY MS. SCULLION:                                     18   understanding of what you mean by "triaged to
      19       Q So if a salesperson, an Endo salesperson       19   other department to work on"?
      20   in the field suspects there is diversion occurring   20       A So if -- if there was diversion taking
      21   in the geographic area that they're working in,      21   place, it was triaged to and probably -- and other
      22   what are they supposed to do -- what were they       22   departments were responsible for reporting that,
      23   supposed to do?                                      23   and an investigation through the government
      24       A They would contract their district             24   probably at that point.


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       1       Q Do you know one way or the other about          1   potentially be a pill mill, correct.
       2   whether other departments were in fact responsible    2       Q Okay. All right. Was there any other
       3   to report diversion to any government authorities?    3   training that Endo provided with respect to
       4       A I do know there were -- there were              4   potential diversion?
       5   departments that had that responsibility, but I --    5       A I -- I don't recall.
       6   I didn't work closely with them.                      6       Q Okay. And so -- and going back to our
       7       Q Which departments were those?                   7   discussion of the risks inherent in a prescription
       8       A I don't know the names of the                   8   opioid, was overdose a -- an inherent risk?
       9   departments. I don't recall.                          9       A I think it is a risk, and that was
      10       Q Do you have a sense of what -- what the        10   included in the black -- issues in the black box
      11   areas of responsibility they had generally? I        11   warning.
      12   mean you don't need to give names. I'm just          12       Q Okay. And the risks that are in the
      13   trying to understand -- you're thinking of           13   black box and that we've talked about, addiction,
      14   something. I'm trying to understand what you're      14   abuse, misuse, diversion, overdose, those are real
      15   thinking of.                                         15   risks with prescription opioids, correct?
      16       A I -- I just know it was -- that it was         16          MR. MORRIS: Objection. Form.
      17   triaged to other departments to be handled, but I    17          THE WITNESS: Yes.
      18   don't know what happened after that.                 18   BY MS. SCULLION:
      19       Q Okay.                                          19       Q They're not some theoretical phobia,
      20       A I do know the company took it very             20   anything like that; those are actual risks.
      21   seriously.                                           21       A Correct.
      22       Q Took what very seriously?                      22       Q Okay. And you would agree that
      23       A Took any form of potential diversion.          23   companies that manufacture and sell and distribute
      24       Q But you don't recall, for example, ever        24   prescription opioids have obligations to -- to


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       1   getting any training as VP of sales -- sales          1   take reasonable steps to -- to address those
       2   specifically about diversion?                         2   risks.
       3        A We did train on what to look for with          3       A Correct.
       4   diversion.                                            4       Q Okay. And so, for example, an
       5        Q And when you say "what to look for,"           5   obligation to monitor for possible diversion.
       6   what do you mean?                                     6       A Yes.
       7        A You know, potential factors that might         7          MR. MORRIS: Objection to form.
       8   give you a clue that diversion could be taking        8   BY MS. SCULLION:
       9   place in some of these offices.                       9       Q And an ob- --
      10        Q Are you talking about looking for pill        10          MR. MORRIS: Legal conclusion.
      11   mills?                                               11   BY MS. SCULLION:
      12        A Yes.                                          12       Q And an obligation to -- to report
      13        Q All right. What's your understanding of       13   suspected diversion.
      14   what a pill mill is?                                 14          MR. MORRIS: Objection to form, legal
      15        A My understanding of a pill mill is that       15   conclusion, foundation.
      16   it's a -- it's a -- it was physicians' offices       16          THE WITNESS: Yes.
      17   that were prescribing but maybe didn't have a        17   BY MS. SCULLION:
      18   brick and mortar office, and they were just          18       Q Okay. And an obligation to try to -- to
      19   prescribing for patients who were looking for        19   prevent potential diversion?
      20   opioids.                                             20          MR. MORRIS: Objection to form, legal
      21        Q And Endo provided the sales force with        21   conclusion, foundation.
      22   training on what to look for to try to see if        22          THE WITNESS: Yes.
      23   there was a pill mill, correct?                      23   BY MS. SCULLION:
      24        A Tried to identify if it could                 24       Q And your counsel is raising an objection


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       1   to legal conclusion.                                  1   10:23 a.m., and we're back on the record.
       2           I'm asking -- let me ask the same             2   BY MS. SCULLION:
       3   questions about an obligation to try to prevent       3        Q Welcome back, Mr. Romaine. You
       4   diversion, monitor for diversion, report              4   understand that you're still under oath?
       5   diversion. Even putting aside legal obligations,      5        A I do.
       6   you would agree that a reasonably responsible         6        Q Thank you.
       7   corporation should be undertaking those -- those      7            When you joined Endo in 2003, is it
       8   steps, correct?                                       8   correct that Endo was in the process of revamping
       9           MR. MORRIS: Objection. Form,                  9   its -- its sales force?
      10   foundation, legal conclusion still.                  10            MR. MORRIS: Objection to form.
      11           THE WITNESS: Yes. Which is why we had        11            THE WITNESS: I don't recall the
      12   processes in place to be able to report.             12   specifics.
      13   BY MS. SCULLION:                                     13   BY MS. SCULLION:
      14        Q And the process that -- that you              14        Q Do you recall at some point in time
      15   identified is sales reps and district managers       15   before you had joined, Endo's sales force was
      16   being able to report suspected pill mills and have   16   largely outsourced through inVentiv --
      17   compliance investigate, correct?                     17        A Yes.
      18        A For further investigation, correct.           18        Q -- correct?
      19        Q Okay. Anything else that the sales            19            Okay. And we're going to try not to
      20   department was doing to monitor for potential        20   speak over each other. I apologize.
      21   diversion?                                           21            And when you joined in 2003, was there
      22        A They had -- I mean, they had a way to         22   an effort ongoing at that time to create a larger
      23   report it. That's all I can -- that's all I          23   in-house sales force within Endo?
      24   remember.                                            24        A When -- when I joined in 2003, we had


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       1        Q As vice president of sales, were you           1   a -- an in-house sales force of 70
       2   ever asked to undertake any -- any other efforts      2   representatives.
       3   to monitor potential diversion of Endo's              3        Q And by the time you left Endo, do you
       4   prescription opioids?                                 4   know what that grew to approximately?
       5        A I don't recall that.                           5        A I don't recall specifics, but I think at
       6        Q Did you ever inquire whether further           6   one point with inVentiv as well as Endo, there
       7   steps should be taken to monitor for potential        7   were probably in the neighborhood of four to 500
       8   diversion beyond having the -- the compliance         8   representatives.
       9   hotline that can be called?                           9        Q Can I show you -- I have 1186.
      10           MR. MORRIS: Objection. Form,                 10           MS. SCULLION: Oh, that's Exhibit 5?
      11   foundation.                                          11   Thank you very much.
      12           THE WITNESS: I did not, because, again,      12   BY MS. SCULLION:
      13   it was out of my area of responsibility and          13        Q Can we look back at Exhibit 5.
      14   expertise.                                           14           And if you will turn --
      15           MS. SCULLION: Okay. We've actually           15        A Let me double-check this it -- this --
      16   been going just about an hour. I was going to        16   okay.
      17   suggest we take a quick break and then come back.    17        Q Yeah. And, again, this is the new hire
      18   Is that okay?                                        18   presentation from 2011 that you were using.
      19           MR. MORRIS: Sure.                            19           If you go to the page we've marked at
      20           THE WITNESS: Yes.                            20   the top E1186.10, it says "Targeted Sales &
      21           THE VIDEOGRAPHER: The time is                21   Marketing."
      22   10:07 a.m. We're going off the record.               22           And again, this is in 2011. It
      23           (Recess.)                                    23   indicates here that the national sales force
      24           THE VIDEOGRAPHER: The time is                24   consisted at that point of 418 Endo sales


                                                                                20 (Pages 74 to 77)
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       1   representatives, 228 inVentiv sales professionals,    1   contracted in, correct?
       2   75 urology representatives, and 27 medical center     2        A Correct.
       3   representatives.                                      3        Q But as VP of sales, were you still
       4           Do those numbers sound about right for        4   overseeing their contracted work?
       5   2011?                                                 5        A Yes.
       6        A Yes.                                           6        Q All right. Did the Endo sales
       7        Q All right. So the size of the sales            7   professionals and the inVentiv sales professionals
       8   force had grown considerably since the time you       8   all receive the same training?
       9   had joined Endo.                                      9        A Yes.
      10        A Correct. Keep in mind, though, we had         10        Q All right. So they would receive
      11   different divisions that had -- these people were    11   training in sales skills, for example?
      12   selling different products. So...                    12        A And product knowledge.
      13        Q Okay. And as vice president of sales in       13        Q All right. And -- okay. And by
      14   2011, you were overseeing the entire national        14   "product knowledge," that includes disease state?
      15   sales force, though, correct?                        15        A Correct.
      16        A I -- I did not have urology                   16        Q All right. And just to sort of orient
      17   representatives or the medical center                17   and make sure we're on the same page, I want to
      18   representatives.                                     18   talk about the structure of -- of the sales force.
      19        Q Okay. Who oversaw --                          19           So -- so starting at the field level,
      20        A And the inVentiv representatives were         20   you've got salespeople in the field and some of
      21   obviously contract.                                  21   them are employed by Endo and some are contracted
      22        Q Let me take those pieces apart.               22   through inVentiv, correct?
      23           Urology representatives, who oversaw         23        A Correct.
      24   those?                                               24        Q And we've talked about that they're


                                                   Page 79                                                  Page 81
       1       A A gentleman by the name of Marty Lutz.          1   split between pharma and specialty divisions,
       2       Q And the medical center representatives,         2   correct?
       3   who oversaw those?                                    3       A Well, and at one point -- the structure
       4       A I think Marty had those as well.                4   of the sales force ebbed and flowed a lot over the
       5       Q I take it the urology representatives           5   years, but at one point they became all one. So a
       6   were calling on urologists specifically?              6   representative would have responsibility for all
       7       A Correct.                                        7   the physicians in a certain geography.
       8       Q All right. And was that in connection           8       Q Do you recall what point in time that
       9   with the Fortesta product?                            9   occurred?
      10       A Yes.                                           10       A I don't recall specifically.
      11       Q Okay. And the medical center                   11       Q Was it towards the end of your time with
      12   representatives, I assume they're calling on         12   Endo?
      13   medical centers, but what types of medical centers   13       A It was probably in the 2011 period,
      14   were they calling on?                                14   yeah.
      15       A I'm not sure, but I know they had a            15       Q And to make sure I understand correctly,
      16   product called Supprelin, which they sold.           16   whatever time frame that happened, sounds like
      17       Q Okay. So neither the urology nor the           17   maybe 2011, the distinctions between pharma and
      18   medical center representatives were detailing on     18   specialty ceased to exist and it became one
      19   the -- on Opana, correct?                            19   unified sales force?
      20       A Correct.                                       20       A Correct.
      21       Q All right. But as to the Endo sales            21       Q All right. And did it remain that way
      22   professionals and the inVentiv sales                 22   until you left Endo?
      23   professionals -- let me just back up.                23       A Yes.
      24           The inVentiv sales professionals were        24       Q Okay. In terms of -- I think you


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       1   mentioned the word "territory." Each salesperson      1       A Correct.
       2   was assigned to at least one sales territory,         2       Q They're leading that district?
       3   correct?                                              3       A Yes.
       4       A There were -- yes, but there were               4       Q All right. And the districts were then
       5   overlaps sometime of physicians.                      5   organized into regions, correct?
       6       Q So you could have two different sales           6       A Yes.
       7   reps responsible for a given physician if there       7       Q All right. And each region had a
       8   was overlap.                                          8   regional business director assigned to it,
       9       A Right.                                          9   correct?
      10       Q Okay.                                          10       A Correct.
      11       A And in many cases it might have been an        11       Q Now, the regional business director,
      12   Endo representative and an inVentiv representative   12   were they -- were their offices in the region or
      13   in the same overall geography.                       13   were they sometimes back at Endo's headquarters in
      14       Q Okay. One thing I did want to clarify,         14   Pennsylvania?
      15   were there -- within the inVentiv group, were        15       A They worked from their home, so they
      16   those also split between pharma and specialty, or    16   worked out of a home office in their home.
      17   was specialty solely Endo in-house?                  17       Q Okay.
      18       A Specialty was mainly Endo in-house.            18       A But they also spent a lot of time in our
      19       Q Okay. And was pharma mainly inVentiv,          19   home -- home office.
      20   or was that split?                                   20       Q That would be in Chadds Ford,
      21       A It was mainly inVentiv.                        21   Pennsylvania?
      22       Q Okay, so pharma. And then the -- there         22       A Chadds Ford.
      23   were sales territories that -- geographic areas      23       Q Okay. And the regional business
      24   that were assigned out, correct?                     24   director again is someone who generally had -- had


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       1       A Correct.                                        1   some field sales experience themselves?
       2       Q Okay. And the territories were then             2       A Yes.
       3   grouped into districts; is that right?                3       Q And then they probably had some
       4       A Yes.                                            4   managerial experience before they were made a
       5       Q All right. And did each district have a         5   regional business director, correct?
       6   district manager?                                     6       A Plus other experiences in a home office
       7       A Yes.                                            7   environment like operations or marketing or
       8       Q And am I correct that the district              8   something like that.
       9   manager would be working within that geographic       9       Q Okay. And the district managers report
      10   district, would be in that district itself?          10   up to their regional business directors?
      11       A Yes.                                           11       A That's correct.
      12       Q Okay. And the district manager, you're         12       Q And the regional business directors
      13   talking about being district manager with            13   reported to you?
      14   Bristol-Myers, right?                                14       A That's correct.
      15       A Many years ago, yes.                           15       Q And the regional business directors,
      16       Q Okay. And is it typically the case at          16   they were leading their regions.
      17   Endo that the district manager was someone who had   17       A Yes.
      18   been a salesperson?                                  18       Q Correct? Okay.
      19       A Yes.                                           19          We talked about some of the numbers over
      20       Q All right. They were experienced.              20   time. Okay.
      21       A Yes.                                           21          So for the sale -- the field
      22       Q Okay. And they're working with the             22   salespeople, those are sometimes called sales
      23   sales -- salespeople within their district,          23   reps, correct?
      24   correct?                                             24       A Mm-hmm.


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       1       Q If I use the term --                            1       A That's correct.
       2       A Yes.                                            2       Q The nurses?
       3       Q -- salespeople --                               3       A Yes.
       4       A Yes.                                            4       Q Physicians assistants?
       5       Q -- that means the same thing?                   5       A Yes.
       6       A Yes.                                            6       Q They're expected to sort of get to know
       7       Q Okay. And the principal activity they           7   the entire office, correct?
       8   engaged in was going out and calling on healthcare    8       A They had -- yeah, they built a
       9   professionals in their territory, correct?            9   relationship with the office, yes.
      10       A That's correct.                                10       Q Okay. What was the value of building a
      11       Q And that's called detailing?                   11   relationship for a salesperson?
      12       A Yes.                                           12           MR. MORRIS: Objection. Form.
      13       Q Okay. How many days a week were they           13           THE WITNESS: To enhance their
      14   out detailing on average?                            14   relationship in the overall office.
      15       A It was --                                      15   BY MS. SCULLION:
      16          MR. MORRIS: Objection to form.                16       Q And why was that important for a
      17          THE WITNESS: The -- can you clarify,          17   salesperson?
      18   the sales representative?                            18       A It's a trusting relationship that
      19   BY MS. SCULLION:                                     19   they -- they created and built.
      20       Q Yes.                                           20       Q Okay. And they're building that
      21       A Five.                                          21   trusting relationship with -- again, with the
      22       Q And they're generally trying to see            22   staff of the -- of the office?
      23   around eight to ten healthcare providers a day?      23       A The entire office, yes.
      24       A Usually around six.                            24       Q Including the -- the physicians.


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       1        Q Okay. Sometimes more, sometimes less?          1       A Yes.
       2        A Mm-hmm.                                        2       Q Okay. Were they -- I think you
       3        Q I need you to say "yes" or "no."               3   mentioned they're using marketing materials, so
       4        A Yes. I'm sorry.                                4   those would include, for example, what, brochures?
       5        Q Thank you.                                     5       A Brochures.
       6           And when we talk about a detailing, can       6       Q Dosing guides?
       7   you describe what detailing would entail, what it     7       A Yes.
       8   would look like?                                      8       Q It could include reprints of articles --
       9        A A representative would go in for a sales       9   of studies?
      10   presentation to a physician and they would give      10       A That were approved for use.
      11   full prescribing information. So there may be        11       Q Correct. Okay.
      12   several products that they're talking to that        12          I think also we talked about they can
      13   individual physician about, so they would go         13   include premiums like pens, lanyards, things that
      14   through their -- their sales presentation and        14   just have the brand name on them, correct?
      15   they would have materials that would guide them,     15          MR. MORRIS: Objection to form.
      16   that were marketing pieces that they would use to    16          THE WITNESS: Yes, but those were phased
      17   guide them. And then they would talk about the       17   out based on pharma guidelines.
      18   benefits the product might have for a particular     18   BY MS. SCULLION:
      19   patient or the dosing of that particular product     19       Q Can you explain what you mean by that?
      20   and -- and the side effects that could potentially   20       A Pharma guidelines changed where you
      21   happen with a product like that.                     21   couldn't use promotional -- we called it
      22        Q Okay. When a salesperson is going to --       22   tchotchkes in -- in the industry. So they only
      23   to detail, they're also talking to the office        23   used promotional pieces with information about the
      24   staff?                                               24   product.


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       1       Q Okay. And the promotional pieces               1           It could be a lot less than 5 minutes
       2   would -- would include, for example, as we said,     2   sometimes?
       3   sort of the dosing guides, correct?                  3       A At times it could be less than
       4       A Correct.                                       4   5 minutes.
       5       Q Approved reprints?                             5       Q Okay. As you said, sometimes they --
       6       A Correct.                                       6   they would have lunch, and those presumably would
       7       Q Okay. And you said that sales reps             7   be a little bit longer?
       8   would talk to the physicians, correct?               8       A Correct.
       9       A Correct.                                       9       Q Okay. And were representatives,
      10       Q And they're trying to persuade the            10   salespeople also going out and visiting
      11   physician about why this product may be             11   pharmacies?
      12   appropriate for certain patients, correct?          12       A Throughout the course of my tenure at
      13           MR. MORRIS: Objection to form.              13   Endo, there were times that we did call on
      14           THE WITNESS: I don't know if I would        14   pharmacies and there were times when we did not.
      15   use the word "persuade." I think they're -- they    15       Q So you said "call on pharmacies." When
      16   built a trusting relationship, and they're          16   did representatives calls on pharmacies?
      17   educating and providing resources as far as what    17       A From -- just to clarify, from like what
      18   the product can and can't do.                       18   years did they call an pharmacies?
      19   BY MS. SCULLION:                                    19       Q Yes.
      20       Q Okay. Sometimes they would also have          20       A I don't recall specifics there. I do
      21   lunch with the -- the office staff, correct?        21   remember towards the end we didn't call on
      22       A That's correct.                               22   pharmacies.
      23       Q Would they have lunch with the                23       Q Okay. And when you say "call on
      24   physician?                                          24   pharmacies," what do you mean by "call on


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       1       A Yes.                                           1   pharmacies"?
       2       Q Might be showing a promotional video on        2       A Typically we would stop in and just say
       3   a portable CD player, for example?                   3   that you're in this area, you're calling on
       4       A Correct.                                       4   several physicians in this area, and what products
       5       Q All right. And on average, how much            5   you're actually promoting to see if they had any
       6   time would a salesperson have with a physician to    6   questions.
       7   be presenting information about a product?           7       Q Okay. Would the representatives be
       8           MR. MORRIS: Objection to form and            8   expected to also check in on whether their
       9   foundation.                                          9   products -- sorry, the products that they were
      10           THE WITNESS: Just to clarify, for --        10   promoting with Endo were being stocked by the
      11   for a lunch are you speaking of?                    11   pharmacies?
      12   BY MS. SCULLION:                                    12       A They could potentially ask that
      13       Q Actually, let me put aside -- putting         13   question.
      14   aside lunches, if they're just coming in and just   14       Q Okay.
      15   speaking --                                         15       A Most of the time they would know.
      16       A Okay.                                         16       Q Most of the time, I say --
      17       Q -- on average, how much time are they         17       A They would know if they --
      18   getting?                                            18       Q -- they would already know?
      19       A They're independent. Could be 5               19       A Yeah.
      20   minutes, it could be 15 minutes.                    20       Q Okay. They were expected to know that?
      21       Q Okay. But that -- that would -- in your       21           MR. MORRIS: Objection to form.
      22   experience, that would be sort of the --            22           THE WITNESS: I don't -- I wouldn't say
      23       A The window.                                   23   they were expected to know that, but -- but they
      24       Q -- the window. Okay.                          24   did know it.


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       1   BY MS. SCULLION:                                      1       Q Does it appear to be a PowerPoint
       2         Q They generally did know.                      2   presentation for a sales skills training?
       3         A Yeah.                                         3       A Yes.
       4         Q Okay. All right.                              4       Q All right. If you'll go to the next
       5             MS. SCULLION: Can we have E842, please.     5   page E842.4, sort of a visual. Is this a visual
       6             (Romaine Exhibit No. 6 was marked           6   representation of the sales process on which the
       7             for identification.)                        7   representatives were being trained at this time?
       8   BY MS. SCULLION:                                      8           MR. MORRIS: Objection. Form,
       9         Q I hand you what's been marked as              9   foundation.
      10   Exhibit No. 6, and it's Bates-stamped ENDO_OPIOID_   10           THE WITNESS: I don't recall, but it
      11   MDL-02489842.                                        11   looks -- looks like something that would be part
      12             And, Mr. Romaine, again, to make it a      12   of a training program.
      13   little bit easier, especially with a document like   13   BY MS. SCULLION:
      14   this, in the top corner we've put these "E"          14       Q And does it -- it looks like a
      15   numbers. This says E0842.1 on the front page.        15   representation of a sales process, right? I mean
      16         A Okay.                                        16   you start with "Engender Thinking." There is a
      17         Q And if you see, the "E" numbers continue     17   "Needs Identification" that would be identifying
      18   in the upper right-hand corners of the PowerPoint    18   the needs of the prescribers, correct?
      19   presentation.                                        19       A Correct.
      20             Mr. Romaine, do you recognize Exhibit 6,   20       Q All right. Having a dialogue is the
      21   the PowerPoint attached?                             21   next one, that you might have a dialogue with the
      22         A I do not.                                    22   prescriber, correct?
      23         Q Okay. Do you see that this is -- on the      23       A Correct.
      24   page E842.3, the front page of the PowerPoint says   24       Q And it says there: "Deliver the Core


                                                   Page 95                                                 Page 97
       1   it's "ENDOSell Training Program. Your Custom          1   Selling Message."
       2   Guide for Selling Success." On the right-hand         2        A Yes.
       3   side, it says "Pharma/Specialty," and then it says    3        Q Those would be the core selling messages
       4   "Released July 2006."                                 4   that Endo had determined for a particular product,
       5            Do you see that?                             5   correct?
       6        A Yes.                                           6        A That's correct.
       7        Q Do you recall there being an ENDOSell          7        Q All right. And the representatives were
       8   training program that was provided to pharma and      8   expected to deliver those messages, correct?
       9   specialty salespeople in 2006?                        9        A Correct.
      10        A I don't recall specific -- specifically       10        Q Okay. And then next there's, "Objection
      11   the training program, but I do know that             11   Handling, Addressed -- Addressing Questions and
      12   throughout my course there we constantly trained.    12   Concerns."
      13        Q Okay. So this would be an example of --       13           What was objection handling in your
      14   of a training program on sales skills given to the   14   experience?
      15   sales representatives, correct?                      15        A My experience would be if there was --
      16            MR. MORRIS: Objection to form and           16   if there was a concern as to why they weren't
      17   foundation.                                          17   using a certain product, to try to understand what
      18   BY MS. SCULLION:                                     18   their big issue was so that they could clarify and
      19        Q You can look through it.                      19   be a resource.
      20        A I need to look it over, yeah. (Peruses        20        Q Okay. And what was the purpose of
      21   document.) I'm sorry.                                21   clarifying and being a resource?
      22        Q Have you had a chance to look through         22        A Well, I think one is to make sure you
      23   the document?                                        23   understand what the needs of the customer are; and
      24        A Yes.                                          24   two, is there a way to provide the benefit the


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       1   product could give them for their offices.            1          MR. MORRIS: Objection to form --
       2       Q So is there a way to address the                2          THE WITNESS: I think if --
       3   objection such that the prescriber might consider     3          MR. MORRIS: -- foundation.
       4   then using the product?                               4          THE WITNESS: I think if they can't be a
       5       A Yes.                                            5   resource for the office, and they don't have the
       6       Q Okay. And then the next step is:                6   information, they're not qualified for the
       7   "Summary Close, Actionable, Measurable."              7   position.
       8           So that's closing -- closing the sale,        8   BY MS. SCULLION:
       9   correct?                                              9       Q But that -- but what that meant, bottom
      10       A Correct.                                       10   line, was if they can't sell Opana ER clinically,
      11       Q Okay. And you agree that the bottom            11   they can't stay with Endo, correct?
      12   line job of a sales representative for Endo was in   12       A I wouldn't say --
      13   fact to get the physicians to write prescriptions    13          MR. MORRIS: Objection to form.
      14   in the end for the products, right? That was --      14          THE WITNESS: -- you can't stay with
      15   that was the goal of their job.                      15   Endo. I don't -- I don't -- I don't agree with
      16           MR. MORRIS: Objection to form.               16   kind of the terminology here. Because I think the
      17           THE WITNESS: I think -- I don't agree        17   representative -- a good representative is a
      18   with the way that you've phrased that. I think       18   professional, and they're an educator and they're
      19   the goal and the responsibility of the               19   providing a benefit to the office. They're
      20   representative is to be a resource and an educator   20   educating them on the benefits of the product,
      21   for an office and provide information.               21   side effects, all of the information, so the
      22   BY MS. SCULLION:                                     22   physician can make an informed decision. And in
      23       Q But if they couldn't actually get the          23   the end, if they make a good informed decision,
      24   physicians to use the products clinically, then      24   sales will come.


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       1   they really couldn't stay on as a sales rep,          1          MS. SCULLION: Well, let's get E1203 and
       2   correct?                                              2   the demonstrative that goes along with that.
       3           MR. MORRIS: Objection to form.                3          Let's mark the demonstrative first and
       4           THE WITNESS: I go back to, I think, you       4   then the other.
       5   know, a good representative is building a             5          (Romaine Exhibit Nos. 7 and 8 were
       6   relationship with the office, they're being a         6          marked for identification.)
       7   resource, they're educating the office, and if        7   BY MS. SCULLION:
       8   they do that correctly, everything else will come.    8       Q Mr. Romaine, I'm going to hand you
       9   BY MS. SCULLION:                                      9   what's marked as Exhibits 7 and 8.
      10        Q Meaning that prescriptions will be            10       A Thank you.
      11   written for products?                                11       Q And Exhibit 7 is a demonstrative we put
      12        A If they -- if they satisfy the needs of       12   together, which is a transcription of what is in
      13   the office, yes.                                     13   Exhibit 8, which is a voicemail recording produced
      14        Q Okay. But that's -- and their job was         14   to us.
      15   to try and figure out how to satisfy those needs     15          And, Mr. Romaine, what I was going to
      16   so that there would be prescriptions written for     16   suggest is if you read along -- along in Exhibit 7
      17   the products they're promoting, correct?             17   while we play Exhibit 8.
      18        A Their job is to be a resource and an          18       A Okay.
      19   educator for the office.                             19          MS. SCULLION: Can we play Exhibit 8.
      20        Q Okay. But -- but you -- your message          20          (Exhibit No. 8 played:)
      21   was -- to your sales professionals was that          21          "MR. ROMAINE: Good morning, this is
      22   representatives had to sell, for example, Opana ER   22   Larry, and this message is going out to the region
      23   clinically, and if they couldn't do that, they       23   business directors, Tom and Ian. Hope you guys
      24   couldn't stay with Endo.                             24   had a great weekend. And we're starting off a new


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       1   week, which is great, and the second week, the        1           "Thanks, guys. Have a great day. Talk
       2   second run of our POAs. And as we all know, these     2   to you today in the staff meeting."
       3   meetings are extremely important for us to ensure     3   BY MS. SCULLION:
       4   that we get our people laser-focused on what we       4        Q Thank you.
       5   have to deliver on the second half of the year,       5           Mr. Romaine, do you recognize what we
       6   and more importantly, Opana ER.                       6   just played as a voicemail that you sent out to
       7          "I sent you a couple e-mails yesterday.        7   the region business directors?
       8   There are a few glimmers of maybe we're seeing        8        A Yes.
       9   some, some trendline growth with Opana ER, mainly     9        Q And that was, according to the metadata
      10   from retail source ordering from wholesalers have    10   provided to us, in June of 2012. Does that sound
      11   been going up and all -- across all strengths and    11   about right?
      12   also our factory orders. What we ship to trade       12        A Yes.
      13   the wholesalers have been going up as well. So we    13        Q Okay. And June 2012, Endo was beginning
      14   had a couple of really good days last week, which    14   its commercialization of the reformulated version
      15   was the first since supply disruption. So I'm        15   of Opana ER, right?
      16   hoping those are all critical signs that we're       16        A Yes.
      17   going to see a pop in the TRx's. And granted, the    17        Q Okay. And -- and you described in the
      18   pop in TRx's is what we absolutely need. If you      18   voicemail that Endo was -- was in crisis mode at
      19   noticed, our stock went down, dropped below 30 on    19   that point, correct?
      20   Friday, which was really a tipping point I think     20        A Correct.
      21   for the organization. So we're going to have to      21        Q And the crisis mode was that it was time
      22   keep a close eye on it over the course of the next   22   to get Opana ER reformulated up and running,
      23   couple of weeks here, but the conference call, the   23   right?
      24   staff meeting today I think is really important      24        A Well, the crisis mode really -- this


                                                Page 103                                                  Page 105
       1   for us to kind of ground in what we saw, what we      1   refers to we had a supply outage, so we had many
       2   need to deliver on this week, and what we have to     2   pharmacies, many wholesalers that no longer had
       3   see from our people from the targeting and a          3   product, and we were trying to get it back into
       4   messaging standpoint with -- with customers right     4   the distribution channels.
       5   now. And my biggest concerns are there's still a      5       Q But you're talking to the region --
       6   lot of discussions around supply disruption, a lot    6       A I think the crisis mode, just to go back
       7   of discussion around AEs, a lot of discussion         7   to that --
       8   around just new formation and copay card versus a     8       Q Go ahead.
       9   clinical sell. And if we have reps out there, I       9       A -- was we had a lot of patients that
      10   don't care who they are, that can't sell Opana ER    10   were on Opana ER, and we wanted to make sure that
      11   clinically, they can't be with Endo. Okay? So        11   we could continue to provide them with supply,
      12   let's -- let's make sure that we're really           12   because it's -- it's a -- it was a long duration
      13   validating that. The other is that I really          13   of product that they were taking, and there was a
      14   mandated internally that we minimize the time that   14   concern they would have to be switched to other
      15   people are out of the field. I saw a note the        15   products if we could not do that. So that was
      16   other day where reps were assisting with             16   really the crisis of it.
      17   interviewing. I don't want that to happen. I         17       Q But -- but you're not talking to --
      18   want to make sure our people are in the field        18   you're not sending this voicemail out to the folks
      19   selling, not doing other ancillary things. Those     19   who are in the supply chain and distribution --
      20   are nice things to do, but right now we are in       20       A No.
      21   crisis mode to get Opana ER up and running, and      21       Q -- functions, right? This is going to
      22   we've got to have every rep in the field whenever    22   the sales force.
      23   we possibly can. So I appreciate your focus on       23       A This is -- this was going to regional
      24   this and making sure this happens.                   24   business directors.


                                                                            27 (Pages 102 to 105)
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       1       Q To region, and they're in charge of the         1            THE WITNESS: They have to be able to
       2   sales force.                                          2   sell it clinically.
       3       A Correct.                                        3   BY MS. SCULLION:
       4       Q Right? So you're -- you're talking              4        Q Okay. And you in fact said that further
       5   about the crisis mode to get Opana ER up and          5   up in the voicemail, that you're looking --
       6   running with respect to the sales force.              6   "You're going to see a pop in the TRx's, and the
       7       A Right. Which --                                 7   pop in the TRx's is what we absolutely need."
       8       Q All right.                                      8            That meant an increase in prescriptions,
       9       A Which goes back to we had a number of --        9   correct?
      10   a lot of patients out there that were on Opana       10        A I'm just going back to that. Just one
      11   that no longer could get supply. We had to find a    11   moment.
      12   way to get supply to them.                           12        Q Yeah.
      13       Q When you say "get supply," how would           13        A (Peruses document.)
      14   the -- how would the regional business directors     14        Q It's on Exhibit 7, it's about halfway
      15   get supply to them?                                  15   through the paragraph.
      16       A They would -- the reps would be calling        16        A Correct.
      17   on physicians and they would prescribe for -- for    17        Q So the pop in TRx's meant an increase in
      18   an existing patient a new supply of product.         18   prescriptions, right?
      19       Q Right. So -- so -- so the getting              19        A Yes.
      20   Opana ER up and running from a sales perspective     20        Q All right. Now, going down from "pop in
      21   was reps going out to physicians and getting         21   TRX's" -- one, two, three, four, five -- about six
      22   prescriptions for the reformulated version of        22   lines where you were discussing "my biggest
      23   Opana ER.                                            23   concerns are." Do you see that?
      24       A I don't recall --                              24        A I'm -- I'm just trying to catch up. I


                                                Page 107                                                 Page 109
       1           MR. MORRIS: Objection to form --              1   apologize.
       2           THE WITNESS: I'm sorry.                       2       Q Sure.
       3           MR. MORRIS: Objection to form and             3       A Can you say that one more time what I'm
       4   foundation.                                           4   looking for?
       5           THE WITNESS: I don't recall at the time       5       Q Yeah, it's the sentence where you began,
       6   if it was the reformulated or not. I just -- I        6   "And my biggest concerns are there are a lot of
       7   don't remember that.                                  7   discussions around supply disruption."
       8   BY MS. SCULLION:                                      8       A Yes.
       9         Q Okay. And you said in this voicemail,         9       Q So you said your concerns were
      10   you were clear that: "If we have reps out there,     10   discussions around supply disruption, a lot of
      11   I don't care who they are, that can't sell           11   discussion around AEs -- that's adverse events,
      12   Opana ER clinically, they can't be with Endo."       12   right?
      13   Right?                                               13       A Correct.
      14         A Correct.                                     14       Q A lot of discussion around just new
      15         Q And you meant that they should no longer     15   formulation and copay card versus a clinical sell,
      16   be a sales representative with Endo, correct?        16   right?
      17         A Well, their role and responsibility is       17       A Yes. Yes.
      18   to clinically be able to sell and educate and be a   18       Q And so you were saying you wanted to see
      19   resource for offices, and if they can't do that      19   less discussion around supply disruption, AEs, new
      20   job, they shouldn't be with the company.             20   formulation and copay card; what you really wanted
      21         Q Okay. But -- but bottom line, that is        21   to see was discussion around clinical sell.
      22   they have to sell Opana ER clinically, right?        22           MR. MORRIS: Objection. Found- --
      23         A They have to sell it --                      23   BY MS. SCULLION:
      24           MR. MORRIS: Objection to form.               24       Q Right?


                                                                           28 (Pages 106 to 109)
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       1           MR. MORRIS: Objection. Foundation and         1       Q Thank you. I handed you the right one.
       2   form.                                                 2           So Exhibit 9, for folks on the phone, is
       3           THE WITNESS: I don't recall                   3   ENDO-CHI_LIT-00473817, and we marked it E396, and
       4   specifically what -- what this was meaning at the     4   Exhibit 10 is Bates-stamped ENDO-OPIOID_
       5   time. But I know they -- it's important for them      5   MDL-05654763, and we've marked it as E247.
       6   to be able to provide a clinical sell to the          6           And, Mr. Romaine, my only question is,
       7   office.                                               7   on Exhibit 9, if you look through that, is that an
       8   BY MS. SCULLION:                                      8   example of again a PowerPoint presentation used in
       9       Q Okay. And you thought they were                 9   connection with training of sales representatives,
      10   spending too much time discussing supply             10   this time with respect to the specialty doctor and
      11   disruption, adverse events, and new formulation?     11   their use of opioids? So really disease state.
      12           MR. MORRIS: Objection. Form,                 12   Well, a little more than disease state.
      13   argumentative.                                       13   "Understanding the specialty MD and their use of
      14           THE WITNESS: I -- I don't recall that.       14   opioids."
      15   BY MS. SCULLION:                                     15           MR. MORRIS: Objection to form and
      16       Q Well, that's what it says here, right?         16   foundation.
      17   I mean, "My biggest concerns are there are a lot     17           THE WITNESS: I'm just taking a moment
      18   of discussions around supply disruption, a lot of    18   to --
      19   discussion around AEs, a lot of discussion around    19   BY MS. SCULLION:
      20   just new formulation, and copay card versus a        20       Q Yeah, please.
      21   clinical sell."                                      21       A -- to review the document.
      22       A I don't --                                     22           (Peruses document.)
      23       Q That's what it says.                           23       Q So, Mr. Romaine --
      24       A I don't recall this specific dialogue          24       A I'm sorry, I don't remember your


                                                 Page 111                                                             Page 113
       1   having it, but I mean I heard my voice, so --         1     question.
       2       Q That's what you said in your own voice.         2         Q That's okay. For Exhibit 9, this is a
       3       A And that was based on information I was         3     PowerPoint presentation of the training provided
       4   getting from the regional directors.                  4     to Endo sales reps, correct?
       5       Q Okay.                                           5         A I -- I don't recall this -- this
       6            MS. SCULLION: Can I have 1202?               6     presentation.
       7            I'm sorry, you know what, actually you       7         Q Well, if you look on page E396.2, the
       8   can hold it. We can hold it.                          8     second page, you see in the bottom left corner of
       9   BY MS. SCULLION:                                      9     the PowerPoint page there, it says: "For Sales
      10       Q So we looked at the sales skills               10     Training Purposes Only."
      11   training, one example of sales skill training.       11         A Yes.
      12   That was the ENDOSell, Engender Thinking             12         Q So this was intended to be used for
      13   PowerPoint?                                          13     sales training, correct?
      14       A Yes.                                           14         A That's what it looks like, yes.
      15            MS. SCULLION: Okay. Can we look at 396      15         Q Okay. And in fact, if you turn to
      16   and 247. Thank you.                                  16     page E396.35.
      17            (Romaine Exhibit Nos. 9 and 10              17         A 396. --
      18            were marked for identification.)            18         Q -- 35.
      19   BY MS. SCULLION:                                     19             Do you see this PowerPoint is talking
      20       Q I hand you what's been marked as               20     about physicians -- physician attitudes?
      21   Exhibits 3 -- oh, sorry -- 9 and 10. And is it --    21         A Mm-hmm.
      22   9 is -- is that -- is that what you have your hand   22         Q "What are the biggest concerns that PCPs
      23   on, 9?                                               23     have in using opioids to manage chronic pain?"
      24       A This is -- yes, this is 9.                     24     You see that?


                                                                                 29 (Pages 110 to 113)
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       1       A Yes.                                            1   very seriously. We always trained on that, yes.
       2       Q And PCPs there means primary care               2       Q Okay. There was training provided to
       3   physicians, right?                                    3   sales representatives on those issues, correct?
       4       A Yes.                                            4       A Yes, that is correct.
       5       Q All right. And if you look underneath           5       Q Okay. And if you look at Exhibit 10, do
       6   at the speaker's notes, do you see A, B -- the C:     6   you see it says, "The Oxymorphone Learning System,
       7   "Ask about the last quote. How many of you think      7   Module 3"?
       8   that some of your customers confuse                   8       A Yes.
       9   pseudoaddiction with drug seekers? Is this fair?"     9       Q "Oxymorphone Risk Management Program" --
      10           Do you see that?                             10       A Yes.
      11       A Yes.                                           11       Q -- "for sales training background
      12       Q And customers there would be referring         12   purposes only," correct?
      13   to physicians, correct?                              13       A Correct.
      14       A I don't know. I'm -- I'm not going to          14       Q And this was a module used as part of
      15   assume. I don't know what it means there because     15   that training on the risks associated with, in
      16   I don't recognize this document.                     16   this case, oxymorphone?
      17       Q Okay. I mean, but this -- this pretty          17       A Yes.
      18   clearly is a document that was prepared to train     18       Q Okay. Mr. Romaine, in addition to
      19   Endo's sales representatives on -- on this page,     19   training -- and we've talked about some training
      20   for example, one of the biggest concerns that        20   on sales skills, training on risks associated
      21   primary care physicians have in using opioids to     21   with -- with prescription opioids -- sales
      22   manage chronic pain, right? That's what it says.     22   representatives were also provided with various
      23       A Yes.                                           23   sales tools, correct?
      24       Q Okay. And this is the kind of training         24       A Yes.


                                                Page 115                                                 Page 117
       1   that Endo did provide to its sales representatives    1        Q Those could be, for example, master
       2   in connection with the promotion of Opana ER,         2    visual aids.
       3   correct?                                              3        A Yes.
       4           MR. MORRIS: Object -- objection. Form,        4        Q Correct?
       5   foundation. Excuse me.                                5           All right. Sell sheets?
       6           THE WITNESS: I -- I -- I'm not familiar       6        A Yes.
       7   with this document, but there was ongoing training    7        Q Slim jims?
       8   that took place at all times --                       8        A Yes.
       9   BY MS. SCULLION:                                      9        Q Approved reprints, we talked about.
      10       Q Was there training, for example --             10        A Yes.
      11       A -- for our sales team.                         11        Q Right?
      12       Q I'm sorry, I didn't mean to cut you off.       12           Dosing guides?
      13       A No, I -- I'm finished. I'm sorry.              13        A Yes.
      14       Q Was there training, for example, on the        14        Q Conversion guides with respect to
      15   concerns that primary care physicians had in using   15    opioids?
      16   opioids to manage chronic pain? Was that an area     16        A Yes.
      17   of the training?                                     17        Q Okay. And we talked about videos,
      18       A I -- I don't recall that specifically          18    correct?
      19   myself.                                              19        A Mm-hmm. Yes.
      20       Q Do you recall there being training on          20        Q Okay. And sales representatives were
      21   the -- the risks associated with prescription        21    compensated, in part, through incentive
      22   opioids that we discussed earlier, diversion,        22    compensation plans, correct?
      23   abuse, addiction?                                    23        A That's correct.
      24       A There was training. The company took it        24        Q All right. And those basically were


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       1   cash bonuses if sales of specified products grew      1   goals?
       2   by certain amounts or met certain levels during       2       A Yes.
       3   specified periods, correct?                           3       Q Okay. So there is also incentive to
       4       A They had --                                     4   exceed your sales goals.
       5           MR. MORRIS: Objection. Form.                  5       A Yes.
       6           THE WITNESS: They had goals in their          6       Q Okay. And so the salespeople had
       7   territory, and if they met those goals, they          7   incentive compensation. Is it correct also that
       8   received incentive compensation for reaching those    8   the district managers and regional business
       9   goals.                                                9   directors also had incentive compensation?
      10   BY MS. SCULLION:                                     10       A Yes.
      11       Q Okay. And those were goals with respect        11       Q All right. And did you have incentive
      12   to sales of particular products that were being      12   compensation?
      13   promoted, correct?                                   13       A I did.
      14       A Right.                                         14       Q All right.
      15       Q All right. And is it fair to say the           15       A It was based on corporate goals.
      16   incentive compensation was an important part of      16       Q Right. So --
      17   compensation for sales representatives?              17       A Overall corporate goals.
      18       A Well, it wasn't the bulk of their              18       Q -- to make sure I understand, so the
      19   compensation. The bulk of their compensation was     19   district managers and regional business directors,
      20   their salary.                                        20   their incentive compensation, though, was based on
      21       Q But it was an important part.                  21   sales goals for the district level or the regional
      22       A It was -- it was a percentage of their         22   level; is that right?
      23   total compensation.                                  23       A That's correct.
      24       Q It was intended to incentivize them to         24       Q All right. Whereas you, as the


                                                Page 119                                                  Page 121
       1   meet or exceed their sales goals, for example.        1   vice president of sales, your incentive
       2        A It was intended to make sure that they         2   compensation was based on overall corporate goals.
       3   were a resource and an educator for their             3       A Overall corporate goals and objectives.
       4   physicians that they called on.                       4       Q Okay. All right. And with respect to
       5        Q Well, that was -- that was their basic         5   the salespeople in the field, in addition to
       6   job, right, was to -- to be that resource and --      6   incentive compensation plans, from time to time
       7        A That was their job.                            7   there were specific contests that might be run for
       8        Q That was their job. The incentive              8   a shorter period focused on a particular product,
       9   compensation was designed to incentivize them to      9   correct?
      10   reach those sales goals. That was part of that       10       A That's correct.
      11   job.                                                 11       Q All right. And there were some of those
      12        A It was designed to reward them for their      12   contests that were run with respect to Percocet,
      13   overall performance.                                 13   for example.
      14        Q Well, they're called incentive                14       A I don't recall that.
      15   compensation plans, right?                           15       Q We'll maybe show you some documents and
      16        A Mm-hmm. Yeah, that's correct.                 16   we'll see.
      17        Q And so this was compensation that was         17       A Okay.
      18   designed to be an incentive, correct?                18       Q Okay. Do you recall there being
      19           MR. MORRIS: Object to the form.              19   contests run for Opana ER?
      20           THE WITNESS: It -- it was an incentive       20       A I don't specifically recall that, but --
      21   for them to, you know, reach their overall goals.    21       Q Okay. Again, we'll try and look at some
      22   BY MS. SCULLION:                                     22   documents then.
      23        Q Okay. And would they be -- could they         23       A Okay.
      24   earn greater bonuses if they exceeded their sales    24       Q In addition to contests, were there also


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       1   awards given to sales representatives; for            1       A Thank you.
       2   example, President's Club, Circle of Excellence?      2       Q And it is Bates-stamped ENDO_OPIOID_
       3       A Yes.                                            3   MDL-02167 -- I'm sorry, 6273, and there's a number
       4       Q Okay. And in the contests, the sales            4   cut off.
       5   representatives might earn cash rewards, correct?     5           MS. SCULLION: Do you have the last
       6       A Can you restate that question? I'm              6   digit?
       7   sorry.                                                7           MR. MORRIS: It's 1.
       8       Q Sure. In the contests, going back to            8           MS. SCULLION: Thank you.
       9   the contests, sales representatives could earn        9   BY MS. SCULLION:
      10   cash awards?                                         10       Q So 2162731.
      11       A I think there were multiple ways of            11           All right. And in the top right-hand
      12   rewarding them, but cash was one, yes.               12   corner, again we have the E numbers. This is
      13       Q Okay. Were there sometimes rewards of          13   E1249. It starts at 1249.1.
      14   being given a pretty nice car to be used as          14           So, Mr. Romaine, at the top of the first
      15   your -- your company car, like a BMW?                15   page of Exhibit 11, do you see this is an e-mail
      16       A When I first joined the company, there         16   from you to Maria Lane, Mike Weber, Bret Anderson?
      17   was one contest I do recall like that.               17       A Yes.
      18       Q Okay. Was that the Grand Prix contest?         18       Q Okay. And this was sent in December --
      19       A Yes.                                           19   December 20, 2007. Do you see that?
      20       Q Yeah, it goes with the car, I guess.           20       A Yes.
      21   Okay.                                                21       Q And it's referring to -- it says the
      22           Sometimes the reps could earn hotel          22   subject line, "Opana ER Successful Rep Research -
      23   rooms for the national sales meeting, that might     23   Final Report and Brand IQ Summary attached." Do
      24   be a reward?                                         24   you see that?


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       1       A I don't recall that one specifically,           1       A Yes.
       2   but potentially could, yes.                           2       Q All right. And just -- we'll talk in
       3       Q Okay. So you mentioned you did recall           3   some more specifics, but just to orient you to the
       4   they sometimes could earn cash rewards. What          4   document, if you go to page 1249.3 and .4, it
       5   other kind of rewards could they earn in these        5   looks to be a summary of Opana brand -- from the
       6   contests?                                             6   Opana brand IQ team research -- successful rep
       7       A I'm trying to think. Sometimes there            7   research.
       8   were gifts, things like that, that they could earn    8          Do you see that?
       9   as part of the incentive contests.                    9       A Yes.
      10       Q Okay. Do you recall that in 2007,              10       Q And then if you go to page 1249.7 and
      11   Endo --                                              11   the --
      12           This was after Opana ER was launched.        12       A It's hard to find.
      13       A Okay.                                          13       Q -- rest of this document you'll see this
      14       Q -- that Endo had specifically analyzed         14   looks like it's a presentation --
      15   what makes a successful sales rep?                   15       A I'm trying to find the number here.
      16       A I don't recall that.                           16          MR. MORRIS: Hold on, Counsel, because
      17           MS. SCULLION: So let's mark the --           17   the numbers are harder to see.
      18   1249, please.                                        18   BY MS. SCULLION:
      19           And this is 11, right? Thank you.            19       Q You know what, so it's the first page of
      20           (Romaine Exhibit No. 11 was marked           20   the PowerPoint --
      21           for identification.)                         21       A This one here. Okay.
      22   BY MS. SCULLION:                                     22       Q Correct, it says "Opana ER Successful
      23       Q Mr. Romaine, I'm going to hand you             23   Rep Study - Final Report."
      24   what's been marked as Exhibit No. 11.                24       A Yes.


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       1       Q And I'm going to ask you some specifics        1   BY MS. SCULLION:
       2   about the report, but I just want to orient you.     2       Q That's what you said, right?
       3   Do you seeing this recall generally this -- this     3       A Yes.
       4   report being done?                                   4       Q Okay. And you said it was very
       5       A I don't.                                       5   important information, and you thought it would be
       6       Q Okay.                                          6   useful to do business planning, correct?
       7       A I don't remember it.                           7       A Yes.
       8       Q Do you recall that Endo, though, did           8       Q All right. So then you say it would
       9   from time to time undertake research to assess       9   be -- you thought it would be a good roadmap.
      10   what was working and not working with its sales     10          MR. MORRIS: Objection to form.
      11   representatives?                                    11          THE WITNESS: Is that a question?
      12       A We did market research, yes.                  12   BY MS. SCULLION:
      13       Q Okay. Did you also, though, do specific       13       Q Yeah, you said it would be a roadmap to
      14   research with respect to the sales force and how    14   consider when making decisions moving forward,
      15   they were doing?                                    15   right? That's what you said.
      16       A I don't specifically recall that, but         16       A Yes.
      17   that could have taken place.                        17       Q All right. Let's go ahead and take a
      18       Q Okay. Well, let's go back to the first        18   look at some of this roadmap. If you go to --
      19   page of Exhibit 11.                                 19   you know what, we'll do it this way. I think
      20       A Okay.                                         20   there should be slide numbers. Do you see those
      21       Q Because -- so clearly the bottom e-mail       21   in the orange boxes?
      22   from Ms. Blunt, Laurie Blunt to you and others on   22       A Oh, yes, yes.
      23   December 19th --                                    23       Q Let's try that.
      24       A Mm-hmm.                                       24       A Okay.


                                                Page 127                                                 Page 129
       1       Q -- she says: "Please see attached final        1        Q Because the "E" numbers I think did get
       2   report and Brand IQ Summary for the Opana ER         2   a little bit hard to see.
       3   successful rep research." And then she discusses     3            If you'll go to slide 7, and it should
       4   the objectives of the research.                      4   say at the top "Executive Summary." Do you see
       5           And then your e-mail at the top --           5   that?
       6       A Mm-hmm.                                        6        A Yes.
       7       Q -- you say: "This is very important            7        Q Okay. And so the summary was:
       8   information for us to know and address with our      8   "Overall, the sales force is able to tell a story
       9   business plan in '08." Correct?                      9   about Opana ER using the available sales tools.
      10       A Yes.                                          10   They're also able to differentiate Opana ER from
      11       Q "And I see this as a roadmap to consider      11   the competition on safety issues, true Q12H
      12   when we make decisions moving forward." Correct?    12   dosing," open parens, "BID versus TID for
      13       A Yes.                                          13   OxyContin," close parens, "durable efficacy over
      14       Q And that -- that's what you wrote in          14   time, the PK profile with steady plasma levels,
      15   December of 2007, correct?                          15   and no CYP 450 interaction," open parens, "no
      16       A Yes.                                          16   drug-drug interactions," close parens.
      17       Q And it's clear that you had reviewed the      17            Do you see that?
      18   plan, and your review was this was important        18        A Yes.
      19   info- -- I'm sorry, you reviewed the report, and    19        Q Okay. I mean, so in 2007, was that an
      20   your review was this is important information.      20   important attribute for -- for sales
      21           MR. MORRIS: Objection to form,              21   representatives for you, that they should be able
      22   foundation.                                         22   to tell a story about Opana ER using the available
      23           THE WITNESS: That's what the memo says,     23   sales tools?
      24   right.                                              24        A Well, they should be able to tell full


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       1   prescribing information -- give full disclosure.      1   "objection to form," but keep your objections to
       2       Q Okay. And that's using the available            2   the appropriate level, but you cannot cross into
       3   sales tools?                                          3   coaching, or we will go to the special master.
       4       A Correct.                                        4   BY MS. SCULLION:
       5       Q They should also be able to                     5       Q So the question just is these are things
       6   differentiate Opana ER from the competition on        6   you would expect the sales representative to be
       7   safety issues?                                        7   doing in 2007, right, in terms of differentiating
       8       A Yes.                                            8   Opana ER from the competition?
       9           MR. MORRIS: Objection to form and             9       A I don't recall, you know, what my
      10   foundation.                                          10   expectations would have been in 2007.
      11   BY MS. SCULLION:                                     11       Q Okay.
      12       Q And -- well, I mean, since you say you         12       A Okay.
      13   don't remember the report, I'm really asking you     13       Q At any point in time when you were VP of
      14   from your position, you know, in 2007, and this is   14   sales, would you have been anticipating that sales
      15   December of 2007, when you've been promoted to VP    15   representatives would be differentiating Opana ER
      16   of sales.                                            16   from the competition on these various bases?
      17       A Right.                                         17       A I would --
      18       Q So I'm asking from that perspective,           18          MR. MORRIS: Objection. Foundation,
      19   these are things that you would expect sales         19   form.
      20   representatives to be able to do.                    20          THE WITNESS: I would expect that they
      21       A Well, granted --                               21   can give full prescribing information on the
      22           MR. MORRIS: Objection. Form and              22   product that they're representing.
      23   foundation.                                          23   BY MS. SCULLION:
      24           THE WITNESS: -- it was 11 years ago,         24       Q And that would include differentiating


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       1   but --                                                1   Opana ER from the competition, right?
       2   BY MS. SCULLION:                                      2       A It would include providing the benefits
       3        Q Right.                                         3   of Opana ER based on the package insert.
       4        A -- I would expect that the                     4       Q Okay. And they would be providing that
       5   representative would understand the product and be    5   in part to differentiate Opana ER from the
       6   able to give full product disclosure.                 6   competition.
       7        Q Okay. And you would expect them to be          7           MR. MORRIS: Objection. Form.
       8   able to differentiate Opana ER from the               8           THE WITNESS: I -- I -- I can't -- I
       9   competition on safety issues?                         9   can't speak to that.
      10           MR. MORRIS: Objection. Foundation.           10   BY MS. SCULLION:
      11           THE WITNESS: They should be able to          11       Q Well, I mean you said in December of
      12   provide full information on the product.             12   2007 that this report provided very important
      13   BY MS. SCULLION:                                     13   information. I'm trying to understand the very
      14        Q And that --                                   14   important information.
      15        A Based on the package insert.                  15           Was this important information, that
      16        Q Okay. And that would include                  16   your sales force was able to differentiate
      17   differentiating it on safety issues, the things      17   Opana ER from the competition on safety issues?
      18   listed here: Safety issues, true Q12-hour dosing,    18       A As I -- as I said, I don't recall from
      19   they are expected to be able to do this, correct?    19   2007, 11 years ago, exactly what I meant by that.
      20           MR. MORRIS: Objection. Foundation.           20       Q Okay. Well, going on, the next
      21   He's already said he didn't remember the             21   paragraph on the same page said: "Reps also have
      22   information on this.                                 22   the ammunition to handle objections, such as,
      23           MS. SCULLION: Here -- Counsel, you have      23   Opana ER is not covered by many plans in this
      24   now crossed the line to coaching. You can say        24   area, I tried Opana ER but it didn't work, or


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       1   Opana ER is like all other long-acting opioid        1   could present that to physicians, right?
       2   analgesics."                                         2       A They would -- they would present the
       3           Do you see that?                             3   package -- they would present the safety aspects
       4       A Yes.                                           4   of the product in the package insert, yes.
       5       Q As VP of sales, was that something you         5       Q And -- and if differentiation of
       6   wanted your reps to have was ammunition to handle    6   Opana ER based on safety issues was not in the
       7   those kind of objections?                            7   package insert, they would not be allowed to
       8           MR. MORRIS: Objection to form.               8   present that to physicians, correct?
       9           THE WITNESS: I -- I don't recall from        9       A I don't recall what other marketing
      10   that period of time what my expectations were.      10   materials at the time were approved. They -- they
      11   BY MS. SCULLION:                                    11   were allowed to, whatever the approved messaging
      12       Q Did you -- sorry.                             12   was, to use that.
      13           Well, did you expect your reps to be        13       Q Okay. And that could be approved
      14   able to handle objections about the products they   14   messaging whether it was from the package insert
      15   were detailing? We talked about that before,        15   or not, correct?
      16   right?                                              16       A It would be approved by our regulatory
      17       A I expected them to be able to present         17   review board.
      18   products to physicians based on the package         18       Q Okay. If you go to the next page.
      19   insert, yes.                                        19       A Page -- slide 8?
      20       Q And -- and to handle objections from the      20       Q Yes. Thank you.
      21   physicians, correct?                                21       A Okay.
      22       A They should be able to be professional        22       Q And it says here: "All reps are aware
      23   and be able to handle any questions that came up    23   of the current milieu for providing a long-acting
      24   from physicians.                                    24   opioid (LAO). Physicians are being monitored by


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       1       Q Okay. And some of those questions would        1   DEA. OxyContin is in the news with abuse and
       2   be, is Opana ER like all other long-acting           2   diversion issues at the forefront, and Palladone
       3   opioids? Right?                                      3   was pulled from the market in 2005."
       4       A Well, I -- I didn't create this                4           Do you recall that being the milieu, as
       5   information that's in front of me, so I'm not        5   the word is used here, in which Opana ER was being
       6   quite sure.                                          6   promoted in 2007?
       7       Q Putting aside -- again, just using this        7       A I don't know what the word "milieu"
       8   as, you know, an example, but you can put the        8   refers to.
       9   document aside, and just, you know, as VP of         9       Q Okay. Do you remember that within the
      10   sales, was that a question that providers were      10   market at the time in 2007, these were some of the
      11   asking sales reps, you know, is Opana ER any        11   issues being discussed concerning long-acting
      12   different from the other long-acting opioids?       12   opioids?
      13       A Well, they would present the package          13       A I don't recall that.
      14   insert and the information in the package insert    14       Q You don't recall physicians being
      15   of what Opana actually is.                          15   concerned about the fact that they were being
      16       Q Okay. All right.                              16   monitored by the DEA?
      17           Now, Mr. Romaine, I think you've said a     17       A At that time, I don't recall that, no.
      18   few times that you did expect the reps to provide   18       Q Do you recall that at any time?
      19   the information that was in the package insert,     19       A Not -- no, not specifically. I can't
      20   right?                                              20   give you a specific instance where I do recall
      21       A Yes.                                          21   that.
      22       Q And so if this information, for example,      22       Q Understood not a specific instance, but
      23   that Opana ER was differentiated based on safety    23   do you recall that being a general fact that
      24   issues, if that was in the product insert, they     24   physicians were concerned at any point between


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       1   2007 and 2013 that they were being monitored by       1   you know, I'm really concerned, I'm hearing about
       2   the DEA with respect to prescribing of long-acting    2   OxyContin, for example, abuse and diversion? Is
       3   opioids?                                              3   that something that sales reps were encountering?
       4       A I -- I --                                       4       A I specifically did not hear that
       5           MR. MORRIS: Objection to form.                5   specific objection from physicians.
       6           THE WITNESS: I don't recall that. I'm         6       Q Did you hear any -- any objections from
       7   sorry.                                                7   physicians around their concerns about abuse and
       8   BY MS. SCULLION:                                      8   diversion --
       9       Q Not even in a general way?                      9       A I did not --
      10       A No.                                            10       Q -- of opioids?
      11       Q Do you recall that OxyContin was in the        11       A -- specifically, no.
      12   news with abuse and diversion issues at the          12       Q Were you aware that physicians were
      13   forefront?                                           13   raising those kind of objections at any point in
      14       A I -- I see that, yes.                          14   time between 2007 and 2013?
      15       Q Do you recall that that was -- that was        15       A I know there were concern amongst the
      16   a fact?                                              16   medical community that there was OxyContin issues.
      17       A I don't recall that. I'm sorry.                17       Q Okay. What -- and what was the basis
      18       Q You don't recall from your six years as        18   for your awareness? How did you know that?
      19   vice president of sales in which you were selling,   19       A Just communication through the news.
      20   among other things, a long-acting opioid, a          20       Q Okay. Internal communications, internal
      21   controlled substance, you don't recall the news      21   discussions at Endo?
      22   discussions about OxyContin and abuse and            22       A There was always internal communication
      23   diversion?                                           23   about making sure we did the right thing and stay
      24       A Oh, I do. I don't recall this. I do            24   focused on our messaging, our promotional


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       1   recall OxyContin in the news.                         1   messaging.
       2        Q Okay. That's the question. So that             2       Q But there was a discussion too about
       3   was -- that was one of the things that was out in     3   how -- that the concerns about OxyContin might
       4   the marketplace was that OxyContin was in the news    4   impact sales of Opana ER, right?
       5   with respect to abuse and diversion issues, right?    5       A I think it was more about how do we
       6        A Okay. Yes.                                     6   ensure that we provide the right information to
       7        Q Okay. And -- and Palladone was pulled          7   physicians so that patients are getting the
       8   from the market, it says in 2005. Do you recall       8   benefit of the product and not diverted.
       9   Palladone, though, being pulled from the market?      9       Q So you didn't want the physicians'
      10        A I -- I don't recall specifically. I           10   concerns, for example, about OxyContin abuse and
      11   remember they were being pulled from the market,     11   diversion to detract from the presentation of the
      12   but I don't recall any information around that.      12   package insert information, for example, with
      13        Q Okay. And do you remember that issues         13   respect to Opana ER.
      14   like this about OxyContin's abuse and diversion      14          MR. MORRIS: Objection to form.
      15   issues, Palladone being pulled from the market,      15          THE WITNESS: Well, we tried to keep the
      16   that those were issues that the sales organization   16   representatives -- we kept the representatives
      17   had to address when considering how to go out and    17   focused on -- on staying focused on Opana ER, not
      18   sell and promote Opana ER?                           18   other issues like OxyContin, a very different
      19           MR. MORRIS: Objection to form.               19   molecule.
      20           THE WITNESS: I don't quite understand        20   BY MS. SCULLION:
      21   your question. I'm sorry.                            21       Q Okay. Well, the molecule in Opana was
      22   BY MS. SCULLION:                                     22   oxymorphone, right?
      23        Q Sure. Well, were sales reps, you know,        23       A Right. Right.
      24   encountering objections from physicians saying,      24       Q That was twice as -- as potent as


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       1   OxyContin. You remember that?                         1   that paragraph, there's a quote from one of the
       2        A Well, probably a poor choice of words.         2   sales representatives: "I like selling Opana ER
       3   I apologize for that, but -- but --                   3   for a symptomatic disease state. People know they
       4        Q I'm sorry, I didn't understand. What           4   will get relief and the symptoms will go away.
       5   was a poor choice of words?                           5   This product will improve their quality of life."
       6        A "The molecule." When I said "the               6   And it says it was a specialty rep.
       7   molecule."                                            7            Were -- were those the kind of attitudes
       8           I said we tried to keep our sales team        8   you wanted to see in your specialty reps as well?
       9   focused on selling Opana ER and promoting Opana ER    9        A When you say "attitudes," what -- what
      10   to the physicians, and not discussing things that    10   are you referring to?
      11   they didn't have information on such as OxyContin.   11        Q The fact that the person likes selling
      12        Q If you go to the slide 9, the next page.      12   Opana ER for symptomatic disease state because it
      13        A Okay.                                         13   will improve their quality of life.
      14        Q And the second bullet point reports           14        A Well, I like to see the representatives
      15   that: "Specialty reps speak passionately and with    15   being professional in their approach with their
      16   enthusiasm about the importance of selling           16   physicians and enjoying their job.
      17   Opana ER."                                           17        Q Okay. And would it be -- was it
      18           Do you see that?                             18   important to you that reps -- yeah, that reps
      19        A Yes.                                          19   believed that Opana ER would improve quality of
      20        Q And was that -- were those qualities you      20   life in the patients?
      21   wanted to see in your -- in your specialty reps?     21            MR. MORRIS: Object --
      22        A Professionalism and energy, yes.              22   BY MS. SCULLION:
      23        Q Passion?                                      23        Q Was that an important factor for you?
      24        A Passion.                                      24            MR. MORRIS: Objection. Foundation.


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       1       Q Enthusiasm?                                     1            THE WITNESS: I think it's important
       2       A I refer to it as professional. I don't          2   that -- that Opana ER was a -- an effective
       3   know if I would use those words.                      3   product and used appropriately, and that the
       4       Q Okay. And then the next sentence says:          4   physician saw that.
       5   "They feel it is a great product for those in         5            Does that answer your question? I'm not
       6   serious pain." And then says: "Even if they do        6   quite sure I'm following.
       7   not believe that Opana ER is as different as Endo     7   BY MS. SCULLION:
       8   would like it to be, their focus is on helping        8        Q Sure. I mean, so the specialty rep is
       9   patients and doctors."                                9   calling out that he likes -- he or she,
      10           Do you see that?                             10   apologize -- likes selling Opana ER for a
      11       A Yes.                                           11   symptomatic disease state. People know that they
      12       Q And was there a concern raised by              12   will get their relief and the symptoms will go
      13   representatives that Opana ER was not as different   13   away, and this product will improve their quality
      14   as Endo would like it to be?                         14   of life.
      15       A I don't recall that.                           15            Was that a -- a mindset for a specialty
      16       Q Even putting aside the document, do you        16   rep that you thought was appropriate at the time?
      17   recall representatives having a concern when         17        A I -- I can't say that I thought about it
      18   Opana ER was first launched that the product was     18   one way or the other, quite honestly, and this is
      19   hard to differentiate from the other prescription    19   the first time I'm seeing this. So...
      20   opioids already on the market?                       20        Q Okay. Well, just in general, is that
      21       A I don't recall that.                           21   the kind of mindset you would have approved of for
      22       Q Not at all?                                    22   a specialty rep, that they're enjoying selling the
      23       A No.                                            23   product and they believe it's improving the
      24       Q Okay. And then you see going along in          24   quality of life for the patients?


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       1        A Yes.                                           1           What the quote there is discussing,
       2           MR. MORRIS: Objection to form.                2   about words heard all the time about abuse,
       3           THE WITNESS: Yes.                             3   diversion and litigation, was that something you
       4   BY MS. SCULLION:                                      4   were aware of that reps were hearing from
       5        Q If you go to the very next page, which         5   providers in the field?
       6   is slide 10, and this is a continuation of the        6        A You know, I don't recall that coming up.
       7   executive summary, and now it's switching to          7        Q Then it goes on -- now to switch back to
       8   talking about the results from the interviews of      8   specialty reps, and that's the next bullet point,
       9   the pharma reps.                                      9   it says: "Specialty reps speak from a more
      10           Do you see it says, "In contrast, pharma     10   confident position of perceiving themselves as a
      11   reps," in the first paragraph?                       11   consultant to the physicians and practices. To
      12        A Yes.                                          12   differing degrees, dependent upon the office and
      13        Q Okay. And the prior information we were       13   the established relationship, they are an asset
      14   just reading on the prior page was specialty reps.   14   that the practice has come to accept as part of
      15           And it says that: "Pharma reps talked        15   the team."
      16   about the challenges in a more negative light and    16           Is that along the lines of what we
      17   feel that marketing is CII -- marketing of CII to    17   discussed earlier about reps building a
      18   PCPs in the current market setting is very           18   relationship with the office, a relationship of
      19   difficult. PCPs are afraid of the consequences of    19   trust?
      20   writing long-acting opioids."                        20           MR. MORRIS: Objection to form.
      21           The last sentence there, "PCPs are           21           THE WITNESS: I -- I can't say. I -- I
      22   afraid of the consequences of writing long-acting    22   don't know.
      23   opioids," was that a phenomenon that you were        23   BY MS. SCULLION:
      24   familiar with as VP of sales, that primary care      24        Q Okay. Well, we talked about reps


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       1   physicians were afraid of the consequences of         1   building a relationship of trust. Would it be
       2   writing long-acting opioids?                          2   fair to say that it would be good if they got
       3       A I -- I --                                       3   themselves to be perceived as a consultant of sort
       4           MR. MORRIS: Objection to form.                4   or an asset to the practice?
       5           THE WITNESS: I can't say that I               5        A Well, they wanted to be perceived as an
       6   differentiated between a specialty physician and a    6   asset, a resource, you know, a training -- for
       7   primary care physician in rely -- in relating to      7   training.
       8   that issue.                                           8        Q Okay. If you can go to slide 22.
       9   BY MS. SCULLION:                                      9            And you see at the top it says,
      10       Q Okay. But putting it more generally,           10   "Pre-call Planning"?
      11   were you aware that physicians were afraid of the    11        A Yes.
      12   consequences of writing long-acting opioids in       12        Q What was pre-call planning?
      13   this time period?                                    13        A Preparing for a sales presentation.
      14           MR. MORRIS: Objection. Form,                 14        Q All right. So this would be sales reps
      15   speculation.                                         15   preparing to make their sales presentations to
      16           THE WITNESS: I -- I don't recall,            16   providers, correct?
      17   honestly.                                            17        A I'm assuming that's what this is
      18   BY MS. SCULLION:                                     18   referring to. I shouldn't assume, but --
      19       Q Okay. It goes on to quote a pharma rep,        19        Q Is that -- is that what you called
      20   who says: "Promoting Opana ER compared to other      20   pre-call planning?
      21   non-opioid products is like night and day, black     21        A We called pre-call planning preparing
      22   and white. Words I hear all the time are 'abuse,     22   for a sales call.
      23   diversion and litigation.' PCPs are afraid to        23        Q Okay. And how would a rep plan for a
      24   prescribe an opioid in a rural conservative area."   24   sales call? What kind of things would they be


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       1   doing?                                                1        Q Okay. And that would be within the TREX
       2       A They would be looking at the offices,           2   system?
       3   making sure they remembered the names of the          3        A No, it was separate -- separate from
       4   office administrators, the nurses, that sort of       4   that.
       5   thing; best time to go into the office. And then      5        Q But was it within a system?
       6   looking at, you know, the most recent call            6        A It was in a system they had, yes.
       7   presentation they made and how they can build off     7        Q Okay. And I apologize, I probably have
       8   of that.                                              8   the wrong name of the system.
       9       Q Okay. When you say "looking at the most         9        A No, that's okay.
      10   recent call presentation they -- they made," where   10        Q Do you remember what the name of the
      11   would they look for that?                            11   system was?
      12       A They typically would have call notes in        12        A I don't.
      13   their laptop, iPad, I think at the time.             13        Q Okay. And in addition to -- to the
      14       Q What are call notes?                           14   drop-down notes, would reps also keep handwritten
      15       A Call notes are just notes from the             15   notes just to keep track of the same kind of
      16   previous presentation to the physician.              16   things you kept track of, who actually I spoke
      17       Q So, for example, when you were a sales         17   with and what kind of things I might want to
      18   rep, did you keep call notes?                        18   follow up?
      19       A I did.                                         19           MR. MORRIS: Objection. Foundation and
      20       Q What kind of things would you write down       20   form.
      21   in your call notes?                                  21           THE WITNESS: I -- I don't think that --
      22       A The best time to see the office, who the       22   I don't recall, but I don't think they had follow
      23   office staff names were, and then what products I    23   -- they had written notes.
      24   actually promoted on my last call.                   24   BY MS. SCULLION:


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       1       Q Okay. Would you ever make notes about           1       Q Okay. If you look at slide -- I
       2   what needs of the physician have been discussed       2   apologize, slide 22, where we are, and 23, the
       3   that you might try to use to follow up on?            3   next page, the discussion there about data
       4       A Yes.                                            4   provided on the Endo intranet. There is reference
       5       Q Okay. Would you keep notes with respect         5   to TREX data analytics, the "Prescribes Sales
       6   to discussions about potential use of a product       6   Report." And on the next page, there is a
       7   with an appropriate patient type?                     7   reference in that first point to reps are also
       8       A Yes.                                            8   viewing the WK data.
       9       Q Okay. So some pretty specific notes             9          Do you see those references?
      10   about discussion, the nature of the discussion you   10       A Yes.
      11   had with the provider, right?                        11       Q Were these examples of data that sales
      12       A Correct.                                       12   reps would be looking at as part of their pre-call
      13           MR. MORRIS: Objection. Form.                 13   planning process at Endo?
      14   BY MS. SCULLION:                                     14       A Let me just finish reading these.
      15       Q And were Endo sales reps also keeping          15       Q Sure.
      16   sort of similar kinds of call notes like that?       16       A (Peruses document.) Yes.
      17           MR. MORRIS: Objection. Form.                 17       Q Okay. What kind of data was the -- for
      18           THE WITNESS: No. They had what we call       18   taking the WK data on slide 23, what kind of data
      19   drop-down notes.                                     19   was that?
      20   BY MS. SCULLION:                                     20       A That was TRx data.
      21       Q Okay. And what were drop-down notes?           21       Q Meaning prescription data?
      22       A They would click on a drop-down box, and       22       A Prescription data.
      23   it would have certain things and they would click    23       Q Okay. And that would show prescriptions
      24   on it.                                               24   written by specific physicians within, in this


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       1   case, a sales rep's territory?                        1   current data. It wasn't from a year ago what this
       2       A Correct.                                        2   physician was prescribing. It was relatively
       3       Q Okay. And it would indicate the number          3   current what that physician is prescribing, right?
       4   of prescriptions for a given product written?         4       A You know, I don't recall specifically,
       5       A For their product, yes.                         5   but that's what this information is sharing.
       6       Q Okay. Would -- did sales reps also have         6       Q Okay. And if you go to slide 24, and
       7   information about the number of prescriptions         7   the last bullet point says: "Post-call planning
       8   being written for competitor products?                8   often occurs in the car after the call or at the
       9       A They would have market data, not                9   end of the day. While reps do use the noting
      10   competitive products.                                10   system provided, many make additional notes so
      11       Q And what does that mean, "market data"?        11   that they know where to pick up in the call
      12       A So if you look at a class of products,         12   continuum. The majority are taking -- making
      13   like a migraine drug, they would see how often a     13   notes or using the drop-down boxes provided on
      14   physician was writing migraine drugs.                14   TREX."
      15       Q Okay.                                          15           Do you see that?
      16       A But not specific products.                     16       A Yes.
      17       Q All right. And the prescriber sales            17       Q Okay. And so does this indicate that
      18   report, what was that?                               18   many reps were making additional notes in addition
      19       A I don't -- I don't recall.                     19   to the TREX noting system?
      20       Q It says it's a -- it says it's an              20       A I --
      21   important indicator of the pain market in the        21           MR. MORRIS: Objection. Foundation.
      22   rep's territory in a month, three months' and six    22           THE WITNESS: I don't know.
      23   months' time frame.                                  23   BY MS. SCULLION:
      24           Does that refresh your recollection at       24       Q Okay.


                                                Page 155                                                  Page 157
       1   all?                                                  1       A I don't know.
       2       A It does -- I don't recall the actual            2       Q And again, I mean, do you recall whether
       3   report itself. They did receive data, information     3   reps were taking additional notes outside of the
       4   like Wolters Kluwer, that WK data, but I don't        4   drop-down menus?
       5   recall that report.                                   5       A I never saw a rep take additional notes
       6       Q Okay. And if you go again to slide 23           6   other than a drop-down.
       7   where it discusses viewing the WK data.               7       Q Did you ever hear about reps doing that?
       8       A Excuse me.                                      8       A No.
       9       Q The paragraph says at the end:                  9       Q Were reps allowed to do that?
      10   "However, it was mentioned that it is two weeks      10       A They were not supposed to do that.
      11   behind and not quite as accurate as the prescriber   11       Q And why was that?
      12   sales report."                                       12       A It just wasn't efficient.
      13           Do you see that?                             13       Q You had done it when you were a sales
      14       A Yes.                                           14   rep, right?
      15       Q So the WK is Wolters Kluwer, right?            15       A We didn't have laptops and information
      16       A Yes.                                           16   that we have today. The technology.
      17       Q The Wolters Kluwer data was lagging by         17       Q Was there a point in time when you
      18   maybe two weeks behind, right?                       18   joined Endo -- strike that.
      19       A That's what it --                              19           When you joined Endo in 2003, were reps
      20           MR. MORRIS: Objection to form.               20   allowed to keep handwritten notes?
      21           THE WITNESS: -- looks like in this           21       A I -- I don't recall when that change
      22   presentation.                                        22   took place. I don't know.
      23   BY MS. SCULLION:                                     23       Q But there was a change at some point in
      24       Q Okay. But -- but it was still fairly           24   time, right?


                                                                           40 (Pages 154 to 157)
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       1       A At some point in the industry, yes.             1   clarify.
       2       Q Okay.                                           2   BY MS. SCULLION:
       3           MR. MORRIS: Counsel, we've been going         3        Q Okay.
       4   for close to an hour and a half, so at some point,    4        A And explain what they meant by that.
       5   if we could --                                        5        Q And when it says "the sales goals," in
       6           MS. SCULLION: Yeah, we can take a quick       6   December of 2007, when you were VP of sales, what
       7   break. Sure.                                          7   was your role in determining sales goals for
       8           THE VIDEOGRAPHER: The time is 11:46           8   Opana ER?
       9   a.m., and we're going off the record.                 9        A Well, we had a forecasting team that did
      10           (Recess.)                                    10   all of that for us, along with operations. So,
      11           THE VIDEOGRAPHER: The time is                11   you know, I received my goal from, you know,
      12   12:04 p.m., and we're back on the record.            12   senior leadership and -- and the forecasting team.
      13   BY MS. SCULLION:                                     13        Q And did you have an understanding about
      14       Q Mr. Romaine, welcome back.                     14   how those forecasts were developed?
      15       A Thank you.                                     15        A Yes.
      16       Q A reminder, you're still under oath.           16        Q And what were the forecasts based on?
      17       A Yes.                                           17   What were they using to develop the forecasts?
      18       Q Looking -- staying on Exhibit 11, if you       18        A It was based on potential within
      19   go all the way towards almost the end of the         19   geography and then historical background.
      20   document to slide 55. Okay. And to make sure         20           You know, I think the one thing that
      21   we're on the same page, at the top it says           21   you have to realize is Opana -- Opana ER, I mean,
      22   "Challenging aspects of job," correct?               22   it never really achieved probably more than 8 or 9
      23       A Yes.                                           23   percent market share in the opioid market. So I'm
      24       Q All right. And do you see the second           24   surprised when I see something like this, that it


                                                Page 159                                                 Page 161
       1   quoted paragraph, it says: "Territory size with       1   was aggressive or high.
       2   two reps. I don't know if we will be able to          2        Q I just want to go back. When you were
       3   generate the numbers. The goals are very, very        3   explaining the forecasting, you said --
       4   aggressive. I wonder if it's even attainable.         4        A Mm-hmm.
       5   This year from market share to goal, I did well at    5        Q -- "potential within a geography."
       6   the beginning of the year, but the second half I      6        A Geography.
       7   did not even get one-third of my goal. In some        7        Q All right. What do you mean by that?
       8   regard it is punitive for doing well at the           8        A It was the potential of the number of
       9   beginning."                                           9   physicians, the number of experienced opioid
      10           And again, it's quoting a specialty rep.     10   writers that existed within that geography.
      11           Do you recall -- putting aside the           11        Q So would there be data that you could --
      12   document, do you recall in 2007 sales reps being     12   that Endo would look at, the forecasters would
      13   concerned about sales goals being aggressive?        13   look at that would tell them how many physicians
      14       A I don't recall that.                           14   in a given geography had experience writing
      15       Q Okay. Did you ever think that the sales        15   opioids, right -- prescribing opioids; is that
      16   goals were too aggressive?                           16   right?
      17       A No.                                            17        A I don't know exactly how they did that.
      18       Q Okay. So if you were hearing this --           18        Q Okay.
      19   this rep face to face, what -- what would your       19        A I just know that they -- they looked
      20   response have been if they said the sales -- the     20   at -- those were some of the parameters.
      21   goals are very, very aggressive?                     21        Q Okay. And you also said historical
      22       A Well, I would --                               22   background was the other aspect of forecasting.
      23           MR. MORRIS: Objection to form.               23        A Previous Rx's for Opana ER or Opana.
      24           THE WITNESS: I would ask them to             24        Q So looking -- so if you're in 2008,


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       1   you're looking at 2007 using it as a basis for        1   found it to be very important information,
       2   forecasting?                                          2   correct?
       3       A Correct.                                        3       A Correct.
       4       Q Okay. Do you know whether any aspect of         4            MR. MORRIS: Objection to form.
       5   forecasting depended upon an attempt to understand    5   BY MS. SCULLION:
       6   the medical needs within a given population within    6       Q Okay. And do you recall -- strike that.
       7   a geographic area, whether they needed the            7            So you understood, at least at the time,
       8   medication?                                           8   you would have read and seen what sales reps were
       9       A I don't know that for a fact, but I know        9   saying about the messages they were delivering to
      10   that looking at the physician populations there,     10   physicians, correct?
      11   probably took that into account.                     11            MR. MORRIS: Objection to form.
      12       Q Was -- putting aside forecasting, was          12            THE WITNESS: I -- just to clarify,
      13   the medical need within a given -- let's say a       13   this -- this is a market research, so it was a
      14   territory or let's say a district, medical needs     14   point in time and it was one rep.
      15   in a district, was that ever something you tried     15   BY MS. SCULLION:
      16   to assess as a sales organization to understand,     16       Q Yeah.
      17   well, really how -- you know, how many patients      17       A So you couldn't extrapolate that to the
      18   need how many pills in a particular area?            18   whole sales force, right.
      19       A Well, can you maybe describe "medical          19       Q Well, understood, although this wasn't
      20   need" to me? I -- I'm not quite following your --    20   an attempt to assess aspects of the sales force --
      21   your question.                                       21       A Right.
      22       Q Sure. I mean -- so I mean, would -- so,        22       Q -- right?
      23   for example, would -- would you have looked to       23       A Right.
      24   understand, well, what's the number of pain --       24       Q Okay. I'm just saying, so you -- when


                                                Page 163                                                  Page 165
       1   chronic pain patients within a given geographic       1   you read the report, you would have seen at least
       2   area? Would that be something you would be            2   what was quoted with respect to what sales reps --
       3   considering in thinking about sales goal?             3   those sales reps were saying, correct?
       4       A Well, because I didn't set the -- the           4        A I would have seen it at the time.
       5   goal, I didn't, but others in the organization may    5        Q You would have seen that. Okay.
       6   have. I'm just not aware of that.                     6           And you would have seen the analysis in
       7       Q You don't know one way or the other             7   the report about what overall sales reps were
       8   whether it happened?                                  8   saying about the difficulties, for example, in
       9       A I don't know.                                   9   selling Opana ER. You would have seen those
      10       Q Okay. Was it something that -- that you        10   statements.
      11   ever considered, though -- putting aside             11           MR. MORRIS: Objection. Form and
      12   forecasting, was it something that you ever          12   foundation.
      13   considered as an Endo executive, what are the        13           THE WITNESS: If there were those
      14   actual medical needs within any given community?     14   statements.
      15       A I -- I --                                      15   BY MS. SCULLION:
      16           MR. MORRIS: Objection to form.               16        Q Okay. Well, we saw some. I mean, you
      17           THE WITNESS: I did not look at that.         17   don't remember them, but we saw they're in the
      18   BY MS. SCULLION:                                     18   report. I'm just saying you would have seen these
      19       Q Okay. Now, coming back to Exhibit 11.          19   statements in the report, right?
      20       A Okay.                                          20           MR. MORRIS: Objection. Form and
      21       Q Going back to the very first page, I           21   foundation.
      22   think you said you don't recall specifically the     22           THE WITNESS: I would have seen them in
      23   report, but again, it's clear from your e-mail       23   the report.
      24   that you did read the report at the time and you     24   BY MS. SCULLION:


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       1       Q You would -- I mean you would have read         1   in the office, right?
       2   the whole report.                                     2       A Yes.
       3       A Yeah.                                           3       Q Okay. And -- and they also were going
       4       Q Okay. That's an easy way --                     4   to pharmacies in their territories and trying to
       5       A Yes.                                            5   understand, for example, the stocking at the
       6       Q -- easy way to put it.                          6   pharmacy, correct?
       7           And do you recall taking any corrective       7       A Yeah, just to clarify, there was a
       8   action having seen the statements reported in the     8   period of time when they did that, and then
       9   report to say, for example, Well, no, sales reps      9   they -- we stopped calling on pharmacies.
      10   shouldn't be making those statements?                10       Q Thank you. I -- I -- you did say that
      11       A I don't recall that at the time. I             11   before.
      12   don't recall it.                                     12           But there was a period of time when that
      13       Q Do you -- do you recall whether any            13   was part of their responsibility as well.
      14   investigation, any further investigation was made    14       A Yes.
      15   about why reps would be making certain reported      15       Q Okay. And were reps sort of more
      16   statements in the report?                            16   generally expected to try to get to know the --
      17       A I don't recall that either.                    17   the medical needs of the community that they
      18       Q Okay. So I take it you also don't              18   were -- in which they were selling?
      19   recall anyone being disciplined with respect to      19           MR. MORRIS: Objection to form.
      20   delivering any of the messages reported in this      20           THE WITNESS: I'm not quite sure.
      21   report?                                              21   Through the -- I'm -- maybe clarify the question
      22       A No.                                            22   just a little.
      23       Q Okay. And do you recall there being --         23   BY MS. SCULLION:
      24   any change being made to the messaging that sales    24       Q Sure.


                                                Page 167                                                  Page 169
       1   reps were delivering based on what was reported in    1           Just, in general, were they expected to
       2   this report?                                          2   try to understand, you know, what the -- what the
       3            MR. MORRIS: Objection to form.               3   population looked like, the demographics, was it
       4            THE WITNESS: I do know, just to              4   an older population, a younger population, a
       5   clarify, that market -- marketing would look at       5   population that had, you know, a more frequent
       6   these reports to make sure that their materials       6   occurrence of any particular disease state? Was
       7   met the needs of the customer.                        7   that something they were expected to try to get to
       8   BY MS. SCULLION:                                      8   understand?
       9        Q Okay.                                          9           MR. MORRIS: Objection to form.
      10        A And they may have made adjustments and        10           THE WITNESS: I think -- to clarify, I
      11   additional training based on that.                   11   think how they would learn that is just through
      12        Q Okay. But you don't specifically recall       12   the offices that they called on in a certain
      13   one way or the other whether that ever happened in   13   geography.
      14   response to this report.                             14   BY MS. SCULLION:
      15        A Well, I -- I don't know specifically to       15        Q Okay. Were they expected to try to be
      16   this report, no.                                     16   familiar with -- strike that. Sorry.
      17        Q Okay. Let's put Exhibit 11 aside.             17           Would they have been expected to know
      18            Okay. Mr. Romaine, we talked about this     18   the various clinics that would be in their
      19   a little bit already in terms of salespeople in      19   territory, let's say pain clinics, to know
      20   the field getting to know obviously the physicians   20   which -- what clinics are out there?
      21   on whom they're calling, they're trying to get to    21        A The clinics that they would be calling
      22   know those physicians, correct?                      22   on?
      23        A Correct.                                      23        Q Or just even if they weren't calling on
      24        Q And they're trying to get to know people      24   them, they're expected to know the pain clinics.


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       1       A If they didn't have them on their call          1       A Mm-hmm.
       2   plan, they weren't expected to know them.             2       Q This is an e-mail -- two e-mails, one
       3       Q They weren't expected to have any idea          3   from Mike Weber and then another e-mail from you.
       4   about them at all, any knowledge?                     4           I'm going to start with Mr. Weber's
       5       A They wouldn't have a knowledge of them          5   e-mail --
       6   because they stuck to a specific call plan --         6       A Okay.
       7       Q Mm-hmm.                                         7       Q -- at the bottom on the first page.
       8       A -- that they were responsible for.              8       A Yes.
       9       Q Okay. We discussed a little bit earlier         9       Q And this is dated February 12th, 2007,
      10   the district managers working with the salespeople   10   from Mike Weber to a few different folks, and then
      11   within their district.                               11   cc'd to you, Ron Jackson, and two other
      12       A Yes.                                           12   individuals. Subject matter "ECRs."
      13       Q And -- and that they were working with         13           Who was Mike Weber? In February of
      14   them on sort of a day-to-day basis?                  14   2007, what was his position?
      15       A Yes.                                           15       A Mike Weber was the director of primary
      16       Q Okay. Were they working with them on           16   care sales force, and I was the director of the
      17   training with respect to the core messages around    17   specialty sales force at the time.
      18   the products being promoted?                         18       Q Okay. And do you see he's writing to
      19       A Their responsibility would be to coach         19   the Midwest leadership team?
      20   on -- on the delivery of the message, yes.           20       A Yes.
      21       Q Okay. Did they from time to time go on         21       Q And the folks in the "to" line, were
      22   ride-alongs with the reps?                           22   they -- were they the Midwest leadership team at
      23       A Yes.                                           23   the time?
      24       Q And what's a ride-along?                       24       A It looks like that's who they were, yes.


                                                 Page 171                                                 Page 173
       1       A They would go with the representative to        1        Q Okay. And Midwest, that was -- that was
       2   their offices and observe their sales                 2   a region?
       3   presentations.                                        3        A The Midwest was a -- yes, I'm assuming
       4       Q And after observing, would they provide         4   it was a region, yes.
       5   then coaching to the sales rep?                       5        Q Okay. And it included Ohio?
       6       A Yes.                                            6        A I -- I don't know that for a fact.
       7       Q All right. Do you recall Endo using             7        Q Okay. Do you remember one of the people
       8   something called an ECR, an ENDOSell Coaching --      8   in the "to" line is Teresa Leigh? Do you see
       9       A Report.                                         9   that --
      10       Q -- Report?                                     10        A Yes.
      11       A Yes.                                           11        Q -- Leigh, Teresa?
      12       Q Okay.                                          12        A Mm-hmm.
      13           MS. SCULLION: Do we have 1184?               13        Q Do you recall Ms. Leigh being a district
      14           (A discussion was held off the record.)      14   manager in Ohio?
      15           (Romaine Exhibit No. 12 was marked           15        A She was a district manager in Ohio.
      16           for identification.)                         16        Q Okay. Okay. And so Mr. Weber is
      17           MS. SCULLION: Thank you.                     17   telling the Midwest leadership team that the ECR,
      18   BY MS. SCULLION:                                     18   ENDOSell Coaching Report, should be completed no
      19       Q I hand you what's marked as                    19   later than 48 hours after every field ride.
      20   Exhibit No. 12.                                      20           Do you see that?
      21       A Thank you.                                     21        A Yes.
      22       Q And this is Bates stamped ENDO_OPIOID_         22        Q And if you read through that first
      23   MDL-02147122, and we've marked it E1184 in the top   23   paragraph, he goes on to state that: "Opana ER
      24   right-hand corner.                                   24   needs to be highlighted appropriately since


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       1   nothing is more important than the success of this    1   the time that they were in the field with the
       2   launch at this time."                                 2   representative.
       3           Do you see that?                              3       Q Right. And it's -- and that is the
       4       A Yes.                                            4   document that will tell you what was discussed --
       5       Q And that -- that was true at that time          5   exactly what was discussed and coached --
       6   in February 2007, there was really nothing more       6       A It's a summary of what was discussed --
       7   important to the sales force than the success of      7       Q -- with the representative.
       8   the Opana ER launch, correct?                         8       A -- during that, yes.
       9       A I --                                            9       Q Okay. So it's a pretty important
      10           MR. MORRIS: Objection. Foundation.           10   document in terms of the operation of the sales
      11           THE WITNESS: I can't say that that's         11   force?
      12   correct. I mean, they had other responsibilities     12       A It's a doc- --
      13   as well.                                             13          MR. MORRIS: Objection to form.
      14   BY MS. SCULLION:                                     14          THE WITNESS: It's a document to -- to
      15       Q Okay. You did get this e-mail, you were        15   help the representative understand what they need
      16   cc'd on it from Mike Weber, correct?                 16   to continue to improve on.
      17       A Mm-hmm.                                        17   BY MS. SCULLION:
      18       Q Did you -- you need to say "yes" or            18       Q It's an important document that
      19   "no."                                                19   representatives are supposed to read and pay
      20       A Yes. Yes.                                      20   attention to, right?
      21       Q Did you -- did you go back to him and          21       A Yes.
      22   say, Mike, that's not an appropriate message to be   22       Q Okay. If you go to the next paragraph,
      23   delivering to your district managers?                23   Mr. Weber refers to: "Attached is a good example
      24       A I -- I don't recall.                           24   I pulled from an ECR DM summary."


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       1        Q Okay. And I mean, he was your                  1           Do you see that --
       2   counterpart, so fairly senior within the sales        2       A Yes.
       3   organization, right?                                  3       Q -- second sentence in the next
       4        A That's correct.                                4   paragraph? Okay.
       5        Q All right. And this is how he's                5           And I don't know that we have an
       6   directing these district managers to -- to run        6   attachment to this particular document, but do you
       7   their business with respect to Opana ER, right?       7   see the DM summary at the bottom of Exhibit 12,
       8        A I don't know what his method is here,          8   correct?
       9   but --                                                9       A Yes.
      10        Q I'm saying that these are the                 10       Q All right. And this -- the DM summary
      11   instructions he's conveying to them, correct?        11   was the district manager summary, correct?
      12        A Correct.                                      12       A Yes.
      13        Q Okay. All right. And then with respect        13       Q So this is an example of a district
      14   to the ECR itself, in the last sentence of that      14   manager summary from an ECR.
      15   paragraph, he says: "Keep in mind that this is       15       A I'm assuming that's what he -- it's a
      16   the only document that shows what exactly was        16   cut and paste.
      17   discussed and coached by you with the                17       Q That's -- that's what he says, right?
      18   representative regarding his or her success of       18       A Yeah.
      19   Opana ER and the actions that need to be taken."     19       Q Okay. And the DM summary that Mr. Weber
      20           Do you see that?                             20   is pulling out as an example, a good example, says
      21        A I do see that.                                21   in paragraph 1: "Hypertargeting top five through
      22        Q And that's an accurate description of --      22   seven. You consistently hypertarget using sales
      23   of the ECR, right?                                   23   data to identify those targets, seeing them more
      24        A An ECR is -- it's a coaching report for       24   than once a week and pressuring sales."


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       1            Did I read that correctly?                  1            MR. MORRIS: Objection. Foundation.
       2       A Yes.                                           2            THE WITNESS: I don't -- I don't know.
       3       Q And what was hypertargeting?                   3   I can't say yes to that because I don't know.
       4            MR. MORRIS: Objection. Form and             4   BY MS. SCULLION:
       5   foundation.                                          5       Q Okay. But regardless, he's putting in
       6   BY MS. SCULLION:                                     6   this e-mail to the Midwest leadership team, he's
       7       Q Was hypertargeting something that Endo         7   using this as an example. Whether it's from an
       8   was using in February of 2007 with respect to        8   ECR or not, he's using this as an example,
       9   Opana ER sales?                                      9   correct?
      10       A I -- I don't recall that terminology          10       A Correct.
      11   being used or -- and -- or terminology being used   11       Q And he said, "This is a good example,"
      12   for Opana ER.                                       12   right?
      13       Q Okay. And then he goes on to say              13       A Yes, he says that.
      14   that -- the DM goes on to say: "Opana ER was        14       Q He says it's a good example of the
      15   presented in a primary position on all calls        15   coaching that should be provided -- he thinks
      16   trying to move the customer to writing or           16   should be provided to reps, including through the
      17   expanding their writing from trial to adoption."    17   Midwest leadership team, right?
      18            Do you see that?                           18            MR. MORRIS: Objection. Form.
      19       A Yes.                                          19            THE WITNESS: Can you repeat the
      20       Q And then the DM is coaching: "Call on         20   question again? I'm sorry.
      21   some targets, two to three a week, through year     21   BY MS. SCULLION:
      22   end and get them writing."                          22       Q So this is an example of what he thinks
      23            Do you see that?                           23   is good coaching that should be provided to the
      24       A Yes.                                          24   reps through the Midwest leadership team, right?


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       1       Q And so that was coaching that one of           1       A I -- I don't know if he -- I don't know
       2   Endo's district managers was providing to a sales    2   what he was thinking as he wrote this. I'm not
       3   rep in February of 2007, correct?                    3   sure if he thought this was a good example or not.
       4            MR. MORRIS: Objection. Form and             4       Q Well, he says, "Attached is a good
       5   foundation.                                          5   example."
       6            THE WITNESS: I -- I don't know -- I         6       A Okay.
       7   don't know how he took this to put it into this      7       Q Right?
       8   document.                                            8       A Yes.
       9   BY MS. SCULLION:                                     9       Q He does say that.
      10       Q Well, I mean -- I mean he says that he's      10       A Okay.
      11   pulled it from an ECR DM summary, right?            11       Q So this is the example he's choosing to
      12       A Right.                                        12   present to the Midwest leadership team.
      13       Q Mr. Weber says?                               13       A Right.
      14       A Right.                                        14       Q Okay. And the example he's choosing to
      15       Q You knew Mr. Weber pretty well?               15   present includes coaching that says, with respect
      16       A I knew Mike, yes.                             16   to hypertargeting, seeing them more than once a
      17       Q Okay. And he was an honest person?            17   week and pressuring sales, right? That's what
      18       A Yes.                                          18   he -- that's what the example says.
      19       Q You wouldn't expect him to be                 19       A Yes.
      20   misrepresenting this in the e-mail, right?          20       Q And the example says that the reps
      21       A No.                                           21   should call on some targets two and three times a
      22       Q Okay. So, I mean, you would expect            22   week through the year and get them writing, right?
      23   that -- in fact, he's pulled this DM summary from   23       A Correct.
      24   an actual ECR, right?                               24       Q And writing within this sales force


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       1   meant writing prescriptions. Get them writing         1        A Resources.
       2   prescriptions is what that would refer to.            2        Q He's also providing -- he or she is also
       3       A I don't know what he's referring to             3    providing the promotional materials, correct?
       4   there. I --                                           4        A Correct.
       5       Q Is there anything else that --                  5        Q All right. Providing the reprints --
       6       A It's not specific, I guess is what I'm          6    the approved reprints, right?
       7   saying.                                               7        A Yes.
       8       Q Is there anything else a sales rep would        8        Q Okay. And in the end, if that -- if
       9   be getting a provider writing other than a            9    that sales rep is not able to get physicians
      10   prescription?                                        10    clinically writing prescriptions, they really
      11       A From my perspective, just to clarify, I        11    can't continue as a sales rep. That's what you
      12   mean, I don't -- I would never use that              12    said in your voicemail.
      13   terminology. So it's about, you know, performing     13        A Their role is to clinically present
      14   your duties as a professional and encourage          14    the -- the information to a physician, and
      15   physicians to understand the business and            15    they're -- they are responsible for generating
      16   understand the product, and then if the patient      16    business --
      17   would benefit from that product, based on a          17        Q Right.
      18   physician's experience, then they would write --     18        A -- if there is a patient population that
      19   they would write a prescription for it.              19    would benefit from it.
      20       Q All right. But that -- that's what             20        Q Right.
      21   physicians do is they actually write                 21        A Correct.
      22   prescriptions, or writing usually --                 22        Q If you go to the second page of
      23       A Right.                                         23    Exhibit 11, a little bit at the very top in this
      24       Q -- was referring to writing a                  24    example, again, it says: "Maximize speaker


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       1   prescription.                                         1   program" --
       2       A They write prescriptions, yes.                  2          MS. KUBLY: Exhibit 12.
       3       Q Okay. And as we heard earlier from your         3          MS. SCULLION: Thank you very much.
       4   voicemail, your view was that that was the job of     4   BY MS. SCULLION:
       5   the sales rep, they had to get physicians             5       Q Exhibit 12, second page, E1184.2 says:
       6   prescribing the product clinically, that was their    6   "Maximize speaker program attendance."
       7   job.                                                  7          Do you see that?
       8           MR. MORRIS: Objection. Form.                  8       A Yes.
       9           THE WITNESS: Well, to go back to what I       9       Q Did Endo use a speaker program in
      10   just referenced, clinically is providing full        10   connection with the promotion of Opana ER in 2007?
      11   product information so they can make an informed     11       A We did. I don't recall it that year,
      12   decision.                                            12   but I do -- we did use speaker programs.
      13   BY MS. SCULLION:                                     13       Q And can you explain what a speaker
      14       Q But -- but the -- but the idea is that         14   program was -- or what that speaker program was?
      15   they make an informed decision, and the result is    15   Sorry.
      16   that they're writing a prescription.                 16       A You would have a resident expert
      17       A If it clinically matched the needs of a        17   physician come in and speak to other physicians
      18   patient. But that's the decisions -- that's a        18   about their practice and the -- the clinical
      19   physician's decision.                                19   benefit where they saw one of our products fit
      20       Q Okay. But they're making that decision         20   with their patient population.
      21   after getting detailed by the sales rep, and the     21       Q And these were other physicians that
      22   sales rep is providing --                            22   Endo identified to participate in the speaker
      23       A Education.                                     23   program, correct?
      24       Q -- providing the PI, right?                    24       A Yeah. They were -- they were invited to


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       1   attend based on the -- the representative that was    1   page of Exhibit 13, this is an e-mail from you to
       2   having the program.                                   2   a number of individuals within Endo in various
       3        Q Who would -- who would make the                3   departments, right? I think --
       4   invitation to a specific physician to be a speaker    4       A Yes.
       5   at one of those programs?                             5       Q -- we see folks in marketing, in
       6        A Well, they had preprinted and approved         6   medical. We see Mr. Weber, correct?
       7   speaker invitations that they used.                   7       A Yes.
       8        Q The -- the sales reps had preprinted           8       Q Okay. And this is dated December 7,
       9   invitations?                                          9   2006, and the subject is "Opana FIR,
      10        A Yes.                                          10   November 30th, 2006." Do you see that?
      11        Q Okay. Do you know which department            11       A Yes.
      12   within Endo identified speakers that were invited    12       Q And FIR, that's a reference to a field
      13   to -- to come to those presentations -- come and     13   intelligence report, right?
      14   make those presentations, I should say? Thank        14       A That's -- that's correct.
      15   you.                                                 15       Q All right. And then starting at
      16        A Oh, they would be -- it would be a            16   page E1183.2, and the next two pages is the Opana
      17   combination of our medical team as well as our       17   field intelligence reports for November 30th,
      18   marketing team.                                      18   2006, correct?
      19        Q Was -- was the speaker program helpful        19       A Correct.
      20   to Endo's sales efforts for Opana ER?                20       Q What was a field intelligence report?
      21            MR. MORRIS: Objection to form.              21       A It was just information that was
      22            THE WITNESS: I would say it's very hard     22   captured from the representative through the
      23   to -- to tell. You know, if -- if physicians         23   district managers that was rolled up through the
      24   came, I think it was a learning experience for       24   regional directors and then eventually to me.


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       1   them.                                                 1       Q Okay. And was -- were field
       2   BY MS. SCULLION:                                      2   intelligence reports done on a somewhat frequent
       3        Q Okay. Were sales reps encouraged to            3   basis, monthly or --
       4   invite the physicians they were calling on to         4       A I don't know if there was a routine to
       5   attend these -- the speaker programs, as is           5   the --
       6   highlighted in this example?                          6       Q Okay.
       7        A Yes, it was an educational tool that           7       A -- to the timing of them, but they
       8   they could use.                                       8   were -- they were done.
       9        Q Okay. And that was an educational tool         9       Q And you said that it was from reps to
      10   that the sales reps were providing as part of        10   DMs up to you, correct?
      11   their sales process, correct?                        11       A To the regional directors, and then up
      12        A Correct.                                      12   to me.
      13           MS. SCULLION: Can I have 1183?               13       Q I'm sorry.
      14           (Romaine Exhibit No. 13 was marked           14       A So it was a summary.
      15           for identification.)                         15       Q Now, this particular report is from
      16   BY MS. SCULLION:                                     16   November of 2006 before your promotion. Did you
      17        Q I'm going to hand you what's been marked      17   continue to receive field intelligence reports
      18   as Exhibit No. 13.                                   18   after your promotion?
      19        A Thank you.                                    19       A I don't recall if I continued that
      20        Q And this is Bates-stamped ENDO_OPIOID_        20   process.
      21   MDL-00881701, and we've numbered it E1183.1 at the   21       Q Okay. So -- but this is a report
      22   top.                                                 22   that -- did you prepare the field intelligence
      23           This is 13; is that right? Yeah.             23   report itself, actually put the document together?
      24           And, Mr. Romaine, looking at the first       24       A No. That was done for me. The regional


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       1   directors provided it, and it was put together.       1       A Yes.
       2        Q Okay. You would have reviewed it at the        2       Q "Not willing to try a new ER opioid
       3   time, however?                                        3   without hearing some success from thought
       4        A Yes.                                           4   leaders/specialists."
       5        Q Okay. And then you're passing it on.           5           Do you see that?
       6   Was it your practice when you reviewed the reports    6       A Yes.
       7   that to -- to double-check if anything seemed to      7       Q And that was another piece of
       8   be suspicious, inaccurate? Like if you would say,     8   intelligence obviously coming up from the field
       9   That doesn't make sense, would you double-check       9   that you passed on?
      10   and make sure it was right before passing it on?     10       A Yes.
      11        A Yeah, I --                                    11           MR. MORRIS: Objection to form.
      12           MR. MORRIS: Objection to form.               12   BY MS. SCULLION:
      13           THE WITNESS: I don't recall.                 13       Q What -- what's the reference to "thought
      14   BY MS. SCULLION:                                     14   leader"? What is a "thought leader"?
      15        Q I mean, would it have been your practice      15       A A thought leader is someone that has a
      16   to -- to just pass it on without even reviewing it   16   steep knowledge in -- in the treatment of the
      17   at all?                                              17   disease, has a lot of experience using product,
      18        A I just don't recall this -- the field         18   many different products in that marketplace -- in
      19   intelligence report, if I -- if I double-checked     19   that disease state.
      20   it or not.                                           20       Q Did -- did Endo make use of thought
      21        Q Okay. But you were -- is it safe to say       21   leaders as part of its sales and promotion of
      22   if you passed it on, you were passing it on          22   Opana ER? Start with that.
      23   because you thought it was useful information,       23       A Thought leaders were used a lot in
      24   correct?                                             24   speaker programs as an example.


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       1       A Yes.                                            1       Q Okay. And we just spoke about speaker
       2       Q Okay. And on this first page of your --         2   programs.
       3   of the field intelligence report for                  3       A Yes.
       4   November 30th, 2006, under the heading "Key           4       Q How else were thought leaders used in
       5   Objections to Opana from Physicians" --               5   connection with Opana ER?
       6       A Yes.                                            6       A We also used them in training to educate
       7       Q -- do you see the second bullet point           7   our sales team. And marketing team.
       8   says: "One objection that has been arising is         8       Q And there -- it says here "thought
       9   that they don't feel the need for another opioid      9   leaders/specialists." Is there a distinction
      10   at this point, regardless of the formulation."       10   between thought leaders and specialists?
      11           Do you see that?                             11           MR. MORRIS: Objection to form,
      12       A Yes.                                           12   foundation.
      13       Q So that was a piece of information that        13           THE WITNESS: I don't know. I don't
      14   was coming up from the field in November of 2006,    14   know what they're referring to, or I -- I don't
      15   correct?                                             15   see a difference.
      16       A That was a piece of information that           16   BY MS. SCULLION:
      17   someone had -- had brought forward, yes.             17       Q Okay. And in your experience, did the
      18       Q And that you passed on within Endo,            18   use of thought leaders in connection with Opana ER
      19   correct?                                             19   help support Endo's sales efforts for that
      20       A Yes.                                           20   product?
      21       Q All right. And the next bullet point           21       A I can't -- I can honestly say I don't
      22   that came up from the field was: "Not willing to     22   recall any specific -- where they actually had a
      23   try a new ER opioid" -- and that's extended-         23   difference one way or the other.
      24   release opioid, right?                               24       Q Just to go back a bit, when you joined


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       1   Endo in 2003, Ms. Ammon was still with the            1        Q But if -- but if she did make that kind
       2   company, correct?                                     2   of statement, you would expect that she would know
       3       A She was the CEO at the time, yes.               3   what she was talking about, right?
       4       Q Did you ever have a chance to meet her?         4        A Yes.
       5       A I did.                                          5        Q Okay. If you continue back on
       6       Q Okay. Did you find her to be a -- a             6   Exhibit 13, the same page we were on, going down
       7   thoughtful person?                                    7   two more -- three more bullet points, you see
       8       A Yes.                                            8   under "Key Objections to Opana from Physicians,"
       9       Q Good business person?                           9   it says "Abuse." Do you see that?
      10       A Yes.                                           10        A Let me just -- on the -- under "Key
      11       Q Honest?                                        11   Objections for Opana"?
      12       A Yes.                                           12        Q "Key Objections" --
      13       Q Proud of how Endo built its business?          13        A Oh, I'm sorry.
      14       A Yeah. I didn't know her very well. I           14        Q -- "to Opana from Physicians." That's
      15   only met her once at a Christmas party.              15   okay, there's two similar ones. The first
      16       Q Okay.                                          16   heading, "Key Objections to Opana from
      17       A But -- but she seemed --                       17   Physicians."
      18       Q That was the impression.                       18        A Okay.
      19       A -- like a very nice person.                    19        Q And go down to the second to last bullet
      20       Q Okay. But that was the impression, that        20   point is easier.
      21   she was a -- I mean, putting aside being at a        21        A Yes.
      22   Christmas party, did she have a reputation for       22        Q It says "Abuse." So that was an
      23   being a good business leader?                        23   objection that was being reported up from the
      24       A A lot of integrity.                            24   field in November of 2006, correct?


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       1           MR. MORRIS: Objection to form.                1       A That came from somebody within the
       2   BY MS. SCULLION:                                      2   organ- -- sales organization.
       3        Q Okay. A lot of integrity.                      3       Q And you passed that on within Endo.
       4           THE REPORTER: Excuse me.                      4       A Yeah.
       5           MR. MORRIS: Yeah, sorry.                      5       Q And then the next heading is "Key
       6           THE REPORTER: I can't get --                  6   Objections to Opana from Pharmacists."
       7           MR. MORRIS: Same rule of talking over,        7       A Mm-hmm.
       8   I've got to get my words in too.                      8       Q And it says: "The key objection to
       9           THE WITNESS: My fault.                        9   Opana from pharma -- from my pharmacists is cost
      10           MS. SCULLION: I was also speaking over.      10   to stock in the pharmacy before a prescription
      11   BY MS. SCULLION:                                     11   comes through the pharmacy."
      12        Q And so if Ms. Ammon had said that the         12          Do you see that?
      13   use of thought leaders to help move the medical      13       A Yes.
      14   community around the treatment of chronic pain was   14       Q The second bullet point says: "Cost and
      15   an important part of Endo's success, would you       15   fear of having another opioid in the store."
      16   believe that was probably a pretty accurate          16          Was that a -- an objection that Endo was
      17   statement?                                           17   hearing from pharmacists with respect to Opana ER
      18           MR. MORRIS: Objection. Form and              18   in November 2006?
      19   foundation.                                          19          MR. MORRIS: Objection. Form and
      20           THE WITNESS: I -- I don't know. I --         20   foundation.
      21   I've never heard her make that statement, so I --    21          THE WITNESS: I can honestly say --
      22   I don't know. I can't imagine she would get to       22   again, this -- I didn't write this, so I can
      23   that level in the business.                          23   honestly say I did not hear that, that there was a
      24   BY MS. SCULLION:                                     24   fear of stock -- because there was a black -- they


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       1   had a storage box in the pharmacies for opioids,      1   typically got, you know, four to five, six, ten
       2   so they were locked up.                               2   minutes to -- to present their -- their products
       3   BY MS. SCULLION:                                      3   to the physician.
       4       Q Okay. But -- but clearly somebody               4   BY MS. SCULLION:
       5   within -- somebody in the field was reporting that    5       Q Okay. And when they're presenting the
       6   there was some cost and fear of having another        6   products to the physician, they in fact often were
       7   opioid in the stores among some pharmacists,          7   presenting more than one product at the same time,
       8   correct?                                              8   right?
       9       A Yeah. And just to clarify, I mean this          9       A Yes.
      10   could be --                                          10       Q So that whole time period, whatever it
      11       Q I'm sorry, if you could answer just that       11   was, if it was three minutes, five minutes, six
      12   question. That somebody was reporting that some      12   minutes, wouldn't be spent just on one product,
      13   pharmacists had that fear, correct?                  13   right?
      14       A Some --                                        14       A That's right.
      15          MR. MORRIS: Objection. Foundation.            15       Q Okay.
      16          THE WITNESS: I'm assuming that is --          16       A But just to put that in context also,
      17   looking at this --                                   17   you know, let's say it's three products, they
      18   BY MS. SCULLION:                                     18   would spend most of their time on the first one,
      19       Q Okay.                                          19   and then much less on the second and third.
      20       A I shouldn't say assume, but, yes, it           20       Q Okay. And then if you go down -- I'm
      21   looks like someone reported that.                    21   sorry, I'm on the next page, E1183.3. And if you
      22       Q And then you reported that again back up       22   would go down to the last section, which is headed
      23   to Endo.                                             23   "What messages or data in the MVA are the most
      24       A This report went to Endo.                      24   compelling to your customers?" Do you see that?


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       1        Q Right. Okay. And then the last section         1       A Mm-hmm, yes.
       2   on this page is: "How much time are physicians        2       Q And the MVA, again that's the master
       3   providing you to discuss Opana and the brand's        3   visual aid, correct?
       4   benefits?" Do you see that?                           4       A Correct.
       5        A Yes.                                           5            (Counsel conferring.)
       6        Q And here the bullet points talk about          6   BY MS. SCULLION:
       7   three to five minutes to discuss Opana and the        7       Q We're going to pull that MVA just so you
       8   brand's benefits. With an appointment or lunch,       8   can --
       9   it's more than adequate, 30 minutes. Without an       9       A Okay.
      10   appointment or lunch, it's more -- it's no more      10       Q -- you can take a look at it.
      11   than two minutes. Someone else is reporting up in    11          But what's reported here is that the
      12   the last bullet point it can be anywhere from a      12   most compelling message -- messages to the
      13   few seconds to 15 minutes.                           13   customers include -- there's pharmacokinetics,
      14           And those are all consistent with --         14   durable efficacy over a three-month period, no
      15   with your experience of sort of a variety of         15   known CYP-450 inhibitions, efficacy, and true
      16   amount of time that reps would have to discuss       16   every 12-hour dosing. They like the TIMERx
      17   Opana ER and the brand's benefits with physicians,   17   delivery system. Is that how you pronounce that,
      18   right?                                               18   TIMERx or TIME Rx?
      19           MR. MORRIS: Objection. Foundation.           19       A I think it was TIME Rx.
      20           THE WITNESS: I would say that -- and         20       Q Okay, TIME Rx. That makes more sense.
      21   again, you have to realize this -- this report, it   21          Let me ask you about that one, efficacy
      22   could be one person saying this. So, you know,       22   and true every 12-hour dosing, was that -- that
      23   you have to take it in the correct context.          23   was a core message for Opana ER in November of
      24           But I would say that representatives         24   2006, right?


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       1       A Yes.                                            1       A Thank you.
       2       Q Okay. And then if you go to the last            2           MS. SCULLION: And I apologize, I don't
       3   page of Exhibit 13, you see the section headed        3   have another one.
       4   "What messages or data in the MVA are the least       4           THE WITNESS: Oh, are we done with this
       5   compelling" --                                        5   one for now?
       6       A Yes.                                            6   BY MS. SCULLION:
       7       Q -- "to your customers?" Do you see              7       Q We might come back to it, so just hold
       8   that?                                                 8   on to it.
       9       A Yes.                                            9       A Okay.
      10       Q And here what's reported up are a few          10       Q So I've handed you exhibit -- I'm sorry,
      11   things: The mean concentration, the front cover,     11   this is 14, right?
      12   the promise info, black box, and the indication      12       A Yes.
      13   additional safety information.                       13       Q Okay. Exhibit 14, which is Bates-
      14          And so if I understand correctly, what        14   stamped ENDO_OPIOID_MDL-01655584, and we've
      15   was being reported up was, among other things, is    15   numbered at the top E1023.
      16   the black box was one of the least compelling        16           And you can see on the first page of
      17   messages or data being presented to the customers.   17   Exhibit 14, this is an e-mail from Ms. Vitanza to
      18          MR. MORRIS: Objection. Foundation.            18   you and others dated September 18th, 2006. The
      19   BY MS. SCULLION:                                     19   subject matter is "Final Opana and Opana ER MVA
      20       Q Right?                                         20   and Navigator." Correct?
      21       A I -- I don't know that other than              21       A Yes.
      22   through this, but I can put it in context to say     22       Q Okay. And then if you turn back within
      23   they were calling on experienced opioid writers,     23   Exhibit 14, do you recognize pages E1023.2 going
      24   so they are very familiar with the black box, even   24   on through 1023.17 as the master visual aid in use


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       1   though we covered it.                                 1   in September 2006 for Opana ER?
       2       Q Right. So you say they were calling on          2       A I -- it looks familiar. I can't
       3   experienced opioid writers.                           3   honestly say I do remember it from 2006.
       4       A Mm-hmm.                                         4       Q Okay. But you do remember this -- this
       5       Q Was your field intelligence report just         5   campaign of "Help your patient stay ahead of pain"
       6   coming up from specialty reps?                        6   as the campaign -- a campaign that was used for
       7       A Yes.                                            7   Opana ER, right?
       8       Q Okay. These were coming up from the             8       A I -- I don't remember that specifically,
       9   specialty reps. Okay.                                 9   but I remember we had master visual aids --
      10           But -- so fair to say that the specialty     10       Q Okay.
      11   reps, though, are saying that their customers are    11       A -- to use with our sales force.
      12   find -- are not finding the black box a              12       Q All right. And do you recall that there
      13   particularly compelling selling message.             13   were a series of master visual aids used to help
      14       A Correct.                                       14   promote Opana ER?
      15       Q Okay. And that's true as well for the          15       A Yes, over time.
      16   indication of additional safety information,         16       Q Okay. Do you recall there was one in
      17   right?                                               17   2006, one in 2007 and one in 2008?
      18       A Correct.                                       18       A That sounds familiar.
      19           MR. MORRIS: Objection. Foundation.           19       Q And they were typically launched at the
      20           (Romaine Exhibit No. 14 was marked           20   national sales meeting each year?
      21           for identification.)                         21       A I can't say they were honestly done at
      22   BY MS. SCULLION:                                     22   the beginning of every year, but they were -- we
      23       Q Okay. Let me -- let me hand you what's         23   had master visual aids that constantly changed
      24   been marked as Exhibit 14.                           24   based on education and training.


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       1        Q Okay.                                          1       A Yes.
       2           MS. SCULLION: Do we have the others?          2       Q Okay. I'll represent to you our
       3           I'm just going to let you see the others      3   understanding is this was used in 2007 -- 2007.
       4   as well.                                              4       A Okay.
       5           THE WITNESS: Okay.                            5       Q Okay. Our understanding was that
       6           (Romaine Exhibit Nos. 15 and 16               6   Exhibit 14 was used in 2006. 15, 2007.
       7           were marked for identification.)              7           And then Exhibit 16, do you recognize
       8   BY MS. SCULLION:                                      8   that as another master visual aid used in
       9        Q I'm handing you what's marked as               9   connection with the promotion of Opana ER?
      10   Exhibit 15. And Exhibit 16. If you give me a         10       A Yes, it looks familiar.
      11   moment, I'll read the numbers into the record.       11       Q Okay. And this one was represented -- I
      12           So Exhibit 17 -- I apologize for             12   represent it was used in 2008.
      13   starting that out of order -- Exhibit 17 is          13       A I just don't recall the years in which
      14   ENDO_CHI_LIT -- I apologize. I got it wrong? So      14   they were used.
      15   16.                                                  15       Q Understood.
      16           MR. MORRIS: Yeah, we only got up to 16,      16           MS. SCULLION: Oh, great. Thanks.
      17   I think.                                             17   BY MS. SCULLION:
      18           THE WITNESS: Yeah.                           18       Q And Erica helpfully points out to me, if
      19           MS. SCULLION: Yeah, no, I thought I          19   you want to go to the back of Exhibit 16, at the
      20   definitely got it.                                   20   bottom left-hand corner, you can see has a date of
      21           MR. MORRIS: Okay.                            21   May 2008 under Chadds Ford, Pennsylvania.
      22           MS. SCULLION: So thank you.                  22       A Okay.
      23   BY MS. SCULLION:                                     23       Q Do you see that?
      24        Q Exhibit 16 is ENDO_CHI_LIT-00032928, and      24           Do you see those numbers 0P -- or OP,


                                                 Page 207                                                Page 209
       1   it's marked E786.                                     1   rather, OP-0301/May 2008?
       2           And Exhibit 15 is Bates-stamped a couple      2        A Yes.
       3   different numbers. ENDO-0000105. It also has a        3        Q And that's -- that's a designation that
       4   number E0049029. And those are in the lower           4   Endo would put on its promotional terms in order
       5   right-hand corner.                                    5   to be able to track the number of -- for the item
       6        A Oh, okay. I'm sorry.                           6   and the date on which it was authorized to be
       7        Q There's a lot of numbers.                      7   issued -- authorized to be used, rather?
       8        A Yeah.                                          8        A I don't know. I never -- I never --
       9        Q There's a lot of numbers. We're just           9        Q Never looked at those.
      10   doing that for the record --                         10        A -- paid attention to that.
      11        A Okay.                                         11        Q Okay. And similarly, on Exhibit 15, if
      12        Q -- so later on someone can find it --         12   you look at the very last page at the bottom, you
      13        A Yeah.                                         13   will see that's dated November 2007. You see
      14        Q -- and people on the phone can find it.       14   that?
      15        A Okay.                                         15        A I'm trying to catch up -- oh, it's to
      16           MR. MORRIS: You won't be tested on the       16   the right side. Okay.
      17   numbers later.                                       17        Q Yeah. Do you see that?
      18   BY MS. SCULLION:                                     18        A Yes.
      19        Q And let's look at Exhibit 15, which has       19        Q Okay. So that's part of our basis for
      20   the vault illustration on the front --               20   understanding when these were used.
      21        A Mm-hmm.                                       21           And let's -- hold on one second. I got
      22        Q -- designed for durable pain control.         22   off track here. Right.
      23   Do you generally recognize this as a master visual   23           So back in Exhibit 13, field
      24   aid used in connection with Opana ER?                24   intelligence report.


                                                                           53 (Pages 206 to 209)
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       1       A Okay.                                          1           (Lunch recess.)
       2       Q There's a reason I got to the MVAs. On         2           THE VIDEOGRAPHER: The time is
       3   that last page, E1183.4, the third bullet point      3   1:55 p.m., and we're back on the record.
       4   down references as one of the least compelling       4   BY MS. SCULLION:
       5   messages or data in the MVA, it says "Promised       5       Q Welcome back, Mr. Romaine.
       6   info." Do you see that?                              6       A Thank you.
       7       A Yes. I'm sorry.                                7       Q We're still under -- you're still under
       8       Q Okay. And that was a reference to the          8   oath.
       9   PROMISE program that Endo had put in place in        9       A Yes.
      10   connection with the promotion of Opana ER,          10       Q Okay.
      11   correct?                                            11           (Romaine Exhibit No. 17 was marked
      12       A I don't -- I don't recall the PROMISE         12           for identification.)
      13   program.                                            13   BY MS. SCULLION:
      14       Q That's why I was going to show you the        14       Q Let me hand you -- sorry, what's been
      15   MVA. If you will go to Exhibit 14 now. Probably     15   marked Exhibit 17.
      16   the easiest thing to do is just flip right to the   16       A And we're done with these visuals for
      17   very last page.                                     17   right now?
      18       A Okay.                                         18       Q For now, yes. Thank you.
      19       Q Turn it over and see the very last page?      19           And for the record, Exhibit 17 is marked
      20       A Oh, I've got it on -- I'm sorry.              20   ENDO_OPIOID_MDL-00468003, and we've marked it
      21       Q And this is page E1023.64. There, you         21   E1204.
      22   got it.                                             22           And, Mr. Romaine, this is an e-mail from
      23       A Got it.                                       23   Alicia Logan to Javier Avalos and Jason Jones
      24       Q All right. And at the bottom of this          24   dated February 12th -- sorry, February 9th, 2012.


                                                Page 211                                                 Page 213
       1   page, do you see the reference to PROMISE            1   The subject matter, "Pharmacies that stated recall
       2   initiative?                                          2   as a decline reason, refusal; prescribing
       3        A Yes.                                          3   physician, refusal; not accepting new patients."
       4        Q The Partnership for Responsible Opioid        4          Do you -- do you remember who Alicia --
       5   Management through Information, Support and          5   what Alicia Logan's position was? What department
       6   Education.                                           6   she was in?
       7        A Yes.                                          7       A She -- she was in -- she -- I think she
       8        Q And seeing that, does that refresh your       8   was in the marketing department. She was with
       9   recollection about what PROMISE was?                 9   different products, but I think at the -- at the
      10        A I remember the word "PROMISE." I just        10   time of this document, she was in the marketing
      11   don't remember anything really about it.            11   department for Opana.
      12        Q Okay. Safe to say, though, that again        12       Q Okay. And then Mr. Avalos and
      13   someone in the field was reporting to you in        13   Mr. Jones, were they in trade?
      14   November of 2006 that that was one of the least     14       A In trade.
      15   compelling pieces of the MVA, correct?              15       Q Okay. And trade refers to the folks who
      16        A Someone in the sales force said that,        16   deal with pharmacies and pharmacy stocking?
      17   correct.                                            17       A Mainly wholesalers, yes.
      18        Q Okay. All right.                             18       Q Okay. Great. And the e-mail attaches,
      19           MS. SCULLION: I was going to suggest        19   as you see, a report that has a couple different
      20   that we take a break here for lunch is a good       20   sections.
      21   place. Is that good? All right.                     21       A Okay.
      22           MR. MORRIS: That sounds good.               22       Q The first section of the report says:
      23           THE VIDEOGRAPHER: The time is 12:57         23   "Pharmacies that stated recall as a decline
      24   p.m. We're going off the record.                    24   reason."


                                                                           54 (Pages 210 to 213)
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       1        A Okay.                                          1   somebody reported a doctor as being engaged in
       2        Q Second says: "Pharmacies that stated           2   suspected diversion, do you think it would be
       3   refusal prescribing physician as a decline            3   useful to also know whether the pharmacies were
       4   reason."                                              4   refusing to honor prescriptions written by that
       5            And my question is, is this an example       5   doctor?
       6   of information that Endo had available to it          6        A I guess I'm a little confused by that,
       7   concerning pharmacies that were refusing              7   because pharmacies get prescriptions from many
       8   prescriptions from certain prescribing physicians?    8   different doctors, so I'm not sure if one doctor
       9        A I -- I don't know. I don't recall and          9   would have an impact or not. I don't -- I don't
      10   I -- I don't know actually.                          10   know.
      11        Q Okay.                                         11        Q But would you want to know, for example,
      12        A I don't think I've ever actually seen         12   if -- if a rep had identified a doctor that they
      13   this report before.                                  13   suspected was engaged in diversion was a pill
      14        Q Putting aside Exhibit 17, were you aware      14   mill --
      15   at any point in time whether Endo had information    15        A Okay.
      16   about pharmacies refusing to honor prescriptions     16        Q -- would you think it would be useful in
      17   written by specific physicians with respect to       17   investigating that to look to see whether
      18   Opana?                                               18   pharmacies in that territory were declining to
      19        A I don't recall that.                          19   honor that prescriber's prescriptions?
      20        Q Do you recall it either way?                  20            MR. MORRIS: Objection. Form,
      21        A No.                                           21   foundation.
      22        Q You don't recall.                             22            THE WITNESS: Yeah, I can't answer that
      23        A No, neither way.                              23   from my role or the reps' role. I think it --
      24        Q Okay. Would it surprise you to know           24   it's probably helpful for other divisions within


                                                 Page 215                                                 Page 217
       1   that Endo had information about pharmacies that       1   the organization to have that information.
       2   were declining prescriptions for -- for various       2   BY MS. SCULLION:
       3   reasons?                                              3       Q So did -- did reps have knowledge of
       4           MR. MORRIS: Objection to form.                4   whether pharmacies were declining to -- to honor
       5           THE WITNESS: I -- I just -- I don't           5   prescriptions written by physicians in their
       6   know if I have an opinion on that one way or the      6   territory? Was that something they would have
       7   other.                                                7   known?
       8   BY MS. SCULLION:                                      8       A Not to my knowledge.
       9       Q Okay. You mentioned earlier the process         9       Q Okay. And again, I think you said that
      10   by which sales reps and district managers could      10   in your experience as VP of sales, certainly you
      11   call a compliance hotline --                         11   didn't realize that Endo had any information about
      12       A Mm-hmm.                                        12   pharmacies declining to honor prescriptions by
      13       Q -- to report suspected diversion. Do           13   particular doctors. You didn't know that
      14   you remember that?                                   14   information existed?
      15       A Yes.                                           15       A Yeah, I -- I don't recall it existing.
      16       Q Okay. And as part of the investigation         16       Q Okay. Okay.
      17   into suspected diversion, would you agree it would   17           (Romaine Exhibit Nos. 18 and 19
      18   have been useful to use information about            18           were marked for identification.)
      19   pharmacies that were declining to honor              19   BY MS. SCULLION:
      20   prescriptions for certain prescribers?               20       Q Let me hand you what's been marked as
      21           MR. MORRIS: Objection. Form,                 21   Exhibit 18 and 19.
      22   foundation.                                          22           For the record, Exhibit 18 is Bates-
      23   BY MS. SCULLION:                                     23   stamped ENDO_OPIOID_MDL-0068400 -- is there
      24       Q Let me put it this way: If -- if               24   another -- I have it cut off. I apologize.


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       1            MR. MORRIS: Ours is cut off too. Let's       1   itself, looking at page E966.2, and we go to the
       2   see --                                                2   row under "Needs Identification" --
       3           MS. SCULLION: We'll try to -- we'll try       3            Do you see the second --
       4   to get the number for the record. We can look         4        A Yes.
       5   that up.                                              5        Q -- row down, "Needs Identification"?
       6   BY MS. SCULLION:                                      6        A Mm-hmm.
       7       Q We have marked it as E966, and it is            7        Q And then I'm looking in the section of
       8   Exhibit 18.                                           8   that under "DM Comments." It starts with "You
       9           And Exhibit 19, similarly, the Bates          9   asked some good questions." Do you see that?
      10   number is cut off. We will get it. We have           10        A Yes.
      11   marked it as E879.                                   11        Q And again, the DM comments, these would
      12           Mr. Romaine, do you remember earlier         12   then be the district manager's comments on this
      13   today testifying that you did not recall reps        13   representative's performance and coaching to the
      14   comparing Opana ER to OxyContin in the course of     14   representative with respect to, in this case, the
      15   their sales presentations, right?                    15   concept of needs identification, right?
      16       A Yeah, I think the way I worded it is           16        A Right.
      17   that they were instructed and -- to focus on Opana   17        Q All right. And Mr. Goeters is coaching
      18   and not competitors.                                 18   that some of the good questions that Mr. Kasik
      19       Q Were they permitted to compare Opana to        19   asked to uncover needs were: "How many rescue
      20   OxyContin in their sales presentations?              20   meds do your patients take, and how many is too
      21       A I don't --                                     21   many? Do they take too many Oxy ER? Those are
      22           MR. MORRIS: Objection to form.               22   very important needs identification questions."
      23           THE WITNESS: I don't recall. I do            23            Did I read that correctly?
      24   remember they were instructed to focus on selling    24        A You read that correctly.


                                                 Page 219                                                Page 221
       1   Opana ER or Opana.                                    1       Q Okay. So fair to say Mr. Goeters is
       2   BY MS. SCULLION:                                      2   coaching Mr. Kasik that it is a good thing to try
       3        Q Okay. Well, if you look at Exhibit 18,         3   to ask the prescriber about their needs with
       4   Exhibit 18 is --                                      4   respect to Oxy ER, correct?
       5        A Okay.                                          5           MR. MORRIS: Objection to form.
       6        Q -- starts with an e-mail from Chris --         6           THE WITNESS: I don't know if I can make
       7   is it Getters (phonetic)?                             7   that correlation or not, but I do see the writing
       8        A Goeters.                                       8   on the -- the report here.
       9        Q Goeters. Thank you.                            9   BY MS. SCULLION:
      10           Chris Goeters to James Kasik, May 25th,      10       Q It's certainly what he coached the
      11   2007. Subject matter, "ECR." And Mr. Goeters is      11   witness -- sorry, excuse me -- certainly what he
      12   attaching then an E -- an ECR and skill tracker      12   coached the sales representative, correct?
      13   for Mr. Kasik, correct?                              13       A Or what he documented here in this
      14        A Yes.                                          14   report.
      15        Q And Mr. Goeters was a district manager?       15       Q I apologize for that. That was just a
      16        A A district manager.                           16   brain slip.
      17        Q In which district, do you recall?             17           And Oxy ER is a reference to OxyContin,
      18        A I -- he was in Texas. But I don't know        18   that's your understanding?
      19   what geography. He might have covered more than      19       A I -- I don't know what he -- I don't
      20   Texas.                                               20   know that's what he was referring to.
      21        Q Fine. And Mr. Kasik was -- was one of         21       Q Would you assume that's what he's
      22   his sales representatives?                           22   referring to?
      23        A I -- I don't recall his name.                 23       A I don't like to assume.
      24        Q Fair enough. If you go to the ECR             24       Q Okay.


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       1       A So I don't know.                                1        Q And intended to be an accurate summary,
       2       Q Did you ever call OxyContin Oxy?                2   correct?
       3       A No.                                             3        A I think as accurate as possible.
       4       Q Okay. Do you know any other drug called         4        Q Okay.
       5   Oxy ER?                                               5        A A lot more information obviously is
       6       A No.                                             6   shared in a coaching environment versus what's
       7       Q And if you can go to Exhibit 19, which          7   written in -- on the paper.
       8   is another ECR. This is from Andy Watson,             8        Q Okay. So we do know at least, though,
       9   district manager --                                   9   that's what's written here indicates that there
      10       A Yes.                                           10   was a discussion about a patient on OxyContin, and
      11       Q -- to Cedric Corbett. Do you see that?         11   the representative's use then of the MVA and
      12       A Yes.                                           12   messaging about the key benefit of Opana ER
      13       Q All right. And this is dated February          13   therapy, fewer occasions for PRN meds because of
      14   of 2007. If you go to the second page, E879.2, in    14   its true Q12 dosing and durability of effect,
      15   the box for dialogue, and under the district         15   that's what -- that's what we know from this
      16   manager's comments, Mr. Watson's comments, he's      16   document --
      17   commenting on a call with Dr. Marcom yesterday.      17        A Right.
      18           And he goes on to -- he says in here,        18        Q -- with the coaching, right?
      19   the patient that they were discussing with the       19        A Correct.
      20   prescriber, Dr. Marcom: "The patient was on          20           MR. MORRIS: Objection. Form and
      21   OxyContin and was using a large quantity of PRN      21   foundation.
      22   medications, and you effectively used your MVA to    22   BY MS. SCULLION:
      23   and the opioid experienced patient data to deliver   23        Q Did regional -- regional business
      24   a key benefit of Opana ER therapy, fewer occasions   24   directors review the ECRs prepared by the DMs


                                                Page 223                                                  Page 225
       1   for PRN meds because of its true Q12 dosing and       1   after the fact?
       2   durability of effect." Correct?                       2       A I -- I can say they -- they reviewed
       3       A That's -- yes.                                  3   some. I can only -- I can't say they actually
       4       Q That's the coaching that Mr. Watson is          4   reviewed all of them.
       5   providing to the sales representative with respect    5       Q Okay. And what was the purpose of -- of
       6   to a discussion of a patient that was then on         6   them reviewing the ECRs?
       7   OxyContin, right?                                     7       A To overall look at, one, how -- how the
       8           MR. MORRIS: Objection. Form and               8   district manager was coaching the representative.
       9   foundation.                                           9   And, two, to ensure that -- to ensure if there's
      10           THE WITNESS: It looks like that that's       10   other needs in the organization that needed to be
      11   what he wrote in the document after the --           11   discussed with marketing to create training or,
      12   BY MS. SCULLION:                                     12   you know, ongoing materials that might be
      13       Q It's certainly --                              13   important for use in the field in the future.
      14       A -- after the call.                             14       Q Okay. Are you aware of any regional
      15       Q It's certainly -- certainly what he            15   business director reviewing either of these ECRs
      16   wrote. And again, we saw earlier that ECRs were      16   and -- and coaching that -- that this needed to be
      17   intended to be an accurate summary of what the       17   corrected, any of the messaging needed to be
      18   district manager discussed with the                  18   corrected?
      19   representative, right?                               19       A I'm not aware of that.
      20       A They -- they were intended to be a             20       Q Okay.
      21   summary of what the physician --                     21           MS. SCULLION: Can I have E502 and
      22       Q It intended to --                              22   E1180, please.
      23       A -- or what the -- what the DM discussed        23           (Romaine Exhibit No. 20 was marked
      24   with the representative.                             24           for identification.)


                                                                           57 (Pages 222 to 225)
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       1          MS. SCULLION: I need an extra copy too.        1   moderately severe acute and chronic pain market?
       2   Mine is --                                            2           MR. MORRIS: Objection. Form and
       3             (Counsel conferring.)                       3   foundation.
       4   BY MS. SCULLION:                                      4           THE WITNESS: I -- I don't recall what
       5      Q Let me hand you what's been marked as            5   the indication for -- for those products were at
       6   Exhibit 20.                                           6   this time.
       7      A Thank you.                                       7   BY MS. SCULLION:
       8      Q And it's Bates-stamped ENDO_OPIOID_              8       Q Do you recall that -- though, that reps
       9   MDL-04908831. And again, we've marked it in the       9   were promoting it for the chronic pain market?
      10   upper right-hand corner E502.                        10       A I --
      11          And this is an e-mail from Amy Lohr to        11           MR. MORRIS: Same objection. Form and
      12   Peter Lankau and others dated July 23rd, 2002.       12   foundation.
      13   Subject matter "BMT Meeting Brand Strats for         13           THE WITNESS: I do remember they were
      14   Review."                                             14   promoting it for -- in the pain market, but I
      15          Do you see that?                              15   don't remember the specific indication they were
      16      A Yes.                                            16   promoting it for.
      17      Q Okay. And if you just go to page 502.8.         17   BY MS. SCULLION:
      18          I apologize. Hold on one second.              18       Q So you don't recall whether it was
      19          I apologize. Let me take you back to          19   chronic or acute?
      20   502.5 to orient you to the document.                 20       A I -- I don't at this time.
      21      A 0.5?                                            21       Q Do you recall at any point in time that
      22      Q It's "Brand Strategies and Budget               22   Percocet was being promoted for use in the chronic
      23   Summary." Do you see that?                           23   pain market?
      24      A Yes.                                            24       A I -- I don't.


                                                Page 227                                                  Page 229
       1        Q All right. If you turn to the next             1       Q Okay. But certainly that's what is
       2   page, 502.6, the first brand discussed there is       2   indicated here as the key strategy for Percocet,
       3   Percocet, correct?                                    3   correct?
       4        A Yes.                                           4       A Correct.
       5        Q All right. And 502.7 is discussing             5          MR. MORRIS: Objection. Form and
       6   Percocet key strategies, and this is with respect     6   foundation.
       7   to -- it says in bullet point 1, "Promote Percocet    7   BY MS. SCULLION:
       8   7.5/325 and 10/325." Do you see that?                 8       Q And similarly, if you go now to
       9        A Yes.                                           9   page E502.8, again, what's indicated here is that
      10        Q And those I think you testified earlier       10   a Percocet key strategy -- it again repeats the
      11   were strengths of Percocet that when you first       11   strategy from the prior page, and it indicates
      12   joined Endo were still being promoted by sales       12   examples of patient types, and one of the patient
      13   reps, correct?                                       13   types indicated here is chronic low pain, correct?
      14        A Correct.                                      14   Chronic low back pain.
      15        Q All right. And it says here: "The             15       A Yes.
      16   strategy -- the key strategy was promote Percocet    16       Q All right. And it says "the product
      17   7.5/325 and 10/325 for patient types who are         17   target OxyContin," do you see that?
      18   likely treatment candidates to expand their usage    18       A Yes.
      19   in the moderate to moderately severe acute and       19       Q Was OxyContin a competitive product that
      20   chronic pain market." Do you see that?               20   Endo was targeting with respect to its promotion
      21        A Yes.                                          21   of Percocet 7.5/325 and 10/325?
      22        Q And when you joined Endo and the sales        22          MR. MORRIS: Objection. Form and
      23   reps were selling these two strengths of Percocet,   23   foundation.
      24   were they promoting it for usage in moderate to      24          THE WITNESS: I don't recall at the


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       1   time.                                               1        Q Okay. And it -- and this document is
       2   BY MS. SCULLION:                                    2   saying that's -- this is the budget for Percocet
       3       Q But certainly that's what's indicated in      3   for A&P for 2003. That's what the document says,
       4   the brand strat, correct?                           4   right?
       5       A Yes. Yes.                                     5        A Yes.
       6          MR. MORRIS: Objection. Form and              6        Q Okay. And that includes, at least on
       7   foundation.                                         7   the first line, a budget of almost 1.5 million for
       8   BY MS. SCULLION:                                    8   sales support materials, correct?
       9       Q What's a -- what is a brand strat?            9        A Correct.
      10       A Brand strategy.                              10        Q And a budget of a little more than
      11       Q And in your experience at Endo, what --      11   2.3 million for journal advertising, correct?
      12   what was a brand strategy used for? What was the   12        A Correct.
      13   purpose of the brand strategy?                     13        Q When you joined Endo in 2003 and were
      14       A It was the strategy that the marketing       14   selling Percocet 7.5/325 and 10/325, did -- did
      15   team used to -- to drive the performance of a      15   you use sales support materials to do that?
      16   brand, their focus.                                16        A The sales force did use support
      17       Q And would that include identification of     17   materials.
      18   competitive products from which Endo sought to     18        Q And are you aware that there was journal
      19   take market share, for example?                    19   advertising for those strengths at the time?
      20          MR. MORRIS: Objection. Form and             20        A I can honestly say I never -- I don't
      21   foundation.                                        21   think I ever saw journal advertising, but I never
      22          THE WITNESS: I don't know because I         22   paid pay much attention to it.
      23   wasn't involved in a lot of their brand strat      23        Q You didn't pay much attention. So you
      24   meetings or did I receive a lot of information     24   don't know either way.


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       1   from them.                                          1       A Right.
       2   BY MS. SCULLION:                                    2       Q Okay. All right.
       3       Q Okay. And you see that on page E502.1,        3          MS. SCULLION: Can I have E1214?
       4   the very beginning?                                 4          (Romaine Exhibit No. 21 was marked
       5       A Yes.                                          5          for identification.)
       6       Q It states here that this is a 2003 brand      6   BY MS. SCULLION:
       7   strat.                                              7       Q I'll hand you what's marked as
       8       A Yes.                                          8   Exhibit 21.
       9       Q So this would indicate that this was the      9       A Thank you.
      10   strategy to be used in 2003, correct?              10       Q And it's Bates-stamped ENDO_OPIOID_
      11       A Yes.                                         11   MDL-04929187. And at the top right-hand corner
      12       Q All right. And again, we see that -- if      12   we've marked it as E1214.1. Do you see that?
      13   you go to page E502.9.                             13       A Yes.
      14       A Yes.                                         14       Q Would you prefer -- I can give you like
      15       Q "Percocet 2003 A&P Budget Summary."          15   the color copy. Let me switch those out.
      16       A Yes.                                         16       A Thank you.
      17       Q And that would be the budget for             17       Q And do you recognize Exhibit 21 as an ad
      18   advertising and promotion of Percocet for 2003,    18   campaign used by Endo in connection with the
      19   correct?                                           19   promotion of Percocet 7.5/325 and 10/325?
      20          MR. MORRIS: Objection. Form and             20       A I don't --
      21   foundation.                                        21          MR. MORRIS: Objection to form.
      22          THE WITNESS: I -- my experience, A&P        22          THE WITNESS: I don't recognize it.
      23   does stand for that.                               23   BY MS. SCULLION:
      24   BY MS. SCULLION:                                   24       Q Do you recognize it either way?


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       1         A No.                                            1   joined.
       2         Q All right. When you joined Endo and            2        Q Do you remember this meeting?
       3    were helping to sell the 7.5/325 and 10/325           3        A I do.
       4    strengths of Percocet, was one of the conditions      4        Q Okay. And subject matter, just for
       5    it was promoted to treat low back pain?               5   completion of the e-mail, is "Slides from
       6         A I just don't recall.                           6   Turnberry." Was there a meeting in Turnberry?
       7         Q You don't recall either way?                   7        A Turnberry, Florida.
       8         A Yeah, I don't recall.                          8        Q Great. And if you go to page E1180.3,
       9         Q Okay. Just to finish up here, if you go        9   it references the Endo State of the Union for
      10    to page E1214.6.                                     10   looks like the first quarter of 2003.
      11         A Yes.                                          11        A Yes.
      12         Q And it should say "Stay on top of low         12        Q So is this a review of the sales force
      13    back pain." Do you see that?                         13   performance for that quarter?
      14         A Yes.                                          14        A For that period of time, that's what it
      15         Q And it states there: "Safe and                15   looks like.
      16    effective for patients not responding to standard    16        Q Okay. And if you go to E1180.4, the
      17    first-line therapy," and then you see the chart      17   next page, the very first product for which sales
      18    underneath of that discussing double the pain        18   performance for that quarter is reviewed is
      19    relief. Do you see that?                             19   Percocet 7.5/325 and Percocet 10/325, correct?
      20         A Yes.                                          20           MR. MORRIS: Objection. Foundation.
      21         Q Just looking that over, do you recall         21   BY MS. SCULLION:
      22    this messaging being delivered in connection with    22        Q It's just -- it's the first product
      23    the promotion of Percocet 7.5/325 and 10/325, that   23   discussed.
      24    there was an open label clinical study showing       24        A Oh, I'm sorry. I'm looking -- I'm


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       1   double the pain relief?                                1   looking at 5. It's 4? 4, yes.
       2       A I don't recall it.                               2        Q Yes. Thank you. So this is the first
       3            (Counsel conferring.)                         3   product that's being discussed in this State of
       4          (Romaine Exhibit No. 22 was marked              4   the Union.
       5          for identification.)                            5        A Yes.
       6   BY MS. SCULLION:                                       6        Q Okay. Let's go to E1180.6. And the
       7       Q Let me hand you what's been marked as            7   title of the slide is "Performance to Goal."
       8   Exhibit 22. And this is Bates-stamped                  8        A Yes.
       9   ENDO_OPIOID_MDL-04911467, and we've stamped it as      9        Q And it indicates here that specialty is
      10   E1180 in the top right-hand corner.                   10   at 105 percent. Is that they were at 105 percent
      11          Now, Mr. Romaine, this is an e-mail            11   of the goal for that quarter?
      12   from -- is it Joseph Ambrefe?                         12            MR. MORRIS: Objection. Form and
      13       A Yes.                                            13   foundation.
      14       Q Ambrefe?                                        14            THE WITNESS: I -- I don't know, because
      15       A Yes.                                            15   I wasn't there at that time, but based on what
      16       Q And it was to you, Mr. Wickline and --          16   this slide says.
      17   I'm sorry, it was to the Pharma DMs and specialty     17   BY MS. SCULLION:
      18   sales force DMs, and you were cc'd, alone with        18        Q Well, you -- but you went to the
      19   Mr. Wickline and Mr. Pearson, correct?                19   meeting --
      20       A Yes.                                            20        A I went to the meeting --
      21       Q And this was in -- in June 2003, right          21        Q -- where the slides were presented,
      22   around the time that you joined, correct?             22   correct?
      23       A Yeah. In fact, this was the -- this             23        A I was. But I don't remember the slides
      24   meeting is the first meeting I attended after I       24   being presented in -- you know, 15 years ago.


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       1       Q Okay. So just dropping down underneath          1       A "High deciles" were physicians that were
       2   of the PowerPoint in the speaker's notes, it says:    2   the most experienced physicians that typically saw
       3   "Last year we began the year well ahead of the        3   a larger portion of patients in that therapeutic
       4   demand," open parens, "launch," close parens,         4   class for the product that you had.
       5   "goals for Percocet with Tsunami." Do you see         5       Q When you say that they were -- had --
       6   that?                                                 6   tended to have more experience, was decile
       7       A Yes.                                            7   determined by experience or just by the sales
       8       Q Do you recall Tsunami being an incentive        8   prescription records for that physician?
       9   compensation plan in place at Endo in 2002?           9       A I think it -- it was both. I think they
      10       A I don't.                                       10   used both prescription data as well as patient
      11           MR. MORRIS: Objection to form.               11   population data to understand that.
      12   BY MS. SCULLION:                                     12       Q Okay. So prescription data and patient
      13       Q Okay. All right. If you can go to              13   population data, correct?
      14   page 1180.22.                                        14       A Correct.
      15       A 80.20 --                                       15       Q But not necessarily years of experience,
      16       Q 80.22, in the upper right-hand corner.         16   for example.
      17           Or, you know what, there may be a better     17       A No. No.
      18   page than that. Let me see.                          18       Q Okay. And again, the bullet here says:
      19           And this is a slide entitled "Primary        19   "Focused activity within high deciles."
      20   Action Items," and the first bullet point says:      20          With respect to promotion of Percocet,
      21   "Stay on call plan."                                 21   was the sales force -- the specialty sales force
      22           And just -- can you just briefly             22   focused on the high deciles when you joined?
      23   summarize for us what a call plan was.               23       A Well, they were focused on all the
      24       A A call plan is the -- the physicians           24   deciles that they had responsibility for.


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       1   that are on your -- call plan is a -- that            1       Q From time to time was there an
       2   physicians in your geography that you have a          2   encouragement to reps to focus on high deciles
       3   responsibility to call on.                            3   with respect to Percocet?
       4       Q Okay. So they would be physicians               4       A Yes.
       5   within say a sales rep's territory that they had      5       Q And why was that?
       6   responsibility to call on.                            6       A I can't say in respect to Percocet, but
       7       A Correct.                                        7   in respect to all brands --
       8       Q All right. And it says: "Focused                8       Q Fair enough.
       9   activity within high deciles." Do you see that?       9       A -- to correct myself.
      10       A Yes.                                           10       Q And what -- why would there be -- why
      11       Q And the deciles refers to taking those         11   would Endo be encouraging reps to focus on high
      12   physicians and splitting them up into tenths         12   deciles?
      13   according to their prescribing history, correct?     13       A They had the largest patient population.
      14       A My experience is, yes, deciles are based       14   So, historically, typically that's the area where
      15   on 1 through 10.                                     15   representatives are going to have the greatest
      16       Q Okay.                                          16   impact, the greatest help for -- for a particular
      17       A I'm not sure what he's referring to            17   practice, physician practice.
      18   here, but that's my experience.                      18       Q So, in other words, you're looking at
      19       Q Did you refer to "high deciles" from           19   the folks who are already prescribing --
      20   time to time when you were at Endo --                20       A And experienced.
      21       A I did.                                         21       Q -- the most, and those are going to most
      22       Q -- as a phrase?                                22   likely be the prescribers from whom you will be
      23       A I did.                                         23   able to generate the most prescriptions going
      24       Q What did you mean by "high deciles"?           24   forward.


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       1       A Correct.                                       1       A My recollection, and I'm going back 15,
       2       Q Okay. Did you ever hear Mr. Wickline           2   16 years, it was a national meeting that we had
       3   use the phrase "Fish where the fish are"?            3   for all of our representatives. So it was a
       4       A I don't recall that.                           4   training meeting for the next period of time.
       5       Q Okay. And if you'd just go to E1180.49.        5       Q And that would be --
       6       A Okay.                                          6       A Typically it was -- we did one a year.
       7       Q And this is the slide, the title is            7   I don't know why it was done in June of that year,
       8   "Grand Prix Contest." We talked about the Grand      8   but we did one a year.
       9   Prix contest earlier today. Do you remember that?    9       Q Okay. So this is at the what also
      10       A Yes.                                          10   has been referred to the national sales meeting?
      11       Q All right. And I think you said the           11       A Yes.
      12   Grand Prix was a contest that Endo did run in       12       Q Thank you. That is helpful for me to
      13   connection with the sales of Percocet, correct?     13   orient.
      14       A Correct.                                      14             MS. SCULLION: And then can I have
      15       Q All right. And it says here, "One             15   E1172.
      16   metric: Percocet TRx increase." Do you see that?    16             (Romaine Exhibit No. 23 was marked
      17       A Yes.                                          17             for identification.)
      18       Q Is that -- is that accurate, to your          18   BY MS. SCULLION:
      19   recollection, that was the one metric used for      19       Q I hand you what's marked as Exhibit 23,
      20   Grand Prix?                                         20   which is Bates-stamped ENDO_OPIOID_MDL-05589327,
      21       A You know, I don't remember specifically       21   and we've marked it E1172. And it's entitled
      22   what the contest rules were. I just remember the    22   "2003 Objectives Update, May 7th, 2003."
      23   contest -- a Grand Prix contest when I first        23             And I just want to turn your attention
      24   joined the company.                                 24   to the second page of the exhibit, and the very,


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       1       Q Okay. But this does indicate that              1    very last bullet point on the page, which refers
       2   there's just one metric, and that is increase in     2    to "The Endo Grand Prix contest," which we just
       3   Percocet prescriptions, right?                       3    saw a reference to in Exhibit 22, "has been rolled
       4           MR. MORRIS: Objection. Form and              4    out beginning April 1st, 2002, and ending
       5   foundation.                                          5    March 31st, 2004."
       6           THE WITNESS: Based on this slide.            6            Do you see that?
       7   BY MS. SCULLION:                                     7        A Yes.
       8       Q That's what it says.                           8        Q And then it goes on to explain:
       9       A Yes.                                           9    "Representatives and managers compete for prizes
      10       Q And these are the slides that were            10    and the opportunity to drive one of the six -- one
      11   presented at this Turnberry, Florida meeting,       11    of six BMWs as their company car starting in
      12   correct?                                            12    mid-2004." Do you see that?
      13       A I don't --                                    13        A Yes.
      14           MR. MORRIS: Objection. Form and             14        Q And -- and do you recall that that was
      15   foundation.                                         15    in fact one of the prizes for Grand Prix, was the
      16           THE WITNESS: I don't remember the           16    opportunity to drive one of six BMWs as a company
      17   slides being presented, but --                      17    car?
      18   BY MS. SCULLION:                                    18        A Yes.
      19       Q Well, that's what the cover --                19        Q Okay.
      20       A -- I see what it says.                        20            MS. SCULLION: Can I have 1218, and then
      21       Q -- e-mail says is the slides, correct?        21    also pull out 142, please.
      22       A Correct.                                      22            (Romaine Exhibit No. 24 was marked
      23       Q All right. And the Turnberry, Florida         23            for identification.)
      24   meeting, what was that meeting?                     24    BY MS. SCULLION:


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       1        Q I'm going to hand you what's been marked       1       Q Do you have an understanding of what
       2   as Exhibit 24. And this is Bates-stamped ENDO_        2   IMS_ID refers to?
       3   DATA_OPIOID_MDL- -- we're going to get the Bates      3       A I believe it stands for an ID number
       4   number. I apologize, I didn't realize these were      4   that was assigned to a physician for tracking
       5   cut off.                                              5   purposes.
       6           MR. MORRIS: Sometimes if it comes on          6       Q Okay. And then you'll see in this
       7   the screen, you can see it, so if you want to pop     7   datasheet, it states the -- the first and last
       8   that there.                                           8   names of the physicians, the street address, city,
       9           MS. SCULLION: Yeah, E1218.                    9   state code, zip, a specialty description, the
      10           MR. MORRIS: Yeah.                            10   product, the year, the prescription and the
      11           MS. SCULLION: Thank you.                     11   prescription units. Do you see that?
      12           MR. MORRIS: So the first -- oh, what's       12       A Yes.
      13   happening, I think, is there's a cover page that     13       Q Is Exhibit 24 representative of the
      14   isn't on here maybe.                                 14   level of detail of information you had available
      15           MS. SCULLION: No, it's a different --        15   to you at Endo with respect to prescriptions of,
      16   that's a different document. The history is          16   in this case, Percocet?
      17   different. 1218 --                                   17           MR. MORRIS: Objection. Form and
      18           MR. MORRIS: Oh, yeah, this one --            18   foundation.
      19           MS. SCULLION: It's a data- -- it's a         19           THE WITNESS: I don't recall ever seeing
      20   datasheet. I apologize, we will get the Bates        20   this data or document. I -- TRx units, is that
      21   numbers.                                             21   market units? I don't know what that means.
      22           Sabrina, can you keep track of which         22           MR. MORRIS: Form.
      23   ones we have to read into the record later? Thank    23           MS. SCULLION: Okay. I'm not sure, and
      24   you.                                                 24   I'm certainly not going to testify today, only


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       1   BY MS. SCULLION:                                      1   because that would be problematic.
       2        Q So Exhibit 24.                                 2            MR. MORRIS: You could try that for a
       3        A No, there's no cover sheet with this           3   while.
       4   one.                                                  4            MS. SCULLION: No, it's not good.
       5            MR. MORRIS: No, no, there's                  5   BY MS. SCULLION:
       6   different --                                          6        Q But -- so putting aside the specific
       7   BY MS. SCULLION:                                      7   data, did you when you were VP of sales have this
       8        Q There is not.                                  8   level of data available to you, though, of
       9            MR. MORRIS: A different document.            9   prescriptions for the products that your reps were
      10   BY MS. SCULLION:                                     10   selling in the field?
      11        Q This is -- I'll represent to you this is      11            MR. MORRIS: Objection. Form.
      12   a printout of a datasheet that was produced to us    12            THE WITNESS: We had data. I never
      13   in this litigation --                                13   looked at down to the territory level obviously,
      14        A Okay.                                         14   but more at the national and regional levels.
      15        Q -- by Endo.                                   15   BY MS. SCULLION:
      16            And my understanding of this datasheet      16        Q Okay. But the territory level, they had
      17   is it represents sales of Percocet in Ohio for the   17   this level of data?
      18   year 2007. And I -- I just wanted to bring you to    18        A They did have this level of data. I
      19   the datasheet itself, and see in the upper           19   don't know if it was in this form or not. I don't
      20   left-hand corner it says "IMS_ID"?                   20   recall this.
      21        A Mm-hmm.                                       21        Q I -- I doubt that it was. Again,
      22        Q I apologize, you're going to need to say      22   this -- this form was produced to us specifically
      23   "yes" and "no."                                      23   in this litigation, but it comes from a -- a
      24        A Oh, yes.                                      24   database of some sort, I understand.


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       1       A Okay.                                              1   through medical, regulatory and legal review
       2          MS. SCULLION: See, I testified.                   2   boards.
       3          May I have E142. Thank you.                       3   BY MS. SCULLION:
       4          (Romaine Exhibit No. 25 was marked                4       Q Right.
       5          for identification.)                              5       A So it would have to come through them as
       6   BY MS. SCULLION:                                         6   an approved piece before they could share it.
       7       Q Now, I'm going to hand you what's been             7       Q Do you think the physicians that they
       8   marked as Exhibit 25. And the Bates number is            8   were calling on would have wanted to have such an
       9   ENDO_CHI_LIT-00543478, and we've marked it E142 in       9   approved piece of information shared with them
      10   the top right corner of the --                          10   about the controlled substance they're prescribing
      11       A Yes.                                              11   to their patients?
      12       Q -- PowerPoint pages.                              12       A I don't know what they would want.
      13          Now, Endo, as we saw, sold Percocet when         13           MR. MORRIS: Objection to form.
      14   you joined in 2003. We saw just now sales in            14   BY MS. SCULLION:
      15   2007. You're aware that Percocet had a -- a long        15       Q Did you ever make any effort to find out
      16   history of -- of abuse, correct?                        16   whether doctors would have wanted to know about
      17          MR. MORRIS: Objection. Form,                     17   the abuse history of Percocet?
      18   foundation.                                             18       A I did not. But I'm sure people in the
      19          THE WITNESS: I'm not aware of that.              19   organization were probably -- it was triaged to
      20   BY MS. SCULLION:
                                                                   20   them, and it was handled in that way.
                                                                   21       Q To your recollection, were -- were sales
      21       Q Okay. Let's look to page E142.4. Which
                                                                   22   reps ever given any information to provide to
      22   is entitled "Scheduled Drug Survey Statistics."
                                                                   23   doctors beyond the PI about the potential for
      23       A Okay.
                                                                   24   abuse of Percocet?
      24       Q So the first bullet point states:


                                                        Page 251                                             Page 253
       1    "Percocet is ranked among the top three opioids,"       1       A I don't recall. And to probably put
       2    open parens, "out of 14," close parens, "to             2   this in context too, when I joined the company, we
       3    potentially abuse as per OAS, Opioid                    3   were at the very end of the Percocet promotion by
       4    Attractiveness Scale, developed by a team of FDA        4   the sales force. So we ceased promotion, I want
       5    advisors." And it's citing to the Harm Reduction        5   to say in 2004. I don't know if that was true or
       6    Journal, February of 2006.                              6   not. Sometime in that period of time.
       7            Were you aware when you were selling            7       Q And that was after the Grand Prix
       8    Percocet that it was ranked among the top three         8   contest for sales of 7.5 and 10?
       9    opioids by this scale developed by a team of FDA        9       A Yeah, I think that ended in '04,
      10    advisors?                                              10   sometime in '04, based on a previous document.
      11        A I don't recall that.                             11       Q And similarly, the next bullet point
      12        Q Is that something you would have wanted          12   indicates: "OxyContin is the most commonly abused
      13    to know when you were selling Percocet?                13   prescription opioid analgesic while oxycodone
      14            MR. MORRIS: Objection. Form.                   14   preparations, like Percocet, are ranked third."
      15            THE WITNESS: I -- I don't know. I -- I         15   And they're citing to RADARS as of June 7th,
      16    don't know the impact it would've had.                 16   2000 -- 2006.
      17    BY MS. SCULLION:                                       17           Do you see that?
      18        Q Do you think that the doctors on whom            18       A Mm-hmm.
      19    sales reps were calling to sell Percocet would         19       Q I need a --
      20    have wanted to know about this ranking?                20       A Yes.
      21            MR. MORRIS: Objection to form.                 21       Q -- "yes" or "no."
      22            THE WITNESS: Well, to put it in                22           Did you ever look at any RADARS
      23    context, the reps have very limited information        23   information when you were with Endo?
      24    they can share that -- and it's got to be approved     24       A I did not.


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       1       Q With respect to Percocet?                       1           And if you start at the bottom of that
       2       A I did not.                                      2   first page, 964.1, you will see an e-mail from
       3       Q With respect to Opana?                          3   Demir Bingol to Catherine -- is it Logehed
       4       A Not that I recall.                              4   (phonetic)?
       5       Q Do you know what RADARS is?                     5        A Loughead.
       6       A I don't even know the name.                     6        Q Loughead. Thank you.
       7       Q And similarly, I assume you're not aware        7           And that then gets forwarded on to you
       8   of Endo ever making any effort to provide approved    8   as a cc on an e-mail going out to pharma all and
       9   materials for sales reps to give to physicians        9   specialty all, and that would be all the reps,
      10   concerning RADARS data with respect to Percocet?     10   correct?
      11       A I don't recall that.                           11        A Correct.
      12       Q Let's now go back and talk about Opana.        12        Q All right. And Demir Bingol, at the
      13       A Okay.                                          13   time he was the product manager for Opana ER; is
      14          MS. SCULLION: We can take this exhibit        14   that right?
      15   down. Thank you.                                     15        A He was a product director.
      16   BY MS. SCULLION:                                     16        Q A product director. Thank you.
      17       Q So I think we established earlier -- and       17           And Mr. Bingol is writing to the -- the
      18   again, it may help to look at this demonstrative,    18   sales force. He says: "This is an exciting time
      19   Exhibit 4. We've been through a lot of dates at      19   for Endo as we move forward toward full
      20   this point.                                          20   commercialization of the Opana brand."
      21          Do you recall that Endo launched              21           So really this is -- this was really
      22   Opana ER as well as Opana IR in June of 2006,        22   just the commercial launch for the Opana brand on
      23   correct?                                             23   July 24th, correct?
      24       A Correct.                                       24        A Yes.


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       1       Q Do you recall if that was later than            1       Q And he says in the next paragraph: "It
       2   Endo had hoped -- had hoped to actually launch it     2   was originally intended that an enlarged version
       3   earlier?                                              3   of the PI would be sent to you after the cluster
       4       A I don't recall that.                            4   meetings for use with your customers. However,
       5       Q Okay. Would it surprise you to know if          5   due to an unexpected post-approval request by the
       6   that was the case?                                    6   FDA for minor revisions to the Opana and Opana ER
       7           MR. MORRIS: Objection to form.                7   labels, the enlarged PI will now be available
       8           THE WITNESS: I don't even know if it          8   immediately following the launch meeting in
       9   would surprise me. I just don't -- I don't            9   Orlando. In the interim, the attached PDF Opana
      10   remember if it was due to be launched before that    10   and Opana ER package insert files are the
      11   or not.                                              11   currently approved PIs and should be used to
      12   BY MS. SCULLION:                                     12   facilitate product discussions with your
      13       Q Okay. And it's correct, isn't it, that         13   customers."
      14   Endo launched Opana ER just using the -- the         14           So, does this refresh your recollection
      15   package insert, right?                               15   that in July -- July 2006 when the
      16       A I don't recall that either. That               16   commercialization of Opana ER began, the reps were
      17   was in -- 12 years ago. I don't recall what          17   using the PI?
      18   materials we had at the time.                        18           And there's a copy of it attached to
      19           (Romaine Exhibit No. 25 was marked           19   this Exhibit 25. Does that refresh your
      20           for identification.)                         20   recollection that's what the reps were using?
      21   BY MS. SCULLION:                                     21       A I don't remember specifically that. But
      22       Q Let me hand you what's been marked as          22   based on this data and the information I'm
      23   Exhibit 25. And it's Bates-stamped ENDO_OPIOID_      23   reading, it sounds like that's what happened.
      24   MDL-00879677, and at the top we've marked it E964.   24       Q Okay. And the PI, that discloses what


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       1   the product has been found safe and effective to      1          MR. MORRIS: Ah. I see. Got it.
       2   treat --                                              2          MS. SCULLION: I apologize.
       3        A It's got all the --                            3          MR. MORRIS: I wrote it down wrong.
       4        Q -- correct?                                    4          MS. SCULLION: Someone was paying
       5        A -- information on -- on the product,           5   attention.
       6   indication, dosing, side effect profile, et           6          MR. MORRIS: Excellent. Thank you.
       7   cetera.                                               7          MS. SCULLION: So is it E964 is 26?
       8        Q Okay. And that's all that Endo lawfully        8   Thank you. I apologize for that.
       9   can promote the -- actively promote the product       9   BY MS. SCULLION:
      10   for is what's in the PI, right?                      10       Q All right. So Exhibit 27 we have in
      11        A Correct.                                      11   front of you.
      12            MR. MORRIS: Objection. Form,                12       A Yes.
      13   foundation, legal conclusion.                        13       Q This is an e-mail from you to
      14   BY MS. SCULLION:                                     14   Mr. Wickline on August 21st, 2006. Subject
      15        Q Okay. And so actively making health           15   matter, "Info for your meeting on Tuesday." Do
      16   claims about the safety or efficacy of the product   16   you see that?
      17   beyond what's in -- in the PI, that would be         17       A Yes.
      18   unlawful -- unlawful off-label marketing, right?     18       Q And you're writing to convey to
      19            MR. MORRIS: Objection. Form,                19   Mr. Wickline a response to the question: "How
      20   foundation, legal conclusion.                        20   effectively are we able to communicate Opana's key
      21   BY MS. SCULLION:                                     21   features and benefits by using only the PI and our
      22        Q It's not permitted, correct?                  22   clinical study?"
      23            MR. MORRIS: Same -- same objection.         23          Do you see that under your name?
      24            THE WITNESS: Yeah, I -- it's not            24       A Yes. Mm-hmm.


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       1   permitted.                                            1       Q Okay. So this is a reference to
       2          MS. SCULLION: Can I have E1219?                2   promoting Opana using only the PI and the clinical
       3          (Romaine Exhibit Nos. 26 and 27                3   studies, right?
       4          were marked for identification.)               4       A Correct.
       5   BY MS. SCULLION:                                      5       Q Okay. And then the answer says: "DM
       6       Q I'll hand you what's been marked as             6   team unanimous -- unanimously agreed that the use
       7   Exhibit 27.                                           7   of the PI is not limiting our effectiveness.
       8       A Thank you.                                      8   Physicians are very interested in the PK and
       9          MS. SCULLION: Thank you. Somehow I got         9   clinical efficacy data contained within the PI."
      10   the wrong number.                                    10           Do you see that?
      11   BY MS. SCULLION:                                     11       A Yes.
      12       Q And It's Bates-stamped ENDO_OPIOID_            12       Q And do you recall that -- I'm sorry.
      13   MDL-04920194, and we've marked it E1219.1.           13   What was the DM team?
      14          MR. MORRIS: Before -- excuse me, I am         14       A District manager team.
      15   confused. Do we have a 26?                           15       Q So this is the district managers saying,
      16          MS. SCULLION: Let's stop and make sure        16   Using the PI is not limiting our effectiveness, we
      17   then.                                                17   can do that. Right?
      18          MR. MORRIS: I'm not trying to interrupt       18       A And I -- to put this in context, I think
      19   unnecessarily.                                       19   it was during the period we only had the PI.
      20          MS. SCULLION: That's okay.                    20       Q Right.
      21          THE WITNESS: This -- this is 26, I            21       A Yeah.
      22   think.                                               22       Q Right. So, in other words, so the
      23          MR. LOMAX: On the record, I think she         23   district manager is saying, We can do this, we can
      24   said 25 --                                           24   promote this product using just the PI.


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       1           MR. MORRIS: Objection. Form and               1   the PROMISE initiative. Does this any better
       2   foundation.                                           2   refresh your recollection about what the PROMISE
       3           THE WITNESS: For that period of time.         3   initiative was?
       4   BY MS. SCULLION:                                      4        A No, I just saw that, but it doesn't.
       5       Q Right. It's not limiting the                    5   I'm sorry.
       6   effectiveness, correct?                               6        Q That's okay.
       7       A For that period of time until we get            7           And if you look at the e-mails above
       8   additional materials.                                 8   that, Ms. Romero is writing to Mr. Wickline and
       9       Q But they agree at that point in time it         9   says: "FYI, Opana noise update."
      10   was not limiting their effectiveness, right?         10           And Mr. Wickline then writes back:
      11       A Correct.                                       11   "Noise is good. Thanks."
      12       Q Okay. As you said, then more materials         12           Do you see that?
      13   are getting rolled out over time, right?             13        A Mm-hmm.
      14           MS. SCULLION: So let's have E1200.           14        Q So noise is just -- okay, now we're
      15           (Romaine Exhibit No. 28 was marked           15   going -- starting to generate a little more buzz
      16           for identification.)                         16   around Opana ER through these various tools,
      17           MS. SCULLION: Thank you.                     17   correct?
      18   BY MS. SCULLION:                                     18           MR. MORRIS: Objection. Form and
      19       Q This is Exhibit 28. It's Bates-stamped         19   foundation.
      20   ENDO_OPIOID_MDL-00880262, and we've labeled it       20           THE WITNESS: So just to put this in
      21   E1200.                                               21   context, if you look at the previous document we
      22           Do you see this begins with an e-mail        22   talked about, it also stated that programs seem to
      23   from Kristin Vitanza to Catherine Loughead, and      23   be in demand to learn more and discuss with
      24   cc'd to you on August 24th, 2006, correct?           24   colleagues. So I think this was in -- in -- you


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       1       A Correct.                                        1   know, this was a follow-up from that is that more
       2       Q All right. And this is Ms. Vitanza              2   information would be coming. Right.
       3   announcing the launch of additional materials         3   BY MS. SCULLION:
       4   beyond the PI.                                        4        Q Okay. So more information is coming?
       5       A Correct.                                        5        A Yes.
       6       Q For example, a new sales aid, correct?          6        Q And that's -- that's the noise around
       7       A Correct.                                        7   Opana?
       8       Q A Pharm/alert she's announcing, right?          8        A Well, these were approved materials that
       9       A Correct.                                        9   could be used in -- in the promotion of Opana,
      10       Q Okay. Two more down she says there is a        10   yes.
      11   now available journal ad, right?                     11        Q Understood.
      12       A Correct.                                       12        A Yeah.
      13       Q All right. Go to the next page, and            13        Q So these are -- these are going to help
      14   Ms. Vitanza indicates that: "We anticipate Opana     14   support sales, correct?
      15   and Opana ER pens, lanyard pens and Post-It          15        A Right. Like the return policy, a good
      16   notepads will be available in mid-October with       16   example. I mean we needed a return policy.
      17   respect to premiums." Correct?                       17        Q Okay.
      18       A Correct.                                       18          MS. SCULLION: And then E1202.
      19       Q Do you recall that those premiums were         19          And then I need the exhibit number we
      20   made available with respect to Opana and Opana ER?   20   used for the MVA.
      21       A They were made available.                      21             (Counsel conferring.)
      22       Q And they were distributed in the field?        22          (Romaine Exhibit No. 29 was marked
      23       A Correct.                                       23          for identification.)
      24       Q And then again, there's a reference to         24   BY MS. SCULLION:


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       1      Q I'm going to hand you what's been marked                1        Q All right. He says: "With five weeks
       2   Exhibit 29. And Exhibit 29 is Bates-stamped                  2   to go to year end, 2500 prescriptions per week
       3   ENDO_OPIOID_MDL-02309518, and we've stamped it --            3   appears to be a stretch."
       4   oops, I got two documents together. This is not              4           And in his -- he is then asking for
       5   correct.                                                     5   thoughts. He says at the end: "We have all,
       6          MS. SCULLION: May I have that back. I                 6   unlike the field, staked a big chunk of IC on
       7   apologize.                                                   7   hitting the 2500 TRx per week. What can we do to
       8          MR. MORRIS: I think the one you gave me               8   help drive more traction? Getting it done while
       9   actually doesn't have the --                                 9   doing it right." In quotation, "I am all ears."
      10          MS. SCULLION: We -- we need to take a                10           So do you remember that Mr. Kerr was
      11   look at this document. There's like three                   11   looking for suggestions on how to increase sales
      12   different versions going on there. So...                    12   to try to hit the 2500 prescriptions per week
      13          MR. MORRIS: We've been going for about               13   mark?
      14   an hour. Do you want to just take a quick break?            14        A Yeah, I don't remember this specific
      15   You can do that while you're doing that or --               15   e-mail, but reading the e-mail, it seems like he's
      16          MS. SCULLION: Yeah, we can do that, but              16   asking for feedback.
      17   this just needs to be a quick break, we'll fix              17        Q On how to try and hit this 2500
      18   that. That's good.                                          18   prescriptions per week mark?
      19          THE VIDEOGRAPHER: The time is 2:54 p.m.              19        A Well, I read it more about how to
      20   We're going off the record.
                                                                       20   continue to make the launch of Opana ER
                                                                       21   successful, but...
      21          (Recess.)
                                                                       22        Q Okay. But he does say, "We've all" --
      22          THE VIDEOGRAPHER: The time is 3:04
                                                                       23   he says, "We've all, unlike the field, staked a
      23   p.m., and we're back on the record.
                                                                       24   big chunk of IC." So --
      24          (Romaine Exhibit No. 29 was marked


                                                            Page 267                                             Page 269
       1          for identification.)                                  1       A I don't know what that means. That's --
       2   BY MS. SCULLION:                                             2   I was curious about that.
       3       Q Mr. Romaine, I'm going to hand you                     3       Q So -- okay. Do you think IC refers
       4   what's been marked as Exhibit 29. And this is                4   there to incentive compensation?
       5   Bates-stamped ENDO_OPIOID_MDL-00858402. And at               5       A Yes.
       6   the bottom you will see an e-mail from David Kerr            6       Q Okay. And I think you said this -- the
       7   to yourself, Mr. Wickline, and others. Subject               7   level of yourself and Mr. Wickline and others,
       8   matter, "Forward: Opana Weekly, November 17th."              8   incentive compensation would be based on corporate
       9          Do you see that?                                      9   goals and objectives, right?
      10       A Yes.                                                  10       A Yes. However --
      11       Q And at the time David Kerr, as you say,               11          MR. MORRIS: Objection. Foundation.
      12   was senior vice president, commercial business,             12          THE WITNESS: -- to put it in context,
      13   correct?                                                    13   I mean, there was a number of objectives and
      14       A Yes.                                                  14   expectations we had for corporate IC, which
      15       Q He was at that point Mr. Wickline's                   15   Opana ER would not have been a huge portion of
      16   boss.                                                       16   that.
      17       A Correct.                                              17   BY MS. SCULLION:
      18       Q Okay. And Mr. Kerr is commenting on the               18       Q Well, clearly Mr. Kerr is -- is
      19   report of Opana weekly prescriptions dated                  19   conveying that there's a big chunk of the IC on --
      20   November 17th, correct?                                     20   staked on hitting --
      21       A Correct.                                              21       A Right.
      22       Q And he's noting an increase of 4 percent              22       Q -- the mark for -- for Opana.
      23   on the Opana ER, correct?                                   23       A Right.
      24       A Yes.                                                  24       Q Mr. Kerr would know best about that with


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       1   respect to the commercial -- commercial business     1    BY MS. SCULLION:
       2   department at the time at Endo, correct?             2       Q Okay. So there's --
       3           MR. MORRIS: Objection. Form and              3           MS. SCULLION: And then can we have the
       4   foundation.                                          4    CMR demonstrative.
       5           THE WITNESS: I -- all I know is that         5    BY MS. SCULLION:
       6   my -- my incentive comp was based on the             6       Q Do you recall that sales did begin to
       7   objectives of the organization, and Opana ER is      7    build for Opana ER 2007, 2008, 2009? They did
       8   one of many.                                         8    build over time, right?
       9   BY MS. SCULLION:                                     9       A Sales did grow over that period of time.
      10       Q Okay. In response to Mr. Kerr,                 10      Q Okay.
      11   Mr. Wickline does provide some -- some ideas, and    11      A Again, in context, compared to other
      12   one of the things he says is, in the second          12   opioids, it was much smaller.
      13   paragraph: "This week we are kicking off a           13      Q I understand. I'm just talking about
      14   five-week context -- contest for growth in each      14   the growth for Opana ER.
      15   district between now and December 29th."             15          (Romaine Exhibit No. 30 was marked
      16           So that's an indication there's going to     16          for identification.)
      17   be a contest to try to grow Opana ER sales?          17   BY MS. SCULLION:
      18       A I just want to read the entire e-mail.         18      Q Let me hand you what's been marked as
      19       Q Sure.                                          19   Exhibit 30.
      20       A (Peruses document.) Okay.                      20          MS. SCULLION: And, Counsel, let me
      21       Q So there's an indication that there's          21   explain what we've done here. Exhibit 30 in front
      22   going to be a contest to try and grow Opana ER       22   of the witness has a summary sheet of the CMR data
      23   sales, correct?                                      23   that was produced to us. The Bates numbers at the
      24       A Correct.                                       24   top here, ENDO_DATA_OPIOID_MDL-8 through 19, which


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       1        Q All right. And he's also indicating            1    are each individual CMR summary sheets, behind the
       2   that reps are being asked to concentrate on the       2    witness's exhibit is a copy of each of those CMR
       3   top five customers in their territory, which he       3    summary sheets. So the exhibit for the deposition
       4   calls the Fab Five, right?                            4    will be the complete set of those CMRs as well as
       5        A I'm not sure what the Fab Five refers          5    the summary. So we're just going to proceed from
       6   to, but --                                            6    there.
       7        Q Well, if you go up to the first                7           MR. MORRIS: Okay. I'll object to the
       8   paragraph --                                          8    use of this demonstrative, particularly on
       9        A Okay.                                          9    foundation and form.
      10        Q -- the second sentence he says: "Since        10           MS. SCULLION: Okay.
      11   the completion of the meetings, we've provided       11    BY MS. SCULLION:
      12   direction to concentrate on the top five customers   12        Q So, Mr. Wickline, we summarized some of
      13   in each territory (Fab Five)."                       13    the data.
      14        A Yes. Okay, got you.                           14        A Romaine. Romaine.
      15        Q And that's -- so he's saying go see           15        Q I'm so sorry.
      16   those top five customers in each territory and to    16        A That's okay.
      17   target them twice per week.                          17        Q I'm so sorry. That's terrible.
      18        A Correct.                                      18        A He's older than I am, so...
      19        Q All right. Okay. So there's some              19        Q Mr. Romaine, we've summarized for you
      20   activity happening to try to increase Opana ER       20    the data provided to us in this litigation with
      21   sales, right?                                        21    respect to Opana and Opana ER net sales. The
      22           MR. MORRIS: Objection to form.               22    information is in the sheets that are attached to
      23           THE WITNESS: Oh, I'm sorry. Based on         23    your Exhibit 30 --
      24   his e-mail, that's what he's saying.                 24        A Okay.


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       1       Q -- if you wanted to look at them, but I         1           MR. MORRIS: Objection. Form and
       2   just really wanted to -- to look at the growth        2   foundation.
       3   over time.                                            3           THE WITNESS: -- I guess to put it in
       4       A Okay.                                           4   context with the other promoted opioids, it was
       5       Q So it starts -- let's look at Opana ER's        5   much smaller.
       6   net sales. It starts at about 23 million. That's      6   BY MS. SCULLION:
       7   starting midyear or so.                               7       Q I understand it was much smaller, but
       8       A Correct.                                        8   that was -- that was growth that was generated
       9       Q So it's a half year.                            9   through the efforts -- the promotional efforts by
      10           MR. MORRIS: Objection. Form and              10   Endo, correct?
      11   foundation.                                          11           MR. MORRIS: Objection. Form.
      12   BY MS. SCULLION:                                     12           THE WITNESS: Correct.
      13       Q And in 2007, we see net sales of 66 --         13           MS. SCULLION: All right. Can we have
      14   about 66 million, and then it more than doubles to   14   1187?
      15   2008 to about 142 million, right?                    15           (Romaine Exhibit No. 31 was marked
      16           MR. MORRIS: Objection. Form and              16           for identification.)
      17   foundation.                                          17   BY MS. SCULLION:
      18           THE WITNESS: Yeah, the report says           18       Q I'm handing you what's been marked as
      19   142 million.                                         19   Exhibit 31.
      20   BY MS. SCULLION:                                     20       A Thank you.
      21       Q Okay. And then again, 2009 further             21       Q And Exhibit 31 is Bates-stamped
      22   increased to 172. And in 2010 were increasing up     22   END0097420, and we've marked it E1187. And this
      23   to 239 million. And by 2011, it's at 384,300 --      23   is an e-mail chain. It starts with an e-mail from
      24   340,359. Do you see that?                            24   Greg -- Pyszczymuka?


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       1       A I see that number.                              1       A Pyszczymuka.
       2       Q And that's just for --                          2       Q -- Pyszczymuka, dated November 3rd,
       3            MR. MORRIS: Objection. Form and              3   2011. Subject matter, "Play to Win Weekly
       4   foundation.                                           4   Update."
       5   BY MS. SCULLION:                                      5          Do you recall the Play to Win initiative
       6       Q And that's just for Opana ER.                   6   in 2011?
       7            So as you said, although Opana sounds        7       A I don't.
       8   like it didn't meet -- make the market share that     8          MR. MORRIS: Objection. Form and
       9   Endo had hoped, it did have some pretty nice          9   foundation.
      10   growth over time --                                  10   BY MS. SCULLION:
      11            MR. MORRIS: Objection --                    11       Q Okay. If you go down to -- in
      12   BY MS. SCULLION:                                     12   Mr. Pyszczymuka's e-mail at the bottom of the
      13       Q -- correct?                                    13   page, he notes: "Opana ER" -- the very bottom --
      14            MR. MORRIS: Objection. Form and             14   "Opana ER weekly TRx highs achieved post-Nucynta
      15   foundation.                                          15   ER launch."
      16            THE WITNESS: It had growth over time.       16          Do you see that?
      17   BY MS. SCULLION:                                     17       A Yes.
      18       Q Okay. I mean, we saw again almost              18       Q And he says for September 30th, the
      19   double sales -- more than double sales, rather,      19   sales were -- the TRx's were at an all-time high,
      20   from 2007 to 2008, there is a 40 percent increase    20   right?
      21   from 2009 to 2010, another 60 percent increase       21       A Yes.
      22   from 2010 to 2011. Those are some increases to be    22       Q And again, in the week of October 7th,
      23   proud of, correct?                                   23   Opana ER weekly TRx's were at an all-time high,
      24       A Well --                                        24   right?


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       1       A Yes.                                            1   executing their sales as effectively as they
       2           MR. MORRIS: Objection. Form and               2   could?
       3   foundation.                                           3       A Executing the company strategy, yes.
       4   BY MS. SCULLION:                                      4       Q Okay. And the company strategy,
       5       Q We talked earlier about what a sales rep        5   execution was with respect to sales within your
       6   does on a -- on a daily basis, right? So -- and       6   department. That was -- you were responsible for
       7   as you said, they're going out average five days a    7   the execution of the sales, correct?
       8   week, they're visiting, trying to -- trying to see    8       A By using the approved promotional
       9   six prescribers.                                      9   pieces.
      10           I assume that they work roughly 48 weeks     10       Q But through sales. It's the sales
      11   a year?                                              11   department --
      12       A Mm-hmm.                                        12       A Yes.
      13       Q Yes?                                           13       Q -- that's doing that?
      14       A Yes.                                           14       A Yes.
      15       Q Okay. And by 2011, Endo's been                 15       Q Okay. And if we look at E1243.
      16   promoting Opana ER for a full five years, 2007 to    16           (Romaine Exhibit No. 32 was marked
      17   2011, right?                                         17           for identification.)
      18       A Correct.                                       18   BY MS. SCULLION:
      19       Q So that's going to be well in excess of        19       Q Do you recall that Mr. Lortie in fact
      20   200 actual -- 200,000 actual details being           20   commended you for your leadership in helping
      21   delivered during that time period, correct?          21   achieve those sales levels?
      22           MR. MORRIS: Objection. Form and              22           Sorry, I apologize. I will hand you --
      23   foundation.                                          23   do you recall Mr. Lortie commending you for your
      24           THE WITNESS: Well, I would have to do        24   leadership?


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       1   the math, but --                                      1       A Brian Lortie was my -- my supervisor, so
       2   BY MS. SCULLION:                                      2   we had many meetings on my performance.
       3       Q It's --                                         3       Q Okay. Let me hand you what's been
       4       A -- I'm assuming you're correct.                 4   marked as Exhibit No. 32. And it's marked
       5       Q It's a substantial number of details            5   ENDO_OPIOID_MDL-02312040.
       6   over that time period.                                6           Do you recognize Exhibit 32 as a copy of
       7          And during that period, 2007 to 2011,          7   your 2009 performance coaching and development
       8   was Opana ER -- strike that.                          8   report?
       9          So those are the details. You also had         9       A I don't -- don't recognize it as a copy,
      10   the lunches, the speaker series, the approved        10   but it looks like it is.
      11   reprints, these were all the promotional efforts     11       Q Okay.
      12   that were going on at this time?                     12       A It's been a long time since I saw one of
      13       A That were used by the sales force.             13   these.
      14       Q Okay. And 2007 to 2011, most of that           14       Q Okay. If you go to the second page of
      15   period you were VP of sales, right?                  15   the exhibit, E1243.2.
      16       A Yes.                                           16       A .2. Okay.
      17       Q Okay. And it was -- it was your job to         17       Q Just to orient you again, it lists your
      18   make those -- make sure that the sales efforts       18   name as the employee, correct?
      19   were as successful as they could be, correct?        19       A Correct.
      20       A Well, it was to make sure that they were       20       Q And it lists your manager as Brian
      21   educated, trained effectively, and could             21   Lortie, right?
      22   communicate the promotional message effectively,     22       A That's correct.
      23   yes.                                                 23       Q And it says this is -- goals and
      24       Q Okay. But they -- but they were                24   development plan were finalized on March 31st,


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       1   '09, and the discussion was had on February 16th,     1       Q Okay.
       2   2010, correct?                                        2       A -- and behaviors.
       3        A Correct.                                       3       Q Well, he goes on to say, he does comment
       4        Q So this is really reviewing your               4   on your -- "Several points during the year, the
       5   performance with respect to that goal and             5   achievement of the forecast is uncertain," he
       6   development plan from March 2009, right?              6   says, sorry, "and during these times of
       7        A Correct.                                       7   uncertainty," he comments on your clarity of
       8        Q All right. And if you go to the next           8   thinking, focus and positive attitude, right?
       9   page, E1243.3, in the bottom half of the page         9       A Yes.
      10   under the box on the left side that says             10       Q And then he says: "He also demanded
      11   "Year-end." Do you see that?                         11   these things from his leadership team, and that
      12        A Yes.                                          12   this contributed to a focused, energized sales
      13        Q It starts with the revenue number and         13   team, which ultimately delivered an above-budget
      14   ERS guidance?                                        14   result." Right?
      15        A Oh, yes, I'm sorry. Mm-hmm.                   15       A Yes.
      16        Q We're in the same place? Good.                16       Q So again, so he's commending you for
      17        A Yes.                                          17   achieving -- delivering, rather, an above-budget
      18        Q And at the bottom it says, Opana              18   result that year, right?
      19   franchise year-to-date, October, 566,749             19       A I think he's commending me for the
      20   prescriptions, 123.7 percent to plan.                20   skills that I used which allowed us to achieve
      21           So that's above plan for prescriptions,      21   above-plan budget performance.
      22   right?                                               22       Q Right. And part of the above-budget
      23        A Correct.                                      23   performance was with respect to the Opana
      24        Q And 200 -- 230.8 million. Do you see          24   franchise, the 123 --


                                               Page 283                                                  Page 285
       1   that?                                                 1       A And all the other business as well.
       2        A Yes.                                           2          THE REPORTER: Wait, wait, wait.
       3        Q Okay. And then on the -- just in the           3          MS. SCULLION: Sorry.
       4   box next to that indicates this is Mr. Lortie's       4          THE WITNESS: Oh, I'm sorry.
       5   comments on that performance.                         5          THE REPORTER: You're talking at the
       6           He says: "Larry's strong leadership of        6   same time. I think you need to repeat that.
       7   the pain solutions sales team through a               7          MS. SCULLION: That's fine.
       8   challenging year has contributed in a very            8   BY MS. SCULLION:
       9   significant way to the success of the enterprise."    9       Q But part of the above-budget result was
      10           Would you agree that you did contribute      10   with respect to the Opana franchise for which you
      11   to the success of the enterprise in that year?       11   achieved 123.7 percent to plan result?
      12        A Yes.                                          12       A Yes. But also in clarity, all the other
      13        Q In a very significant way?                    13   brands performed well also.
      14        A In --                                         14       Q Understood.
      15           MR. MORRIS: Objection.                       15          So we saw the growth over time for
      16           THE WITNESS: -- what was asked of me.        16   Opana ER from 2006 to 2011. And similarly, there
      17           MR. MORRIS: Foundation.                      17   was -- there was growth for the reformulated
      18   BY MS. SCULLION:                                     18   version of Opana ER, right?
      19        Q Okay. And the success of the enterprise       19       A Correct.
      20   year is being measured by the sales of the           20       Q All right. Now, Opana ER launched -- it
      21   products within the pain solutions team, correct?    21   was approved in December of 2011, correct?
      22        A Well, I think he was measuring me not         22       A I don't remember the exact date,
      23   only through the results but also through my         23   honestly.
      24   leadership --                                        24       Q If you look at Exhibit 4.


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       1       A Oh, I'm sorry.                                 1        A Right.
       2       Q Okay. The approval in December of 2011,        2        Q But in general, you were looking to --
       3   right?                                               3   to lift Opana ER during this period.
       4          MR. MORRIS: Objection. Form and               4        A Right, but I was responding back to his
       5   foundation.                                          5   e-mail --
       6          THE WITNESS: That's what this document        6        Q Sure.
       7   says, yes.                                           7        A -- that I read below on speaker
       8   BY MS. SCULLION:                                     8   programs.
       9       Q And then it was actually commercially          9        Q So that was one of the ways that you
      10   launched in the spring of 2012, correct?            10   were hoping to lift Opana ER sales during this
      11       A That sounds accurate.                         11   period.
      12       Q Okay.                                         12        A One of the ways to continue to support
      13          MS. SCULLION: Can I have 1189?               13   the business.
      14          (Romaine Exhibit No. 33 was marked           14        Q Okay. And to support business here
      15          for identification.)                         15   meant to lift Opana ER sales, right?
      16   BY MS. SCULLION:                                    16           MR. MORRIS: Objection to form.
      17       Q And when it launched in the spring of         17           THE WITNESS: To continue to grow sales.
      18   2012, do you recall you were trying to -- to lift   18   BY MS. SCULLION:
      19   sales at that point for Opana ER?                   19        Q Okay. And then we heard your -- your
      20          MR. MORRIS: Objection. Form.                 20   voicemail earlier that during 2012, you described
      21          THE WITNESS: I --                            21   that there was a crisis period, and that you were
      22   BY MS. SCULLION:                                    22   being very direct with your sales management team
      23       Q Do you recall that?                           23   that if the Endo sales reps could not get doctors
      24       A I recall that we had a sales number that      24   to clinically write Opana ER, those sales reps


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       1   we were held accountable to.                         1   should no longer be with Endo, correct?
       2        Q Okay. Let me hand you what's been             2           MR. MORRIS: Objection to form.
       3   marked as Exhibit 33. And it's Bates-stamped         3           THE WITNESS: Yeah, I think the way it
       4   ENDO_OPIOID_MDL-00644449.                            4   was stated is that they had to be able to be a
       5           And I'm looking at the top of                5   good education and good resource and clinically
       6   Exhibit 33, which is your e-mail to Kenneth Price    6   provide information to physicians so they could
       7   on June 24th, 2012, concerning the Opana ER          7   prescribe the product if it was fit for the
       8   speaker program update for the Midwest region. Do    8   patient population.
       9   you see that?                                        9   BY MS. SCULLION:
      10        A I do.                                        10       Q But you -- but that was because Endo was
      11        Q And you write to Mr. Price: "All these       11   in crisis mode at that point, and you need to have
      12   programs are critical to our ability to lift        12   the sales reps being very effective at that point,
      13   Opana ER." And you end with: "Please keep your      13   correct?
      14   teams focused on how important it is right now to   14       A Yes.
      15   get the lift."                                      15           MR. MORRIS: Objection to form.
      16           Do you see that?                            16           THE WITNESS: Because if I recall back,
      17        A Yes.                                         17   that was right after we had an outage and we
      18        Q And again, that was a reference to           18   were -- and I think we talked about this earlier,
      19   lifting Opana ER sales during this period, right?   19   we were trying to make sure that patients who were
      20        A Yes.                                         20   on Opana ER were able to get Opana ER.
      21        Q Okay.                                        21   BY MS. SCULLION:
      22        A But this was in reference to doing           22       Q Okay. And then if you can go back to
      23   speaker programs in his geography.                  23   Exhibit 30, which is that summary of the net
      24        Q Understood.                                  24   sales, I want to focus now on the right-hand


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       1   column --                                            1   pharmaceutical sales when a product faces generic
       2       A Okay.                                          2   competition, do the branded product sales
       3       Q -- which is entitled "Opana TRF ER-2."         3   generally decline?
       4   Do you see that?                                     4        A Yes.
       5       A Yes.                                           5           MR. MORRIS: Objection. Foundation.
       6       Q And Opana TRF ER-2, that's referring to        6   BY MS. SCULLION:
       7   the reformulated version of Opana ER?                7        Q So there wasn't time to make too much of
       8          MR. MORRIS: Objection. Form,                  8   a -- of a track record with the reformulated
       9   foundation, and continuing objection with respect    9   version of Opana ER, but again, that's a
      10   to the use of the demonstrative.                    10   respectable showing in terms of the sales efforts
      11   BY MS. SCULLION:                                    11   and the results, right?
      12       Q Is that correct?                              12           MR. MORRIS: Objection. Form and
      13       A Opana -- yes.                                 13   foundation.
      14       Q That's how it was referred to internally      14           THE WITNESS: Yes.
      15   within Opana TRF ER?                                15   BY MS. SCULLION:
      16       A I don't recall that. We referred to it        16        Q Okay. And again, these are the results
      17   as Opana with -- with INTAC technology.             17   from the sales force out there. They're calling
      18       Q Okay. Do you recall seeing Opana TRF ER       18   on healthcare providers, they're delivering
      19   being used within Endo?                             19   approved reprints, they're inviting people to
      20       A You know, I don't -- I don't                  20   speaker series, and that's helping to generate
      21   specifically recall that title, but yeah.           21   those sales, correct?
      22       Q Okay. So then -- so looking at the --         22        A Yes.
      23   the figures, it begins in 2012.                     23           MS. SCULLION: Could we have E1175,
      24       A Yes.                                          24   please.


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       1        Q And you've got 221 million in net sales       1            (Romaine Exhibit No. 34 was marked
       2   for 2012, and that's just for the reformulated       2            for identification.)
       3   version, correct?                                    3   BY MS. SCULLION:
       4        A Correct.                                      4        Q I hand you what I just marked as
       5        Q As we said, that reformulated version,        5   Exhibit 34, and it's Bates-stamped ENDO_OPIOID_
       6   it launched sometime in the spring, so it's not      6   MDL-00869053, and we have Bates -- and we stamped
       7   even a full year, right?                             7   it in the top right corner E1175.
       8        A Yes.                                          8            Mr. Romaine, if you look at the first
       9        Q Okay. And then in 2013, we see some           9   page of Exhibit 34, do you see this is an e-mail
      10   growth in the sales to 222 million, correct?        10   and attachment from you to Mr. Kerr, Mr. Baglin,
      11           MR. MORRIS: Objection. Form and             11   Mr. Bingol, and Deanne Melloy in September of 2007
      12   foundation.                                         12   entitled -- or subject matter, rather, "Opana Top
      13           THE WITNESS: That's on this paper, yes.     13   50 Writers"?
      14   BY MS. SCULLION:                                    14        A Yes.
      15        Q Okay. And I think you explained              15        Q Okay. And if you'd just turn to the
      16   earlier, in 2013 is when a variety of products      16   attachment, which begins at E1175.5. Is this a
      17   came off patent. Opana ER was one of those          17   set of data that you received in September of 2007
      18   products that came off patent, correct?             18   concerning the top 50 Opana ER writers for the
      19        A That's correct.                              19   period January 7th to July -- sorry, January '07
      20        Q So -- and so in 2013, Opana ER began to      20   to July '07?
      21   face generic competition, correct?                  21        A I don't recall specifically receiving
      22        A I probably left by the time that             22   this, but it looks like a document I would have
      23   happened, but -- yeah.                              23   gotten in my position.
      24        Q Okay. In your experience in                  24        Q Okay. Did you from time to time ask for



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       1   reports of the top 50 or top other segment of --     1   from them, correct?
       2   of Opana ER writers?                                 2       A Correct.
       3        A You know, I don't recall if I asked for       3       Q All right. Now, if you go back to the
       4   it or if it was provided.                            4   exhibit for the -- I'm sorry, the attachment to
       5        Q Okay. So this is information that --          5   the exhibit, which is the actual data for the
       6   that was available --                                6   top 50.
       7        A Yes.                                          7       A Yes.
       8        Q -- to you at Endo.                            8       Q Let's look at page E1175.5. There's
       9        A Yes.                                          9   obviously a good deal of information here. You've
      10        Q So you could -- you could go in and say,     10   got in the left hand the information about the
      11   Let me see which prescribers are prescribing the    11   representative, right, that's servicing the
      12   most at any given period for a given product.       12   doctor?
      13   That was available to you to do?                    13       A Correct.
      14        A Yes.                                         14       Q And the district manager, correct?
      15        Q All right. And then if you go back to        15       A Correct.
      16   the front page --                                   16       Q All right. And then for the prescriber
      17        A Mm-hmm.                                      17   information, again, you know their name, their
      18        Q -- of Exhibit 34, you're explaining that     18   prescriber ID, their specialty, correct?
      19   -- you said: "This is some very interesting         19       A That's correct.
      20   data." And you're looking to quantify why certain   20       Q And their address, correct?
      21   physicians are jumping up in their sales -- or      21       A Yes.
      22   prescriptions, rather, of Opana and starting to     22       Q And then we see the column for "Monthly
      23   write at a point in time. And you give an example   23   Sales." So this is again a -- data showing
      24   of one doctor, Dr. Plotnick, who's served by the    24   monthly prescriptions, in this case for Opana ER,


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       1   pharma division.                                     1   for each of those individual providers, correct?
       2           Do you see that?                             2       A Correct.
       3       A Yes.                                           3       Q All right. And then you have
       4       Q Okay. And you say at the end: "The             4   information on the right-hand side that tells you
       5   point that we need to find is what triggered         5   the total that they've written during that period,
       6   individuals to start and see if there is a common    6   correct?
       7   thread."                                             7       A Yes.
       8       A Right.                                         8       Q All right. So you could tell in any
       9       Q Do you see that?                               9   given period again which prescriber is writing the
      10       A Yes.                                          10   most number of prescriptions for Opana ER,
      11       Q So you're trying to figure out for            11   correct?
      12   these -- these top writers, Okay, well, what's --   12       A Correct.
      13   what's triggering them for Opana ER, because you    13       Q All right. And when it says "market
      14   thought that might help understand how you might    14   volume," that's referring to the total
      15   support sales more broadly for Opana ER, correct?   15   prescriptions for Opana ER in that given
      16       A Well, I think it was looking at are           16   provider's market?
      17   there tools or resources that the sales force       17       A I think what that refers to, market
      18   might need or have and not used that somebody is    18   volume is the total prescriptions of all opioids
      19   using that is important to the physicians that      19   in that -- for that physician has written.
      20   we're calling on.                                   20       Q Okay. So you could also tell not only
      21       Q Okay. And -- but you're -- you're             21   how many -- how many prescriptions for Opana ER
      22   making an inquiry by looking at, Well, who's        22   the prescriber has written but for all opioids
      23   writing -- who's prescribing the most? Let's look   23   during the period.
      24   at our top customers and see what we can learn      24       A Correct. Market class.


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       1       Q Okay. And when it says "share," is that         1        Q It says Howard Schertzinger, right?
       2   Opana's share of that prescriber's total market       2        A Yes.
       3   volume?                                               3        Q Okay. So using the data available to
       4       A That's correct. That's the way I read           4   you, you would have been able to see whether a
       5   this.                                                 5   prescriber's volume had changed over the course of
       6       Q Okay. And just looking -- stay on this          6   any given period. Right?
       7   page, in this period -- so if I read it correctly,    7        A Correct. I had information available to
       8   two of the top five Opana writers served by the       8   me.
       9   specialty division are in Ohio, correct?              9        Q Okay. And you could have been able to
      10       A Let me -- just one second, let me              10   tell if there was an unusual spike in
      11   just --                                              11   prescriptions for any given prescriber, correct?
      12       Q Sure.                                          12            MR. MORRIS: Objection. Form and
      13           MR. MORRIS: Objection. Form and              13   foundation.
      14   foundation.                                          14            THE WITNESS: Over the month period --
      15   BY MS. SCULLION:                                     15   prior period, yes.
      16       Q I'm starting with the top is -- it says        16   BY MS. SCULLION:
      17   Edwin Villalobos --                                  17        Q Okay. You could have been able to use
      18       A Yes.                                           18   it to look to see if there was some unusual
      19       Q -- that gentleman is in Florida.               19   pattern in the prescribing for a particular
      20           The next two are in Ohio, correct?           20   provider, correct?
      21       A Correct.                                       21            MR. MORRIS: Objection to form and
      22           MR. MORRIS: Objection to form and            22   foundation, legal conclusion.
      23   foundation.                                          23            THE WITNESS: At my level, though, I
      24   BY MS. SCULLION:                                     24   rarely looked at -- down to that granular.


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       1       Q And as you say, and one is in -- one --         1   BY MS. SCULLION:
       2   sorry.                                                2        Q But this is data that one could have
       3            And two are also in Florida, the top         3   looked at to -- to look at patterns of prescribing
       4   five: Mr. Villalobos at the top and Mr. Scott         4   for individual doctors, right?
       5   Tennanbaum is number five, correct?                   5        A Correct.
       6       A That's what the report says, yes.               6           MR. MORRIS: Same objection.
       7       Q Okay. And then again, if you look on            7   BY MS. SCULLION:
       8   the next page, 1175.7, this is the top 50 Opana       8        Q And similarly, because you have
       9   prescribers for the period that were serviced by      9   information obviously that tells you that the
      10   the pharma division, correct?                        10   geographic territory in which each doctor is in,
      11       A Yes. Sorry, I wanted to make sure that         11   you could also tell whether that doctor's
      12   was specialty on the first.                          12   prescriptions were fairly high compared to other
      13       Q Sure. So this -- this page, 1175.7,            13   prescribers in any given territory, correct?
      14   this is the pharma division, correct?                14           MR. MORRIS: Objection. Form.
      15       A Correct.                                       15           THE WITNESS: The -- just to clarify,
      16       Q All right. And again, within the top           16   the number of prescriptions that they're writing,
      17   five prescribers you've got a gentleman from         17   is that what you're asking?
      18   Florida, David Hicks, and a gentleman from Ohio,     18   BY MS. SCULLION:
      19   Howard Schertzinger, correct?                        19        Q Yes.
      20            MR. MORRIS: Objection. Form and             20        A Yes, that was available.
      21   foundation.                                          21        Q Okay. So you could have seen if
      22            THE WITNESS: There is someone from Ohio     22   Doctor X had ten times the number of prescriptions
      23   there, yes.                                          23   as the next highest doctor in that territory,
      24   BY MS. SCULLION:                                     24   right?


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       1        A Based on this report, yes.                     1        A I don't recall that.
       2        Q You could have done that. Okay.                2        Q And by suspicious pattern here, we're
       3            MS. SCULLION: Can I have E524.               3   talking about a suspected pill mill. Is that what
       4   BY MS. SCULLION:                                      4   we're talking about?
       5        Q While they are getting that, and just to       5           MR. MORRIS: Objection to form.
       6   be clear, did you ever undertake any -- any           6           THE WITNESS: Is that what you're
       7   analysis to see if any prescriber was suspiciously    7   asking?
       8   prescribing too much based on information you were    8   BY MS. SCULLION:
       9   seeing?                                               9        Q Yeah.
      10        A I don't recall that. But I know the           10        A So I don't recall -- I mean, I don't
      11   organization, the company, in marketing did that     11   recall ever having those discussions.
      12   at times to look and see if there was any            12        Q All right. You said also that folks
      13   suspicious activity, and then that would have been   13   within brand, the brand group would have been
      14   reported.                                            14   looking at data. Were they looking at data to try
      15        Q Okay. So -- but you did not -- you did        15   to look for suspicions of pill mills?
      16   not analyze it for that purpose?                     16        A I don't know why they would look at it.
      17        A I did not analyze it to that level.           17   It's probably a question you'd have to ask them.
      18        Q Who do you understand within marketing        18        Q Okay. So you don't know if they were
      19   conducted any analysis to look for anything, I       19   looking at data for that purpose?
      20   think you said, suspicious?                          20        A I don't know that. I know they looked
      21        A Well, I would assume -- and I shouldn't       21   at data. I don't know for what purpose.
      22   use the word "assume" -- but the brand group would   22        Q And just to be clear, do you know
      23   look at that. The regional directors would look      23   whether regional directors were looking at data
      24   at it that close, and if there was suspicion then,   24   for the purpose of trying to see if there were


                                                 Page 303                                                 Page 305
       1   then that would be reported and handled through       1   suspicious -- suspicions of a pill mill?
       2   the appropriate channels in the company.              2       A I don't know specifically for that
       3       Q So let's make sure that we're talking           3   reason. I know they looked at data.
       4   about the same thing. Start with the regional         4       Q But none of them ever talked to you
       5   directors.                                            5   about having any suspicions about a potential pill
       6           Would the regional directors, were they       6   mill based on their review of data, right?
       7   required to review sales data within their region     7           MR. MORRIS: Objection to form.
       8   to see if there was any unusual pattern?              8           THE WITNESS: I don't recall that.
       9           MR. MORRIS: Objection. Form and               9   BY MS. SCULLION:
      10   foundation.                                          10       Q Okay. In your entire, you know --
      11           THE WITNESS: I don't recall if that          11       A Tenure.
      12   was -- I don't recall if that was a directive, but   12       Q -- tenure with Endo, you don't ever
      13   I know that they looked at the data.                 13   recall that?
      14   BY MS. SCULLION:                                     14       A I don't recall that.
      15       Q But you don't know if it was actually a        15           MR. MORRIS: Objection to form.
      16   compliance directive?                                16           MS. SCULLION: Do you have 524? Thank
      17       A No, I don't know.                              17   you.
      18       Q Did you ever have any discussions with         18           (Romaine Exhibit No. 35 was marked
      19   any regional directors about their review of -- of   19           for identification.)
      20   data to -- to look for suspicion patterns?           20   BY MS. SCULLION:
      21       A I don't recall.                                21       Q Let me hand you what's been marked as
      22       Q Do you recall anyone ever coming to you        22   Exhibit 35. And this is Bates-stamped
      23   and saying, We have identified what we think is a    23   ENDO_OPIOID_MDL-00856807, and we've stamped it
      24   suspicious pattern?                                  24   E524 in the top right-hand corner.



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                                                 Page 306                                                 Page 308
       1          And, Mr. Romaine, I'm focusing on the          1         Q Okay. So it's not as if you have
       2   e-mail on the bottom half of the first page from      2   prescriptions backed up, and you're saying, Okay,
       3   Mike Weber to the pharma DMs, cc'ing you twice, it    3   now -- now we have the prescriptions, we can go
       4   looks like. It says Larry Romaine, Larry Romaine.     4   fill the Walgreens stores with Opana in order to
       5       A Mm-hmm.                                         5   fill those prescriptions.
       6       Q Did you have more than one e-mail               6         A Correct.
       7   address?                                              7         Q All right. And if you look in the
       8       A No.                                             8   second paragraph, the last sentence, Mr. Weber
       9       Q Just somebody typed it twice.                   9   refers to "Let's show Walgreens that our Endo team
      10       A Yeah.                                          10   can pull through this product quickly."
      11       Q Okay. And others.                              11            Do you see that?
      12          And the subject of the e-mail is              12         A Yes.
      13   "Important - Walgreens stores that have stocked      13         Q Did you ever discuss the concept of
      14   Opana," and this is October 20th, 2006. Do you       14   pulling through product from Walgreens or a
      15   see that?                                            15   similar store?
      16       A Yes.                                           16         A I don't -- I don't recall those -- that
      17       Q And as I understand it, Mr. Weber is           17   terminology.
      18   writing to advise the pharma DMs of a list of        18         Q Do you have any understanding about what
      19   approximately -- it says: "1500 Walgreens, high      19   "pull through" means?
      20   opioid potential stores that have stocked Opana      20         A Yes.
      21   5 milligram, Opana ER 5 milligram, and Opana ER      21         Q What does it mean?
      22   20 milligram." Is that right?                        22         A For not -- for a product to be stocked
      23       A Do you mind if I read -- read the              23   and then be utilized by a physician, by
      24   e-mail?                                              24   prescribing for a patient.


                                                 Page 307                                                 Page 309
       1       Q Please, go ahead.                               1       Q And why is Mr. Weber saying, "Let's show
       2       A (Peruses document.) Okay, thank you.            2   Walgreens that our Endo team can pull through this
       3       Q So do I understand correctly that that's        3   product quickly"? Why would you need to show
       4   what Mr. Weber is writing about, to advise that       4   Walgreens anything?
       5   there's approximately 1500 Walgreens, high opioid     5       A I don't know --
       6   potential stores that have stocked with the           6          MR. MORRIS: Objection to form.
       7   indicated strengths of Opana and Opana ER?            7          THE WITNESS: -- what he's referring to
       8       A Yes.                                            8   here.
       9       Q All right. What's a high opioid                 9   BY MS. SCULLION:
      10   potential store, do you know?                        10       Q Okay. I mean, was it -- was she saying
      11       A It must -- I don't recall what he's            11   that Endo had convinced Walgreens to go ahead and
      12   referring to there, and so I shouldn't assume.       12   stock this -- this product, and now we want to
      13   So, I don't know.                                    13   show them that we can move the product off their
      14       Q Okay. Now, this is stocking of these           14   shelves for prescriptions?
      15   stores in October 2006, and if I understand          15       A I --
      16   correctly, the stores are being stocked before       16          MR. MORRIS: Objection to form and
      17   prescriptions have been written for all of the       17   foundation.
      18   Opana that's being stocked in those stores, right?   18          THE WITNESS: I don't -- I don't know
      19       A Can -- can you restate --                      19   what he's referring to here.
      20       Q You're putting -- putting the Opana in         20   BY MS. SCULLION:
      21   the stores to then go out and get prescriptions,     21       Q Okay. But was that something that --
      22   correct?                                             22   that was one of Endo's goals during this time
      23       A To begin promotion of -- of Opana ER,          23   period was to try to get Opana off of the retail
      24   yes.                                                 24   shelves as quickly as it could after it was


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       1   stocked?                                              1           MS. SCULLION: Okay. Let's take a quick
       2       A Well, our -- our goal was to ensure that        2   break, we'll get some documents together, and then
       3   we had adequate stocking of the product so we         3   we can try and move quickly.
       4   could promote the product to healthcare providers.    4           MR. MORRIS: Okay.
       5       Q Okay. And was it a goal to -- to have           5           THE VIDEOGRAPHER: The time is
       6   product pulled through quickly?                       6   3:50 p.m., and we're going off the record.
       7       A I don't know if I would term it quickly,        7           (Recess.)
       8   but obviously to have it stocked so that it's         8           THE VIDEOGRAPHER: The time is 4:06 p.m.
       9   available.                                            9   We're back on the record.
      10       Q Okay. And remind me, at this point in          10           (Romaine Exhibit No. 36 was marked
      11   time Mr. Weber's position was what?                  11           for identification.)
      12       A He was the director of the pharma              12   BY MS. SCULLION:
      13   division.                                            13       Q Mr. Romaine, welcome back.
      14       Q Thank you. I had forgotten.                    14       A Thank you.
      15           And he's writing to his district             15       Q I hand you what's been marked as
      16   managers in the pharma division, right?              16   Exhibit 35, which is Bates-stamped ENDO_OPIOID_
      17       A In the -- in the -- yes, the pharma            17   MDL-02324335. And in the lower right-hand corner,
      18   division.                                            18   we also have our E832.
      19       Q Okay. And then in the last paragraph,          19           MR. MORRIS: Oh, it's 36.
      20   second sentence, his directive -- following up on    20           MS. SCULLION: She has 30 -- I'm sure
      21   the communications from the regional directors,      21   you're right. Erica likes to keep me on my toes.
      22   his directive to the pharma DMs is: "Let's get       22           THE WITNESS: This is 35.
      23   five high opioid decile MDs in each territory to     23           MR. MORRIS: Yeah, so you want to --
      24   try Opana ER for the first time on at least one      24           MS. SCULLION: We're going to restamp


                                                 Page 311                                                 Page 313
       1   patient next week." Right?                            1   it. Yeah, we're going to restamp it. It's all
       2       A Yes, I see that.                                2   right.
       3       Q Okay.                                           3           THE WITNESS: Thank you.
       4          MR. MORRIS: Objection. Form and                4   BY MS. SCULLION:
       5   foundation.                                           5       Q Mr. Romaine, Exhibit 36, if you look at
       6   BY MS. SCULLION:                                      6   the first page, starts with an e-mail from Vanessa
       7       Q And he's referring to high opioid decile        7   Costa to Jon Smollen, and she's attaching a number
       8   doctors in each territory, correct?                   8   of documents and she's sending them to him on
       9          MR. MORRIS: Objection. Form and                9   April 11th, 2013.
      10   foundation.                                          10           My questions are going to refer to the
      11   BY MS. SCULLION:                                     11   documents attached, not the e-mail, but you're
      12       Q MDs is doctors.                                12   welcome to read the e-mail if you'd like.
      13       A That's what he's written here.                 13       A Okay.
      14       Q Okay. And -- and again, so that was his        14       Q So I'm going to actually start with
      15   directive as to, Let's get the five high opioid      15   page 832.2, the next page.
      16   doctors to try Opana ER for the first time on at     16       A Yes.
      17   least one patient in each territory this week.       17       Q It's "Call Plans and Controls."
      18          MR. MORRIS: Objection to form.                18       A Mm-hmm.
      19          THE WITNESS: That's what this statement       19       Q We discussed call plans a little bit
      20   says.                                                20   earlier today, and I just wanted to confirm, if
      21   BY MS. SCULLION:                                     21   you look under "Call Plans and Controls," there's
      22       Q Pretty aggressive goal, correct?               22   a series of bullet points under the paragraph
      23          MR. MORRIS: Objection to form.                23   there.
      24          THE WITNESS: I -- I don't know that.          24       A Yes.


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       1        Q And the fifth bullet point indicates:          1         A Correct.
       2   "Opana ER. Physicians are excluded based on           2         Q Okay. While we're in this document --
       3   scripts 48 or more over a 12-month period." Do        3   it's right here -- if you could quickly turn to
       4   you see that?                                         4   page 0832.7, you'll see a big map.
       5        A Yes.                                           5            Do you see that?
       6        Q Do you recall that there was a -- a            6         A Yes.
       7   requirement of a minimum of 48 long-acting opioid     7         Q Okay. If I understand correctly, this
       8   prescriptions over a 12-month period for a            8   is a -- a map of -- of the territories assigned to
       9   physician to be included on the call plan for         9   reps, correct?
      10   Opana ER?                                            10         A Yes.
      11        A I do know there was an exclusion              11         Q Okay. And I see -- if you look on the
      12   criteria. I didn't know it was 48.                   12   map where Ohio is, do you see that on the map?
      13        Q Okay. Do you have -- but -- okay.             13         A Bear with me just one moment.
      14           Did you know it was a script-based           14         Q It's okay. Look just below the word
      15   exclusion criteria, number of scripts?               15   "Chicago" and a little to the right.
      16        A I -- I don't recall it from that period       16         A Okay. Yes, I have it.
      17   of time.                                             17         Q Okay. And am I correct to understand
      18        Q Okay. And then if you go to E832.18.          18   that Ohio -- every part of Ohio had at least one
      19   That in addition to the 48 -- sorry, that --         19   rep serving it, if not more?
      20   although there was a 48 prescription exclusion       20         A I don't know that --
      21   criteria, as it states on this page, that an         21            MR. MORRIS: Objection. Foundation.
      22   Opana ER non-target provider, one that has not met   22            THE WITNESS: -- to be accurate. There
      23   the 48 prescription minimum threshold, must meet     23   may have been geographies that because of
      24   at least one of the following, and it has certain    24   physician accounts didn't have a representative


                                                Page 315                                                   Page 317
       1   criteria. So that people could be included on the     1   calling on them.
       2   call plan even if they didn't meet the 48             2   BY MS. SCULLION:
       3   prescription minimum threshold, correct?              3       Q The map indicates most of Ohio is this
       4        A Correct.                                       4   sort of light green color, correct?
       5        Q All right. Do you recall that was              5       A Yes.
       6   introduced after a number of years of using the 48    6       Q Okay. And if you look at the -- the key
       7   prescription minimum threshold?                       7   to the map in the lower left-hand corner, it says
       8        A I don't recall when that was -- was            8   "Number of reps by footprint," and the light green
       9   added.                                                9   color indicates two reps.
      10        Q Okay. But do you recall that it was           10       A Correct.
      11   added?                                               11           MR. MORRIS: Objection to form and
      12        A I do -- it was -- there was criteria          12   foundation.
      13   added later on, I do recall that, yes.               13   BY MS. SCULLION:
      14        Q Okay. And that allowed then more              14       Q Okay. And then other sizable chunks of
      15   providers to be -- to be called on than under the    15   Ohio are this light yellow color. Do you see
      16   48 prescription threshold criteria, correct?         16   that?
      17           MR. MORRIS: Objection to the form.           17       A Yes, that's what the map reflects.
      18           THE WITNESS: I think it -- it allowed        18       Q Okay. And then the key indicates that
      19   for the right -- the correct physicians to be        19   that means there's three reps by footprint for
      20   added who were opioid experienced physicians.        20   those areas, correct?
      21   BY MS. SCULLION:                                     21       A Correct.
      22        Q Okay. And as well as -- also as it says       22           MR. MORRIS: Objection. Form and
      23   here, the nurse practitioners and physician          23   foundation.
      24   assistants, correct?                                 24   BY MS. SCULLION:


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                                                 Page 318                                                 Page 320
       1        Q Okay. Do you see any parts of Ohio on          1   question?
       2   this map that are -- that don't have one of the       2   BY MS. SCULLION:
       3   colors indicated in the key for reps by footprint     3       Q This is feedback from the healthcare
       4   of at least one?                                      4   providers in this region?
       5        A I do not on this map.                          5            MR. MORRIS: Same objection.
       6        Q Okay.                                          6            THE WITNESS: This is feedback that the
       7           MS. SCULLION: Can we have 1215?               7   representatives provided their manager and then
       8           (Romaine Exhibit No. 37 was marked            8   provided to the region director.
       9           for identification.)                          9   BY MS. SCULLION:
      10   BY MS. SCULLION:                                     10       Q And the third bullet point under that
      11        Q I'm going to hand you what's been marked      11   feedback refers to "Seattle speaker program,
      12   as -- thank you -- Exhibit 37. And this is           12   August 2nd." Do you see that?
      13   Bates-stamped ENDO_OPIOID_MDL-01968614.              13       A Yes.
      14           And it's an e-mail from Ellen Keane to       14       Q And that would be part of the speaker
      15   Ian McConkey, copying you and Kathleen Cronshaw in   15   program we discussed earlier as part of the
      16   August of 2012, and titled "West Opana ER            16   promotion of Opana ER?
      17   Feedback."                                           17            MR. MORRIS: Objection. Form and
      18           Do you see that?                             18   foundation.
      19        A Yes.                                          19            THE WITNESS: I don't know that, but
      20        Q West Opana ER refers to the western           20   I'm -- it looks like a speaker program, yes.
      21   region for -- sorry, the -- yeah, the western        21   BY MS. SCULLION:
      22   region?                                              22       Q Well, it's referring to a speaker
      23        A Correct.                                      23   program, correct?
      24        Q Okay. And if you go to page E1215.2.          24       A It's refer -- referring to a speaker


                                                 Page 319                                                 Page 321
       1       A Yes.                                            1   program in this document, yes.
       2       Q It's a summary of feedback from the             2       Q Okay. And the document says "Opana ER
       3   western region business unit.                         3   Feedback," right?
       4       A An overall view, is that what you're            4       A Correct.
       5   looking at?                                           5       Q Okay. And it describes the Seattle
       6       Q Is a summary of, yeah, the overall view         6   speaker program for August 2nd that: "Dr. Jutla
       7   of the region.                                        7   urged the attendees not to give in to the," quote,
       8       A Overall view, okay.                             8   "opioid phobia," close quote, "that has taken root
       9       Q Is that what this is?                           9   in Washington state, but at the same time reminded
      10       A Yes.                                           10   them of their due diligence in treating a chronic
      11       Q Okay. And if you go to the middle of           11   pain patient with opioid therapy."
      12   the page under the heading "Feedback from HCPs'      12           Do you see that?
      13   Offices," do you see that?                           13       A Yes.
      14       A I -- I'm not following you. I'm sorry.         14       Q And so Dr. Jutla was an invited speaker
      15       Q It's okay. There's a heading that says         15   to the speaker program in Seattle, correct?
      16   "Feedback from" --                                   16           MR. MORRIS: Objection. Form and
      17       A Oh, yes, I'm sorry.                            17   foundation.
      18       Q -- "HCPs' Offices."                            18           THE WITNESS: I don't know who that
      19       A I was looking at the top.                      19   doctor is.
      20       Q Okay. And this is feedback from the            20   BY MS. SCULLION:
      21   healthcare providers in this region?                 21       Q Okay. But this is indicating, though,
      22          MR. MORRIS: Objection. Form and               22   that Dr. Jutla did urge the attendees at that
      23   foundation.                                          23   program not to give into, quote, opioid phobia,
      24          THE WITNESS: Can you repeat the               24   correct?


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                                                Page 322                                                 Page 324
       1           MR. MORRIS: Objection. Form and               1   Pharmaceuticals entitled "Understanding the
       2   foundation.                                           2   Specialty MD and Their Use of Opioids."
       3           THE WITNESS: I see that. I just don't         3           And if you turn to page E396.35, do you
       4   know if that was a -- an attending physician or if    4   see again in the speaker notes at the bottom in
       5   it was the actual speaker themselves.                 5   point C --
       6   BY MS. SCULLION:                                      6        A Can -- can you just tell me the document
       7       Q If it was the attending physician,              7   number again?
       8   the -- the speaker programs were reviewed before      8        Q Absolutely. So this is Exhibit 9.
       9   being presented by Endo, correct?                     9        A Yes.
      10       A Yeah, they -- they went through a -- the       10        Q And turn to page, in the upper
      11   PMRB process.                                        11   right-hand corner, E396.35.
      12       Q So if Dr. Jutla was the presenting             12        A .35. Okay.
      13   physician at that speaker program and did in fact    13        Q And looking in the speaker notes under
      14   deliver that message not to give into, quote,        14   the presentation, looking at point C, again
      15   opioid phobia, that would have been a message that   15   there's a reference there to the term
      16   would have been reviewed prior to being delivered    16   "pseudoaddiction."
      17   by Endo, correct?                                    17           Do you see that?
      18           MR. MORRIS: Objection. Form and              18        A Yes.
      19   foundation.                                          19        Q And -- and that's used twice in those
      20           THE WITNESS: I don't know that. I            20   speaker's notes asking at the end, "How confident
      21   was -- I did not sit in on the -- the educational    21   is the audience that their customers know the
      22   process.                                             22   differences, tolerance, dependence, addiction,
      23   BY MS. SCULLION:                                     23   pseudoaddiction?" Do you see that?
      24       Q Okay.                                          24        A I do see that.


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       1       A What I don't know, and just to bring            1       Q So pseudoaddiction was a concept on
       2   clarity, is that that doctor, I don't know if they    2   which Endo sales reps were trained in connection
       3   were actually the speaker or they happened to be      3   with the promotion of Opana ER; is that right?
       4   attending and made a comment.                         4          MR. MORRIS: Objection. Form and
       5       Q I understand that you don't know.               5   foundation.
       6   That's why I'm saying if she -- if this doctor        6          THE WITNESS: I don't recall that term.
       7   were --                                               7   BY MS. SCULLION:
       8       A Oh.                                             8       Q You don't recall the term
       9       Q -- a presenting doctor, those comments          9   "pseudoaddiction" at all?
      10   would have been reviewed and approved by Endo --     10       A No.
      11           MR. MORRIS: Objection. Form and              11       Q So I take it -- well, hold on. Let's go
      12   foundation.                                          12   to Exhibit 10 for a moment and see if this helps.
      13   BY MS. SCULLION:                                     13   Exhibit 10.
      14       Q -- before being delivered.                     14       A Okay.
      15       A I don't -- I don't know that because I         15       Q If you go to page 247.15.
      16   wasn't -- I didn't attend the reviewing committee.   16       A .15?
      17       Q Okay. And if we can look back at               17       Q Correct. And it says -- it's headed
      18   Exhibits 9 and 10.                                   18   "Definitions." Do you see that?
      19           And we can start with Exhibit 9 when you     19       A Yes.
      20   find that.                                           20       Q And the third definition down for --
      21       A Okay. I'm there.                               21   well, hold on.
      22       Q So Exhibit 9, which we -- we looked at         22          It says "Definitions," and the paragraph
      23   earlier, is a PowerPoint presentation. It was for    23   before the bullet point says: "The following list
      24   sales training purposes only for Endo                24   includes definitions of five important but


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       1   commonly misunderstood terms." Do you see that?       1       A I don't know how it was presented.
       2        A Yes.                                           2       Q That's what the -- the first paragraph
       3        Q And so this is part of the oxymorphone         3   before the bullet point says, right, "These are
       4   learning system module given to the Endo sales        4   five definitions of five important but commonly
       5   reps, correct? The front page?                        5   misunderstood terms"?
       6        A Yes.                                           6       A Okay. Yes.
       7        Q Right?                                         7       Q Okay. Same thing with "physical
       8            And Endo is training the sales reps that     8   dependence," Endo is teaching its reps that that
       9   the definitions of the following terms are            9   was a commonly misunderstood term?
      10   commonly misunderstood. "Abuse" is a commonly        10          MR. MORRIS: Objection. Form and
      11   misunderstood word, that's what Endo was teaching    11   foundation.
      12   its reps, correct?                                   12          THE WITNESS: It's in the document.
      13            MR. MORRIS: Objection. Form and             13   BY MS. SCULLION:
      14   foundation.                                          14       Q And the same thing on the next page for
      15            THE WITNESS: I don't recall that, but I     15   "tolerance," Endo is teaching its reps that that
      16   see it's in the document.                            16   was a commonly misunderstood term.
      17   BY MS. SCULLION:                                     17          MR. MORRIS: Objection. Form and
      18        Q Same thing, "addiction," Endo is              18   foundation.
      19   teaching its sales reps that that was a commonly     19          THE WITNESS: It's in the document.
      20   misunderstood term?                                  20   BY MS. SCULLION:
      21            MR. MORRIS: Objection. Form and             21       Q Okay. And just under the bullet point
      22   foundation.                                          22   where it says "Tolerance," the next paragraph, the
      23            THE WITNESS: Again, I don't recall it,      23   second and third sentences there begins: "The
      24   but it's in the document.                            24   physician can differentiate addiction from


                                                 Page 327                                                  Page 329
       1   BY MS. SCULLION:                                      1   pseudoaddiction by speaking to the patient about
       2       Q And "pseudoaddiction" is -- is used here        2   his or her pain, and increasing the patient's
       3   as well as the next bullet point. Could you read      3   opioid dose to increase pain relief."
       4   through that definition and just see if it            4           Do you see that?
       5   refreshes your recollection on that term.             5       A I'm -- I'm trying to catch up with you.
       6       A Okay. "A term used to describe an               6   Where -- where are you?
       7   iatrogenic phenomenon in which a patient with         7       Q Sure.
       8   undertreated pain is perceived by healthcare          8       A Okay.
       9   professionals to exhibit behaviors similar to         9       Q I'm under the paragraph that begins "A
      10   those seen in addiction but is not truly             10   consensus statement."
      11   addicted."                                           11       A I see it now.
      12       Q Does reading that refresh your                 12       Q And at the next sentence it says: "The
      13   recollection about the concept of pseudoaddiction?   13   physician can differentiate addiction from
      14       A It -- it does not. I don't recall it.          14   pseudoaddiction by speaking to the patient about
      15       Q But as indicated in this learning              15   his or her pain, and increasing the patient's
      16   module, it was a concept on which the sales reps     16   opioid dose to increase pain relief."
      17   were being trained, correct?                         17           Do you see that?
      18          MR. MORRIS: Objection. Form and               18       A Yes.
      19   foundation.                                          19       Q Do you recall that was a concept on
      20          THE WITNESS: It was -- it is in the           20   which sales reps were being trained by Endo?
      21   training module.                                     21       A I don't recall it.
      22   BY MS. SCULLION:                                     22       Q But it is in the -- the learning module,
      23       Q Okay. And it was, again, presented as a        23   correct?
      24   commonly misunderstood term, correct?                24       A Yes.


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       1        Q Okay. And similarly, the next sentence:        1   Fernandes to the pharma district managers for the
       2    "Sales reps are being taught pseudoaddictive         2   Midwest dated October 31st, 2007.
       3    behaviors, such as clock watching," open parens,     3       A Yes.
       4    "counting down the time until the next dose,"        4       Q Do you see that?
       5    close parens, "will resolve when the pain is         5       A Yes.
       6    properly treated."                                   6       Q And who was Mr. Fernandes?
       7            That was a concept that sales reps were      7       A He was a district manager in the pharma
       8    being taught, correct?                               8   group.
       9            MR. MORRIS: Objection. Form and              9       Q Do you know what district he served?
      10    foundation.                                         10       A I -- I don't know. I want to say
      11            THE WITNESS: It's in the document. It       11   Oklahoma.
      12    didn't say sales representatives are -- are         12       Q Oh, I apologize. It's Indianapolis.
      13    trained on pseudo behaviors such as. It just says   13       A And -- well, I was close.
      14    "pseudo behaviors such as," but your point, it's    14       Q It's right there.
      15    in --                                               15           And -- and Mr. Fernandes refers to an
      16    BY MS. SCULLION:                                    16   article from PainEDU.org. Do you see that, "Hey,
      17        Q Understood, but it's -- it's in the           17   folks, below is an article from PainEDU.org"?
      18    oxymorphone learning system module delivered to     18       A Yes.
      19    the sales representatives.                          19       Q PainEDU.org, that was a website to which
      20        A Yes.                                          20   Endo referred practitioners with respect to
      21        Q Okay.                                         21   prescribing of opioids, correct?
      22            MS. SCULLION: And do you have 924?          22           MR. MORRIS: Objection. Foundation.
      23            THE WITNESS: Are -- should we refile        23           THE WITNESS: I don't recall that.
      24    these?                                              24   BY MS. SCULLION:


                                                 Page 331                                                 Page 333
       1           MR. MORRIS: Just put them on the side.        1       Q Okay. And Mr. Fernandes explains that
       2           MS. SCULLION: I would just put them on        2   he's found an article on PainEDU.org, and one of
       3   the side for now. Thank you.                          3   the things that's discussed is addiction,
       4           THE WITNESS: Okay.                            4   pseudoaddiction, tolerance or physical dependence.
       5           (Romaine Exhibit No. 38 was marked            5   Do you see that?
       6           for identification.)                          6       A Yes.
       7   BY MS. SCULLION:                                      7       Q Okay. So again, so this is -- the
       8       Q I'm handing you what's been marked as           8   concept of pseudoaddiction is a concept that in
       9   Exhibit 38.                                           9   fact district managers were discussing in
      10       A Thank you.                                     10   connection with the promotion of opioids, and here
      11       Q And this is Bates-stamped --                   11   Mr. Fernandes is referring the concept on to the
      12           MS. SCULLION: I don't have a Bates           12   other pharma district managers in the Midwest,
      13   stamp number on here. Is there a Bates stamp         13   correct?
      14   number? Thank you.                                   14           MR. MORRIS: Objection. Form.
      15           MR. MORRIS: It looks like somebody --        15           THE WITNESS: Correct, except if you
      16   somebody wrote one in.                               16   read through the entire e-mail from when he says,
      17           THE WITNESS: I have one on this one.         17   "This information is for educational purposes
      18   Is that what you're referring to as a Bates stamp?   18   only."
      19   BY MS. SCULLION:                                     19   BY MS. SCULLION:
      20       Q No. So the Bates number for this for           20       Q Understood. So education of -- of the
      21   the record is ENDO_OPIOID_MDL-00773070 through 71,   21   sales reps?
      22   and we've stamped it E924.                           22       A Education I'm assuming of the district
      23           Just starting at the bottom of               23   managers that he's sending it to.
      24   Exhibit 38, there's an e-mail there from Ashu        24       Q Okay. And education of the district


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       1   managers on pseudoaddiction.                          1   questions have been received from the field
       2       A On --                                           2   regarding discussions with customers relating to
       3           MR. MORRIS: Objection. Form.                  3   the abuse potential of Opana ER." Correct?
       4   BY MS. SCULLION:                                      4       A Yes, I see that.
       5       Q And the other concepts.                         5       Q And the questions that were received,
       6       A All those concepts.                             6   those were questions that were raised because in
       7       Q Okay.                                           7   fact those discussions were being had with
       8           MS. SCULLION: Can I have E873 and 974         8   customers relating to the abuse potential of
       9   and 914. I'll take one at a time.                     9   Opana ER, correct?
      10           (Romaine Exhibit No. 39 was marked           10           MR. MORRIS: Objection. Form.
      11           for identification.)                         11           THE WITNESS: I don't know that for a
      12   BY MS. SCULLION:                                     12   fact. I -- this -- just in context, this document
      13       Q Mr. Romaine, when you were VP of sales         13   was created from our PMRB process, and I was asked
      14   for -- for Endo, it was true, was it not, that       14   to send it out to the field. But I don't know the
      15   sales reps were delivering a message to doctors      15   context behind why it was created.
      16   that Opana ER had a low abuse profile, correct?      16   BY MS. SCULLION:
      17       A I don't recall that.                           17       Q To make sure I understand, so
      18       Q Did it ever come to your attention             18   August 2008, you're vice president of sales --
      19   that's --                                            19       A Yes.
      20       A Not that I can recall.                         20       Q -- overseeing sales of, among other
      21       Q Did it ever come to your attention that        21   things, Opana ER, correct?
      22   reps were discussing with doctors the relative       22       A Yes.
      23   risks of Opana ER versus other long-acting           23       Q And a memorandum is prepared entitled
      24   opioids?                                             24   "Mandatory Reading." Did those kind of


                                                 Page 335                                                 Page 337
       1        A Well, I know they -- in their promotion        1   memorandums go out from you very often, "Mandatory
       2   they discussed the black box warning, that there's    2   Reading"?
       3   -- the addictive potential with opioids.              3        A Training documents and so forth, yes.
       4        Q But did it come to your attention that         4        Q Okay. And it was going out to all of
       5   reps were discussing the potential for addiction      5   the reps across the country, correct?
       6   of Opana ER versus other long-acting opioids?         6        A Yes.
       7        A I -- I don't recall that.                      7        Q And are you saying that you never
       8        Q Okay. Let me hand you what's been              8   inquired as to the context for this, why this memo
       9   marked as Exhibit 39. And Exhibit 39 is               9   was being sent out to --
      10   Bates-stamped ENDO_CHI_LIT-00166187.                 10        A Oh --
      11           And, Mr. Romaine, the second page of the     11        Q -- the entirety --
      12   exhibit is a -- a memorandum, I guess I would call   12        A -- all I'm saying this was crafted and
      13   it, from you to the Endo pharma and specialty        13   went through our review process before it did go
      14   sales teams dated August 2008, correct?              14   out.
      15        A Correct.                                      15        Q Understood. But did you understand why
      16        Q And the subject matter is "Approved           16   this memorandum was going out?
      17   Promotional Messages for Opana ER." Correct?         17           MR. MORRIS: Objection. Form.
      18        A Yes, that's what it says.                     18           THE WITNESS: I -- I don't know if I
      19        Q And you indicate this was a mandatory         19   follow your line of questioning --
      20   reading for the entirety of the pharma and           20   BY MS. SCULLION:
      21   specialty sales team, correct?                       21        Q Sure.
      22        A Correct.                                      22        A -- what you're asking me.
      23        Q All right. And you explain in the very        23        Q Why was there a need to send out this
      24   first paragraph of your memorandum: "The             24   memorandum at this point in time?



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       1         A I don't know if it was specifically to        1   BY MS. SCULLION:
       2   that point in time, but -- because we were            2       Q And that was true whether they did it
       3   promoting an opioid which had a black box warning,    3   affirmatively or whether they were responding to
       4   we routinely trained our sales force or reminded      4   an unsolicited question from a provider, correct?
       5   our sales force on issues.                            5       A Correct.
       6         Q But this -- the memorandum doesn't say        6       Q Okay. But in fact, Endo knew that those
       7   it's routine training. It says: "Questions have       7   messages were being delivered to physicians,
       8   been received from the field regarding discussions    8   correct?
       9   with customers relating to the abuse potential of     9       A I -- I don't know that to be a fact.
      10   Opana ER." Is that a true statement?                 10           (Romaine Exhibit No. 40 was marked
      11         A I don't recall, but I assume it is since     11           for identification.)
      12   it's in the -- I shouldn't assume -- but it's in     12   BY MS. SCULLION:
      13   this -- it's in this document.                       13       Q All right. Let me hand you what's been
      14         Q Okay. Well, so this is dated August of       14   marked as Exhibit 40, which bears Bates No.
      15   2008. And if you go through your memorandum, at      15   ENDO_OPIOID_MDL-00685033.
      16   the bottom you have "Examples of unapproved          16           And, Mr. Romaine, Exhibit 40, if you
      17   promotional messages that may not be used in a       17   will turn to what we marked as page E974.3,
      18   promotional discussion." Do you see that?            18   indicates this document is a summary of findings
      19         A Yes.                                         19   for the Opana ATU Pulse 3 dated June 2007. Do you
      20         Q "These and similar messages are also         20   see that?
      21   prohibited from use in responding to unsolicited     21       A Yes.
      22   questions." Do you see that?                         22       Q Are you familiar with the ATU studies
      23         A Yes.                                         23   that Endo commissioned with respect to Opana?
      24         Q Okay. And the examples provided are:         24       A Yes, it was market research.


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       1   "Opana ER has a lower abuse potential than other      1       Q Okay. You reviewed those studies as
       2   long-acting opioids." That's the very first one,      2   they came through?
       3   right?                                                3       A I don't recall specifically documents
       4       A Yes.                                            4   that I did review, but I did review market
       5       Q So reps were prohibited from conveying          5   research, yes.
       6   that message either on their own or in response to    6       Q Let me be more precise. Would you have
       7   unsolicited questions, correct?                       7   reviewed the summary presentation of the ATU Pulse
       8       A Yes.                                            8   findings in June of 2007?
       9       Q And similarly, they are prohibited from         9       A I don't recall.
      10   delivering a message that Opana ER has no street     10       Q Do you think it's more likely than not
      11   value. That's the next --                            11   you did review it?
      12       A Correct.                                       12       A I don't recall.
      13       Q -- example, right?                             13           MR. MORRIS: Objection to form.
      14          And similarly, the last example,              14           MS. SCULLION: Okay. Could we mark this
      15   "Opana ER has less abuse liability or potential      15   as Exhibit 41. Okay.
      16   abuse liability because when water is added to       16   BY MS. SCULLION:
      17   Opana ER, the tablet turns into a gummy              17       Q Let's go to page E974.13. Are you on
      18   substance."                                          18   that page?
      19          Reps were not allowed to convey any of        19       A Yes.
      20   those messages at any point in time to providers,    20       Q At the top it says: "While
      21   correct?                                             21   safety/tolerability continues to be regarded as
      22          MR. MORRIS: Objection to form and             22   the main advantage of Opana ER, especially as its
      23   foundation.                                          23   low abuse potential cost formulary availability
      24          THE WITNESS: That's correct.                  24   remain as top of mind disadvantages."


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       1          Do you see that?                               1   potential, and that was an advantage with respect
       2       A Yes.                                            2   to other long-acting opioids, correct?
       3       Q And was that true that a main advantage         3           MR. MORRIS: Objection. Form and
       4   seen for Opana ER as of June 2007 was safety and      4   foundation.
       5   tolerability?                                         5           THE WITNESS: That's what -- that's what
       6          MR. MORRIS: Objection to form and              6   this data reflects. But to put this in context,
       7   foundation.                                           7   that's what physicians were feeding back. So
       8          THE WITNESS: I don't recall that.              8   where they heard that could be anywhere. It could
       9   BY MS. SCULLION:                                      9   be talking to other colleagues. I -- I don't know
      10       Q And this -- this indicates especially          10   how to interpret this.
      11   low abuse potential was seen as a main advantage     11   BY MS. SCULLION:
      12   for Opana ER, correct?                               12       Q Do you know if anyone went to go find
      13          MR. MORRIS: Objection. Form and               13   out to see, Gee, is it possible that physicians
      14   foundation.                                          14   are getting an impression of Opana ER as having
      15          THE WITNESS: I don't recall that              15   low abuse potential compared to other long-acting
      16   information.                                         16   opioids based on messages that the sales reps are
      17   BY MS. SCULLION:                                     17   delivering? Did anyone ever check that?
      18       Q The ATU studies, these were studies to         18       A I --
      19   go out to the providers to see what messages they    19           MR. MORRIS: Objection to form and
      20   were retaining with respect to Opana, correct?       20   foundation.
      21       A It was market research with physicians,        21           THE WITNESS: I don't recall that, but I
      22   yes.                                                 22   will say they take information like this
      23       Q But they were looking to see what              23   seriously, and there would have been some
      24   messages were retained by those physicians?          24   investigation based on what came out of this


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       1       A Yes.                                            1   information to say where did that comment come
       2       Q Okay. And also to see what the                  2   from.
       3   physicians' perceptions were of Opana ER, correct?    3   BY MS. SCULLION:
       4       A Correct.                                        4       Q But as -- as VP of sales -- I mean, as
       5           MR. MORRIS: Objection to form and             5   former VP of sales, you don't recall any
       6   foundation.                                           6   investigation that was triggered by the results
       7   BY MS. SCULLION:                                      7   reported here, correct?
       8       Q And if we look again at page 974.13,            8          MR. MORRIS: Objection. Form,
       9   this report is indicating as of June 2007 that low    9   foundation.
      10   abuse potential and safety and tolerability were     10          THE WITNESS: I don't recall it, but
      11   regarded as the main advantage of Opana ER,          11   that doesn't mean it didn't exist because other
      12   according to this study, correct?                    12   departments would have been responsible for
      13       A According --                                   13   handling that, such as our compliance department.
      14           MR. MORRIS: Objection. Form and              14   BY MS. SCULLION:
      15   foundation.                                          15       Q That would have been a pretty serious
      16           THE WITNESS: According to this study         16   issue of noncompliance if -- if reps were
      17   that I'm looking at now.                             17   delivering a clearly prohibited message about the
      18   BY MS. SCULLION:                                     18   abuse potential of a controlled substance, right?
      19       Q Yeah. And this is a study that Endo            19       A Yes.
      20   would have reviewed when received in June 2007?      20       Q You would have expected to --
      21       A Yes.                                           21          MR. MORRIS: Objection. Form and
      22       Q Okay. So they would have seen it. That         22   foundation.
      23   was what the study was finding was that the          23   BY MS. SCULLION:
      24   perception was that Opana ER had low abuse           24       Q I'm sorry. You would have expected to


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       1   have been notified if there were in fact an           1   the very first one: "On the most important
       2   investigation into such a serious incidence of        2   characteristics, physicians rate Opana ER
       3   noncompliance?                                        3   significantly lower than all other ER opioids on
       4            MR. MORRIS: Objection. Form.                 4   insurance/formulary availability, and
       5            THE WITNESS: I wouldn't have been            5   significantly higher than all others on does not
       6   notified until after the investigation was            6   have reputation for street abuse." Correct?
       7   completed.                                            7       A I see that in your document.
       8   BY MS. SCULLION:                                      8       Q Okay. So this is a report that
       9       Q And were you ever notified of such an           9   physicians are rating Opana ER as having a better
      10   investigation being completed?                       10   reputation than other ER opioids with respect to
      11       A I don't recall. I do recall being              11   reputation for street abuse, correct?
      12   notified of other investigations being completed.    12           MR. MORRIS: Objection. Form and
      13   I don't recall this one specifically.                13   foundation.
      14       Q Okay.                                          14           THE WITNESS: It's in this document. I
      15       A Okay.                                          15   just want to put it back in context that, again,
      16       Q So that was June 2007. Your memo goes          16   these physicians, it might be their
      17   out in August of 2008. And the same message,         17   interpretation, so they may believe it has to this
      18   though, of low abuse liability continued to be       18   point not much street value or low street value.
      19   delivered after your memo went out, correct?         19   I don't know whether -- where the information was
      20            MR. MORRIS: Objection to form.              20   received from.
      21            THE WITNESS: I -- I don't -- I don't        21   BY MS. SCULLION:
      22   know that.                                           22       Q And then the report goes on to state:
      23   BY MS. SCULLION:                                     23   "Therefore, Opana ER's position in doctors' minds
      24       Q Well, let's look at --                         24   is around the drug's lack of street value leading


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       1           MS. SCULLION: Can I see E914?                 1   to a perception of lower potential for street
       2           (Romaine Exhibit No. 41 was marked            2   abuse." Correct?
       3           for identification.)                          3       A I see that.
       4   BY MS. SCULLION:                                      4           MR. MORRIS: Objection. Form.
       5        Q Let me hand you what's been marked as          5   BY MS. SCULLION:
       6   Exhibit 41.                                           6       Q So here we are, after you put out the
       7        A Thank you.                                     7   mandatory memo, and the message that's still
       8        Q Yeah. And Exhibit 41 is Bates-stamped          8   coming back from -- from doctors is that their
       9   ENDO_CHI_LIT-00547543.                                9   perception is that Opana has a lower potential for
      10           And if you turn to the page we've marked     10   street abuse than other long-acting opioids,
      11   as E914.3 in the lower right-hand corner, it's the   11   correct?
      12   first page of the presentation.                      12           MR. MORRIS: Objection to form.
      13        A Okay.                                         13           THE WITNESS: That's what the document
      14        Q Do you see that?                              14   states.
      15        A Yes.                                          15   BY MS. SCULLION:
      16        Q And this is a final report for Opana ATU      16       Q Okay. And you say, Well, doctors may
      17   W6. That means Wave 6, right?                        17   have gotten that information perception just on
      18        A Correct.                                      18   their own, right?
      19        Q All right. It's dated in December 2008,       19       A I don't know. I don't know where they
      20   so after your mandatory reading memo had gone out,   20   would have gotten it.
      21   correct?                                             21       Q Right. And did you ever try to find out
      22        A Correct.                                      22   again after reading -- would you have read this
      23        Q And what is reported in December of           23   report in December 2008?
      24   2008, if you go to page E914.12, as key insights,    24       A I'm sure I --


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       1           MR. MORRIS: Objection to form.               1           So this is reporting that the doctors
       2           THE WITNESS: I don't recall, but I'm         2   that were contacted as part of this study, of
       3   sure I would have read it back in the day.           3   those who said that they anticipated increasing
       4   BY MS. SCULLION:                                     4   their prescriptions of Opana over the next six
       5       Q And did you, again, ask for an                 5   months, said low abuse potential was a major
       6   investigation to find out why are doctors still      6   reason that they would prescribe more Opana ER,
       7   having this perception when we've been very clear    7   correct?
       8   that reps should not be delivering a message of      8           MR. MORRIS: Objection. Form and
       9   lower abuse?                                         9   foundation.
      10           MR. MORRIS: Objection. Form,                10           THE WITNESS: That's in the document.
      11   foundation.                                         11   BY MS. SCULLION:
      12           THE WITNESS: I don't recall it, but         12       Q Okay. So -- and Endo knew that Opana ER
      13   because of the information that was shared here,    13   did not have a lower abuse potential than other
      14   I'm sure there was information and investigation    14   opioids, correct?
      15   as to why that took place, but I can't give         15           MR. MORRIS: Objection. Foundation.
      16   specifics.                                          16           THE WITNESS: That's in the package
      17   BY MS. SCULLION:                                    17   insert.
      18       Q So you say you're sure. I mean, do you        18   BY MS. SCULLION:
      19   know -- do you actually know or you're just         19       Q Right, so it -- there is not a lower
      20   assuming?                                           20   abuse potential for Opana ER, correct?
      21       A I don't know. I do not know.                  21       A Correct.
      22       Q Okay, you don't.                              22       Q And there is not a low abuse potential
      23       A But I know the company took information       23   for Opana ER, correct?
      24   like this very seriously and would have done an     24       A Correct.


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       1   investigation.                                       1       Q So this report is telling you that
       2       Q No such investigation ever came to your        2   doctors are prescribing Opana ER based on
       3   attention, correct?                                  3   something that Endo knows not to be true about its
       4       A It did not, because it wouldn't have           4   product, correct?
       5   gone through my department. It would have been       5           MR. MORRIS: Objection. Form,
       6   handled through our compliance group.                6   foundation.
       7       Q And if, as you said before, compliance         7           THE WITNESS: I don't know that, going
       8   had conducted such an investigation, you would       8   back to the context of this, if it was perception
       9   have been told about it after the completion of      9   or how that information was shared.
      10   the investigation.                                  10   BY MS. SCULLION:
      11       A That's correct.                               11       Q Understood. But Endo did know when it
      12       Q You were never told about the completion      12   received this report that doctors were out there
      13   of any such investigation, correct?                 13   prescribing based on something about Opana ER that
      14           MR. MORRIS: Objection. Form and             14   was not true, that Endo knew not to be true, and
      15   foundation.                                         15   that is its abuse potential.
      16           THE WITNESS: I don't recall.                16           MR. MORRIS: Objection. Form,
      17   BY MS. SCULLION:                                    17   foundation.
      18       Q The next key insight states: "MDs" --         18           THE WITNESS: I don't know that they --
      19   that is doctors, right?                             19   they could -- they were prescribing because of
      20       A Yes.                                          20   that, because there were other things such as
      21       Q "MDs who anticipate prescribing               21   efficacy that's listed here, or reasons for them
      22   increases for Opana ER over the next six months     22   to -- to use Opana ER and to treat.
      23   continue to mention low abuse potential and         23   BY MS. SCULLION:
      24   efficacy as the major reasons."                     24       Q Understood. The report says: "The


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       1   major reasons mentioned are low abuse potential       1           THE WITNESS: I -- I can't recall
       2   and efficacy," correct?                               2   specifically a incidence, but I know that there
       3           MR. MORRIS: Objection. Form and               3   were always compliance investigations taking
       4   foundation.                                           4   place.
       5           THE WITNESS: That's in the document.          5   BY MS. SCULLION:
       6   BY MS. SCULLION:                                      6       Q But you don't recall any -- anything
       7        Q Right. So that low abuse potential was         7   specific to Opana ER?
       8   a major reason that these physicians said that        8       A I don't remember a specific.
       9   they would be increasing -- increasing their          9       Q Okay. If you go to page E914.17, what's
      10   prescriptions for Opana ER, correct?                 10   highlighted here in this report, if you look at
      11           MR. MORRIS: Objection. Form,                 11   the top, the last phrase says that: "Opana ER has
      12   foundation.                                          12   an opportunity to build on one of its most
      13           THE WITNESS: What -- what you're saying      13   important strengths: Low abuse potential."
      14   is in this document is correct, that the words are   14           Do you see that?
      15   here. Again, I don't know how the perception of a    15       A Yes.
      16   physician, how they got that information. I don't    16       Q So that was what was identified to Endo
      17   know the answer to that.                             17   as an important strength for this product,
      18   BY MS. SCULLION:                                     18   correct?
      19        Q Wouldn't it have been of concern to Endo      19           MR. MORRIS: Objection. Form and
      20   that doctors were prescribing Opana ER based on a    20   foundation.
      21   perception of the product that Endo knew was not     21           THE WITNESS: I see that here. I'm just
      22   true, and that is low abuse potential? Wouldn't      22   reading through this document. I'm sorry, I'm
      23   that be a concern?                                   23   just trying to catch up.
      24        A Absolutely, it would have been a              24   BY MS. SCULLION:


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       1   concern.                                              1      Q     Sure. Do you want to read through this
       2        Q And did you raise as a concern, having         2   page?
       3   seen this report, and say, This is terrible?          3      A     Yeah, I do want to read through this
       4        A As I mentioned, I don't recall ten years       4   page.
       5   ago what we did, but I -- I know the company took     5      Q     Okay.
       6   these things seriously. A lot of people looked at     6      A     (Peruses document.) Okay. I'm sorry.
       7   these reports, and I'm sure an investigation took     7      Q     That's okay.
       8   place.                                                8          So this report is identifying low abuse
       9        Q But -- but you can't sitting here today        9   potential as one of the most important strengths
      10   remember --                                          10   for Opana ER, correct?
      11        A I can't specifically --                       11       A I see that in the document.
      12        Q -- any investigation being -- I               12       Q And it's recommending that there's an
      13   apologize.                                           13   opportunity to build on that strength, correct?
      14        A I'm sorry.                                    14          MR. MORRIS: Objection. Form and
      15        Q Please continue.                              15   foundation.
      16        A I can't specifically say ten years ago        16          THE WITNESS: I see that in the
      17   that I know that an investigation took place         17   document. To keep -- put this in context too,
      18   because of this.                                     18   these are market research people that are just
      19        Q Do you recall any investigation into why      19   relaying back what they heard from physicians.
      20   doctors were prescribing Opana ER based on a         20   BY MS. SCULLION:
      21   perception of the product that was not true? Did     21       Q Well, but they're relaying it to you and
      22   it ever happen at all?                               22   others at Endo, correct?
      23           MR. MORRIS: Objection. Form and              23       A Other leadership at Endo, yes.
      24   foundation.                                          24       Q Okay. And having seen that


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       1   recommendation, do you recall what your reaction      1            THE WITNESS: -- I don't remember saying
       2   was to that recommendation?                           2   that. Not that it wouldn't have happened. I just
       3            MR. MORRIS: Objection. Form and              3   do not remember saying that.
       4   foundation.                                           4   BY MS. SCULLION:
       5            THE WITNESS: I don't recall                  5        Q Now, you mentioned Exhibit 39, the
       6   specifically my reaction, but I'm sure what we        6   August 2008 memoranda, as an example of messages
       7   would have done is said that can't happen. That's     7   that went out to the sales reps with respect to
       8   not -- it's outside of our guidelines.                8   the issue of discussions of abuse potential.
       9   BY MS. SCULLION:                                      9            But Endo could have sent out a Dear
      10       Q But you don't actually recall that             10   Doctor letter to the prescribers it was servicing,
      11   happening, right?                                    11   correct, with respect to Opana ER?
      12       A I don't recall that happening. But             12        A Correct.
      13   hence, these things like this, which were constant   13            MR. MORRIS: Objection. Form,
      14   reminders to the sales organization that -- for      14   foundation and legal conclusion.
      15   retraining, constantly took place.                   15   BY MS. SCULLION:
      16       Q But sitting here today under oath, you         16        Q So if Endo had information that told it,
      17   can't say that anyone at Endo rejected this          17   Wow, doctors have a misperception of an important
      18   identification of an opportunity for Opana ER        18   aspect of our product, and for some physicians,
      19   based on low abuse potential.                        19   it's a primary factor driving their prescription
      20            MR. MORRIS: Object --                       20   decisions, that Endo could have said, We need to
      21   BY MS. SCULLION:                                     21   correct through a Dear Doctor letter, correct?
      22       Q You don't know that to be a fact that          22            MR. MORRIS: Objection. Form,
      23   anyone actually rejected that.                       23   foundation, legal conclusion.
      24            MR. MORRIS: Objection. Form,                24            THE WITNESS: That could have happened,


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       1   foundation and argumentative.                         1   yes.
       2           THE WITNESS: I -- I don't know that.          2   BY MS. SCULLION:
       3   BY MS. SCULLION:                                      3        Q Did it happen?
       4        Q Okay. And that was true even -- if you         4        A I don't know. I don't remember.
       5   look at the second bullet point on this page,         5        Q Do you ever recall it happening?
       6   which again says: "Physicians who anticipate an       6        A I don't recall.
       7   increase in prescribing of Opana ER in the next       7        Q I will tell you we haven't seen that
       8   six months say that their estimates are primarily     8   letter produced in this case, and we definitely
       9   driven by low abuse potential and efficacy            9   asked for it.
      10   factors."                                            10           Do you recall any disciplinary action
      11           Do you see that?                             11   being taken against anyone in the sales department
      12        A Yes.                                          12   for delivering a message to healthcare providers
      13        Q So before it had indicated a major            13   that Opana ER has low abuse potential?
      14   factor, now it said low abuse potential and          14        A I don't recall that specific issue. I
      15   efficacy are the -- were primarily driving the       15   do recall disciplinary actions against the sales
      16   decisions of those who say that they will increase   16   force.
      17   prescribing of Opana ER in the next six months.      17        Q What disciplinary actions do you recall?
      18           And again, do you remember saying to         18        A Termination.
      19   anyone at Endo, Well, that's very concerning; we     19        Q For -- on what grounds? What did they
      20   have to do something about that? Do you actually     20   do?
      21   remember ever doing that?                            21        A I don't recall specifically, but I do
      22        A From ten years ago --                         22   recall that we did terminate representatives over
      23           MR. MORRIS: Objection. Form,                 23   time for disciplinary action.
      24   foundation.                                          24        Q And that was in connection with Opana ER


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       1    promotion?                                           1   there was a titration schedule to bring patients
       2        A I don't recall if it was in connection         2   down, but I can't give you specifics on it.
       3    with Opana ER or not.                                3        Q Did Endo ever conduct any specific --
       4        Q So you just generally recall there were        4   or, sorry, offer any specific CMEs with respect to
       5    from time to time terminations.                      5   taking patients off of opioids?
       6        A Correct.                                       6        A I don't recall that.
       7        Q Okay. We looked at -- I believe it's           7        Q Okay.
       8    exhibit -- I apologize.                              8           MS. SCULLION: Now would be a good place
       9              (Counsel conferring.)                      9   for a good quick break so we can get some
      10    BY MS. SCULLION:                                    10   documents together.
      11        Q Okay. Look at Exhibit 9. Thank you.           11           THE WITNESS: Okay.
      12        A Okay.                                         12           THE VIDEOGRAPHER: The time is 4:57 p.m.
      13        Q That's why we keep them there.                13   We're going off the record.
      14           I -- I --                                    14           (Recess.)
      15        A Yes. Oh, that's 7. Sorry.                     15           THE VIDEOGRAPHER: The time is 5:09
      16        Q You know what, I -- I --                      16   p.m., and we're back on the record.
      17        A I've lost my --                               17           (Romaine Exhibit No. 43 was marked
      18        Q That's okay. Before you go further,           18           for identification.)
      19    actually what I want is Exhibit 10. That's my       19   BY MS. SCULLION:
      20    fault.                                              20        Q Mr. Romaine, I'm going to hand you
      21           That's the learning module.                  21   what's been marked as Exhibit 43. I know that we
      22        A Yes.                                          22   have 42 coming. We're taking this a little bit
      23        Q That's okay. We'll -- we can -- we can        23   out of order.
      24    just move on because I mislaid my copy of           24        A Thank you.


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       1   Exhibit 10 for the moment.                            1      Q     So this is 43. There you go.
       2       A Do you want mine?                               2           And Exhibit 43 is Bates-stamped
       3       Q No, that's okay. Thank you. That won't          3   ENDO_OPIOID_MDL-817302. And as you can see, it
       4   work.                                                 4   includes an attachment that has a fairly sizable
       5           We talked about various tools that reps       5   set of data that we've attached.
       6   used in connection with the promotion of Opana ER,    6           And Exhibit 43 is dated December 5,
       7   and those included dosing guides, correct?            7   2010. The e-mail is from Molly Fiore to Chad
       8       A Correct.                                        8   Simon. Subject matter, "Library Program
       9       Q Conversion guides to help convert from          9   Utilization Update."
      10   one opioid to another, correct?                      10           Do you see that?
      11       A Correct.                                       11       A Yes.
      12       Q All right. Thank you.                          12       Q Do you recall that there was a library
      13           Do they also provide educational             13   program at Endo through which physicians could be
      14   information to doctors about titration for opioid    14   provided textbooks?
      15   products?                                            15       A I don't remember specifically that
      16       A Yes.                                           16   program, but -- but it looks like we had one.
      17       Q Okay. And "titration" means the process        17       Q Okay. I mean that -- that's described
      18   of initiating a patient on to opioid therapy, in     18   here by Ms. Fiore in her note to Mr. Simon,
      19   this case Opana ER.                                  19   correct?
      20       A Correct.                                       20       A Yes.
      21       Q Okay. Did Endo ever provide any similar        21       Q His library program utilization as of
      22   tools to physicians to help them take patients off   22   December 1st, 2010.
      23   of opioids?                                          23       A Yes.
      24       A There was a -- if -- I -- I do recall          24           MR. MORRIS: Objection. Form.



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       1   BY MS. SCULLION:                                     1    you. Do you see a highlighted line, P108F1?
       2         Q Okay. And then she references the            2        A Yes.
       3   spreadsheets attached, which she says contain the    3        Q Okay. And if you follow that across to
       4   financial budget information, and a second that      4    the middle of the page, you see it says Oliver
       5   can be forwarded to your field sales managers so     5    Herndon?
       6   they can see their activity in their particular      6        A Yes, I do.
       7   area or region, correct?                             7        Q And if you look, that's the column for
       8         A Yes.                                         8    the clinicians' first and last name. Do you see
       9         Q Okay. So this is information that she        9    that?
      10   is sending on to be used in the ordinary course     10        A Yes.
      11   of -- of Endo's business, correct?                  11        Q At the top of the page?
      12            MR. MORRIS: Object -- objection to form    12        A Yes.
      13   and foundation.                                     13        Q Okay. So this is the name of the
      14            THE WITNESS: I don't -- I don't know       14    physician, Oliver Herndon.
      15   that, but I see the document. So...                 15        A Herndon.
      16   BY MS. SCULLION:                                    16        Q Correct?
      17         Q She's sending it on to be used, yes?        17        A Yes.
      18            MR. MORRIS: Objection. Form and            18        Q All right. And so this would indicate
      19   foundation.                                         19    that that physician did participate in the library
      20            THE WITNESS: I guess if that's what        20    program as of the date here on the same line as
      21   it's for, yes.                                      21    July 2nd, 2010. Do you see that?
      22   BY MS. SCULLION:                                    22        A Yes.
      23         Q She's sending it on so that --              23            MR. MORRIS: Objection. Form,
      24         A I was just trying to read through -- I      24    foundation.


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       1   was trying to read through the e-mail. I'm sorry,    1   BY MS. SCULLION:
       2   I was --                                             2       Q Does Dr. Herndon's name ring a bell?
       3        Q That's okay. Bless you.                       3       A It does not.
       4           Do you want to read through the e-mail?      4       Q Let me --
       5        A Yeah, do you mind? I just want to take        5          MS. SCULLION: Can we have Exhibit 42.
       6   a minute to do that.                                 6          (Romaine Exhibit No. 42 was marked
       7        Q No problem.                                   7          for identification.)
       8        A (Peruses document.) Okay.                     8   BY MS. SCULLION:
       9        Q Okay. And having read through the             9       Q I hand you what's been marked as
      10   e-mail, do you understand again that this is a      10   Exhibit 42.
      11   library program being referenced for physicians     11       A Thank you.
      12   that Endo was -- Endo sales reps were calling on?   12       Q And this is Bates-stamped ENDO_OPIOID_
      13        A Yes.                                         13   MDL-02314929, and we've marked it as E1178.
      14        Q Okay. If you could go -- we've tabbed        14          And, Mr. Romaine, you will see this is a
      15   it for you in the spreadsheet, there's a little     15   copy of a Pittsburgh Post-Gazette article dated
      16   pink tab on the --                                  16   June 18th, 2012 --
      17        A Yes.                                         17       A Mm-hmm.
      18        Q -- side. Because there's no page --          18       Q -- that was sent by e-mail by Greg
      19        A Oh, on the side. Okay. Got you.              19   Thomas to Mr. Pyszczymuka, Ms. Logan, Ms. Vitanza,
      20        Q -- there that's useful.                      20   Chris Clark and Glenn Astley at Endo. Do you see
      21           The page is numbered by us as E1230.156     21   that?
      22   in the upper right hand.                            22       A Yes.
      23        A Yep.                                         23       Q And then Mr. Astley forwards it on to,
      24        Q Great. And it should be highlighted for      24   among others, Janett Mendez-DeTore, who I think



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       1   you mentioned earlier, correct?                     1   understand your line of questioning. Are you
       2       A Yes.                                          2   asking me it was well known that --
       3       Q All right. And she in turn forwards it        3   BY MS. SCULLION:
       4   on to you as an FYI. Do you see that?               4        Q No, I'm asking was -- yeah, was -- was
       5       A Yes.                                          5   that a market reality at that point?
       6       Q Did you read the story when it was            6           MR. MORRIS: Objection. Form.
       7   forwarded on to you by Ms. Mendez-DeTore?           7           THE WITNESS: That -- I -- I don't know.
       8       A I don't recall.                               8   I don't know -- I don't remember that being a
       9       Q Okay. Does this -- looking at                 9   market reality.
      10   Exhibit 42, does this refresh your recollection    10   BY MS. SCULLION:
      11   about a story -- sorry -- an article in the        11        Q Okay. And then if you go further along
      12   Pittsburgh Post-Gazette?                           12   in the article, two paragraphs later it begins
      13       A It does not. I don't remember it.            13   with a quote: "Here is a pill person who has now
      14       Q Okay. Let's look at the article itself.      14   worked their way up through Percocets and Vicodin.
      15       A Okay.                                        15   Now they say they want something stronger, so
      16       Q E1178.2. And if you go down about            16   they're moving to Opana."
      17   middle of that page, it starts with -- sorry --    17           Were you familiar with people who had
      18   the paragraph that starts with: "It's well known   18   been abusing Percocets and Vicodin moving their
      19   that many prescription narcotic users..." Do you   19   way up to Opana? Was that a phenomenon that you
      20   see that?                                          20   knew about in June of 2012?
      21       A It's the start of a paragraph?               21        A No, not that I know of.
      22       Q Yeah. "It's well known that many             22        Q Okay. If you go to the bottom of this
      23   prescription narcotic users..."                    23   page, it begins "Mr. Larcinese is blamed for
      24       A Okay, I see that.                            24   selling more than..."


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       1       Q Okay. And this paragraph goes on to           1           Do you see that?
       2   discuss the unveiling of a nine-count indictment    2       A Yes.
       3   of 15 people accused of bringing prescription       3       Q If you go a couple of sentences in, the
       4   Opana and heroin from Detroit to Pennsylvania.      4   statement that: "Mr. Hickton" -- and this is U.S.
       5           Do you see that?                            5   Attorney David Hickton -- "Mr. Hickton's office
       6       A Yes.                                          6   recently took another link from the supply chain
       7       Q Were you aware of that indictment?            7   with the conviction of Oliver W. Herndon, a doctor
       8       A I was not -- I don't recall that              8   who pleaded guilty last month to healthcare fraud
       9   indictment.                                         9   and improper distribution of oxycodone and
      10       Q Okay. That would be an example of            10   oxymorphone. Dr. Herndon prescribed Opana and
      11   diversion of Opana, correct?                       11   other potent narcotics based on three-minute
      12       A Correct.                                     12   office visits devoid of physical examinations or
      13       Q All right. And the article goes on to        13   case histories."
      14   indicate: "That's a disturbing change from the     14           Do you see that?
      15   traditional demarcation between pill pushers and   15       A Yes.
      16   street drug dealers. Experts said it reflects      16       Q The description there of what Mr. --
      17   market realities."                                 17   sorry, what Dr. Herndon did, that's a description
      18           Do you see -- see that?                    18   of a classic pill mill, correct?
      19       A Yes.                                         19           MR. MORRIS: Objection. Form.
      20       Q By 2012, had it in fact become a market      20           THE WITNESS: I'm not an expert in that,
      21   reality that Opana was being diverted and sold     21   but that's what that looks like.
      22   along with street drugs like heroin?               22   BY MS. SCULLION:
      23           MR. MORRIS: Objection. Form.               23       Q Okay. Just three-minute office visits,
      24           THE WITNESS: I'm not quite sure I          24   not really doing any examinations, not taking case


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       1   histories, those are classic indications of a pill    1         Q Now, we saw from Exhibit 43, which is
       2   mill, right?                                          2   from December of 2010 --
       3        A Correct.                                       3         A Yes.
       4        Q And this article is indicating that            4         Q -- that Dr. Herndon had been on the call
       5   Dr. Herndon prescribed Opana as well as other         5   list for -- for some time. He's on in 2010; he's
       6   potent narcotics as part of that pill mill,           6   getting library books, correct?
       7   correct?                                              7         A Yes.
       8        A He did prescribe that, yes.                    8         Q And then if you will pull up Exhibit 17.
       9        Q Okay. And according to the next                9   It's in your pile.
      10   paragraph, the assistant special agent in charge     10         A Oh.
      11   of the DEA office in Pittsburgh, Gary Davis, says    11         Q It's going to look like that
      12   that taking Dr. Herndon off the market made a        12   (indicating).
      13   major impact in Pittsburgh.                          13         A Okay.
      14           Do you see that?                             14         Q That's it.
      15        A Yes.                                          15         A Got it.
      16        Q And then going back to the first page of      16         Q And if you look at Exhibit 17, now this
      17   Exhibit 42 where Ms. Mendez-DeTore has forwarded     17   is a list that Alicia Logan has as of February
      18   this article on to you as an FYI, she notes:         18   2012 showing which Opana ER prescribers -- sorry,
      19   "Dr. Herndon was the number one prescriber of OER    19   which pharmacies are declining to fill Opana ER
      20   in the nation." Correct?                             20   prescriptions, and she's listing -- if you look in
      21        A I see that.                                   21   the right-hand corner, that Dr. Oliver Herndon is
      22        Q And OER means Opana ER, correct?              22   listed already in February 2012 as a physician
      23        A I'm assuming that's what she's referring      23   that Endo knows pharmacies are refusing to fill
      24   to in her e-mail.                                    24   prescriptions for, correct?


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       1       Q Okay. So she's telling you that this            1        A Correct.
       2   doctor who -- yeah, who's pled guilty to improper     2        Q But he's -- he's still on the call list
       3   distribution of oxymorphone and had -- was            3   at that point. He's just -- the pharmacies are
       4   described as running a pill mill for Opana, was in    4   refusing to fill his prescriptions, correct?
       5   fact the number one prescriber for Opana ER in the    5           MR. MORRIS: Objection. Form and
       6   nation. That's what she's telling you, right?         6   foundation.
       7       A That's correct.                                 7           THE WITNESS: I don't know if he is on
       8       Q Did that stick out in your mind when you        8   the call list.
       9   got it?                                               9   BY MS. SCULLION:
      10       A I don't remember this specifically.            10        Q Well, Ms. Logan is -- it's when she's
      11       Q Okay.                                          11   pulling data with respect to relevant physicians
      12       A I'm assuming this would be one where           12   for Endo, correct, for Opana?
      13   they would have been removed from our -- our call    13        A I don't know where she pulled the data
      14   plan obviously immediately had we had this           14   from. I don't know if they're -- they're call
      15   information. So this would have gone through         15   list physicians or not based on her e-mail.
      16   compliance.                                          16        Q Okay. Do you recall discussing the
      17       Q Okay. Do you know if it went through           17   concept of an exclusion list?
      18   compliance?                                          18        A Yes.
      19       A I think at this point -- I don't know          19        Q Okay.
      20   specifically what happened at the back end of        20           MS. SCULLION: Can we have Exhibit 44.
      21   this. But I -- but I have to believe, based on       21   Thank you.
      22   the processes that were in place at Endo, that we    22           THE WITNESS: We're done with this --
      23   would have referred this to the departments that     23   this one for temporarily right now?
      24   would have taken care of it.                         24           MS. SCULLION: Actually, yes.


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       1            (Romaine Exhibit No. 44 was marked           1           MR. MORRIS: Objection.
       2            for identification.)                         2   BY MS. SCULLION:
       3   BY MS. SCULLION:                                      3       Q Do you see that?
       4        Q I'm going to hand you what's been marked       4           MR. MORRIS: Objection. Form and
       5   as Exhibit 44. And again, this is a rather large      5   foundation.
       6   set of data. The Bates stamp is ENDO_OPIOID_          6           THE WITNESS: I see that.
       7   MDL-0924490.                                          7   BY MS. SCULLION:
       8            And it doesn't have the cover e-mail,        8       Q Do you see on the same page, other --
       9   but we've pulled up on the screen the metadata        9   other physicians, the reason for the request for
      10   that came with it when it was produced to us. And    10   removal is retired, right, or compliance?
      11   it states: "1P15, prescriber removal list, IMS       11           MR. MORRIS: Objection. Form and
      12   update, date created November 2012."                 12   foundation.
      13        A Okay.                                         13           THE WITNESS: Yes.
      14        Q And that should be on the screen in           14   BY MS. SCULLION:
      15   front of you.                                        15       Q So this is not indicating he's being
      16            MS. SCULLION: If you could expand --        16   removed for compliance; he's just being removed
      17            THE WITNESS: Do you see that?               17   for no access, correct?
      18            MS. SCULLION: -- expand that box a          18           MR. MORRIS: Form and foundation.
      19   little bit? The creation date. There, date last      19           THE WITNESS: Again, this is not my
      20   modified. I apologize.                               20   report. I -- I don't know the answer to that. It
      21   BY MS. SCULLION:                                     21   could have been a typo. I don't -- I just don't
      22        Q There it is, date created, do you see         22   know. It's not my information.
      23   November 2012?                                       23   BY MS. SCULLION:
      24        A Yes.                                          24       Q So -- again, so we see him in 2010


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       1        Q I'll represent to you that having looked       1   getting library books, so he's on the call list.
       2   at the removal list provided to us, November 2012     2   We don't see him being -- even requested to be
       3   is the first remove -- time we see Dr. Herndon        3   removed until November of 2012. And this is
       4   actually appear on a removal from the call list.      4   someone, who based on the description in the
       5        A And where do you see -- I'm trying to          5   article, should have been setting off alarm
       6   catch up. Where do you see his name?                  6   bells --
       7        Q I'm going to bring you to that.                7        A Mm-hmm.
       8        A Okay.                                          8        Q -- in that district, correct?
       9        Q Which is if you go to the tabbed page in       9            MR. MORRIS: Objection. Form and
      10   Exhibit 44. And just to make sure we're on the       10   foundation.
      11   same page, it's E1247.65 in the upper right-hand     11            THE WITNESS: Yes.
      12   corner. Do you see that?                             12   BY MS. SCULLION:
      13        A Oh, yes, I'm sorry. I'm following you         13        Q The -- the rep clearly should have known
      14   there. Okay.                                         14   this was a pill mill based on what was being
      15        Q And we've highlighted for you, towards        15   described, right?
      16   the bottom of the page, you see the line that says   16        A And --
      17   "Oliver Herndon," and lists his address in           17            MR. MORRIS: Objection. Form,
      18   Pittsburgh?                                          18   foundation.
      19        A Yes.                                          19            THE WITNESS: And just for clarity, we
      20        Q And -- I apologize. Hold on one second.       20   don't know that they didn't and then didn't refer
      21           And it lists that the reason on the far      21   it inside to compliance.
      22   right-hand column, the reason for the request        22   BY MS. SCULLION:
      23   for -- to remove him from the list was simply no     23        Q Well, but again we see that they've
      24   access.                                              24   been -- this Dr. Herndon has been detailed since


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       1   at least 2010. That was in the library book, the      1   we really need to take a look at Pittsburgh,
       2   library program list.                                 2   there's a problem here?
       3        A Correct.                                       3        A I -- I don't recall that.
       4        Q And we don't see him actually being            4        Q Do you know whether --
       5   requested to be removed until 2012. So that's a       5        A Not that I didn't. I just don't recall.
       6   fair amount of time to go by to have him not be       6        Q Do you know whether anyone at Endo said,
       7   removed from the call list, correct?                  7   We need to do an investigation into Pittsburgh and
       8            MR. MORRIS: Objection. Form and              8   see what's going on here, there seems to be a hot
       9   foundation.                                           9   bed of Opana diversion?
      10            THE WITNESS: And I don't know what -- I     10        A I know there were areas in the country
      11   don't have the information to -- to clarify that.    11   where they -- where they suspected that diversion
      12   BY MS. SCULLION:                                     12   was taking place and investigations took place.
      13        Q And when you received this article and        13   That's what I know.
      14   Ms. Mendez-DeTore's e-mail telling you that          14        Q And as VP of sales, were you informed
      15   Dr. Herndon is not only a physician on the call      15   when investigations were being -- were being
      16   list in Pittsburgh, was in fact the number one       16   conducted with respect to specific locales?
      17   prescriber of Opana ER in the nation, and he's       17        A No. That was confidential information,
      18   busted as a pill mill, did that cause you to have    18   and I would be informed after the fact.
      19   concerns about what is going on in terms of our      19        Q Wouldn't it have been important to you
      20   monitoring for pill mills?                           20   to know that Endo was investigating diversion and
      21        A Well, I don't recall from seven years         21   pill mills within an area where you're sending out
      22   ago what had happened. But this is a classic         22   sales reps to sell these pills? Wouldn't you have
      23   example where it would have gone to the different    23   wanted to know that they might be selling to pill
      24   departments to be triaged to.                        24   mills that are under investigation?


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       1       Q Did it concern you that the fact that           1       A Not until the --
       2   the number one prescriber of Opana ER turned out      2          MR. MORRIS: Objection to form.
       3   to be a pill mill?                                    3          THE WITNESS: Not until the
       4            MR. MORRIS: Objection to form.               4   investigation was completed.
       5            THE WITNESS: I -- I don't recall this        5   BY MS. SCULLION:
       6   specific situation.                                   6       Q Do you know how long the investigation
       7   BY MS. SCULLION:                                      7   would take?
       8       Q You have no recollection whatsoever of          8       A I do not know that.
       9   that, number one prescriber gets busted as a pill     9       Q So it could take --
      10   mill?                                                10       A I'm assuming it could be varying.
      11       A From seven years ago, I don't.                 11   Right.
      12       Q And that article that Ms. Mendez-DeTore        12       Q Right, so it could take months.
      13   reported to you not only talked about the number     13          MR. MORRIS: Objection. Form.
      14   one prescriber of Opana ER being busted as a pill    14   BY MS. SCULLION:
      15   mill, it also discussed a number of other            15       Q It could take years.
      16   circumstances of diversion and abuse of Opana in     16       A I don't -- I don't know that.
      17   Pittsburgh and in Pennsylvania, correct?             17       Q You didn't know -- you didn't know how
      18       A I haven't read the article.                    18   long pill mills could be under investigation, and
      19       Q -- haven't -- we read through those. It        19   your sales reps are out there selling pills to
      20   talks about the indictment of 15 people accused of   20   them before compliance would complete its
      21   bringing prescription Opana from Detroit to          21   investigation, you just didn't know that?
      22   Pennsylvania, correct?                               22       A I didn't know the length that it would
      23       A I see that.                                    23   take for due process.
      24       Q Did any of this cause you to say, Wow,         24          (Romaine Exhibit No. 45 was marked


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       1           for identification.)                          1   says.
       2   BY MS. SCULLION:                                      2   BY MS. SCULLION:
       3       Q We have -- I'm sorry. I'm handing you           3       Q That's what the report says.
       4   what's been marked as Exhibit 45, and Exhibit 45      4       A However, in the report also, it's -- I'm
       5   is Bates-stamped END00562948. And we've stamped       5   trying to patch this together.
       6   it E1212.                                             6       Q Yep.
       7           And this is an e-mail from Jodi Block to      7       A It looks like he's not prescribing in
       8   Kenneth Price dated June 15th, 2012, and it states    8   May. Is it -- he really hasn't prescribed since
       9   that there's an attachment of the -- a copy of the    9   March.
      10   Nation Weekly Prescriber Sales.                      10       Q So --
      11           Do you see that?                             11       A Or maybe February.
      12       A Yes.                                           12       Q -- do you remember that in Exhibit 42,
      13       Q So this is June 2012. If you will turn         13   and we can look at it, the article states that he
      14   to the attachment to the e-mail, and go to page      14   was -- pled guilty?
      15   E1212.9 in the top right corner.                     15       A Okay.
      16       A Yes.                                           16       Q Let's go to the bottom of -- in
      17       Q And towards the bottom of the page --          17   Exhibit 42, the bottom of page E1178.2.
      18   one, two, three, four -- six lines from the          18       A Okay.
      19   bottom, do you see here Oliver Herndon listed and    19       Q This article is dated June 18, 2012, and
      20   his sales indicated in 2012, correct?                20   says, "Dr. Herndon pled guilty last month."
      21           MR. MORRIS: Objection to form and            21           Do you think that the sales dropped off
      22   foundation.                                          22   because he -- he pled guilty?
      23   BY MS. SCULLION:                                     23       A I don't know. I don't know how -- I
      24       Q Do you see the line with Oliver Herndon        24   don't remember this physician.


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       1   listed there?                                         1        Q But clearly he was -- you know, he was
       2        A I do see that.                                 2   still being -- he was still a customer of Endo in
       3        Q So this is indicating -- if you go to          3   the -- as of March 2012, as you said, right?
       4   the first page, you can see that there's a header     4            MR. MORRIS: Objection. Form and
       5   that tells you that the columns are showing weekly    5   foundation.
       6   sales, the current 15-week volume descending. Do      6            THE WITNESS: I don't know. I don't
       7   you see that?                                         7   know.
       8        A Yes.                                           8   BY MS. SCULLION:
       9        Q All right. So -- I mean, this is               9        Q But you're seeing Opana sales listed for
      10   telling us that Dr. Herndon was clearly still on     10   him, correct?
      11   the -- sorry -- that Dr. Herndon was still           11        A Correct. It doesn't mean he was called
      12   prescribing Opana ER, and recorded in Endo's         12   on, but he might have still been prescribing.
      13   records as of June 2012, correct?                    13        Q And Endo was still receiving money for
      14        A At what month -- say that again, please.      14   those sales of Opana ER from his prescriptions,
      15        Q As of June 2012, the date of the e-mail.      15   correct?
      16           You know, I apologize, the e-mail says       16            MR. MORRIS: Objection. Foundation.
      17   that -- it refers to a May 2012 --                   17            THE WITNESS: I -- I don't know how that
      18        A Yeah.                                         18   transpired, but --
      19        Q -- report. So the report is as of May         19   BY MS. SCULLION:
      20   2012, Dr. Herndon is still a customer of Endo with   20        Q And if -- it's paid for the
      21   respect to Opana ER, correct?                        21   prescriptions of its products eventually, correct?
      22           MR. MORRIS: Objection. Form.                 22        A Correct.
      23   Foundation.                                          23        Q When you were VP of sales for Endo, was
      24           THE WITNESS: That's what the report          24   your office in Chadds Ford, PA?


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       1      A     Yeah, Chadds Ford and Malvern.              1       A I'm not, until we had a discussion
       2      Q     And then Malvern?                           2   yesterday about Stop Signs, the first time I've
       3      A     Yes.                                        3   heard it.
       4      Q     Okay. And that's right near Philly --       4       Q Okay. Never came to your attention when
       5      A     Yeah.                                       5   you were vice president of sales?
       6      Q     -- Philadelphia, correct?                   6       A No.
       7      A     Yes.                                        7       Q Okay. And this is though -- even though
       8      Q     Okay.                                       8   sales reps are supposed to be out there looking
       9           MS. SCULLION: Can I have E563?               9   for pill mills, looking for diversion, you never
      10           (Romaine Exhibit No. 46 was marked          10   heard about this?
      11           for identification.)                        11       A I never heard about the slang names.
      12   BY MS. SCULLION:                                    12       Q Okay. Were you aware of the Philly
      13        Q Let me hand you what's been marked as        13   DEA's report?
      14   Exhibit 46. And this is Bates-stamped               14       A I don't recall it.
      15   ENDO-OR-CID-000694084, and we've stamped it E563    15       Q Now, in fact, Endo knew that Opana ER
      16   at the top.                                         16   original formulation had been so widely abused
      17           And you're welcome to read the document.    17   that it was determined to be not safe, correct?
      18        A Okay.                                        18           MR. MORRIS: Objection. Form and
      19        Q It is a May 2011 DEA brief coming out of     19   foundation.
      20   the Philadelphia Division of the DEA.               20           THE WITNESS: I -- I don't recall that.
      21        A (Peruses document.)                          21           MS. SCULLION: Do you have 419?
      22        Q Have you read through it?                    22           (Romaine Exhibit No. 47 was marked
      23        A Yes.                                         23           for identification.)
      24        Q So, again, this is a DEA brief from the      24   BY MS. SCULLION:


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       1   Philadelphia Division alerting to Opana              1       Q Okay. I'm handing you what's been
       2   oxymorphone abuse, correct?                          2   marked as Exhibit 47. And it's Bates-stamped
       3       A Yes.                                           3   ENDO_CHI_LIT-0008100. And this is a May 31st,
       4       Q And it indicates that: "The oxymorphone        4   2012 e-mail from Tara Chapman to Maryann Holovac
       5   brand name Opana has been reported by several        5   at the FDA. Subject: "Request to move Opana ER,
       6   sources of information as," quote, "the big thing    6   NDA 21-610, to the Orange Book discontinued list."
       7   right now in pharmaceutical drug abuse in the        7           Do you see that?
       8   region."                                             8       A Yes.
       9           Correct?                                     9       Q And Ms. Chapman at the time, as it says
      10       A I see that.                                   10   in her signature block, was a director of
      11       Q And it goes on to note that: "In fact,        11   Regulatory Affairs liaison for Endo, correct?
      12   oxymorphone had been abused back in the early       12       A Correct.
      13   1970s and was one of the most sought after and      13       Q And what Ms. Chapman says to the FDA --
      14   well regarded opioids at that time." Do you see     14           And the FDA was the principal regulator
      15   that?                                               15   for Endo's pharmaceuticals, correct?
      16       A Yes.                                          16       A Correct.
      17       Q And in fact, it had a street name, and        17       Q And what she says to the FDA in the
      18   the street names were Blues, correct?               18   second paragraph was: "While the original
      19       A That's what I see on the document.            19   formulation of Opana ER was deemed by FDA to be
      20       Q It goes on to indicate there is in fact       20   safe and effective when taken according to the
      21   a lot of slang terms for oxymorphone: Blues,        21   prescribing information, the original formulation
      22   Biscuits, Blue Heaven, New Blues, Octagons,         22   was subject to both intentional and inadvertent
      23   Octagon Stop Signs, Pink, Pink Heaven. Are you      23   abuse and misuse." Correct?
      24   familiar with those street names for Opana?         24       A I see that.


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       1        Q And so Endo was aware of abuse and             1   BY MS. SCULLION:
       2   misuse of the original formulation of Opana ER,       2       Q But that's not what Endo -- Endo told
       3   correct?                                              3   the FDA that because of intentional and
       4           MR. MORRIS: Objection. Form and               4   inadvertent abuse and misuse, the product was not
       5   foundation.                                           5   safe.
       6           THE WITNESS: The product had a black          6       A But this is out of my wheelhouse. You
       7   box warning.                                          7   know, this is not an area that I -- I have
       8   BY MS. SCULLION:                                      8   expertise in.
       9        Q Ms. Chapman doesn't say the product had        9   BY MS. SCULLION:
      10   a black box warning. She says: "The original         10       Q Okay. And we saw the DEA's report on
      11   formulation was subject to both intentional and      11   Opana abuse, correct, in 2011? We saw that.
      12   inadvertent abuse and misuse," correct?              12       A Correct.
      13        A I --                                          13       Q But Endo was still aggressively selling
      14           MR. MORRIS: Objection to form.               14   Opana ER throughout 2011, correct?
      15           THE WITNESS: This is -- that's her --        15          MR. MORRIS: Objection. Form.
      16   that's what she says in her memo.                    16          THE WITNESS: We were -- we were
      17   BY MS. SCULLION:                                     17   promoting it based on the package insert with full
      18        Q And that's what she says to the FDA,          18   describing -- prescribing information.
      19   right?                                               19   BY MS. SCULLION:
      20        A Right.                                        20       Q Do you recall that we looked earlier --
      21        Q And you expected that to be accurate          21          MS. SCULLION: Do we have that -- the
      22   when she said it, correct?                           22   exhibit.
      23        A I've not dealt with the FDA directly, so      23   BY MS. SCULLION:
      24   I --                                                 24       Q If we look at Exhibit 31, we saw that by


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       1       Q Would you expect that -- Endo's director        1   the end of 2011, sales of Opana were at an
       2   of Regulatory Affairs to be making accurate           2   all-time high.
       3   statements to the regulatory agency for the           3        A This (indicating), right?
       4   products?                                             4        Q No, Exhibit 31.
       5       A I don't know --                                 5        A Oh.
       6           MR. MORRIS: Objection to form.                6        Q Which describes -- it's Ms. Vitanza's
       7           THE WITNESS: I don't know why she would       7   e-mail --
       8   not, so...                                            8        A Oh.
       9   BY MS. SCULLION:                                      9        Q -- forwarding on Mr. Pyszczymuka's Opana
      10       Q Correct.                                       10   weekly -- Opana ER Weekly. Exhibit 31.
      11           And then she goes on to say: "Endo           11        A Got it. Sorry.
      12   believes the new formulation of Opana ER, which is   12        Q Great.
      13   designed to be crush-resistant, offers safety        13           And if you look at the bottom of the
      14   advantages over the original formulation, and the    14   first page of Exhibit 31, again, the report is
      15   original formulation should be discontinued for      15   that the weekly sales in September -- end of
      16   safety reasons." Correct?                            16   September, beginning of October for Opana ER were
      17       A I see that.                                    17   at an all-time high, correct?
      18       Q And so it was Endo's position that the         18        A Correct.
      19   original formulation of Opana ER was not safe as     19        Q And this is a time when DEA in
      20   of this point, correct?                              20   Philadelphia, Endo's own backyard, is saying that
      21           MR. MORRIS: Objection. Form,                 21   Opana is becoming the new OxyContin, correct?
      22   foundation.                                          22        A I think you have to keep in mind, just
      23           THE WITNESS: If prescribed                   23   full context, the market share was six, six and a
      24   appropriately, it was effective.                     24   half percent. So in the marketplace, it was very


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       1   small.                                                1       Q What is CSO Pain Sales All?
       2         Q   You think it was very small to --           2       A That was a contract, inVentiv sales
       3         A   Six percent compared to --                  3   force.
       4         Q   -- to folks who would overdose on it        4       Q Okay. So this is going out to both the
       5   if --                                                 5   contracted and in-house sales force, right?
       6         A  Well, taken inappropriately --               6       A Yes.
       7           MR. MORRIS: Object -- objection. Form         7       Q And I apologize, we should have started
       8   and foundation.                                       8   with the very bottom e-mail, which is sent by Jane
       9   BY MS. SCULLION:                                      9   Clifford on your behalf.
      10        Q But the DEA is not talking about taking       10       A Yes.
      11   it appropriately. The DEA is talking about a         11       Q Is that right?
      12   known phenomenon of abuse and diversion of Opana     12       A Yes.
      13   that's occurring, and it's occurring right in        13       Q Okay. And the body of that e-mail
      14   Endo's own backyard in Philadelphia. Right?          14   appears on page E1179.2.
      15           MR. MORRIS: Objection to form.               15       A Okay.
      16   Argumentative.                                       16       Q And you are sending this out to convey
      17           THE WITNESS: I -- I don't remember that      17   that: "The FDA issued a statement on their
      18   report until you showed it to me. But I've seen      18   website in the drug alerts and statement section
      19   it today.                                            19   to alert that Opana ER with INTAC technology may
      20   BY MS. SCULLION:                                     20   cause a serious blood disorder if abused via
      21        Q Do you -- having seen it, do you              21   intravenous injection."
      22   remember it?                                         22           Do you see that?
      23        A Yes.                                          23       A Yes.
      24        Q You do remember seeing that?                  24       Q Do you remember that alert -- that


                                                    Page 399                                              Page 401
       1        A Today.                                         1   statement, rather?
       2        Q Do you remember seeing it at the time?         2        A I don't particularly remember this
       3        A No, I do not remember.                         3   e-mail, but I -- I do remember that period of
       4        Q Okay. In fact, I want to start with            4   time.
       5   that.                                                 5        Q That period of time --
       6            MS. SCULLION: Do you have that? Oh,          6        A When -- when this occurred.
       7   these are all the copies. Don't give me all the       7        Q -- being fall of 2012?
       8   copies.                                               8        A Yes.
       9            (Romaine Exhibit No. 48 was marked           9        Q And do you remember that by that time,
      10            for identification.)                        10   Endo was aware that Opana ER with INTAC technology
      11   BY MS. SCULLION:                                     11   may cause a serious blood disorder if abused via
      12        Q I will hand you what's been marked as         12   intravenous injection?
      13   Exhibit 48. Exhibit 48 is Bates-stamped              13           MR. MORRIS: Objection to form.
      14   ENDO_OPIOID_MDL-01968698, and we've stamped it       14           THE WITNESS: I -- I don't specifically
      15   E1179.                                               15   remember that occurring, that specific issue, but
      16            And this is a series of two e-mails. So     16   I do remember drafting this -- this e-mail was
      17   the first is an e-mail from you to Endo Pain Sales   17   drafted for me so I could forward it to the sales
      18   All, CSO Pain Sales All, dated October 30th, 2012.   18   force.
      19   Do you see that?                                     19   BY MS. SCULLION:
      20        A Yes.                                          20        Q When you say you don't remember that
      21        Q And Endo Pain Sales All, would that have      21   specific issue, you don't remember that it may
      22   been the entirety of the pain sales representative   22   cause a serious blood disorder; is that what you
      23   sales force?                                         23   mean?
      24        A Yes.                                          24        A Yes.



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       1       Q Were you aware that there was a concern         1           THE WITNESS: Again, that's not in my
       2   about a blood disorder being caused by intravenous    2   department --
       3   abuse of Opana ER?                                    3           MR. MORRIS: Objection. Form,
       4       A I do recall a period of time when               4   foundation, and legal conclusion.
       5   that -- that did occur, when we heard about this.     5   BY MS. SCULLION:
       6       Q Okay. And this -- the e-mail sent out           6       Q That would have been an option Endo --
       7   on your behalf goes on in the next paragraph to       7           THE REPORTER: What was your answer?
       8   advise: "Please review the following FAQs, which      8   I'm sorry.
       9   are for internal use only and not to be discussed     9           MS. SCULLION: Thank you.
      10   or distributed to customers."                        10           THE WITNESS: That was not within my
      11           Do you see that?                             11   department.
      12       A Yes.                                           12   BY MS. SCULLION:
      13       Q And the paragraph goes on that: "Please        13       Q Okay. But Endo could have undertaken to
      14   direct any questions your customers may have about   14   affirmatively advise its customers about this
      15   TTP to medical information. While this               15   serious blood disorder that the FDA was raising an
      16   information is not to be used in discussions with    16   alert about, correct?
      17   healthcare professionals, we wanted to provide you   17           MR. MORRIS: Objection. Form and
      18   an update on the FDA's statement and background      18   foundation.
      19   information."                                        19           THE WITNESS: Well, if you read this, if
      20           Do you see that?                             20   questions came up from physicians, then there --
      21       A Yes.                                           21   we instructed the representatives to make sure
      22       Q So the instructions to the district            22   they call so they could get answers.
      23   managers was not to go out and affirmatively         23   BY MS. SCULLION:
      24   advise customers about the FDA's statement and       24       Q Right, that's if -- if the physicians


                                                Page 403                                                  Page 405
       1   concern about Opana ER causing a serious blood        1   themselves asked.
       2   disorder if used by IV injection, and not to use      2       A Right.
       3   this information in discussions with healthcare       3       Q But if they didn't know about this risk
       4   providers, correct?                                   4   from -- a serious blood disorder from intravenous
       5        A Correct.                                       5   abuse of Opana ER, they wouldn't know to ask that
       6        Q The only thing that was to be done was         6   question, right?
       7   that if a customer raised a question themselves,      7          MR. MORRIS: Objection. Form and
       8   the question was to be referred up to medical         8   foundation.
       9   information, correct?                                 9          THE WITNESS: I -- I can't answer that
      10        A Correct.                                      10   question. I don't under- -- that's not my -- my
      11        Q And again, as we discussed earlier, Endo      11   area of expertise, so that would go to our medical
      12   could have sent out a Dear Doctor letter to all      12   department.
      13   its customers to affirmatively alert them to the     13   BY MS. SCULLION:
      14   FDA's statement, correct?                            14       Q But -- but the customers wouldn't
      15           MR. MORRIS: Object -- objection. Form,       15   necessarily know that there was that risk to even
      16   foundation, legal conclusion.                        16   ask the question, would they?
      17           THE WITNESS: Again, that -- that wasn't      17          MR. MORRIS: Objection. Form.
      18   in my department, so I don't recall whether that     18          THE WITNESS: I -- I don't know. I
      19   happened or not.                                     19   don't know the answer to that.
      20   BY MS. SCULLION:                                     20   BY MS. SCULLION:
      21        Q That would have been an option that           21       Q Well, and your e-mails were not telling
      22   the -- that Endo would have had, though.             22   anyone in sales, though, to make sure that the
      23           MR. MORRIS: Objection. Form and              23   customers knew that information.
      24   foundation --                                        24       A We were instructed, as you can see


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       1   through this e-mail, that if questions came up,       1   the use of Opana ER.
       2   don't answer them; have them call this number to      2   BY MS. SCULLION:
       3   get that specific information. Because they're        3       Q Right. So October 2012, the FDA thinks
       4   not the expert in that.                               4   this is important enough to actually issue a
       5            And just to provide clarity, as you look     5   statement, despite the black box. The FDA issues
       6   at this e-mail, I mean the focus here was to make     6   a statement saying that Opana ER with INTAC may
       7   sure the representatives stayed focused on the        7   cause a serious blood disorder if abused
       8   training and what they could present and what --      8   intravenously. And Endo doesn't affirmatively go
       9   and stay within a fair balance of the product.        9   out and tell physicians. And your instruction to
      10        Q So, Mr. Romaine, again, we saw the DEA        10   the sales force, as you've been describing, is
      11   alert from 2011 that included information about      11   business as normal.
      12   how oxymorphone had been abused back in the 1970s,   12            MR. MORRIS: Objection. Foundation,
      13   right?                                               13   form.
      14        A You showed us that.                           14            THE WITNESS: And business as normal is
      15        Q Right. And then -- the DEA was raising        15   to go to your offices and provide full, fair
      16   concerns about abuse of Opana ER in the              16   balanced prescribing information, including the
      17   Philadelphia area and other areas in 2011 itself.    17   black box warning. That's business as normal.
      18   Right?                                               18   And it goes on to state that -- to ensure that the
      19        A Right.                                        19   offices use our meds appropriately.
      20        Q Okay. And then here in October of 2012,       20   BY MS. SCULLION:
      21   the FDA is saying reformulated Opana ER with INTAC   21       Q Your response to the FDA issuing this
      22   also has a serious blood disorder associated         22   statement, if you look at the top of page E1179,
      23   with -- with it when it's abused by IV injection,    23   in your communication to the regional directors --
      24   right?                                               24   correct?


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       1       A Right.                                          1        A Correct.
       2       Q So the reformulated version of Opana ER         2        Q -- was "Our promotion of Opana ER is
       3   also was being abused just like the original          3   business as normal." That's what you said.
       4   Opana ER was being abused, correct?                   4        A "Keep your teams focused on their
       5       A I -- I don't --                                 5   responsibility to the offices who use the meds
       6          MR. MORRIS: Objection. Form and                6   appropriately."
       7   foundation.                                           7        Q Right.
       8          THE WITNESS: I can't answer that               8        A Business as normal, just to bring
       9   question. I'm not the expert in that field.           9   clarity to it, is to go out and promote our
      10          However, it did have a black box              10   products with full fair balance so physicians
      11   warning. So in the full context of this, if          11   understand the side effects, the adverse events,
      12   taken -- if prescribed appropriately to the right    12   and so forth with the product.
      13   patient, that -- that wouldn't have been an issue.   13        Q And that was despite the clear notice
      14   BY MS. SCULLION:                                     14   that Opana ER with INTAC technology was being
      15       Q But the concern here is not prescribed         15   abused intravenously, and in some cases that abuse
      16   appropriately to the right patient. The concern      16   was causing a serious blood disorder.
      17   is someone intentionally or inadvertently abusing    17           MR. MORRIS: Objection. Form.
      18   the product, correct?                                18           THE WITNESS: I -- I -- I can't answer
      19          MR. MORRIS: Objection. Form and               19   it any other way than I already have. We had
      20   foundation.                                          20   clear responsibilities to our offices.
      21          THE WITNESS: I -- I can't answer.             21   BY MS. SCULLION:
      22   Again, my -- my area of expertise was to make sure   22        Q And those responsibilities, though, did
      23   my sales force stayed focused on providing           23   not include affirmatively going out and informing
      24   resource and education to the offices regarding      24   them of this risk of a serious blood disorder,


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       1   correct?                                              1       Q That's what the DEA notice said, right?
       2       A That would have been outside of my realm        2       A That's what the -- the data that you
       3   of responsibility in the organization.                3   provided me said, yes.
       4       Q Do you know if it ever happened?                4       Q Right. And -- and you're saying in your
       5       A I don't know that.                              5   entire tenure as VP of sales at Endo, you had no
       6       Q Did you ever ask anyone if it ever              6   knowledge of the history of abuse of oxymorphone
       7   happened?                                             7   as a street drug.
       8       A I did not ask. I don't remember asking,         8           MR. MORRIS: Objection to form.
       9   let me put it that way.                               9           THE WITNESS: I -- I did not say that.
      10       Q Did you ever ask anyone, Are we going to       10   The product was used -- if used appropriately, was
      11   send a Dear Doctor letter out?                       11   effective. There were -- we're not saying it
      12       A I don't recall that.                           12   wasn't abused because it did have a black box
      13       Q Did you ever ask anyone, This is               13   warning.
      14   problematic, the original Opana ER was subject to    14   BY MS. SCULLION:
      15   abuse, we know it was abused, and now we're seeing   15       Q I'm saying, you saying that you didn't
      16   our new product is also abused?                      16   have knowledge of the abuse of oxymorphone as a
      17       A I don't --                                     17   street-bought drug before the launch of
      18          MR. MORRIS: Objection to form.                18   Opana ER --
      19          THE WITNESS: -- recall that.                  19       A I did not.
      20   BY MS. SCULLION:                                     20       Q -- that it had a history?
      21       Q Was that a concern for you that the new        21       A I did not.
      22   formulation of Opana ER was also being abused?       22       Q You never had knowledge of that?
      23          MR. MORRIS: Objection. Form.                  23       A I don't recall that.
      24          THE WITNESS: I -- I think we all take         24       Q Okay. Ever see the movie "Drugstore


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       1   responsibility for ensuring that the product is       1   Cowboy"?
       2   used appropriately, and that was my focus.            2      A No.
       3   BY MS. SCULLION:                                      3      Q Okay. Would it surprise you to learn
       4       Q But the concern was that there was              4   "Drugstore Cowboy," the movie, mid-'80s, Gus Van
       5   knowledge that the product was not being used         5   Sant, in the opening dialogue in that movie talks
       6   appropriately out there, even after reformulation,    6   about abuse of Blues, of oxymorphone pills?
       7   correct?                                              7          MR. MORRIS: Objection.
       8           MR. MORRIS: Objection. Form.                  8   BY MS. SCULLION:
       9           THE WITNESS: I -- I -- there were --          9      Q Would it surprise you to know that?
      10   just like with any other opioid, there were          10          MR. MORRIS: Objection. Form.
      11   abusers who didn't take the product or -- or         11          THE WITNESS: You're surprised I didn't
      12   diverted the product.                                12   know that?
      13   BY MS. SCULLION:                                     13   BY MS. SCULLION:
      14       Q But this wasn't like any other opioid,         14      Q Are you surprised to know that?
      15   right? I mean, again, the DEA notice confirms        15      A No, I don't know anything about the
      16   there was a history going back to the '70s of        16   movie.
      17   oxymorphone being attractive for street abuse,       17          MR. MORRIS: What's the time, please?
      18   right?                                               18          THE VIDEOGRAPHER: 6 hours, 45.
      19       A I can't speak to --                            19          MS. SCULLION: We can take a break.
      20           MR. MORRIS: Objection. Form,                 20          THE VIDEOGRAPHER: The time is 6:06 p.m.
      21   argumentative.                                       21   We're going off the record.
      22           THE WITNESS: I can't speak to the '70s.      22          (Recess.)
      23   I'm sorry.                                           23          THE VIDEOGRAPHER: The time is 6:21
      24   BY MS. SCULLION:                                     24   p.m., and we're back on the record.


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       1           MS. SCULLION: Mr. Romaine, welcome            1        Q Okay. So you had no understanding
       2   back.                                                 2   whether the use of opioids in Tennessee was
       3           THE WITNESS: Thank you.                       3   relatively high when compared to other states
       4           MS. SCULLION: We have no further              4   while you were employed at Endo?
       5   questions for you today. Thank you for your time.     5        A I did know that there was an area called
       6   I believe my colleague will be questioning you        6   Appalachia, which I guess Tennessee maybe would
       7   now.                                                  7   fall within that, but Kentucky, West Virginia,
       8           THE WITNESS: Thank you.                       8   that there was a high use of opioids in that area.
       9           THE VIDEOGRAPHER: Do you want to go off       9        Q Okay. And --
      10   the record?                                          10        A Both through the news and through the
      11           MR. MORRIS: I guess so.                      11   company.
      12           THE VIDEOGRAPHER: The time is 6:21 p.m.      12        Q Yeah, I was going to ask: What's your
      13   We're going off the record.                          13   understanding about opioid use in Appalachia being
      14           (Pause.)                                     14   high?
      15           THE VIDEOGRAPHER: The time is 6:23 p.m.      15        A Just that there was some -- there was
      16   We're back on the record.                            16   some potential for abuse there.
      17              DIRECT EXAMINATION                        17        Q And when did you first learn that
      18   BY MR. LENISKI:                                      18   information?
      19       Q Good afternoon, Mr. Romaine. My name is        19        A I can't say if -- I can't remember a
      20   Joe Leniski. We were introduced earlier. I           20   specific date or time period.
      21   represent district attorneys and babies born with    21        Q Was it in connection with your job
      22   prenatal neo-abstinence syndrome in Tennessee, and   22   responsibilities as it pertained to Opana that you
      23   I'm going to ask you some questions specifically     23   learned that information?
      24   about some areas about my case.                      24        A I would say yes, but also I've heard


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       1        A Okay.                                          1   that since I left the company as well.
       2           MR. LENISKI: Before we go on the              2       Q Do you know what, if anything, about
       3   record, I just want to state that our clients have    3   that information in any way influenced your
       4   an objection -- we're taking these depositions        4   performance of your job at Endo?
       5   while reserving all rights due to our standing        5       A No.
       6   objection to cross-notices in the MDL as a result     6           MR. MORRIS: Objection. Form.
       7   of production failures under the standing NDA         7   BY MR. LENISKI:
       8   order and lack of sufficient notice, and on the       8       Q In other words, the fact about
       9   basis there is no time limits in Tennessee when it    9   Appalachia having relative high opioid use, to
      10   comes to depositions.                                10   your knowledge, that didn't influence the manner
      11           But, nonetheless, we're cooperating and      11   in which you gave instructions to sales reps in
      12   here to take the deposition today.                   12   Tennessee or parts of Appalachia?
      13           MR. MORRIS: Okay. And I'll just simply       13       A No. Same instructions: Make sure
      14   note that we disagree with that position, but        14   you're well educated and a resource for the
      15   nothing more needs to be said on the record about    15   offices, and give full prescribing information,
      16   it today.                                            16   cover the black box warning.
      17           MR. LENISKI: Okay. Thank you.                17       Q Okay. Did you ever gain any
      18   BY MR. LENISKI:                                      18   understanding about the level of opioid abuse in
      19        Q During your employment at Endo, did you       19   Tennessee relative to other states?
      20   have any understanding as to the level of opioid     20       A The amount are you asking?
      21   use in Tennessee relative to other states?           21       Q (Counsel nods.)
      22        A I can't say specifically that I recall        22       A I can't recall that.
      23   anything different regarding the use of -- of        23       Q Well, and more generally, did you ever
      24   opioids in that area.                                24   get any understanding about the relative level of


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       1   abuse of opioids in the state of Tennessee            1   for companywide?
       2   relative to other states?                             2       A I -- I -- at the sales rep level, I
       3       A I can't --                                      3   can't recall that it was specifically different.
       4           MR. MORRIS: Objection to form.                4   I know in the company we probably did different
       5           THE WITNESS: I can't say specifically         5   things there that I -- you know, outside of my
       6   to the state of Tennessee.                            6   realm of responsibility, but at the rep level, I
       7   BY MR. LENISKI:                                       7   know we trained very specifically on --
       8       Q Okay. How about -- well, strike that.           8       Q Can you think of any aspect of the
       9           With respect to Appalachia, did you gain      9   manner in which sales reps were trained or
      10   any -- any understanding about the relative level    10   instructed for messaging in Tennessee or
      11   of opioid abuse occurring in Appalachia compared     11   Appalachia that differed from other areas in the
      12   to other areas in the United States?                 12   country?
      13       A I know that there was -- we had                13       A I can't recall that. No.
      14   discussions around the abuse in the Appalachian      14       Q While employed in sales at Endo, did you
      15   state. I don't remember in context compared to       15   have any understanding about the relative
      16   other states.                                        16   importance of Tennessee to Endo's Opana ER sales?
      17       Q So you had no understanding during your        17           MR. MORRIS: Objection. Form.
      18   employment at Endo whether there was relatively      18           THE WITNESS: I can't recall that at
      19   higher levels of abuse occurring in Appalachia       19   this point, no.
      20   versus other areas of the United States?             20   BY MR. LENISKI:
      21       A I -- I --                                      21       Q Do you --
      22           MR. MORRIS: Objection to form.               22       A Not Tennessee specifically.
      23           THE WITNESS: I don't recall that.            23       Q Okay. Do you recall having any
      24   BY MR. LENISKI:                                      24   recollection as to whether or not Endo's Opana ER


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       1        Q Is that information that you believe was       1   sales were relatively higher in Tennessee when
       2   relevant to the performance of your job duties at     2   compared to other states?
       3   Endo?                                                 3       A Again, I can't recall that. I'm sure
       4        A Well, my -- my responsibilities was to         4   there were reports I could have looked at at the
       5   ensure that the sales force was well educated, a      5   time, but I can't recall that now.
       6   resource for offices, professional, and provide a     6       Q Is that something that in your job
       7   full, fair balance when they're calling on            7   responsibilities you would have been aware of or
       8   physicians. So to that answer, no.                    8   you think you would have been aware of is where a
       9        Q Were the reps that you oversaw in --           9   particular state ranks in terms of having
      10   working in Tennessee or in Appalachia, were any of   10   relatively high levels of Opana ER sales for Endo?
      11   the messages or training they received different     11       A Not necessarily by state, but by the
      12   and apart from other training that was occurring     12   region I would, and if -- I would look at that
      13   elsewhere in the United States?                      13   region. And there would be many states in that
      14        A Well, they also -- I mean they received       14   region obviously.
      15   training on, you know, how to look for diversion,    15       Q Do you recall what region Tennessee was
      16   how to report diversion, numbers to call, that       16   in while you were employed at Endo?
      17   sort of thing.                                       17       A I think it was in Mid-Atlantic, but I --
      18        Q And my question, though, was a bit more       18   I don't know that for sure. I believe it was.
      19   specific to Tennessee and Appalachia.                19           (Romaine Exhibit No. 49 was marked
      20           Is it your testimony that any of the         20           for identification.)
      21   training or messaging that those reps were           21   BY MR. LENISKI:
      22   performing in Tennessee or Appalachia, that that     22       Q Mr. Romaine, I've handed you a document
      23   was any different from other training and            23   identified as Exhibit 49 to your deposition.
      24   messaging that other reps at Endo were responsible   24       A Okay.


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       1        Q My question to you is going to be              1   where we have unrestricted access to truly
       2   whether you recognize the document.                   2   optimize your effort."
       3        A I don't recall the document.                   3           Did I read that correctly?
       4        Q Okay. This is a document Bates-stamped         4       A Yes.
       5   ENDO_OPIOID_MDL-01067350.                             5       Q Do you know what Mr. Weeks was referring
       6            It's an e-mail from Albert Weeks.            6   to when he refers to "unrestricted access"?
       7        A Yes.                                           7       A What I believe he's referring to -- and
       8        Q Who is that?                                   8   again, this is his e-mail, so it's -- it's -- I
       9        A I know Albert Weeks. I don't recall his        9   think he's referring that -- that patients,
      10   title in the organization.                           10   whether they're Medicaid patients or they're
      11        Q Okay. And he's e-mailing several              11   commercial patients, would have access for pain,
      12   people, including yourself in the cc line,           12   for Opana ER, so that physicians could be able to
      13   correct?                                             13   prescribe the product and it would be covered
      14        A Correct.                                      14   by --
      15        Q That's on September 25th, 2008. The           15       Q And is what -- I'm sorry.
      16   subject is "TennCare Medicaid Win." Did I read       16       A -- by healthcare providers.
      17   that correctly?                                      17       Q And is what Mr. Weeks is describing here
      18        A Yes.                                          18   having Tennessee's version of Medicare, TennCare,
      19        Q And he writes: "Tennessee field sales         19   add Opana ER to the preferred drug list, is that
      20   team: TennCare has made a decision to add            20   going to have the effect of increasing the
      21   Opana ER to their preferred drug list."              21   potential prescribing power of doctors who want to
      22        A Yes.                                          22   prescribe Opana ER to their patients?
      23        Q "This will provide product access to          23           MR. MORRIS: Objection. Form and
      24   Medicaid recipients and provide healthcare           24   foundation.


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       1   providers with an additional option to treat          1           THE WITNESS: Yeah, I --
       2   patients that require a strong opioid."               2   BY MR. LENISKI:
       3          Did I read that correctly?                     3       Q If you know.
       4       A Yes.                                            4       A Just to clarify, what -- what that
       5       Q Okay. It says: "Medicaid represents an          5   actually does is it provides the opportunity for
       6   additional opportunity to expand our business, and    6   physicians who had Medicaid patients or TennCare
       7   in many cases, Medicaid can provide spillover         7   patients, they would be more likely to prescribe
       8   opportunities within your territory."                 8   because it was covered by a healthcare plan.
       9          Did I read that correctly?                     9       Q Were you involved ever in any efforts in
      10       A Yes.                                           10   the state of Tennessee to attempt to have Opana ER
      11       Q "However, we will also need to continue        11   added to TennCare's preferred drug list?
      12   to drive demand across the entire book of business   12       A No, that would have been handled by
      13   in order to maximize the full potential of           13   our -- our managed care group.
      14   Opana ER."                                           14       Q Do you know, in fact, if Endo did lobby
      15          Did I read that correctly?                    15   to have Opana ER placed on the preferred drug list
      16       A Yes.                                           16   in Tennessee?
      17       Q And it says: "Ultimately we are                17       A I don't know if it was a lobby. I don't
      18   striving for an outcome where the Medicaid and       18   know how this took place. I just know that they
      19   commercial opportunities work synergistically."      19   did win TennCare at some point.
      20   Correct?                                             20       Q Was Endo, to your knowledge, aware of
      21       A Yes.                                           21   doctors or other healthcare professionals who were
      22       Q And it says: "Therefore, you may want          22   involved in the decision-making where it concerns
      23   to focus your efforts on key physicians who treat    23   the placement of Opana ER on TennCare's preferred
      24   both Medicaid patients and commercial patients       24   drug list?


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       1        A Can -- can --                                  1   been -- do you want the name?
       2          MR. MORRIS: Objection to form.                 2       Q Yes.
       3          THE WITNESS: Can you repeat that --            3       A Brian Lortie.
       4   that question for me?                                 4       Q Okay. And under item number 3, "Pain
       5   BY MR. LENISKI:                                       5   products" --
       6        Q To your knowledge, was Endo aware of           6       A Yes.
       7   which doctors or healthcare professionals were        7       Q -- it says: "Exceed revenue and profit
       8   involved in the decision-making where concerns of     8   objectives across total portfolio."
       9   placement of Opana ER on TennCare's preferred drug    9       A Yes.
      10   list?                                                10       Q And then Roman numeral number II says:
      11        A I'm not -- I'm not aware.                     11   "Opana ER, 315 to 325 million," correct?
      12        Q And I asked you if you know if Endo was       12       A Correct.
      13   aware, others at Endo were aware.                    13       Q And then it says: "Stretch objective."
      14        A I don't know.                                 14   Do you know what that means?
      15        Q Okay. I'm done with that.                     15          MR. MORRIS: Objection. Form and
      16        A Okay.                                         16   foundation.
      17          (Romaine Exhibit No. 50 was marked            17          THE WITNESS: I -- I don't recall at the
      18          for identification.)                          18   time.
      19          MR. LENISKI: I have one more copy. I          19   BY MR. LENISKI:
      20   apologize.                                           20       Q Was that a term that was used in
      21   BY MR. LENISKI:                                      21   parlance in Endo during your tenure to describe a
      22        Q Did I give you the one that I wrote on?       22   goal or an objective that someone may set for
      23        A No. Oh, unless it's on the back. No.          23   somebody?
      24        Q Okay, got one more. Here you go.              24       A It could have been. I -- but I don't


                                                Page 427                                                  Page 429
       1           I've handed you a document we've              1   recall.
       2   identified as Exhibit 50 to your deposition. Do       2       Q Okay. It says: "Develop a competitive
       3   you recognize the document?                           3   focus on OxyContin share acquisition."
       4       A I -- it looks familiar. I don't                 4           What did that mean?
       5   remember, but it looks familiar.                      5           MR. MORRIS: Objection. Form.
       6       Q And it says, "Larry Romaine, 2011" --           6           THE WITNESS: I'm not quite sure what --
       7           MR. MORRIS: Before you go on, can I           7   going back now, I don't quite remember what --
       8   read the number?                                      8   what -- what Brian is referring to there.
       9           MR. LENISKI: Sure, absolutely.                9   BY MR. LENISKI:
      10           MR. MORRIS: It's ENDO_OPIOID_                10       Q Do you recall any effort by Endo to try
      11   MDL-01006528.                                        11   and acquire the OxyContin market share away from
      12           MR. LENISKI: Thank you.                      12   OxyContin towards Opana ER?
      13   BY MR. LENISKI:                                      13       A Well, OxyContin was the market leader,
      14       Q This says at the top "Larry Romaine,           14   so it was always -- you know, our focus is that if
      15   2011 Objectives," correct?                           15   we're going into those offices, it's highly likely
      16       A Correct.                                       16   that those physicians are prescribing OxyContin.
      17       Q Do you think -- is it likely you drafted       17   So you have to provide a full, fair balance of the
      18   this document?                                       18   benefits that Opana would provide to that office
      19       A I have a -- I think these were the             19   and their patients if they're prescribing it.
      20   object -- objectives that I probably received that   20   So...
      21   I was responsible for.                               21       Q Was focusing on OxyContin's share
      22       Q And who would have assigned you those          22   acquisition a consistent goal or effort by the
      23   objectives, to your knowledge?                       23   sales department at Endo, to your knowledge?
      24       A My manager at the time, which would have       24       A I -- I --


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                                                 Page 430                                                 Page 432
       1            MR. MORRIS: Objection. Form.                 1           MR. MORRIS: Objection. Form,
       2            THE WITNESS: I don't recall.                 2   foundation.
       3   BY MR. LENISKI:                                       3           THE WITNESS: I -- I don't -- I don't
       4        Q Then it goes on: "-- and create a novel        4   recall.
       5   IC approach in key CBSAs." Correct?                   5   BY MR. LENISKI:
       6        A Yes.                                           6        Q Did Endo have region-specific business
       7        Q Okay. I'm going to try to break that           7   strategies as opposed to having one overarching
       8   out. First of all, what is a CBSA?                    8   unitary strategy for the whole company?
       9        A I -- I remember the term CBSA, but I           9        A Each region had their own business plan.
      10   can't remember what it stands for, but it's a        10   And then that rolled up to a national plan or
      11   geographic -- basically what it is is a geographic   11   rolled down from the national plan to the region,
      12   area. We used to call them MSAs, which were          12   but I don't specifically remember any content of
      13   metropolitan areas, but I don't know what a CB --    13   it.
      14   C -- SA is. I'm sorry.                               14        Q Okay. We're done with that.
      15        Q But that -- as you sit here today, the        15           (Romaine Exhibit No. 51 was marked
      16   best of your recollection is it refers to a          16           for identification.)
      17   geographic area.                                     17   BY MR. LENISKI:
      18        A Correct.                                      18        Q Mr. Romaine, I've handed you a document
      19        Q Okay. And then what is meant by "create       19   identified as Exhibit -- what number's on this
      20   a novel IC approach"?                                20   one? What is that, 52?
      21        A I think at the time we were looking           21        A 51.
      22   at -- looking at different incentive comp plans      22        Q 51, I apologize. It is Bates-stamped
      23   based on the parts of the country that               23   first page ENDO_OPIOID_MDL-00361036.
      24   representatives happened to be, but that never --    24           My question to you is if you recognize


                                                 Page 431                                                 Page 433
       1   that never occurred.                                  1   the document.
       2       Q So IC stands for incentive compensation?        2        A I don't recognize it.
       3       A I think that's what he's referring to           3        Q This is an e-mail from John Gilbert, and
       4   here.                                                 4   I think you talked about him earlier, correct?
       5       Q Okay. And when it refers to key CBSAs,          5        A Correct.
       6   was there a general understanding of what the key     6        Q And it's addressed to, among others,
       7   CBSAs were at Endo about this time of 2011?           7   yourself dated February 11th, 2011.
       8       A Well, I believe he's referring to each          8        A Yes.
       9   of the regions is what he's referring to as far as    9        Q Do you see that?
      10   CBSAs.                                               10        A Actually I'm copied on it. It's
      11       Q And a CBSA would be a subsection of a          11   addressed to others, but I'm copied on it.
      12   region at large; is that correct?                    12        Q That's fair.
      13       A I --                                           13           And he writes: "Team: Everyone should
      14           MR. MORRIS: Objection. Form.                 14   be looking for the same opportunities to drive the
      15           THE WITNESS: I don't know that. I -- I       15   growth of Opana ER."
      16   don't recall how that was broken out.                16           Did I read that correctly?
      17   BY MR. LENISKI:                                      17        A Yes.
      18       Q Okay. And then to the second page,             18        Q And before we get too far ahead, in the
      19   there's a number 5, it says: "Operationalize the     19   bottom e-mail, he -- he's actually forwarding an
      20   region business unit strategy."                      20   e-mail from someone named Robert Arment.
      21           Do you see that?                             21        A Yes.
      22       A Yes.                                           22        Q Do you know who that is?
      23       Q And what does that mean, "the region           23        A He was a district manager in the state
      24   business unit strategy," to your knowledge?          24   of Tennessee.


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       1       Q Okay. And the subject of his e-mail            1    CBSA because it was within his region. Just
       2   below is: "Don't Be Blue. Opana ER, BCBS" --         2    nationally it wasn't a key one.
       3          That's Blue Cross Blue Shield, correct?       3        Q And is that -- was that your opinion the
       4       A Yes.                                           4    entire time you were at Endo?
       5       Q -- "of Tennessee Initiative - Update."         5           MR. MORRIS: Objection to form.
       6          And he is -- in that e-mail, he is            6           THE WITNESS: I -- I -- I don't recall.
       7   reporting on some data about the numbers that        7    BY MR. LENISKI:
       8   they've received from Blue Cross Blue Shield         8        Q In other words, do you have any
       9   Tennessee which shows prescribing levels of          9    recollection that Tennessee or any of its cities,
      10   Opana ER, correct?                                   10   like Knoxville, ever gained an importance or being
      11       A Yes. I just can't read the -- whatever         11   a key area for Opana ER sales territory?
      12   was highlighted at the -- in Bob's e-mail, I can't   12       A I -- I don't remember Knoxville being a
      13   read that.                                           13   key area.
      14       Q I think it says: "Baseline data is the         14       Q Okay.
      15   current three-month average scripts written for      15          (Romaine Exhibit No. 52 was marked
      16   BCBS of Tennessee" --                                16          for identification.)
      17       A Oh, Blue Cross Blue Shield. Okay.              17   BY MR. LENISKI:
      18       Q -- "commercial patients as of the              18       Q I hand you a document identified as
      19   December 2011 from the Vantage Care" -- I think it   19   Exhibit 52 to your deposition. And this is a
      20   says PU, but I'm not sure.                           20   document Bates-stamped ENDO_OPIOID_MDL-01005844.
      21       A Okay.                                          21          The question will be if you recognize
      22       Q Pull-through report maybe?                     22   the document.
      23       A Okay.                                          23       A I don't recognize the document, but I --
      24       Q Does that sound familiar --                    24   I am copied on the document.


                                                Page 435                                                                 Page 437
       1       A Yes.                                            1         Q Okay. And this document is another
       2       Q -- pull-through report?                         2     e-mail forward from John Gilbert, similar in
       3       A Yes.                                            3     subject to the one we saw previously. He's
       4       Q Okay. So going back then to the e-mail          4     forwarding an e-mail titled "BCBS-TN," Tennessee,
       5   above, John writes to others, and is copying you,     5     "Opana ER Performance," correct?
       6   says: "Everyone should be looking for the same        6         A Correct.
       7   opportunities to drive the growth of Opana ER."       7         Q And he writes above: "Tennessee
       8   He makes the statement: "Knoxville is a key CBSA      8     leaders," and he is including you as a copy, so he
       9   for the region."                                      9     wants you to know about this, correct?
      10           Did I read that correctly?                   10         A Correct.
      11       A Yeah. Yes.                                     11         Q He writes: "As evidenced by Bonnie
      12       Q And is that something that you were            12     below, we have strong business in the state of
      13   aware of during your time at Endo?                   13     Tennessee, and I -- I would ask that this week
      14       A That Knoxville was a key?                      14     during your POA you reinforce the ownership that
      15       Q Yes.                                           15     we need to have with the Opana ER brand."
      16       A I wouldn't have -- I personally wouldn't       16              Did I read that correctly?
      17   have said it was key just because of                 17         A Yes.
      18   geographically it wasn't as big as many of the       18         Q Okay. And the -- his message is going
      19   other markets, but to John it might have been in     19     to -- it's addressed to several individuals, and
      20   his -- his business unit.                            20     do you know who the individuals are?
      21       Q And did you ever correct John or express       21         A They were his district managers at the
      22   your opinion to John, do you recall, that you        22     time.
      23   didn't think Knoxville was a key CBSA?               23         Q Okay. So that district included the
      24       A Well, to John it could have been a key         24     state of Tennessee, correct?


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       1       A Correct.                                        1   foundation for 2013."
       2          (Romaine Exhibit No. 53 was marked             2            Did I read that correctly?
       3          for identification.)                           3        A Yes.
       4   BY MR. LENISKI:                                       4        Q Okay. And did you have that
       5       Q I hand you a document identified as             5   understanding as of this time while you were at
       6   Exhibit 53 to your deposition. This is Bates-         6   Endo that Mr. Price believed that Tennessee and
       7   stamped ENDO_OPIOID_MDL-01018226.                     7   Kentucky markets were critical to rebuilding and
       8       A Yes.                                            8   growing the Opana ER business?
       9       Q Do you recognize the document?                  9            MR. MORRIS: Objection. Form and
      10       A I don't recognize the document, but I          10   foundation.
      11   have -- I have the copy in front of me.              11            THE WITNESS: I do believe he believed
      12       Q Okay. And this is an e-mail from               12   it, yes.
      13   Kenneth Price, correct?                              13   BY MR. LENISKI:
      14       A Yes.                                           14        Q And did you -- you're saying you didn't
      15       Q And he was the regional business manager       15   believe that?
      16   for the Midwest region include -- which included     16        A No. The question I think you asked
      17   Tennessee, correct?                                  17   is -- was -- did Kenny Price believe that this was
      18       A Correct. I think there were changes to         18   critical, and I do believe he did.
      19   geographies over time, yes, so he would have         19        Q Okay. And did you have any similar
      20   picked it up from John.                              20   opinion about Tennessee and Kentucky being
      21       Q But at this time, as of the date of this       21   critical to rebuilding and growing ER -- Opana ER
      22   e-mail, which is November 30th, 2012, he was the     22   business?
      23   regional business director for the Midwest region,   23        A Yeah, I can't say I specifically recall
      24   correct?                                             24   those two states as -- as critical overall.


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       1       A Correct.                                        1       Q And I may have asked you before, but we
       2       Q Which again included Tennessee at this          2   talked a little bit at the opening of your
       3   time.                                                 3   deposition about your understanding about the
       4       A Yes.                                            4   relative level of opioid abuse in the state of
       5       Q Okay. And he -- he reported to you; is          5   Tennessee. Do you recall that?
       6   that accurate?                                        6       A Yes.
       7       A That's -- that's correct.                       7       Q And with respect to specific instances
       8       Q Okay. And he copies you on an e-mail            8   of abuse in Tennessee with respect to Opana ER,
       9   that he writes to a list of individuals, and would    9   what was your knowledge, do you recall?
      10   those have been district managers within his         10       A My knowledge -- my knowledge of --
      11   region?                                              11   the -- can you restate the question?
      12       A Yes. Yes.                                      12       Q Did you have any knowledge of particular
      13       Q And he writes: "Thank you for your             13   instances of abuse in -- that occurred in
      14   leadership in coordinating the Opana ER conference   14   Tennessee with respect to Opana ER during your
      15   call with the Tennessee and Kentucky teams today     15   employment in sales at Endo?
      16   and sharing the product knowledge, competitive       16       A I didn't have any knowledge of any
      17   information, and therapeutic knowledge to the        17   specific situation where there was abuse that took
      18   reps. I really appreciate everyone's commitment,     18   place.
      19   drive and passion to make Opana ER very successful   19       Q Could you find Exhibit 48 for me that
      20   again.                                               20   you were shown earlier.
      21           "As I've discussed, the Tennessee and        21           It would have been some of the last --
      22   Kentucky markets are critical to rebuilding and      22   one of the last documents you were shown.
      23   growing our Opana ER business as we close out        23       A Yeah, unfortunately, they're not in
      24   2012, but also build a strong platform and           24   sequence any longer.


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       1           THE WITNESS: Did you -- can you find          1   the reformulated Opana ER that Endo was receiving
       2   it?                                                   2   about this time of October of 2012 change any of
       3           MR. MORRIS: I can -- I have it for you        3   the messaging that Endo sales reps were using in
       4   here.                                                 4   the state of Tennessee specifically?
       5           THE WITNESS: Do you mind if I look at         5            MR. MORRIS: Objection to form.
       6   his?                                                  6            THE WITNESS: I don't recall at the time
       7   BY MR. LENISKI:                                       7   if it actually changed the -- the messaging. I
       8       Q Yes.                                            8   think we stayed focused on the package insert to
       9       A Okay.                                           9   promote the product. They were always educated
      10       Q Exhibit 48, you were asked some                10   and looking for diversion, things like that, so
      11   questions about -- and this was with respect to      11   they could report it to our compliance department.
      12   the abuse that had occurred where Endo discovered    12   But from a training perspective and from the
      13   that patient -- or that individuals were             13   messaging that they brought to those offices, it
      14   injecting --                                         14   did not change.
      15       A Mm-hmm.                                        15   BY MR. LENISKI:
      16       Q -- the reformulated Opana ER. Is               16         Q So these reports of abuse occurring in
      17   that -- is that correct?                             17   Tennessee did not alter to your knowledge any of
      18       A Yes, that's correct.                           18   the messaging that reps in the state of Tennessee
      19       Q Okay. And we didn't -- you weren't             19   specifically were delivering to their targets?
      20   asked questions about this specifically, but         20            MR. MORRIS: Objection. Form and
      21   according to this e-mail, those cases were being     21   foundation.
      22   reported at least some of that was occurring in      22            THE WITNESS: I don't recall that that
      23   Tennessee.                                           23   actually took place.
      24       A Okay.                                          24   BY MR. LENISKI:


                                                 Page 443                                                 Page 445
       1        Q Correct?                                       1       Q Do you recall whether Endo restricted or
       2        A Yes.                                           2   otherwise -- or stopped or otherwise restricted
       3        Q Okay. And as you sit here today, do you        3   the selling or detailing of Opana ER in the state
       4   recall -- does that refresh your recollection at      4   of Tennessee in reaction to receiving these
       5   all about -- the reports about the IV or              5   reports about intravenous abuse in the
       6   injecting -- injectable abuse of reformulated         6   reformulated ER?
       7   Opana ER occurring in Tennessee about this time?      7       A I don't recall that.
       8        A Yeah, after our discussion today, I do         8           (Romaine Exhibit No. 54 was marked
       9   recall this memo in which it highlighted that some    9           for identification.)
      10   of those cases occurred in Tennessee.                10   BY MR. LENISKI:
      11        Q Okay. And specifically, do you recall         11       Q Mr. Romaine, I've handed you a document
      12   that that was occurring in East Tennessee or in      12   we've identified as Exhibit 55 (sic) to your
      13   the Appalachia region?                               13   deposition. This is ENDO_OPIOID_MDL-02317224.
      14        A I don't recall specifically the               14           Do you recognize the document?
      15   geography of Tennessee.                              15       A I don't recognize the document.
      16        Q Okay. And in the e-mail you were asked        16       Q Okay. The top e-mail in this chain is
      17   some questions about your comment in the e-mail at   17   from yourself to Mike Newbould -- I'm sorry, Bill
      18   the top of Exhibit 48 where you said: "Our           18   Newbould, correct?
      19   promotion of Opana ER is business as normal."        19       A Yes.
      20        A Yes.                                          20       Q And it's dated September 11th, 2006.
      21        Q Do you recall that?                           21       A Yes.
      22        A Yes.                                          22       Q Who is Bill Newbould?
      23        Q To the best of your recollection, did         23       A Bill Newbould was in -- I -- I think he
      24   any of the reports about the intravenous abuse of    24   was in corporate communications. It's 12 years


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       1   ago -- 13 years ago, hard to remember, but I think    1   that would be responsible for responding back to
       2   he was in corporate communications.                   2   that individual at that time.
       3       Q Okay. And the first e-mail in this              3       Q Okay. Now, was it your practice at Endo
       4   chain looks -- well, actually, go to the second       4   or part of your job duties to field such concerns
       5   e-mail --                                             5   being received by reps in the field from
       6       A Yes.                                            6   pharmacists or other healthcare prescribers with
       7       Q -- down, do you see from Amy Romero?            7   respect to their thoughts or opinions about
       8       A Yes.                                            8   Opana ER?
       9       Q And she's writing to yourself and Mike          9       A No.
      10   Weber on December 8th.                               10       Q Well, do you know why this was brought
      11       A Yes.                                           11   to your attention?
      12       Q And she's forwarding what's called             12       A I don't know, other than -- the only
      13   Requests for Information. Do you see that?           13   thing I can think of is if -- if they thought
      14       A Yes.                                           14   someone might have the knowledge of this
      15       Q And she says: "Can you help with the           15   individual or who it might be so they knew how to
      16   DM/rep request below from Bill N.? Thanks, guys."    16   respond back to him.
      17   Correct?                                             17       Q Okay. Well, in your e-mail at the very
      18       A Correct.                                       18   top of the exhibit, you write: "We have
      19       Q Okay. And if you look through the              19   identified where this pharmacist is located and
      20   e-mail, and you -- you can have every opportunity    20   plan to see him next week, as we will have a
      21   to read it if you wish, but I'm going to point you   21   specialty rep in that area."
      22   specifically to the very first e-mail in the         22           Did I read that correctly?
      23   chain, which looks like it came from someone named   23       A Yes.
      24   Terry Brimer at Midtown Drug Company in              24       Q Do you know in fact -- were you


                                                Page 447                                                  Page 449
       1   Morristown, Tennessee.                                1   referring to you were going to go see him or -- or
       2           Do you see that e-mail?                       2   we as in someone from Endo is going to go see him?
       3       A Yes.                                            3        A I think someone from Endo was going to
       4       Q And he's addressed it to "Customer              4   see him.
       5   Service."                                             5        Q Okay. So you don't have any
       6       A I'm trying to -- okay. Yes.                     6   recollection of you specifically --
       7       Q And he says in his e-mail: "I just              7        A No.
       8   received info in the mail regarding Opana. Every      8        Q -- going to see this pharmacist.
       9   time that I think the greed of the drug companies     9        A No.
      10   has peaked, someone comes out with something like    10        Q Okay. Then you write: "He was called
      11   this, exorbitant and useless. To stock this, I       11   on in July during the stocking blitz."
      12   must spend $2,291. Equipped with it, we can          12        A Right.
      13   addict a whole new generation. We have no choice     13        Q Do you know what that refers to?
      14   here but to phone prescribers when they write this   14           MR. MORRIS: Objection. Form and
      15   stuff, share with them the criminal cost involved,   15   foundation.
      16   and plead for a different drug. You should be        16           THE WITNESS: Stocking blitz typically
      17   ashamed."                                            17   is when we have a new product that's on the
      18           Did I read that correctly?                   18   market, to go out and stock the product in the
      19       A Yes.                                           19   pharmacies.
      20       Q Okay. And then if we pour through the          20   BY MR. LENISKI:
      21   chain, there is a suggestion from Mr. Newbould as    21        Q Okay. And so about this time of
      22   to how -- a potential response to Dr. Brimer,        22   September 2006 that was happening with Opana ER.
      23   correct?                                             23   Is that your recollection?
      24       A Yes. Bill Newbould would be the person         24        A Yes. That would have been about the


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       1   time frame in which we would have been stocking       1   ultimately convinced that he was wrong about his
       2   the product.                                          2   opinions about Opana ER?
       3       Q Okay. And how does a stocking blitz             3       A I don't recall.
       4   occur? What's the -- what are the particulars of      4          (Romaine Exhibit No. 55 was marked
       5   that?                                                 5          for identification.)
       6       A They typically would have a stocking            6   BY MR. LENISKI:
       7   sheet with information on the -- the -- the ID        7       Q I hand you Exhibit 50 -- what is that?
       8   number for -- for the product that they could         8       A Five.
       9   order through their wholesaler and the pricing,       9          MR. MORRIS: You handed him 55, but I
      10   and they would deliver that, and then the -- the     10   think we're on 56. No?
      11   pharmacist would order it into their store.          11          (A discussion was held off the record.)
      12       Q Okay. And was that something under your        12          THE WITNESS: No, 50 -- yeah, this was
      13   umbrella of responsibility or someone else's?        13   54.
      14       A No, typically it would be under somebody       14          MR. MORRIS: Oh, I see. I think maybe
      15   else's responsibility, into our managed care team.   15   you said 55 when you meant 54. But it's been
      16       Q Okay. And then you go on: "We will get         16   marked as 54, so we're now on 55.
      17   to the issues with Terry and see how we can be       17          MR. LENISKI: Okay.
      18   supportive." Correct?                                18          THE WITNESS: Okay.
      19       A Correct.                                       19   BY MR. LENISKI:
      20       Q And when you say Terry, I guess you're         20       Q I hand you Exhibit 55. This is a
      21   referring to --                                      21   document Bates-stamped EPI001232307. Correct?
      22       A I think that must be -- yeah, the              22       A Correct.
      23   person's name is Terry.                              23       Q Do you recognize the document?
      24       Q Okay. Did -- did you know Terry Brimer?        24       A I don't recognize the specific document,


                                                Page 451                                                 Page 453
       1       A No.                                             1   but I recognize John Gilbert wrote this document.
       2       Q Okay. And then you write: "As an FYI,           2       Q And he wrote it to you on November 4th,
       3   he is on the board for TennCare."                     3   2011?
       4       A Yeah.                                           4       A Correct.
       5       Q And why did you write that?                     5       Q It says: "Larry, attached is
       6       A Just so --                                      6   documentation for our one-to-one on Tuesday, as
       7           MR. MORRIS: Object to form.                   7   well as some additional backup on performance
       8           THE WITNESS: I think at the time just         8   versus goals." Correct?
       9   because that was a fact, he's on the board for        9       A Correct.
      10   TennCare.                                            10       Q And when he says "one-to-one," do you
      11   BY MR. LENISKI:                                      11   know what he's referring to there?
      12       Q Did -- was it important to you and the         12       A We were going to have a one-on-one
      13   purpose of writing that -- scratch that.             13   business meeting.
      14           Was it -- were you intending to impart       14       Q Okay. And below he writes under the
      15   on the recipient of that message that this person    15   header: "Feedback for Larry Romaine." Do you see
      16   is on the board for TennCare, that they needed to    16   that?
      17   pay extra attention to this person because he is     17       A Yes.
      18   somebody who has potential influence with            18       Q He says: "Ideally you need dedicated
      19   TennCare, which could potentially have something     19   government affairs director. Significant public
      20   to do with how Opana ER gets placed with TennCare?   20   and political issues related to opioid abuse and
      21       A I -- I don't recall. This is 13 years          21   diversion will increase substantially in 2012."
      22   ago. I don't recall why I was -- why I put that      22           Did I read that correctly?
      23   in there.                                            23       A Yes.
      24       Q Okay. Do you know if Dr. Brimer was            24       Q Do you recall discussing that with


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       1   Mr. Gilbert during your one-to-one?                   1        A Correct.
       2        A I don't recall this specifically, but I        2        Q -- "TRx's in the United States, second
       3   had one-on-ones routinely with all the directors.     3   to New York only." Correct?
       4        Q Well, this is a topic about significant        4        A Correct.
       5   public and political issues related to opioid         5        Q Okay. So according to Mr. Gilbert then,
       6   abuse and diversion increasing substantially in       6   if that's to be believed that the state of
       7   2012. Was that discussed?                             7   Tennessee contributes the second highest number of
       8        A I don't recall specifically discussing         8   Opana ER prescriptions in the United States, then
       9   this issue, but it's on his report, so I assume --    9   that puts Tennessee in a very key position as
      10   or I'm sure we did discuss it.                       10   Endo's concern, correct?
      11        Q Were you generally aware of others'           11            MR. MORRIS: Objection. Form and
      12   opinions at Endo similar to Mr. Gilbert's that       12   foundation.
      13   issues relating to opioid abuse and diversion        13            THE WITNESS: I don't know that -- the
      14   would increase substantially in 2012?                14   validity of this, whether he was correct or not.
      15        A I was not --                                  15   I don't recall that. But I'm sure if we discussed
      16           MR. MORRIS: Objection. Form and              16   it, we would have -- we would have triaged it to
      17   foundation.                                          17   the right individuals in the organization that
      18           THE WITNESS: I was not aware of that.        18   would have helped and supported him.
      19   BY MR. LENISKI:                                      19   BY MR. LENISKI:
      20        Q Did you ever find out why Mr. Gilbert         20        Q But you would agree, if he's correct
      21   felt that way?                                       21   that Opana ER prescriptions in Tennessee are the
      22        A I'm sure -- I don't recall specifically       22   second highest in the nation, then that makes
      23   that issue, but I'm sure we had a discussion about   23   Tennessee a very important state to Endo in terms
      24   it.                                                  24   of Opana ER sales, correct?


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       1       Q So as you sit here today, you have no           1           MR. MORRIS: Objection. Form and
       2   recollection as to the basis for his statement        2   foundation.
       3   about abuse and diversion of opioids increasing       3           THE WITNESS: I -- I just don't -- I
       4   substantially in 2012?                                4   don't -- I don't know whether that statement is
       5       A I'm sure he was looking for additional          5   actually true, that it's the second highest. I
       6   support. HR -- you know, individual people's          6   don't know that. I don't remember that, I should
       7   support for his region.                               7   say.
       8       Q Support in what sense, can you explain          8   BY MR. LENISKI:
       9   that?                                                 9        Q I understand, but --
      10       A I was -- I'm just reading the e-mail, it       10        A Yeah.
      11   says "government affairs director." He's looking     11        Q -- if that's true, then that would have
      12   for a government affairs director for his -- for     12   made -- you certainly would have wanted to make
      13   his -- his region.                                   13   sure that Mr. Gilbert had the resources he needed
      14       Q Okay. Then he goes on: "Need                   14   to commit to Tennessee because Tennessee --
      15   additional resources and buy-in from internal        15        A Sure.
      16   partners to pursue partnership opportunities with    16        Q -- would have been very important to
      17   Endo, key political leaders and law enforcement in   17   Endo, correct?
      18   the Mid-Atlantic, specifically in the states of      18        A Right.
      19   Tennessee, Virginia and West Virginia." Correct?     19           MR. MORRIS: Objection to form and
      20       A Correct.                                       20   foundation.
      21       Q And then he writes: "The state of              21   BY MR. LENISKI:
      22   Tennessee contributes the second highest number of   22        Q And if you go over to the page that ends
      23   OER" --                                              23   17 in this document, this would be -- this part of
      24           That's Opana ER, correct?                    24   the e-mail, this would be an attachment to the


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       1   e-mail that Mr. Gilbert would have put together,      1        Q This is an exhibit we've labeled 56 to
       2   correct?                                              2   your deposition. It's ENDO_OPIOID_MDL-01007694.
       3       A Correct.                                        3           Do you recognize the document?
       4       Q In the third bullet down, he writes:            4        A It's an e-mail that -- that I had sent
       5   "Abuse/diversion issues will be a key area of         5   back to John Gilbert.
       6   concern in Tennessee, West Virginia and Kentucky      6        Q Okay. And you're responding to an
       7   in 2012." Correct?                                    7   e-mail from Mr. Gilbert below dated June 25th,
       8       A Correct.                                        8   2012, correct?
       9       Q Do you recall discussing that point with        9        A Correct.
      10   Mr. Gilbert in your one-on-one?                      10        Q Okay. And he starts the e-mail saying:
      11       A I don't recall specifically discussing         11   "Larry, just a bit of commentary directly from
      12   that with him.                                       12   some of the footprints and DMs that are performing
      13       Q Do you recall, in general, awareness           13   at the lower end of goal attainment in the
      14   that abuse and diversion issues would be a key       14   Mid-Atlantic region." Correct?
      15   area of concern as far as Endo is concerned in       15        A Correct.
      16   Tennessee, West Virginia, and Kentucky in 2012?      16        Q If you skip down, do you see the header
      17          MR. MORRIS: Objection to form and             17   "N Knoxville"?
      18   foundation.                                          18        A Yes.
      19          THE WITNESS: Can -- can you repeat the        19        Q That's -- do you understand that meant
      20   question again? I'm sorry.                           20   North Knoxville?
      21   BY MR. LENISKI:                                      21        A Yes.
      22       Q Yeah. Did you have a general                   22        Q Okay. And he writes: "Goal attainment
      23   awareness -- do you recall having a general          23   is currently 76 percent. Prior to supply
      24   awareness, rather, that abuse and diversion was a    24   disruption in the state of Tennessee" -- I'm


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       1   key area of concern in Tennessee, West Virginia,      1   sorry. Let me start over.
       2   and Kentucky for Endo in 2012?                        2           "Prior to supply disruption, the state
       3       A Well, I -- I do recall -- I remember,           3   of Tennessee had the highest OER volume of any
       4   and we talked about it earlier, that we -- the        4   state in the country."
       5   area of Appalachia, that there was a concern that     5           Did I read that correctly?
       6   there was diversion taking place, and that we         6        A Yes.
       7   ensured the reps were trained on our diversion        7        Q Okay. And he says: "See the below
       8   process and how to -- how to report that.             8   quotes from representatives in this footprint
       9       Q Okay. And was that topic or issue               9   based on their local knowledge. With such high
      10   discussed with -- frequently at Endo?                10   volume, the one unknown is the percent of abuse
      11       A I don't know if I can use the word             11   that has now been curtailed by the new formulation
      12   "frequently," but it was discussed.                  12   and gone to a non-TRF product."
      13       Q Okay.                                          13           Did I read that correctly?
      14          MR. MORRIS: Okay. So, Counsel, when we        14        A Yes.
      15   were off the record, I asked you how long you had,   15        Q So he's expressing with that last
      16   and you said about 30 or 45 minutes, and we've       16   sentence that this is occurring at a time when the
      17   been going about 45. How much longer?                17   reformulated Opana ER is on the market, and there
      18          MR. LENISKI: I've got -- hold on.             18   is also generic Opana ER on the market, correct?
      19   Thanks for your patience.                            19           MR. MORRIS: Objection. Form.
      20          We're on 56 now, right?                       20           THE WITNESS: Plus we had a supply
      21          THE WITNESS: Yes.                             21   outage at the same time, yes.
      22          (Romaine Exhibit No. 56 was marked            22   BY MR. LENISKI:
      23          for identification.)                          23        Q Okay. So if you look over to one of the
      24   BY MR. LENISKI:                                      24   quotes from one of the representatives in this


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       1   Knoxville footprint, that second bullet on the        1   particular quote from this particular rep with
       2   second page of the exhibit.                           2   John?
       3       A Okay. Yeah.                                     3        A I don't recall discussing this
       4       Q That rep states: "We believe" -- and            4   particular quote --
       5   there's a -- it's a quote from the rep, correct?      5        Q Okay.
       6       A Yes.                                            6        A -- with John.
       7           MR. MORRIS: Objection. Form,                  7        Q I've got one more exhibit for you.
       8   foundation.                                           8            57. This is one of those fun oversized
       9   BY MR. LENISKI:                                       9   ones.
      10       Q And that's your understanding of what          10            (Romaine Exhibit No. 57 was marked
      11   Mr. Gilbert was saying, this was a quote from a      11            for identification.)
      12   rep in his territory, correct?                       12   BY MR. LENISKI:
      13       A Correct.                                       13        Q I've handed you a document that we've
      14       Q Okay. It says: "We believe that                14   labeled Exhibit 57 to your deposition. The cover
      15   several of the patients in our footprint were        15   is an e-mail that's Bates-stamped EPI002036707.
      16   abusing the previous formulation of Opana ER.        16        A Yes.
      17   Here are some signs we witnessed: Patients           17        Q I will represent to you that we have
      18   requested the old formulation of Opana ER at the     18   only attached an excerpt from the attachment to
      19   pharmacy, asked the providers in some instances to   19   the e-mail in Exhibit 57. And there's a -- should
      20   switch them from 40 milligrams of Opana ER to        20   be a cover page that explains that. So it's a --
      21   generic 15 milligrams, and they complained about     21   it's a demonstrative --
      22   adverse events so that -- so they could be           22        A Okay.
      23   switched from 30 milligrams of Opana ER to two       23        Q -- as well.
      24   15-milligram pills of generic formulation."          24        A Okay.


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       1           With me so far?                               1        Q Okay? I'll represent that to you.
       2        A Yes.                                           2            So let's first look at the e-mail. Do
       3        Q "I have even had pharmacies tell me that       3   you recognize the e-mail?
       4   patients are calling them acting like they are        4        A I don't recognize the e-mail. I know it
       5   with the Opana ER pharmacy locator service. They      5   came from me, but I don't recall sending it and --
       6   are asking if the pharmacy in question carries the    6   it's six years ago.
       7   old formulation of Opana ER."                         7        Q Okay. So this is an e-mail that you
       8           Did I read that correctly?                    8   forwarded to Endo Pain RDs. That's regional
       9        A Yes.                                           9   directors, correct?
      10        Q Did you -- upon receiving this                10        A Correct.
      11   information from Mr. Gilbert about one of his --     11        Q And you copied Kristin Vitanza and
      12   one of his reps in this territory said, did you do   12   Randall Mastrangelo --
      13   anything with this information?                      13        A Right.
      14        A I don't recall the e-mail, this specific      14        Q -- on February 25th, 2013.
      15   e-mail. But what would have happened, we would       15        A Yes.
      16   have triaged this to our compliance department for   16        Q And you were forwarding something called
      17   an investigation. So we had processes in place is    17   a Pharmacy -- I think it's a misspelling. It's
      18   what I'm saying to do the investigations.            18   supposed to be pharmacy, it says pharmacry --
      19        Q And who would have been responsible for       19        A Yeah.
      20   taking or initiating that triage?                    20        Q That's probably a typo.
      21        A John would have been responsible for          21            -- "Pharmacy Report Update?"
      22   kicking off the initial investigation. Reporting     22        A Correct.
      23   it, John Gilbert.                                    23        Q So the e-mail with the original pharmacy
      24        Q And do you recall discussing this             24   report that you received came from someone named


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       1   Laurie Sutherland below. Do you see that?             1       A Correct.
       2       A Yes.                                            2       Q Correct?
       3       Q Who is Laurie Sutherland?                       3       A Yes.
       4       A I -- I don't remember who Laurie was.           4       Q Okay. So what was your purpose to
       5   Her title would have been down here somewhere, but    5   forwarding this pharmacy report?
       6   it doesn't look like it copied well.                  6       A So --
       7       Q Well, it says "Director, Enterprise data        7           MR. MORRIS: Objection to form and
       8   and field sales reporting."                           8   foundation.
       9       A Right.                                          9           THE WITNESS: So they had the
      10       Q Does that refresh your recollection who        10   information so they could see stores that were
      11   she is?                                              11   stocked in their geographies.
      12       A No.                                            12   BY MR. LENISKI:
      13       Q And --                                         13       Q And what were you anticipating that the
      14       A Oh, she was a director -- so she -- I          14   regional managers would do with this information?
      15   think she was in the operations group that           15       A Just knowledge for them, where it was
      16   provided field sales reports.                        16   stocked and where it was not.
      17       Q Okay. And you --                               17       Q Well, how did you expect them to use
      18       A I think.                                       18   this information from a practical standpoint?
      19       Q And you -- would you receive such              19       A I don't recall what my expectation was
      20   reports --                                           20   for this.
      21       A Yes, from her.                                 21       Q Were -- was Endo calling on these
      22       Q -- from Ms. Sutherland?                        22   pharmacies, to your knowledge?
      23       A Yes.                                           23       A The sales organization didn't call on
      24       Q In connection with your job duties?            24   pharmacies, but others -- we had a managed care


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       1       A Yes.                                            1   team and trade team that did.
       2       Q And would you share those reports with          2         Q Then what was -- again, I guess I'm
       3   the regional managers or --                           3   confused about why your regional managers -- how
       4       A Yeah, where appropriate, I would, yes.          4   they -- how they would have known what to do with
       5       Q Okay. And this -- what she's attaching          5   this information you were forwarding to them.
       6   she says is an updated pharmacy report.               6           MR. MORRIS: Objection to form and
       7          "This is an update to the report that          7   foundation.
       8   Ian sent last April. The report shows the top         8           THE WITNESS: The only reason I would
       9   5,000 Opana ER stocking pharmacies." Correct?         9   have sent this is just so they would know where
      10       A Yes.                                           10   pharmacies were stocked with the new formulation.
      11       Q She does say: "Keep in mind this               11   BY MR. LENISKI:
      12   report, just as the last -- the one last year,       12         Q Do you recall having any other
      13   does not include national retail pharmacies."        13   communications with the district managers on this
      14          And she lists CVS, Walgreens, Rite-Aid        14   list about what to do with this list beyond what
      15   and Walmart, correct?                                15   you said in this e-mail?
      16       A Correct.                                       16         A I don't recall any other communication.
      17       Q Okay. And then above, you are                  17         Q Okay. And then if you go to the
      18   forwarding this, as we said, to your Endo Pain       18   attachment, as represented on the second page of
      19   regional directors, and you write: "Please           19   the exhibit, I included only the Tennessee
      20   provide this to your teams: It is critical that      20   pharmacies that were on this six-month top 5,000
      21   we are messaging the importance of filling           21   list.
      22   Opana ER scripts with Opana ER with INTAC. We        22         A Okay.
      23   should also be focused on those key chains that      23         Q And that is true for the first -- one,
      24   dispense C-II."                                      24   two, three -- first eight pages. And that's for


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       1   the tab that was "Midwest." Okay?                    1   the exhibits --
       2        A Okay.                                         2          MR. MORRIS: Oh, of the -- yes.
       3        Q And then if you look over to the second       3          THE VIDEOGRAPHER: The time is 7:19 p.m.
       4   to last page, there was a second tab in this         4   We're going off the record.
       5   spreadsheet that was labeled "Southeast," and it     5          (Recess.)
       6   also includes Tennessee pharmacies.                  6          THE VIDEOGRAPHER: The time is 7:59 p.m.
       7        A Okay.                                         7   We're back on the record.
       8        Q Was it your recollection that Tennessee       8              CROSS-EXAMINATION
       9   was actually divided between two different           9   BY MR. MORRIS:
      10   territories at this time?                           10       Q Mr. Romaine, thank you again for being
      11        A I do not recall that.                        11   here today. I know it's been a long day. I have
      12        Q Okay. In any event, under the tab for        12   a few questions myself for you.
      13   "Southeast," there's additional pharmacies listed   13          And there's a few questions that I'm
      14   there for the cities of, for example, Kingsport,    14   going to go over your background, not to retread
      15   Johnson City, and Bristol, Tennessee. Do you see    15   old ground necessarily, but to kind of orient us
      16   those?                                              16   for our series of questions.
      17        A Yes.                                         17       A Okay.
      18        Q And do you know where Kingsport, Johnson     18       Q Can you remind us again when you began
      19   City and Bristol are located relative to            19   at Endo.
      20   Appalachia?                                         20       A June of 2003.
      21        A I know that Kingsport and Johnson City       21       Q And how long did you remain at the
      22   are in the southern -- southeastern portion of      22   company?
      23   Tennessee.                                          23       A I left in September of 2013. So 10
      24        Q I think Bristol, Tennessee -- I don't        24   years.


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       1   think you can get much further east in Tennessee.    1        Q Okay. So what title did you have when
       2   It's right on the border there between Virginia      2   you left the company?
       3   and Tennessee and North Carolina.                    3        A Vice president of sales.
       4        A Yeah, I think they call it the                4        Q So you left in 2013, so how many years
       5   Tri-Cities area.                                     5   ago approximately is that?
       6        Q That's right.                                 6        A Yeah, six years -- six years -- six-ish
       7        A Yeah, that's right.                           7   years ago.
       8        Q Okay. So in any event, at this time,          8        Q So it's been quite a while since you've
       9   because these cities were located in the             9   been at the company, correct?
      10   southwest -- I'm sorry -- "Southeast" tab, that     10        A Yes.
      11   would indicate, am I correct, that that -- those    11        Q Have you been required to think much
      12   cities at this time frame were in the southeast     12   about Endo Opana sales in those intervening six
      13   region as far as Endo was concerned for             13   years?
      14   territories?                                        14        A No.
      15        A Yeah, I don't know that for a fact, but      15           MS. SCULLION: Objection to form.
      16   that makes sense.                                   16   BY MR. MORRIS:
      17            MR. LENISKI: Okay. I have no further       17        Q You said that when you left the company,
      18   questions at this time.                             18   you held the title of VP sales. How long did you
      19            MR. MORRIS: Thank you.                     19   hold that title?
      20            So let's take a break. I will have         20        A From 2007 until -- June of 2007 until I
      21   questions. I'm going to organize, and we'll come    21   left in September of 2013.
      22   back in 15 minutes or so.                           22        Q And I know you described earlier some of
      23            MS. SCULLION: Let me suggest when we       23   your job duties, but can you describe in general
      24   start, then we will read the numbers in of          24   what your responsibilities were as VP of sales.


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       1       A Yeah, my role and responsibility was            1   were trained to -- or what -- I'm sorry.
       2   to -- to lead the sales organization. So I was        2          Can you describe what Endo sales reps
       3   responsible to make sure that they were well          3   were trained to cover with healthcare providers
       4   trained, they would continually be tested to          4   when they went out on sales calls?
       5   ensure that they were well trained, and that they     5       A Well, they're -- they were required to
       6   could go out and deliver a clinical message to        6   cover a full balance. So they were required to
       7   physicians.                                           7   cover the package insert, they were required to
       8       Q Are you proud of the time that you              8   talk about the indication, the dosing, any adverse
       9   worked at Endo?                                       9   events, the entire portfolio of the product.
      10       A Absolutely.                                    10       Q Did Endo monitor how well sales
      11       Q And why is that?                               11   representatives performed in adhering to the
      12       A I worked with great people. I felt like        12   required sales procedures?
      13   we achieved very good results. I thought, you        13       A Yes. Their district managers routinely
      14   know, everybody I worked with, both in the home      14   rode in the field with them and observed them and
      15   office as well as in the field, were ethical, high   15   documented that -- that information.
      16   integrity, a passion to -- to do what's right for    16       Q And how often did that occur?
      17   patients and for the physician offices that they     17       A The district managers were in the field
      18   called on.                                           18   approximately four days out of the week. So they
      19           So there was a lot of energy around the      19   were with that -- the same rep about every five
      20   company and the work that we did every day and       20   weeks, they would be with them for two days.
      21   what we achieved.                                    21       Q And did the sales representatives
      22       Q Now, eventually you were downsized from        22   receive feedback?
      23   the company, right?                                  23       A Yes. Both verbal coaching as well as
      24       A That's correct.                                24   written coaching.


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       1       Q Did anybody at the company tell you why         1        Q You touched on this a little bit before,
       2   you were being downsized?                             2   but was there any limitation on the kinds of
       3       A No, not at the time.                            3   healthcare professionals that sales
       4       Q Now, you mentioned that the Endo sales          4   representatives were allowed to call on for sales
       5   representatives received training on how to do        5   visits?
       6   their job. How did the sales representatives          6        A Well, they had to be experienced
       7   receive that training from Endo?                      7   physicians prescribing in that therapeutic class.
       8       A Well, when they were hired, they went           8   There were excludes, depending on the -- on the
       9   through a home office -- their home office            9   specialty, that if they didn't really prescribe
      10   training program where they actually read through    10   that therapeutic class of drugs, there would be an
      11   binders and literature and modules, and then they    11   exclude on their call plan. But they had to be
      12   came into the home office for training. And then     12   experienced prescribers of the class that they
      13   every year we would have three to four training      13   were calling on.
      14   meetings where we would actually reeducate the       14        Q And what constituted being an
      15   sales force on different aspects of the business     15   experienced prescriber?
      16   or new materials.                                    16        A Someone that had a practice that, you
      17       Q Was there a way for Endo to gauge how          17   know, treated the types of patients that we had a
      18   well the sales representatives were understanding    18   product that would fit. Someone that had had a
      19   the training?                                        19   lot of experience as far as patient population
      20       A Well, they were always tested, and they        20   that was coming into the -- their practice for
      21   also had to be certified. So verbalization of the    21   treatment.
      22   message had to be certified, and they had to         22        Q And do you have an understanding about
      23   deliver it to their manager.                         23   why there was that requirement placed on -- or
      24       Q Can you describe how Endo sales reps           24   limitation on healthcare providers who could be


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       1   called upon by sales representatives?                 1        A Here's 15. 16. 14. Okay. I'm sorry.
       2       A Well --                                         2        Q That's okay. A lot of documents over
       3           MS. SCULLION: Objection. Foundation.          3   there.
       4           THE WITNESS: -- to ensure that we             4           Can you take a look at what had been --
       5   were -- we were meeting the needs of the clinical     5   what's been marked as Exhibit 14. You talked
       6   practitioners out there and that -- and we were       6   about this document earlier today. Can you just
       7   following a set of guidelines as far as, you know,    7   describe what that document is again.
       8   where products should be written and where we         8        A It's the master visual aid.
       9   shouldn't be going.                                   9        Q Okay. And if you go into the document
      10   BY MR. MORRIS:                                       10   to the page that at the top has E1023.37.
      11       Q Were there -- you mentioned that there         11           And before I ask you some specific
      12   were categories of healthcare providers that         12   questions about this portion of the document, can
      13   were -- fell into the grouping that could be         13   you describe again what master visual aid is.
      14   called upon. Were there particular practice areas    14        A It's the -- the detail aid that the
      15   that were excluded?                                  15   representatives would use in front of a physician.
      16       A Yeah --                                        16        Q And if you just take a quick peek at the
      17           MS. SCULLION: Objection to form.             17   first page of this exhibit, do you see what date
      18           THE WITNESS: -- excludes would be            18   is on the e-mail that's on there?
      19   dentists -- depending on -- again, on the            19        A September 18th, 2006.
      20   therapeutic class we're talking about, but           20        Q And when did -- approximately when did
      21   specifically with Opana ER, dentists would be        21   Opana launch, come onto the market?
      22   excluded, psychiatrists as a practice would be       22        A June of 2006, I think was the time
      23   excluded, things like that.                          23   frame.
      24   BY MR. MORRIS:                                       24        Q Okay. Now, I'm drawing your attention


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       1        Q And did you have an understanding about        1   specifically to page 1023.37. Do you know what
       2   why those types of practices were excluded?           2   this portion of the exhibit is?
       3           MS. SCULLION: Objection. Foundation.          3        A Yeah, this is a -- what they call a
       4           THE WITNESS: Well, they weren't               4   navigator. It's a sales training tool.
       5   experienced in the class. They didn't typically       5        Q And is this something that would have
       6   see the type of patient with moderate to severe       6   been provided to the sales force?
       7   pain routinely.                                       7        A With each new master visual aid, yes.
       8   BY MR. MORRIS:                                        8        Q Okay. And is that something that the
       9        Q And the descriptions you've been giving        9   sales representatives were trained on?
      10   about the kind of healthcare providers that could    10        A Yes.
      11   be called upon and -- in the requirement of the      11        Q If you turn a few pages in to the page
      12   call plan, was that for Opana specifically?          12   that at the top has 1023.40.
      13        A Yes.                                          13        A Okay. Okay.
      14        Q If you could look at Exhibit 14, please.      14        Q Can you read -- there's a box on the
      15        A I don't know if --                            15   left-hand side that begins "Prescribers --
      16        Q And I know it might take you a minute to      16   Prescribers of Schedule II opioids." Do you see
      17   find that, but that could also be called -- called   17   that?
      18   up.                                                  18        A Yes.
      19        A I -- I don't think I'm going to find it       19        Q Can you read that?
      20   here.                                                20        A "Prescribers of Schedule II opioids
      21        Q It's the one that looks like that             21   carry the responsibility of understanding the
      22   (indicating).                                        22   associated risks in order to make informed
      23        A What was the number again?                    23   treatment decisions."
      24        Q 14.                                           24        Q And then there's a box underneath that,


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       1   at the bottom of the page, that begins "Opana is a    1   inappropriately or it's taken illegally.
       2   Schedule II opioid" --                                2       Q And during your tenure at Endo, did the
       3       A Yes.                                            3   company have policies requiring its employees to
       4       Q -- "that carries the risk." Do you see          4   report suspected diversion --
       5   that?                                                 5       A Yes.
       6       A Yes.                                            6       Q -- of opioid medications?
       7       Q And can you just read the first sentence        7       A Yes.
       8   of that, please.                                      8       Q And how were the sales representatives
       9       A "Opana is a Schedule II opioid that             9   advised about those policies?
      10   carries the risk of other schedule -- carries the    10       A Well, they were trained on -- on what to
      11   risks of other Schedule II opioids."                 11   look for in diversion, and then they had a number
      12       Q And what was the purpose of having these       12   that they could call to report diversion. And
      13   types of boxes pulled out for the training           13   they also had their district managers available to
      14   material that was provided to the sales force?       14   them as well that they could -- they were supposed
      15       A To ensure that they knew exactly what          15   to report to as well.
      16   were important pieces that they needed to            16          MR. MORRIS: I can't figure out what
      17   reinforce with physicians when they were making      17   number that is. Oh, it's because there isn't a
      18   the sales presentations.                             18   number yet.
      19       Q Okay. If you could turn to the next            19          Anybody know what number we're on?
      20   page that's .41.                                     20          MS. SCULLION: I do not know. Joe?
      21       A Okay.                                          21          MR. LENISKI: 58, I think.
      22       Q And on this page there's a box that            22          MR. MORRIS: Okay, we'll go with 58.
      23   includes the -- starts with the phrase "Balancing    23          (Romaine Exhibit No. 58 was marked
      24   claims." Can you read that?                          24          for identification.)


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       1       A Yeah. "To ensure HCPs are fully                 1   BY MR. MORRIS:
       2   informed about the appropriate use of Opana, it's     2        Q I'm handing you Exhibit 58.
       3   important to balance your presentation by             3           MS. SCULLION: Thank you.
       4   reviewing the abuse liability, contraindications      4   BY MR. MORRIS:
       5   and precautions when making claims such as those      5        Q And that bears the production number at
       6   on this page."                                        6   the very bottom END00747664.
       7       Q And as the VP of sales, what did you            7           I'll ask you to take a look at that.
       8   understand that to mean?                              8   It's an e-mail from you dated September -- I'm
       9          MS. SCULLION: Objection. Foundation.           9   sorry -- July 30th, 2012.
      10          THE WITNESS: To provide full balance          10           Do you recognize what's been marked as
      11   when they're making sales presentations.             11   Exhibit 58?
      12   BY MR. MORRIS:                                       12        A Yes.
      13       Q And that's something that the -- all the       13        Q And what is Exhibit 58?
      14   sales force was trained on?                          14        A It's an e-mail that I sent out to the
      15       A Yes.                                           15   region business directors.
      16          MS. SCULLION: Objection. Leading.             16        Q And what was the purpose of your sending
      17   BY MR. MORRIS:                                       17   out this e-mail?
      18       Q You talked a little bit about this             18        A Reinforcing tools and resources that the
      19   before, but I want to go back to it. You've heard    19   reps had available to them to report diversion.
      20   the term "diversion"?                                20        Q Okay. And so can you read what you
      21       A Yes.                                           21   wrote in the body of the e-mail.
      22       Q And what's your understanding of what          22        A Yes.
      23   "diversion" is?                                      23           MS. SCULLION: Objection. Form.
      24       A When a product is prescribed                   24           THE WITNESS: "Please discuss the


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       1   suspected diversion form with your teams. I          1   different document. Mine does not have any Bates
       2   realize that they have this information, but it's    2   numbers on it.
       3   always good to revisit. Please advise me of any      3            MR. MORRIS: I think it may be because
       4   issues in your RBU."                                 4   of the copy.
       5   BY MR. MORRIS:                                       5            MS. SCULLION: Oh, okay.
       6        Q And if you could take a look at the           6            MR. MORRIS: It should be the same --
       7   second page of Exhibit 58, can you describe what     7   let's just make sure. It's the e-mail entitled
       8   that is?                                             8   "RBD Removals."
       9        A Yeah, that is the diversion form that we      9            MS. SCULLION: April 5th, 2013?
      10   used.                                               10            MR. MORRIS: April 5th, 2013.
      11        Q And is that something that was provided      11            MS. SCULLION: Yeah. Thank you.
      12   to the sales force?                                 12   BY MR. MORRIS:
      13        A Yes.                                         13        Q First, I'll ask whether you recognize
      14        Q And if you look at the middle of the         14   the cover e-mail on this exhibit.
      15   page, there's some enumerated items there. What     15        A I do recognize the e-mail. Not
      16   are those?                                          16   specifically, but I do recognize this e-mail.
      17        A Those would be areas to -- of -- to look     17        Q Okay. And you're a cc on that e-mail?
      18   for for suspected diversion.                        18        A Correct.
      19        Q And can you read the first one, please.      19        Q The e-mail references the "RBD
      20        A "A large portion of prescriptions being      20   prescriber removals." Do you see that?
      21   paid for in cash."                                  21        A Yes.
      22        Q And is that a potential indicator of         22        Q Do you have an understanding about what
      23   diversion?                                          23   the "RBD removals" refers to?
      24        A Yes.                                         24        A It's the -- a removal list of physicians


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       1       Q And can you read the second one, please.       1   that were removed from the representatives' call
       2       A "Drugs and doses being prescribed that         2   plan.
       3   are not individualized."                             3        Q And is -- the exhibit notes that there
       4       Q Is that also a potential indicator of          4   is an attachment, "The RBD Removals." Do you see
       5   diversion?                                           5   that?
       6       A Yes.                                           6        A Yes.
       7       Q Okay. And you -- there are several             7        Q For P -- 2P13. Do you see that?
       8   others here that are listed, and these are all       8        A Yes.
       9   indicators that the sales force was trained to       9        Q And is that information that you would
      10   look out for for potential diversion?               10   receive in your position as the VP of sales?
      11       A Correct.                                      11        A Not typically, but I would -- typically
      12          (Romaine Exhibit No. 59 was marked           12   this -- I would get copied on it, to your point.
      13          for identification.)                         13        Q Understood. I'll represent to you that
      14   BY MR. MORRIS:                                      14   there is an attachment to this document that had,
      15       Q Let me show you what has been marked as       15   it looks like, an Excel spreadsheet in native
      16   Exhibit 59.                                         16   form, and the particular exhibit that's in front
      17          MS. SCULLION: Thank you.                     17   of you has an excerpt from that.
      18   BY MR. MORRIS:                                      18        A Yes.
      19       Q Mr. Romaine, do you -- and, I'm sorry, I      19        Q Can you turn to the first page behind
      20   should identify it with the production numbers.     20   the e-mail.
      21   Hold on just one second.                            21        A Okay.
      22          It has production number at the bottom       22            MS. SCULLION: I'm just going to note
      23   ENDO_OPIOID_MDL-00770609.                           23   our objection to -- to using an incomplete
      24          MS. SCULLION: Sean, you may have a           24   exhibit.


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       1   BY MR. MORRIS:                                        1       A Yes.
       2        Q Can you read, please, the information          2       Q What does the first line say under
       3   under the top heading there, "Criterion               3   "Current Status Category"?
       4   Guidelines."                                          4       A "Remove from goals compliance."
       5        A Yes. "Criterion Guidelines. This               5       Q And then under "Justification," what
       6   process provides you with a mechanism to              6   does it say there?
       7   proactively address prescriber issues that have a     7       A "Inappropriate office, diversion
       8   significant impact at the territory level while       8   suspicion."
       9   maintaining accountability within your region."       9       Q Is this an example of a healthcare
      10        Q Okay. And there's a -- underneath that        10   provider that was noted as potentially being
      11   there's some examples. Can you read the first        11   someone who should be removed for diversion
      12   bullet point.                                        12   suspicion?
      13        A "Inappropriate for reps to call on:           13       A Yes.
      14   Safety issues, valid licenses but suspension --      14           MS. SCULLION: Objection. Foundation
      15   suspicious practice, apparent pill mill that         15   and form.
      16   cannot be located, et cetera."                       16           THE WITNESS: Yes.
      17        Q Okay. And there's an asterisk after the       17   BY MR. MORRIS:
      18   words "call on," and then there's an asterisk        18       Q Are there other compliance issues that
      19   right below that. Can you read that, please.         19   you see noted on this page?
      20        A Yeah. "Suspicion of diversion should          20       A Yes.
      21   continue to be submitted to corporate compliance     21       Q And if you go down like two -- two lines
      22   for investigation and removal through the --         22   below that, there's a compliance issue. Do you
      23   through that process."                               23   see that?
      24        Q And who is corporate compliance?              24       A Yes.


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       1       A It's our -- that's our compliance               1        Q And then a few lines further down, there
       2   department within sales -- within the Endo            2   are two more compliance issues in a row.
       3   organization.                                         3        A Yes.
       4       Q If you could turn to -- I'm going to use        4        Q And those are noted as "Inappropriate
       5   the page numbers that are -- the page of 59 at the    5   office to call on"?
       6   bottom there, and once you get into the actual        6        A Correct.
       7   Excel spreadsheet.                                    7        Q And if you go down a few more lines,
       8       A Okay.                                           8   there are three more "inappropriate offices to
       9       Q Do you see that?                                9   call on." Do you see that?
      10       A Yes.                                           10        A Yes.
      11       Q If you could turn to page 26.                  11        Q And then the one right below that says:
      12           MS. SCULLION: Sean, can I just have a        12   "Inappropriate prescribing of opioids, diversion
      13   continuing objection to using an incomplete          13   suspicion"?
      14   document?                                            14        A Yes.
      15           MR. MORRIS: Yes.                             15        Q Are those all examples of healthcare
      16           MS. SCULLION: Thanks.                        16   providers being noted on the RBD list as those
      17   BY MR. MORRIS:                                       17   that are potentially subject to removal --
      18       Q Now, Mr. Romaine, do you see the --            18           MS. SCULLION: Object --
      19   there are several columns on this page, and at the   19   BY MR. MORRIS:
      20   top, the second column over says "Current Status     20        Q -- for compliance issues?
      21   Category." Do you see that?                          21           MS. SCULLION: Objection. Foundation
      22       A Yes.                                           22   and form.
      23       Q And after that it says "Justification          23           THE WITNESS: Yes.
      24   Required." Do you see that?                          24   BY MR. MORRIS:


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       1        Q Now, in your role as the VP of sales,          1        A It might take me a while.
       2   would you have done anything with the RBD removal     2           Can I look on here? Okay.
       3   list?                                                 3        Q Do you recall the voicemail message that
       4          MS. SCULLION: Objection. Form,                 4   was played earlier today?
       5   hypothetical.                                         5        A Yes.
       6          THE WITNESS: No.                               6        Q And I believe on the second page, there
       7   BY MR. MORRIS:                                        7   is a transcript.
       8        Q Once somebody appears on the RBD               8           MS. SCULLION: I think we may have
       9   prescriber removal list, what was the process         9   marked that as a separate exhibit.
      10   following that?                                      10           MR. MORRIS: Oh, that was 8?
      11        A That would go --                              11           MS. SCULLION: Yeah.
      12          MS. SCULLION: Objection. Foundation.          12           MS. TYJER: The transcript is 7. The
      13          THE WITNESS: That would go directly to        13   e-mail is 8.
      14   compliance for an investigation, and then            14           MR. MORRIS: Right, I -- I'm sorry, I
      15   depending on the investigation, the outcome, there   15   asked for 7.
      16   would be a result from that.                         16           MS. SCULLION: I believe we marked it as
      17   BY MR. MORRIS:                                       17   a demonstrative -- as a demonstrative.
      18        Q And were you part of any of the               18           MR. MORRIS: Right. I have it marked as
      19   investigations with respect to potential             19   Exhibit 7, the actual transcript. Is that not
      20   compliance issues with providers on the call list?   20   correct?
      21        A I was not.                                    21           (A discussion was held off the record.)
      22        Q Earlier today counsel asked you some          22           MR. MORRIS: Oh, I'm sorry. Do you need
      23   questions about Dr. Herndon. Do you recall those     23   a different number for that? E -- E1203.
      24   questions?                                           24   BY MR. MORRIS:


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       1         A Yes.                                          1       Q Okay. And there were questions about
       2         Q As you sit here today, do you have any        2   one of -- well, first of all, to whom did this
       3   information about or recollection about               3   voicemail go?
       4   Dr. Herndon?                                          4       A The region business directors.
       5         A I don't.                                      5       Q And how many regional business directors
       6         Q Do you know if you ever had any               6   were there?
       7   information about Dr. Herndon?                        7       A Six.
       8         A I don't recall.                               8       Q And what was the role of the regional
       9         Q And would that be something in your role      9   business directors?
      10   as senior VP, would that -- would the -- any         10       A They managed a region of the country --
      11   investigation of him as potential diversion fall     11   sales region of the country.
      12   within your roles and responsibilities as a senior   12       Q And were those the people that reported
      13   VP of sales?                                         13   directly to you?
      14         A No, that would be --                         14       A Yes.
      15           MS. SCULLION: Objection. Foundation          15       Q And you knew them pretty well?
      16   and form. Sorry.                                     16       A Yes.
      17           THE WITNESS: No.                             17           MS. SCULLION: Objection. Leading.
      18   BY MR. MORRIS:                                       18           THE WITNESS: Yes.
      19         Q Earlier today counsel also asked you         19   BY MR. MORRIS:
      20   some questions about -- I'm going to pull it up as   20       Q And do you think that they knew you
      21   Exhibit 7.                                           21   pretty well?
      22         A Oh, gosh. Okay.                              22           MS. SCULLION: Objection. Leading.
      23         Q And maybe we can do it just by pulling       23           THE WITNESS: Yes.
      24   it --                                                24   BY MR. MORRIS:


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       1       Q If you go to -- a third of the way up           1   BY MR. MORRIS:
       2   from the bottom, there's a sentence that says:        2       Q How many people would have received the
       3   "And if we have reps out there" -- do you see         3   documents like that?
       4   that?                                                 4          MS. SCULLION: Objection. Form,
       5       A Yes.                                            5   foundation.
       6       Q Can you read that sentence again,               6   BY MR. MORRIS:
       7   please.                                               7       Q Let me ask it this way: Market
       8       A Just a second -- yes.                           8   research, do you know how many people within the
       9           "And if we have reps out there, and --        9   company would receive that kind of information?
      10   there, I don't care who they are, that can't sell    10       A 30 to 40, approximately.
      11   Opana ER clinically, they can't be with Endo.        11       Q And as the VP of sales, were you
      12   Okay?"                                               12   expected to do anything in response to receiving
      13       Q Can you explain what you meant by that         13   that market research if you received it?
      14   sentence?                                            14       A No.
      15           MS. SCULLION: Objection. Foundation.         15          MS. SCULLION: Objection to form.
      16           THE WITNESS: I think I talked about it       16          MR. MORRIS: Why don't we just take a
      17   earlier today when this was addressed, but my        17   quick pause here. We don't even have to leave. I
      18   expectation is to have a highly -- all the sales     18   just want to confer and see if there's any further
      19   force should be highly trained, highly effective,    19   questions.
      20   very professional, and they should have a very       20          THE WITNESS: Okay.
      21   good knowledge and be able to communicate            21          THE VIDEOGRAPHER: The time is 8:28 p.m.
      22   effectively full disclosure information to           22   We're going off the record.
      23   physicians. And if they can't do that, they          23          (Pause.)
      24   shouldn't be in the role and responsibility they     24          THE VIDEOGRAPHER: The time is 8:29 p.m.


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       1   have.                                                 1   We're back on the record.
       2   BY MR. MORRIS:                                        2           MR. MORRIS: Mr. Romaine, thank you very
       3        Q And you used the phrase "If they can't         3   much. I don't have any further questions at this
       4   sell Opana ER clinically." What did that refer        4   time.
       5   to?                                                   5           THE WITNESS: Thank you.
       6        A Being able to walk through the package         6           THE VIDEOGRAPHER: The time is 8:29 p.m.
       7   insert, being able to walk through the pack -- the    7   We're going off the record.
       8   master visual aid with the physician, and cover       8           (Recess.)
       9   all aspects of the product, including the box         9           THE VIDEOGRAPHER: The time is 8:51 p.m.
      10   warning.                                             10   We're back on the record.
      11        Q I'm going to show you now Exhibits 40         11              REDIRECT EXAMINATION
      12   and 41. And so you don't have to look through        12   BY MS. SCULLION:
      13   your pile, I'm just going to give you my copies      13        Q Welcome back, Mr. Romaine.
      14   that I marked.                                       14        A Thank you.
      15           Do you recall those exhibits?                15        Q You realize you're still under oath?
      16        A From today, yes.                              16        A Yes.
      17        Q From today. And had you seen those            17        Q Thank you.
      18   documents prior to today?                            18           Mr. Morris had asked you about whether
      19        A I don't recall them.                          19   sales reps were required to review the -- in the
      20        Q And what are those two documents? What        20   PI, the risks, adverse events, contraindications,
      21   kind of documents are they?                          21   et cetera, for a product, correct?
      22           MS. SCULLION: Objection. Form.               22        A Yes.
      23           THE WITNESS: They're summaries of            23        Q And now, you testified earlier that reps
      24   market research.                                     24   could have as little as two to five minutes with a


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       1   physician, correct?                                   1   on the sides of the master visual aids?
       2        A I -- I think -- yeah, I think I said           2        A Yes.
       3   five to six, but somewhere in that range, yes.        3        Q And you were asked: What was the
       4        Q Okay. And they might be reviewing              4   purpose of having these types of boxes pulled out
       5   multiple products, right?                             5   for the training material that was provided to the
       6        A Yes.                                           6   sales force?
       7        Q And is it really realistic for them            7           And your answer was: To ensure that
       8   to -- they're not going to read verbatim, for         8   they knew exactly what were important pieces if
       9   example, the black box warning during that time       9   they need to reinforce to physicians when they're
      10   with the physician, right?                           10   making the sales presentations. Correct?
      11        A They -- they would, but they have to --       11        A Correct.
      12   they can, and they also have to provide them with    12        Q And so that would include, for example,
      13   the -- the black box. They have to provide them      13   on page E1023.19 --
      14   with a package insert.                               14        A Okay.
      15        Q But they're not -- they're not sitting        15        Q -- do you see the callout box at the
      16   there reading verbatim the black box warning to      16   bottom of the page there that begins "Stress our
      17   the physician every time they make a call.           17   product promise"?
      18        A No.                                           18        A Yes.
      19        Q Okay. And they're not sitting there           19        Q It says: "Stress our product promise,
      20   reading verbatim the contraindications every time    20   Opana ER helps patients stay ahead of pain."
      21   they're making a call on a physician, right?         21           Can you read the next sentence in that
      22        A No.                                           22   box?
      23        Q And they're not sitting there reading         23        A "If HCPs take away one thing from your
      24   verbatim all of the risks indicated in -- in the     24   sales call, it should be that Opana ER provides


                                                Page 503                                                  Page 505
       1   PI, correct?                                          1   durable efficacy and dosing advantages."
       2        A Correct.                                       2        Q And again, that was called out in a
       3        Q All right. In fact, they're spending           3   callout box in this navigator to ensure reps knew
       4   most of their time discussing the benefits of the     4   exactly -- that was an important piece they needed
       5   product, correct?                                     5   to reinforce with physicians when they were making
       6        A Features and the benefits.                     6   sales presentations about Opana ER, correct?
       7        Q Okay. And that includes spending time,         7        A Yes.
       8   for example, pointing out the studies that are in,    8        Q All right. And in the top right-hand
       9   for example, the master visual aid?                   9   corner of the same page, you see the callout box
      10        A Yeah, anything that's approved.               10   that says: "'New' is one of the most powerful
      11           MR. MORRIS: Objection to form.               11   words in promotion."
      12   BY MS. SCULLION:                                     12        A Yes.
      13        Q I'm sorry?                                    13        Q Do you see that?
      14        A Anything that's approved, yes.                14           Again, that then would have been an
      15        Q Correct. Okay.                                15   important piece for sales reps to reinforce with
      16           And then you were asked about the master     16   physicians that Opana ER was new, correct?
      17   visual aid, and that was Exhibit 14.                 17        A Yes.
      18        A Okay. I have it right here.                   18        Q If you will turn to E1023.27.
      19        Q And I believe Mr. Morris took you back        19        A Okay.
      20   to the navigator portion, which begins at            20        Q The top of this page, do you see where
      21   E1023.18. Can you turn to that page?                 21   it says under the heading "Pages 8-9"?
      22        A Yes. Okay. I'm sorry.                         22        A Yes.
      23        Q Okay. And do you recall Mr. Morris was        23        Q "Dialogue"?
      24   asking you about in this section the callout boxes   24        A Yes.


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       1       Q And the dialogue there says: "Tailoring        1         A It came from a different department.
       2   the message to your customers. Stress steady         2         Q All right. And as we saw when we looked
       3   delivery for steady sales." Do you see that?         3   at the removal list -- sorry -- in Exhibit 44, for
       4       A Yes.                                           4   Dr. Herndon, do you recall there, there was no
       5       Q And that also was an indication to the         5   notation for Dr. Herndon of removal for compliance
       6   sales force of an important piece that they need     6   for in- -- for inappropriate office diversion
       7   to reinforce with physicians when they're making     7   suspicion. The removal notation there was "no
       8   the sales presentations, correct?                    8   access," right?
       9           MR. MORRIS: Objection to form.               9         A Correct.
      10           THE WITNESS: Yes.                           10         Q So if -- if the terminology -- sorry --
      11   BY MS. SCULLION:                                    11   if the notation for removing a physician for
      12       Q Okay. Can you pull back Exhibit 59,           12   suspected diversion were "Compliance inappropriate
      13   which Mr. Morris reviewed with you.                 13   office diversion suspicion," we would know that
      14       A Do you know which -- what that was            14   was not why Dr. Herndon was being removed from the
      15   actually?                                           15   list.
      16       Q Yeah, it's the removal list.                  16         A Yeah, as I --
      17       A Okay.                                         17            MR. MORRIS: Objection to form.
      18       Q Thank you.                                    18            THE WITNESS: As I mentioned before, I
      19       A Yes.                                          19   don't have any real knowledge of the Dr. Herndon
      20       Q Do you have Exhibit 59 in front of you?       20   situation.
      21           And Mr. Morris had you turn to some of      21   BY MS. SCULLION:
      22   the pages attached at the back where it was noted   22         Q So you really can't speak to what
      23   in various places -- let's go to page 26 of 59. I   23   Exhibit 59 really does indicate about why
      24   think that's what you were on.                      24   physicians were or were not being removed from


                                               Page 507                                                   Page 509
       1        A Okay.                                         1   this list.
       2        Q It was noticed -- I'm sorry. It's             2        A Well, I know it was the -- the process
       3    noted: "Remove from goals compliance                3   that was used in order to have compliance, do an
       4    inappropriate office diversion suspicion."          4   investigation if they showed up on this list.
       5        A Yes.                                          5        Q Okay. But in terms of how to read this
       6        Q Do you see that?                              6   list and what it means, you really can't speak to
       7        A Yes.                                          7   it.
       8        Q And so that was an indication of if           8            MR. MORRIS: Objection to form.
       9    there was a removal for suspected diversion,        9            THE WITNESS: That's not my -- that's
      10    that's how it would be noted on the list, right?   10   not my area of expertise.
      11        A I -- I don't know how this was put           11   BY MS. SCULLION:
      12    together. I don't know if they used other          12        Q Okay. And I think you testified in
      13    terminologies or not.                              13   response to Mr. Morris's questions that you were
      14        Q Well, when Mr. Morris was asking you         14   not responsible for investigating suspected
      15    questions, you were answering about what the       15   diversion, correct?
      16    notation in this list meant, right?                16        A Correct.
      17        A I read -- I read those.                      17        Q And diversion consists of inappropriate
      18        Q But did you know what they actually          18   use of the medication, correct?
      19    meant?                                             19        A Correct.
      20        A I -- I -- I don't recall.                    20        Q But you did testify earlier, and this I
      21        Q You don't -- you don't really know how       21   think at page 356 of the rough: "I think we all
      22    this document was put together, correct?           22   take responsibility for ensuring that the product
      23        A No.                                          23   is used appropriately, and that was my focus."
      24        Q Okay.                                        24            That's what you testified to, correct --


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       1       A Correct.                                        1        Q And that would mean that reps would have
       2       Q -- under oath here today?                       2   to want to report suspected diversion if they saw
       3       A Yes.                                            3   it, correct?
       4       Q "That we all take responsibility for            4        A Yes.
       5   ensuring the product is used appropriately."          5           MR. MORRIS: Objection to form.
       6       A Right.                                          6   BY MS. SCULLION:
       7          MR. MORRIS: Objection to form.                 7        Q And you would agree that there could be
       8   BY MS. SCULLION:                                      8   reasons that a rep might not want to report
       9       Q And that included you.                          9   suspected diversion, correct?
      10       A Yes.                                           10           MR. MORRIS: Objection to form.
      11          MR. MORRIS: Objection to form, legal          11           THE WITNESS: I -- I don't know why they
      12   conclusion.                                          12   would not want to.
      13   BY MS. SCULLION:                                     13   BY MS. SCULLION:
      14       Q And then with respect to addressing            14        Q For example, is it possible that some
      15   diversion, you pointed to -- sorry, you were asked   15   reps would say, I'm too busy, I'm not going to
      16   about the diversion suspicion request -- diversion   16   take the time? That's possible, right?
      17   suspicion form. Correct?                             17           MR. MORRIS: Objection to form.
      18       A Well --                                        18           THE WITNESS: I -- we hire ethical
      19       Q Let me make this easier.                       19   people. I can't imagine that would happen.
      20          MS. SCULLION: Do we have the exhibit?         20   BY MS. SCULLION:
      21          THE WITNESS: This one, yes.                   21        Q Okay. But it's possible that someone
      22   BY MS. SCULLION:                                     22   could say, I'm just too busy, I'm not going to do
      23       Q What is the exhibit number, please?            23   it.
      24       A 58.                                            24        A Well, anything could happen.


                                                 Page 511                                                Page 513
       1       Q 58. Thank you.                                  1           MR. MORRIS: Objection to form.
       2          MS. SCULLION: Do we have that? That's          2   BY MS. SCULLION:
       3   okay.                                                 3       Q And it could also be that a rep might
       4   BY MS. SCULLION:                                      4   not want to report because some people just don't
       5       Q You have Exhibit 58 in front of you --          5   like turning somebody in.
       6       A Yes.                                            6           MR. MORRIS: Objection.
       7       Q -- and you were asked about that, and           7   BY MS. SCULLION:
       8   you explained that's the form that reps were          8       Q Is that correct?
       9   trained and told to use to report suspected           9           MR. MORRIS: Objection to form.
      10   diversion if they observed it in the field,          10           THE WITNESS: Well, it's part of their
      11   correct?                                             11   responsibility as a professional, ethical sales
      12       A Right.                                         12   representative.
      13       Q Is that correct?                               13   BY MS. SCULLION:
      14       A Yes.                                           14       Q Okay.
      15       Q Thank you. I didn't hear. I apologize.         15       A And they were trained on it.
      16       A Yes, sorry.                                    16       Q But that depended on them actually
      17       Q But using that form, that would require        17   following the training --
      18   reps to -- to see and recognize suspected            18       A Right.
      19   diversion in the field, correct?                     19       Q This system depended on them following
      20       A Correct.                                       20   the training, correct?
      21       Q And it would then require reps to              21       A Right. But keep in mind also, just for
      22   actually report the suspected diversion for that     22   clarity, their district manager also would be
      23   process to work, correct?                            23   riding with them, and if he or she saw that, that
      24       A Correct.                                       24   that would be their responsibility to make sure


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       1   that it did get reported.                             1        Q You don't think that a person from time
       2        Q Okay. But again, the system depended on        2   to time might have a conflict of interest when
       3   someone actually seeing the pill mill, correct?       3   money is on the line for them, when their
       4           MR. MORRIS: Objection to form.                4   compensation is on the line?
       5           THE WITNESS: Correct.                         5           MR. MORRIS: Objection to form.
       6   BY MS. SCULLION:                                      6           THE WITNESS: I do believe that -- I do
       7        Q Okay. And do I understand correctly            7   believe that they would -- they would be more
       8   that in terms of incentive compensation, if there     8   concerned for their job than for making any kind
       9   were a pill mill in a rep's territory that they       9   of money off of something like that.
      10   hadn't yet recognized, hadn't yet seen, hadn't yet   10           MS. SCULLION: Can we mark as exhibit --
      11   reported, the sale -- the sales generated by that    11   what are we on? 60? Thank you.
      12   pill mill, those would be credited to that rep?      12           (Romaine Exhibit No. 60 was marked
      13        A If the physician --                           13           for identification.)
      14           MR. MORRIS: Objection. Foundation.           14   BY MS. SCULLION:
      15           THE WITNESS: -- was on their call plan.      15        Q Let me hand you what's been marked as
      16   BY MS. SCULLION:                                     16   Exhibit 60. This is an e-mail from -- it's
      17        Q Okay. So if a physician is on the call        17   Bates-stamped ENDO_OPIOID_MDL-01861288.
      18   plan, and they haven't yet been reported as a pill   18           And if you turn back, you can see this
      19   mill, the rep is going to be getting credit for      19   is an -- an e-mail chain that starts on page
      20   those sales, correct?                                20   E852.3. It starts as an e-mail from Margaret
      21        A Correct.                                      21   Takasu-Cronan to Paul Badley, Kevin Johnston, and
      22        Q All right. And so is it possible, for         22   is cc'd to Ron Jackson.
      23   example, that reps might be concerned about their    23        A Yes.
      24   compensation being negatively impacted if they       24        Q The subject: "Physician removed from


                                                 Page 515                                                 Page 517
       1   were to report a suspected pill mill? Is that a       1   Opana ER call plan by Colleen Craven." Do you see
       2   possibility?                                          2   that?
       3       A Well, if that existed in their territory        3       A Yes. Yes.
       4   or their geography and they weren't reporting it,     4       Q And who was Margaret Takasu-Cronan?
       5   then that could be an issue that they could lose      5       A She was a district manager.
       6   their position if the district manager observed it    6       Q Does she sometimes go by the name Nana?
       7   too and asked why they didn't report that.            7       A Yes.
       8       Q Sure.                                           8       Q Okay. And if you turn to the first page
       9       A And most of their compensation, as you          9   of Exhibit 60.
      10   know, came from salary versus incentive comps. So    10       A The -- the front page you're referring
      11   there's an incentive for them to be -- to be         11   to?
      12   ethical in the way they approached the business.     12       Q Correct, the front page. Thank you.
      13       Q Would you agree that for some people           13   852.1.
      14   there would be incentive to say, There's --          14          This chain ends with Ms. Takasu-Cronan
      15   there's a -- there's a physician generating a lot    15   saying to Mr. Jackson: "I reread the message that
      16   of scripts in my territory, and I don't even have    16   Paul sent me, and I guess it makes sense if they
      17   to do any work to get them? That they may have an    17   remove everything out, goals, IC, et cetera." And
      18   incentive to say, I'm going to let that sit?         18   she goes on to say: "I can see how someone could
      19           MR. MORRIS: Objection to form.               19   play the system and not report an action right
      20           THE WITNESS: I -- I wouldn't agree with      20   away in order to not have the credit for their
      21   that. I would think the people that we hired were    21   Opana ER sales taken away for the entire semester,
      22   ethical and professional, and they wouldn't --       22   especially if the physician was writing more than
      23   they wouldn't act in that manner.                    23   what he/she is deciled for. Thanks for your
      24   BY MS. SCULLION:                                     24   follow-up regarding the situation, especially


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       1   since PC is on the line for Jeremy."                 1   included on the -- on the call plan, and you said
       2           Do you see that?                             2   that these would have to be experienced
       3        A Yes. I don't know what PC stands for.         3   physicians, correct?
       4        Q Okay. But -- so Ms. Takasu-Cronan,            4       A Experienced in the therapeutic class
       5   though, is saying that she could see how someone     5   that we were calling on for, yes.
       6   could play the system and not report a suspected     6       Q Right. But as we saw, the measure for
       7   pill mill right away in order to not have their      7   an experienced physician was just whether they had
       8   credit for Opana ER sales taken away for the         8   written 48 -- for Opana ER, which is whether they
       9   entire semester, correct?                            9   had written 48 prescriptions for a long-acting
      10           MR. MORRIS: Objection to form,              10   opioid in the prior 12 months, correct?
      11   speculation.                                        11       A Correct.
      12           THE WITNESS: It looks like her opinion.     12       Q And that was -- that was the threshold
      13   BY MS. SCULLION:                                    13   cutoff that a physician had to meet in order to be
      14        Q Yeah. And how long was                       14   included on the list, correct?
      15   Ms. Takasu-Cronan a district manager with -- with   15       A Correct.
      16   Endo?                                               16       Q Was there -- and there was no cutoff at
      17        A I -- I don't recall.                         17   the top, though. There was no number of
      18        Q Was she there for -- as a district           18   prescriptions that was too much --
      19   manager for most of your time as VP of sales?       19       A Not that I recall.
      20        A I don't know if I -- I don't recall          20       Q -- for a physician to be included.
      21   specifically. She was there for several years.      21       A Not that I recall.
      22        Q She was an experienced district manager      22       Q All right. So, for example, as we saw
      23   with Endo, correct?                                 23   with Dr. Herndon, someone could be the number one
      24        A Yes.                                         24   Opana prescriber in the nation and be included on


                                                Page 519                                                 Page 521
       1       Q And an experienced manager -- district         1   the list, even though it turned out they were a
       2   manager with Endo was saying she could see how       2   pill mill, right?
       3   someone would play the system. Correct?              3           MR. MORRIS: Objection -- objection to
       4           MR. MORRIS: Objection to form.               4   form.
       5           THE WITNESS: That's what she's saying        5           THE WITNESS: I -- I -- I can't speak to
       6   on her e-mail.                                       6   that.
       7   BY MS. SCULLION:                                     7   BY MS. SCULLION:
       8       Q Okay. So you agree it's possible that          8         Q Okay. There's never any effort to -- to
       9   someone would try to play the system if they         9   have a cutoff and say, If someone is prescribing
      10   believed that it might impact their compensation    10   too much, we're not going to have them on the
      11   to report a suspected pill mill, correct?           11   list.
      12           MR. MORRIS: Objection to form and           12         A I don't recall that. I don't know.
      13   foundation.                                         13         Q Okay.
      14           THE WITNESS: I can't say that. Again,       14           MS. SCULLION: And then can we pull up
      15   I go back to I think -- you know, I think there     15   1207 again, please. Is that 1207, the script?
      16   would be more at risk if they did that versus the   16           MS. TYJER: 1203.
      17   benefit they were to receive from it.               17           MS. SCULLION: I'm so sorry. Thank you.
      18   BY MS. SCULLION:                                    18   BY MS. SCULLION:
      19       Q But that -- that would be an analysis         19         Q Okay. So Mr. Morris brought you back to
      20   that they would have to make, correct?              20   the -- the voicemail from June of 2012 --
      21       A That would be a decision they would           21         A Yes.
      22   make.                                               22         Q -- in which you stated: "And if we have
      23       Q Okay. And then Mr. Morris was asking          23   reps out there, I don't care who they are, that
      24   you about the criteria for a physician to be        24   can't sell Opana ER clinically, they can't be with


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       1   Endo. Okay?"                                         1        Q Yes.
       2           And you said that what you meant there       2        A But how they received -- how they got to
       3   was were they educating the physician, were they     3   that point was making sure they could go in and
       4   presenting the balanced approach of benefits and     4   provide full product information, provide
       5   risks of the product. That's what you said you       5   resources to the office, provide data and
       6   meant by that, right?                                6   information.
       7       A Correct.                                       7        Q But the goal itself, though, is measured
       8       Q But that's not what you said, right?           8   by one thing, and that was the number of
       9   You said that they can't sell --                     9   prescriptions written, correct?
      10       A Clinically.                                   10        A Correct.
      11       Q -- sell Opana ER clinically.                  11           MR. MORRIS: Objection. Form.
      12       A Right.                                        12   BY MS. SCULLION:
      13       Q Right?                                        13        Q Okay. And the incentive compensation
      14       A Clinically is going through the entire        14   you said was tied to whether the sales rep met or
      15   master visual aid, full disclosure.                 15   exceeded their sales goal, correct?
      16       Q And in the end, it was a matter of            16        A Correct.
      17   whether they could sell Opana ER in that setting,   17        Q And again, so it's tying back the
      18   correct?                                            18   incentive compensation then to the number of
      19       A Clinically.                                   19   prescriptions written by the physicians in their
      20       Q Right.                                        20   territory, correct?
      21       A Again, I go back to just in context that      21        A Correct.
      22   these were going out to region directors that I     22        Q Okay. Sorry. The sales reps, that they
      23   had worked very closely with for a long period of   23   were calling on in their territory.
      24   time who knew me very well.                         24        A Right.


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       1       Q But as we discussed earlier, ultimately        1        Q And we also saw over the course of today
       2   the salesperson's job was to sell the product to     2   again various contests that Endo put out there for
       3   the customers, correct?                              3   the sales reps, and there again, the awards were
       4       A Educate and provide -- provide                 4   based on number of prescriptions written, correct?
       5   resources.                                           5        A Correct.
       6       Q Well, we discussed the fact that sales         6        Q All right. And then again, whether they
       7   reps had sales goals set for them, correct?          7   ultimately could even stay on as an Endo sales
       8       A Sure. Yes.                                     8   rep, ultimately was determined by whether all the
       9       Q And those sales goals were measured by         9   efforts they were making in fact wound up
      10   the number of prescriptions, correct?               10   generating prescriptions, correct?
      11       A Correct.                                      11           MR. MORRIS: Objection to form.
      12       Q It wasn't measured by how educated your       12           THE WITNESS: As long as they were doing
      13   physicians were. In the end, it was measured by     13   it in the right way.
      14   how many prescriptions got written by the           14   BY MS. SCULLION:
      15   physicians you called on.                           15        Q But in the end --
      16       A That's how --                                 16        A Ethical way.
      17           MR. MORRIS: Objection to form.              17        Q -- if they weren't generating
      18           THE WITNESS: That's how it was              18   prescriptions -- even if they're doing it the
      19   measured.                                           19   right way, if they're not generating
      20   BY MS. SCULLION:                                    20   prescriptions, they couldn't stay on as a sales
      21       Q That's right, that's how it was               21   rep, right?
      22   measured. And --                                    22        A Correct. But they also wouldn't stay on
      23       A How they -- just going back to full           23   if they were not an ethical, well-trained
      24   context.                                            24   representative.


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       1      Q But even if they were an ethically,                   1     CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
       2   well-trained representative and presenting the way         2      The undersigned Certified Shorthand Reporter
       3   that they were trained, if in the end they weren't         3   does hereby certify:
       4   generating prescriptions, they couldn't stay on as         4      That the foregoing proceeding was taken before
       5   a sales rep, right? That was the job.                      5   me at the time and place therein set forth, at
       6      A They had to perform.                                  6   which time the witness was duly sworn; That the
       7      Q Okay.                                                 7   testimony of the witness and all objections made
       8      A They had responsibilities.                            8   at the time of the examination were recorded
       9          MS. SCULLION: Thank you. I have no                  9   stenographically by me and were thereafter
      10   further questions for today.                              10   transcribed, said transcript being a true and
      11          THE WITNESS: Okay.                                 11   correct copy of my shorthand notes thereof; That
      12          MR. MORRIS: Yes, except weren't you                12   the dismantling of the original transcript will
      13   going to read something?                                  13   void the reporter's certificate.
      14          MS. SCULLION: Yes. So --                           14      In witness thereof, I have subscribed my name
      15          MR. MORRIS: The -- the numbers.                    15   this date: January 15, 2019.
      16          MS. SCULLION: I have them in my pocket.            16
      17          So for the record, here's the Bates                17                ________________________
      18   numbers for certain exhibits where the Bates              18                LESLIE A. TODD, CSR, RPR
      19   numbers were cut off.                                     19                Certificate No. 5129
      20          Exhibit 18 was ENDO_OPIOID_MDL-00684008            20   (The foregoing certification of
      21   through 011.                                              21   this transcript does not apply to any
      22          Exhibit 19 was ENDO_OPIOID_MDL-00686202            22   reproduction of the same by any means,
      23   through zero -- 205. So 202 through 205.                  23   unless under the direct control and/or
      24          And Exhibit 24 was                                 24   supervision of the certifying reporter.)


                                                          Page 527                                                           Page 529
       1     ENDO_DATA_OPIOID_MDL-0000021.                            1               INSTRUCTIONS TO WITNESS
       2            MR. MORRIS: Okay. Now we're done.                 2          Please read your deposition over carefully and
       3            THE VIDEOGRAPHER: The time is                     3      make any necessary corrections. You should state
       4     9:15 p.m., January 10th, 2019. Going off the             4      the reason in the appropriate space on the errata
       5     record, concluding the videotaped deposition.            5      sheet for any corrections that are made.
       6            (Whereupon, the deposition of                     6      After doing so, please sign the errata sheet
       7            LARRY W. ROMAINE was concluded                    7      and date it.
       8            at 9:15 p.m.)                                     8          You are signing same subject to the changes
       9                                                              9      you have noted on the errata sheet, which will be
      10                                                             10      attached to your deposition. It is imperative
      11                                                             11      that you return the original errata sheet to the
      12                                                             12      deposing attorney within thirty (30) days of
      13                                                             13      receipt of the deposition transcript by you. If
      14                                                             14      you fail to do so, the deposition transcript may
      15                                                             15      be deemed to be accurate and may be used in court.
      16                                                             16
      17                                                             17
      18                                                             18
      19                                                             19
      20                                                             20
      21                                                             21
      22                                                             22
      23                                                             23
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                                                                                   133 (Pages 526 to 529)
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                                                               Page 530
       1                ------
       2                ERRATA
       3                ------
       4   PAGE LINE CHANGE
       5   ____ ____ ________________________________________
       6   REASON: ________________________________________
       7   ____ ____ ________________________________________
       8   REASON: ________________________________________
       9   ____ ____ ________________________________________
      10   REASON: ________________________________________
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      22   REASON: ________________________________________
      23   ____ ____ ________________________________________
      24   REASON: ________________________________________


                                                               Page 531
       1           ACKNOWLEDGMENT OF DEPONENT
       2      I,___________________________, do hereby
       3   certify that I have read the foregoing pages, and
       4   that the same is a correct transcription of the
       5   answers given by me to the questions therein
       6   propounded, except for the corrections or changes
       7   in form or substance, if any, noted in the
       8   attached Errata Sheet.
       9
      10   __________________________________________________
      11   LARRY W. ROMAINE                      DATE
      12
      13
      14   Subscribed and sworn to
      15   before me this
      16   ______day of_______________,20___.
      17   My commission expires:_______________
      18   _____________________________________
      19   Notary Public
      20
      21
      22
      23
      24



                                                                          134 (Pages 530 to 531)
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